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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



EL PUENTE, et al.,

              Plaintiffs,                 Case No.: 1:22-cv-02430-CJN

       v.

U.S. ARMY CORPS OF ENGINEERS, et al.,
              Defendants.




                  JOINT APPENDIX IN SUPPORT OF PARTIES’
            MOTIONS AND CROSS-MOTIONS FOR SUMMARY JUDGMENT

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Dated: May 5, 2023                        Respectfully submitted,

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m.
US Anny Corps ofEnginccrs
JACKSONVILLE DISTRICT



                            FINDING OF NO SIGNIFICANT IMPACT

              SAN JUAN HARBOR NAVIGATION IMPROVEMENTS STUDY
        INTEGRATED FEASIBILITY REPORT AND ENVIRONMENTAL ASSESSMENT
                            SAN JUAN, PUERTO RICO


    The U.S. Army Corps of Engi neers, Jacksonville District (Corps), has conducted an
environmental analysis in accordance with the National Environmental Policy Act of 1969, as
amended. The final Integrated Feasibility Report and Environmental Assessment (report),
dated July 201 S, for the San Juan Harbor Navigation Improvements Study addresses
navigational efficiency improvement opportunities and feasibility in San Juan, Puerto Rico. The
final recommendation is contained in the Chiefs Report dated 23 August 2018.

   The report. incorporated herein by reference, evaluated various alternatives that would
improve navigation in the study area. The recommended plan is the National Economic
Development Plan and includes:

    •   Widening
           o Widen Army Terminal Channel 50 feet on each side (100 feet total) , from an
              existing width of 350 feet, to provide a total width of 450 feet.
           a Provide eastern and western flares at the intersection of the Army Terminal
              Channel and the Army Terminal Turning Basin.
   •    Deepening
           o Deepen Cut·6 of the Bar Channel to a project depth of 46 feet.
           a Deepen Anegado Channel to a project depth of 44 feet.
           a Deepen Army Tenninal Channel to a project depth of 44 feet.
           a Deepen Army Terminal Turning Basin to a project depth of 44 fe et.
           a Deepen the San Antonio Approach Cha nnel, San Antonio Channel, San Antonio
              Channel Extension, and Cruise Ship Basin East to a project depth of 36 feet.
   •    Dredged Material Placement Options
           a Base Plan - Place dredged material al the existing Ocean Dredged Material
              Disposal Site (ODMDS).
           a Estimate includes use of a mechanical clamshell dredge in .combination with a
              hydraulic dredge to excavate approximately 2.2 mill ion cubic yards of material f or
              transport to the ODMDS.
           o Beneficial use of dredged materia l to fill artificial depressions in Condado Lagoon
              to restore and enhance sea grass habitat was also evaluated.

    In addition to a ~no acti on~ plan, five alternatives were evaluated. The alternatives included
deepening between 41 feet to 45 feet, and a no action plan. Section 3.4 of the report provides
a summary of the plan formulation evaluation .




                                                                                   USACE_000001
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    For all alternatives , the potential effects to the following resources were evaluated:

                                                                       Brief
                                                         In-depth                      Resource
                                                                       evaluation
                                                         evaluation                    unaffected
                                                                       due to minor
                                                         conducted                     by action
                                                                       effects
 Aesthetics                                               0            tiS!            0
 Air quality                                              tiS!         0               0
 Aquatic resources/nearshore habitat                      tiS!         0               0
 Coastal Barrier Resources                               0             tiS!            0
 Invasive species                                        0             tiS!            0
 Fish and wildlife habitat                                tiS!         0               0
 Threatened/endangered species                            tiS!         0               0
 Historic properties                                      tiS!         0               0
 Other cultural resources                                 tiS!         0               0
 Floodplains                                             0             tiS!            0
 Hazardous, toxic & radioactive waste                    0             tiS!            0
 Hydrology                                               lEI           0               0
 land use                                                0             tiS!            0
 Navigation                                              lEI           0               0
 Noise levels                                             tiS!         0               0
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 Climate change                                          tiS!          0               0

     AU practical means to avoid or minimize adverse environmental effects were analyzed and
incorporated into the recommended plan. Best management practices (BMPs), as detailed in
the report, will be implemented to minimize impacts. BMPs shall include protection measures
for nearshore hardbottom, threatened and endangered species , and waler quality. Section 6.22
of the report provides a summary of BMPs and environmental commitments. No compensatory
mitigation is required.

    Pursuant to section 7 of the Endangered Species Act of 1973, as amended , the National
Marine Fisheries Service (NMFS) issued a biological opinion, dated 29 May 2018 , which
determ ined the recommended plan will not jeopardize the continued existence of the following
federally listed species or adversely modify designated critical habitat leatherback, green
(North Atlantic [NA] and South Atlantic [SA] distinct population segments tOPS)), hawks bill, and
loggerhead (Northwest Atlantic [NWA] DPS) sea turtles; sperm, sei, blue and fin whales;
elkhorn, stag hom, pillar, rough cactus , mountainous star, lobed star, and boulder star corals;
scalloped hammerhead sharks (Southwest Atlantic.[SWA] DPS); Nassau grouper; giant ma nta
ray; and designated critica l habitat for elkhorn and staghorn corals. AI! terms and conditions
resulting from these consultations shall be implemented in order to minimize take of endangered
species and avoid jeopardizing the species.



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     Pursuantto Section 7 of the Endangered Species Act of 1973, as amended, the Corps
determined that the recommended plan may affect but is not likely to adversely affect the
following federally listed species or their designated critical habitat: Antillean manatee. The
U.S. Fish and Wildlife Service concu rred with the Corps' determination on 21 June 2018.

   Pursuant to Section 106 of the National Historic Preservation Act of 1966, as amended, the
Corps determined that historic properties would not be affected by the recommended plan . T he
Puerto Rico State Historic Preservation Office concurred with the determination on 18
September 2017 .

   Pu rsuant to the Clean Water Act of 1972, as amended , the discharge of dredged or fill
material associated with the recommended plan has been found to be com pliant with Section
404(b) (1) guidelines (40 CFR 230). The Clean Water Act Section 404(b) (1) guidelines
evalualion is found in Appendix I of the report.

    A water quality certification pursuant to Section 401 of the C lean Water Act will be obtained
from Puerto Rico Environmenta l Quality Board prior to construction. All conditions of the water
quality certification will be implemented in order to minimize adverse impacts to water quality.

    A determination of consistency with the Puerto Rico Coastal Management program pursuant
to the Coastal Zane Management Act of 1972 was obtained from the Puerto Rico Planning
Board. All conditions of the consistency determination shall be implemented in order to
minimize adverse impacts to the coastal zone.

    Public review of the draft report was completed on 22 September 2017. All comments
submitted during the public comment period were responded to in the Final IFR/EA. A 30-day
state and agency review of the Final rFR/EA was completed on 6 August 2018. Comments from
state and federal agency review did not result in any changes to the finaiIFR/EA.

    Technical, environmental, economic, and cost effectiveness criteria used in the formulation
of alternative plans were those specified in the Water Resources Council 's 1983 Economic and
Environmental Principles and Guidelines for Water and Related Land Resources
Implementation Stud ies. All appl icable laws , executive orders, regulations, and local
government plans were considered in evaluation of alternatives. Based on these report, the
reviews by other federal , state and focal agencies, Tribes , input of the public , and the review by
my staff, it is my determination that the recommended plan would not significantly affect the
human environment; therefore, preparation of an Environmental Impact Statement is not
required.

   A copy of this finding and the report will be made available to the public on the following
webs ite: hltp:/lwvvw. saj. usace. army. mil!AboutlDivisions-OfficeS/Pla n njng/Environ menta 1-
Branch/Environmental-Documents!




Date                                              Andrew D. Kelly, Jr.
                                                  Colonel, Corps of Engineers
                                                  District Commander



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                                    DEPARTMENT OF THE ARMY
                                          CHIEF OF ENGINEERS
                                         2600 ARMY PENTAGON
                                      WASHINGTON, D.C. 20314-1000




DAEN                                                                                 AUG Z3 1018


SUBJECT: San Juan Harbor Navigation Improvements Feasibility Study, San Juan, Puerto Rico

THE SECRETARY OF THE ARMY

1. I submi t for transmission to Congress my report on navigation improvements for San Juan
Harbor, San Juan, Puerto Rico. It is accom panied by the report of the di strict and di vision
engineers. The project was originally authorized under the River and Harbor Act of 1907
(P.L. 59~ 168) with modifications throughout the 20th century. T his report was prepared under
the authority of House Resolution 2764 of the Co mmittee on Transportation and infrastructure,
U .S. I-louse o r Representatives, adopted 20 September 2006, which authorizes the Secretary of
the Army to detennine the feasibility of providing navigation improvements at San J uan Harbor,
Puerto Rico to increase security, safety and efficiency. Pre+construction, engineering, and design
activit ies ror tbe San Juan Harbor Navi gation Improvements Proj ect will continue under this
same authority.

2. The reporting o ffi cers recommend a project that will contribute to the economic efficiency of
commercial navigation and power generation. The National Economic Development (NED)
Pl an, which is also the recommended plan, incl udes deepening of channels with associated
channel widening and turning basins as described below. Based on Fi scal Year (FY) 20 18 pric;e
levels. a 2.75·percent discount rate, and a 5 0~yea r period of analysis. the project first cost of the
NED Plan is $54 ,042,000. Total economic costs are estimated to be $403 ,975 ,000 (with
contingency) which include project first costs, interest during construction, local service
fac ilities, and aids to navigation. The recommended plan provides average annual benefits of
$75 ,269 ,000, average annual costs of $15, 172,000, and a benefi t-to ~co st ratio of 5.0. The
recommended plan consists of the fo llowing navigation improvements (depths do not include
overdepth or advance maintenance depths):

    a. Deepen Cu t~6 of the existing entrance channel from .42 feet to -46 feet Mean Lower Low
Water (MLL W) to accommodate larger draft LR2 petroleum tankers and fu lly-l oaded MR2 and
LR I petroleum tankers at !.he project depth of ~44 feet MLL W for the inner harbor channels. The
wind and wave conditions at the entrance channel warrant an additional 2 feet of depth greater
than the project depth.

    b. Widen the Army Terminal Channel by 100 feet (50 feel to the east and 50 feet to the
west) from an existing 350 foot width to 450 feet wide to accommodate the larger LR2 tankers
and liquefied natural gas (LNG) tankers.

   c. Deepen the inner harbor Anegado and Army Terminal Channels from an existing project
depth of ~40 feet to -44 feet MLL W from the confluence of Cut·6 to the Army Terminal Turning
Basin to petroleum and future LNG tenninals.



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DAEN
SUBJECT: San Juan Harbor Navigation Improvements Feasibility Study, San Juan, PUC110 Rico


   g. Hold and save the Uni ted States free from a ll damages arising from the construction or
O&M of the project, except for damages due to the fault or negligence of the United States or its
contractors.

    h. Perfonn, or ensure performance of, any investigations for hazardous substances that are
detennincd necessary to identify the existence and extent of any hazardous substances regulated
under the Comprehensive Envirorunental Response, Compensation, and Liability Act
(CERCLA), 42 U.S.C. 9601-9675, that may exist in, on, or under lands, casements, and righls-
of· way that the govcl11ment dctem1ines to be necessary for the construction or operation and
maintenance of the GNF. However, for lands that the government determines to be subject to the
navigation servitude, only the government shall perform such investigation unlcss thc
govemment provides the nonHfederal sponsor with prior specific written direction, in which case
the nonHfederal sponsor shall perform such investigations in accordance with such wri tten
direction.

   i.   Assume complete financial responsibility, as between the government and the nonH
federal sponsor, for all necessary cleanup and response costs of any hazardous substances
regulated under CERCLA that are located in, on, or under lands, easements, and rightsHofH way
that the government determines to be necessary for the construction or O&M of the projecl.

    j. Agree, as between the federal government and the nonHfederal sponsor, that the noo H
federal sponsor shall be considered the operator of the project for the purpose of CERCLA
liability.

   k. To the maximum extent practicable, perform its obligations in a manner that will not
cause liability to arise under CERCLA.

I t . The recommendations contained herein reflect the infonnation available at this time and
current deparlmental policies governing formulatio n of individual projects. It does not reflect
program and budgeting priorities inherent in the formulation of a national civil works
construction program or the perspective of hi gher review levels within the Executive Branch.
Consequently, the recommendations may be mod ified before they are transmitted to the
Congress as a proposal for authorization and implementation fu nding. However, prior to
transmittal to the Congress, the Puerto Rico Ports Authority (the non-federal sponsor for the
Commercial Navigation Improvements), inLerested federal agencies, and othe arties will be
advised of any significant modifications, and will be affordcd an op           to comment further.




                                                                                 USACE_000008
      Case 1:22-cv-02430-CJN Document 30-3 Filed 05/05/23 Page 21 of 295
                        UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                                REGION 2
                                             290BROADWAY
                                          NEWYORK, NY 10007-1866




  AUG - 7 2018


Paul DeMarco
Project Biologist
U.S. Army Corps of Engineers
Jacksonville District
P.o. Box 4970
Jacksonville, FL 32207- 8 J 75

Dear Mr. DeMarco:

This letter is in response to the San Juan Harbor, Puerto Rico Integrated Feasibility Report &
Environmental Assessment. The document evaluates modifications to the existing Federal
navigation system to improve its ability to efficiently serve the current and future vessel fleet and
projected future cargo volumes in San Juan Harbor, Puerto Rico.

The Recommended Plan includes widening and deepening the inner harbor channels that lead to
several petroleum terminal operators within the Army Terminal Turning Basin. There would also
be deepening in the Federal channels that lead to the cruise ship terminals. This is necessary
because the existing depths and widths of the Federal channels place constraints on vessels
utilizing the harbor. Navigation concerns relate to three problems: difficult wind and wave
conditions, limited channel and turning basic widths, and insufficient Federal channel depths.
The Recommended Plan would not increase the amount of commodities moving through the port
in a given year, nor the number of vessels utilizing the port, however benefits would be
experienced in efficiencies in the number of vessels loading deeper and more efficiently to bring
the same amount of goods to San Juan.

The executive summary notes that issues relating to threatened and endangered species were of a
controversial nature for this project. Therefore, it would have been useful to explicitly state in the
executive summary that all listed determinations were the result of completed consultations with
that National Marine Fisheries Service and the U.S. Fish and Wildlife Service.

The document addresses how wind and wave, current, and tidal range within ~he project area
could be affected by sea level rise, however there was no discussion of how these environmental
conditions could be affected by increase storm frequency and severity. In light of the impacts of
Hurricane's Irma and Maria, additional discussion of potential stonn impacts to the harbor and
the industries that depend on it would have been valuable.




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      Case 1:22-cv-02430-CJN Document 30-3 Filed 05/05/23 Page 22 of 295



Thank you for the opportunity to comment. Should you have any questions concerning this letter
please feel free to contact Stephanie Lamster of my staff at 212-637-3465.

Sincerely,



Grace Musumeci, Chief
Environmental Review Section




                                                                             USACE_000024
Case 1:22-cv-02430-CJN Document 30-3 Filed 05/05/23 Page 23 of 295



                                      SAN JUAN HARBOR
                                           PUERTO RICO
                                      INTEGRATED FEASIBIlITY REPORT
                                     & ENVIRONMENTAL ASSESSMENT


                                              EXECUTIVE SUMMARY
                                                 and MAIN REPORT
                                                            2018




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                                                                                          RECOMMENDED PLAN
                                                                                          WIDENING & EXPANSION
                                                                                            Widen Army Terminal Channel
                                                                                            from 350' to 450' maximum
                                                                                            Army Terminal Turning Basin
                                                                                            flares (East & West)
                                                                                            1,050' Expansion of San Antonio
                                                                                            Channel Extension
                                                                                         DEEPENING
                                                                                           cut 6 to 46'
                                                                                            Anegodo Channel to 44'
                                                                                            Army Terminal Channel to 44'
                                                                                            Army Terminal Turning Basin to 44'
                                                                                            San Antonio Channels to 36'
                                                                                            (AUTHORIZED)
                                                                                            Cruise Ship Basin East to 36 '
                                                                                            (AIITHORIZED)

                                                                                          With PREPA LNG Conversion
                                                                                           To iol Federal Cost:.$ 4O,636.<XXl
                                                                                           To lal NorrFederal Cost:.$ 363,338,(XX)
                                                                                           TOTAL COST: S 403,'75,000
                                                                                           AAEQ Benefits:.$ 75,269 '(XXl
                                                                                           AAEQ Costs: .$ 15,172.(XXl
                                                                                           AAEQ NET BENEFITS: $ 60,0'7,000
                                                                                           BCR: 5.0at2.75%


                                                                                          W / O PREPA LNG Conversion
                                                                                           Tolal Federal Cost: $40,636,CXXl
                                                                                           Tolal Non-Federa l Cost: $15.3 14,000
                                                                                           TOTAL COST: S 55, 950,000
                                                                                           AA£Q Be n efi ts: $4322JlOO
                                                                                           AAfQ Costs: $2281.CXXl
                                                                                           AAEQ NET BENEfITS: $ 2,041 ,000
                                                                                           BCR: 1.'1012.75%

Figure ES-1: Recommended Plan




                                                                                                                 USACE_000030
Case 1:22-cv-02430-CJN Document 30-3 Filed 05/05/23 Page 26 of 295




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                                                                USACE_000031
       Case 1:22-cv-02430-CJN Document 30-3 Filed 05/05/23 Page 27 of 295
             San Juan Harbor Integrated Feasibility Report and Environmental Assessment


EXECUTIVE SUMMARY
Integrated Feasibility Report and Environmental Assessment (IFR/EA) are used to determine if there is a
Federal interest in navigation improvements at San Juan Harbor, Puerto Rico. The USACE study authority
for this IFR/EA is House Resolution 2764 of the Committee on Transportation and Infrastructure, U.S.
House of Representatives, adopted September 20, 2006, which authorizes the Secretary of the Army to
determine the feasibility of providing navigation improvements at San Juan Harbor, Puerto Rico to
increase security, safety and efficiency.

DESCRIPTION OF REPORT
The lead agency for this navigation study is the U.S. Army Corps of Engineers, Jacksonville District (USACE).
The Puerto Rico Ports Authority (PRPA) is the non-Federal sponsor.

The USACE navigation mission statement is to provide safe, reliable, efficient, and environmentally
sustainable waterborne transportation systems for movement of commerce, national security, and
recreation consistent with the Environmental Operating Principles. The Environmental Operating
Principles are:

x   Foster sustainability as a way of life throughout the organization.
x   Proactively consider environmental consequences of all the U.S. Army Corps of Engineers (USACE)
    activities and act accordingly.
x   Create mutually supporting economic and environmentally sustainable solutions.
x   Continue to meet our corporate responsibility and accountability under the law for activities
    undertaken by the USACE, which may impact human and natural environment.
x   Consider the environment in employing a risk management and systems approach throughout life
    cycles of projects and programs.
x   Leverage scientific, economic, and social knowledge to understand the environmental context and
    effects of the USACE actions in a collaborative manner.
x   Employ an open, transparent process that respects views of individuals and groups interested in the
    USACE activities.

In accordance with the USACE navigation mission and the Environmental Operating Principles, this
Integrated Feasibility Report and Environmental Assessment (IFR/EA) documents the study process and
presents the results of investigations and analyses conducted to evaluate modifications to the existing
Federal navigation system to improve its ability to efficiently serve the current and future vessel fleet and
process the forecasted cargo volumes.

The San Juan Harbor, Puerto Rico study area encompasses the bar (entrance) channel, inner harbor
channels, offshore dredged material placement sites, beneficial use dredged material placement sites,
and any extension of the water bodies and shorelines that could be impacted by proposed improvements.
This IFR/EA presents: (1) a survey of existing and future conditions; (2) an evaluation of related problems
and opportunities; (3) development of potential alternatives; (4) a comparison of costs, benefits, adverse
impacts, and feasibility of those alternatives; and (5) the results of the engineering, economic,
environmental, and real estate investigations performed for this study which are used to determine if
there is a Federal interest in navigation improvements at San Juan Harbor for identification of a National
Economic Development (NED) Plan and a Recommended Plan.




                                                    ES-1
                                                                                          USACE_000032
       Case 1:22-cv-02430-CJN Document 30-3 Filed 05/05/23 Page 28 of 295
             San Juan Harbor Integrated Feasibility Report and Environmental Assessment


PURPOSE AND NEED
As the cargo transportation industry continues to shift to larger, more efficient petroleum tankers and
larger cruise ships to meet increased passenger transportation needs, the vessel fleet is trending toward
larger, deeper-draft vessels, particularly for gasoline, jet fuel, diesel, liquefied petroleum gas (LPG)
products, and liquefied natural gas (LNG). The Federal channels serving San Juan Harbor’s major terminals
are currently authorized to depths ranging from -30 to -40 feet MLLW. To reach port terminals, existing
petroleum product tankers must light load, which results in additional transits to provide the required
quantities of gasoline, jet fuel, diesel fuel, and other petroleum products for the island. These channel
depth constraints require vessel operators to forego potential transportation cost savings available from
the economies of scale associated with existing and larger ships drafting deeper. Restrictive channel
widths along Army Terminal Channel also limit access of larger Long Range (LR2) tankers and future LNG
ships to terminals at the Army Terminal Turning Basin. Additionally, prevailing winds from the east at 25-
30 knots can increase the effective beam of vessels. This problem is particularly notable in the Bar
Channel. For cruise ships, the limiting channel depths in cruise ship related channels and basins restrict
maneuverability for turn-and-go movements, ultimately increasing transit time within the harbor. The
purpose of this study is to reduce or eliminate transportation cost inefficiencies for the petroleum product
tankers and larger cruise ships transiting the Federals channels of San Juan Harbor and to avoid and/or
minimize environmental impacts.

The study is needed as the existing depths and widths of the Federal channels place constraints on vessels
currently calling San Juan Harbor. These navigation concerns are primarily attributed to three main
problems: difficult wind and wave conditions, limited channel and turning basin widths, and insufficient
Federal channel depths.

RECOMMENDED PLAN
Federal interest in cost sharing of the navigation improvements for the Recommended Plan are based on
the expected returns to the national economy, or National Economic Development (NED) benefits. NED
benefits are generated by reducing inefficiencies in the existing transportation system resulting in
transportation cost savings or reducing transportation costs. Net benefits are calculated by subtracting
the total cost to construct and maintain the improvements over a 50-year study period from the total
transportation cost savings (project benefits) that would be generated by the proposed improvements
over that period. The NED Plan is the alternative that reasonably maximizes net average annual equivalent
(AAEQ) NED benefits (AAEQ benefits minus AAEQ costs) while remaining consistent with the Federal
objective of protecting the Nation’s environment.

Alternative plans combining multiple structural and nonstructural measures to improve the efficiency of
the navigation system were assessed to determine the Recommended Plan. In this study, the
Recommended Plan is the NED plan. It proposes navigation improvements by combining the identified
measures within the following economic modeling phases:

From Economic Modeling Phase 1: Widen Army Terminal Channel 100 feet (from an existing width of 350
feet to a width of 450 feet) at the existing depth of -40 feet mean lower low water (MLLW).

From Economic Modeling Phase 2: Deepen Cut-6 to -46 feet MLLW, Anegado Channel to -44 feet MLLW,
widen Army Terminal Channel by 100-foot to a width of 450 feet, deepen Army Terminal Channel (ATC)
to -44 feet MLLW, deepen Army Terminal Turning Basin (ATTB) to -44 feet MLLW, and construct two flares
(east and west) in the Army Terminal Turning Basin to -44 feet MLLW.




                                                   ES-2
                                                                                         USACE_000033
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             San Juan Harbor Integrated Feasibility Report and Environmental Assessment


And, from Economic Modeling Phase 5: Deepen San Antonio Channel, San Antonio Approach Channel, San
Antonio Channel Extension, and Cruise Ship Basin East to the authorized depth of -36 feet MLLW. Expand
the limits of San Antonio Channel Extension by 1,050 feet to the east.

Dredged Material Placement Options:

Base Plan - Place dredged material at the existing Ocean Dredged Material Disposal Site (ODMDS).
Estimate includes use of a mechanical clamshell dredge in combination with a hydraulic hopper dredge to
excavate approximately 2.2 million cubic yards of material.

Optional beneficial use of dredged material involves the filling of artificial depressions in Condado Lagoon
to restore seagrass habitat and improve water quality.

The Recommended Plan is economically justified. Based on evaluation of existing surveys and benthic
surveys conducted by both the National Marine Fisheries Service (NMFS) Habitat Conservation Division
(HCD) and the USACE Planning and Operations Divisions (PD/OD), deepening and widening improvements
of the Recommended Plan are not anticipated to result in direct impacts to submerged aquatic vegetation
(SAV). Impacts to listed corals from dredging and dredged material transport related turbidity are not
anticipated.

The Recommended Plan recommends widening and deepening the inner harbor channels leading to
several petroleum terminal operators within the Army Terminal Turning Basin. Deepening would also
occur to the Federal channels leading to cruise ship terminals. Specifically, the Recommended Plan
recommends deepening Cut-6 of the entrance channel from -42 feet to -46 feet MLLW, deepening the
Anegado Channel, the Army Terminal Channel, and the Army Terminal Turning Basin from -40 feet to -44
feet MLLW. Widening involves a 50-foot widener to both sides of Army Terminal Channel to increase the
total width by 100 feet from 350 feet to 450 feet, and eastern and western flares at the southern terminus
of the Army Terminal Turning Basin to accommodate larger vessels. The Recommended Plan also includes
a 1,050 foot expansion of the San Antonio Channel Extension. Additionally, the Recommended Plan
includes deepening the Federal channels adjacent to the cruise ship terminals, to include the San Antonio
Approach Channel and the San Antonio Channel from -35 feet MLLW to the authorized depth of-36 feet
MLLW, the San Antonio Channel Extension from -30 feet MLLW to the authorized depth of -36 feet MLLW,
and the Cruise Ship Basin East from -30 feet MLLW to the authorized depth of -36 feet MLLW. Although
these segments are already authorized, their construction to the authorized depth of -36 feet MLLW was
deferred. This IFR/EA provides the economic justification to construct to the previously authorized depths.
Figure ES-1 compares the existing channel dimensions with the proposed improvements, summarizes the
economic benefits and costs associated with the Recommended Plan and illustrates the general locations
of the proposed improvements.

COSTS AND BENEFITS
Throughout this IFR/EA, two economic analyses are presented for the Recommended Plan, a with LNG
conversion analysis and a without LNG conversion analysis. The two economic analyses represent the
same Recommended Plan, but differ in the future with-project assumptions that the Puerto Rico Electric
Power Authority (PREPA) will or will not convert its two San Juan area power plants to LNG. Estimated
project first costs of the Recommended Plan are approximately $54,042,000 with or without the LNG
conversion.




                                                   ES-3
                                                                                         USACE_000034
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             San Juan Harbor Integrated Feasibility Report and Environmental Assessment


The benefits attributable to the Recommended Plan are generated from: (1) transportation savings
through the use of existing ships drafting deeper and larger ships to transport the projected cargo volumes
and (2) increased maneuverability of cruise vessels, but also (3) power generation cost reduction benefits
in the “with LNG conversion” future with-project condition. Based on existing and projected future vessel
traffic, vessel fleet mix, trade route allocations, and liner services currently associated with the San Juan
Harbor, four design vessels were selected. Characteristics of the design vessels were used to develop
channel dimensions and alignment adjustments through HarborSym ship simulation. Ship simulation, with
input from the harbor pilots, determined the optimal future with-project channel footprint. The
dimensions of the four design vessels used for ship simulation are: (1) a 965-foot length, 106-foot beam,
and a 44-foot draft container ship; (2) a 802-foot length, 138-foot beam, and a 51-foot draft LR2 tanker;
(3) a 951-foot length, 151-foot beam, and 39-foot draft LNG tanker; (4) a 1187-foot length, 154-foot beam,
and 31-foot draft cruise ship. Recommended Plan’s benefits are developed by comparing the future with-
project condition to the future without-project condition. The Recommended Plan reasonably maximizes
net benefits by providing AAEQ net benefits of $60,097,000 with the LNG conversion and $2,041,000
without the LNG conversion. The entire project is economically justified. The Recommended Plan also
maintains a robust benefit-to-cost ratio (BCR) of 5.0 with the LNG conversion and a BCR of 1.9 without the
LNG conversion. Table ES-1 provides a summary of the Federal and non-Federal costs and Table ES-2
provides the annualized benefits and costs for the Recommended Plan.




                                                    ES-4
                                                                                          USACE_000035
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                San Juan Harbor Integrated Feasibility Report and Environmental Assessment


                                      Table ES-1: Federal and Non-Federal Costs
                       FEDERAL/NON-FEDERAL COST APPORTIONMENT for RECOMMENDED PLAN
                                     October 01, 2017 Price Levels (FY 2018)
            Deepen Cut-6 to 46' + Widen & Deepen ATC to 44' + Deepen Anegado Channel & ATTB to 44'
                                + Deepen SAC, SAAC, SAC Extension & CSBE to 36'*
                                                                           Total Cost    Federal Share    Non-Fed Share
GENERAL NAVIGATION FEATURES (GNF)                                        >20' to 50'               75%                 25%
Mobilization & Demobilization (Clamshell)                                   $3,350,000      $2,512,000           $837,000
Standby Time (Mechanical Clamshell)                                          $234,000        $175,500             $58,500
Mobilization & Demobilization (Hydraulic Hopper)                            $2,744,000      $2,058,000           $686,000
Standby Time (Hydraulic Hopper)                                               $349,000        $261,750             $87,250


                 ~Economic Modeling Phase 1~
W iden ATC 100' @ Existing 40' (Cut 8)                                      $7,389,000      $5,541,750         $1,847,250
                 ~Economic Modeling Phase 2~
Deepen Cut 6 @ 46'                                                            $742,000        $556,500           $185,500
Deepen Anegado (Cut 7) @ 44'                                                $6,762,000      $5,071,500         $1,690,500
Deepen and W iden ATC 100' @ 44' (Costs only for
deepening/widening improvements > 40')                                      $8,475,000      $6,356,250         $2,118,750
Deepen ATTB @ 44' (Cut 8)                                                   $7,352,000      $5,514,000         $1,838,000
ATTB East & W est Flares @ 44'                                              $1,354,000      $1,015,500           $338,500
                   ~Economic Modeling Phase 5~
Deepen SAAC @ 36' (Cut 18)                                                    $494,000        $370,500           $123,500
Deepen SAC @ 36' (Cut 18)                                                   $2,849,000      $2,136,750           $712,250
Deepen SAC Extension @ 36' (Cut 20)                                           $596,000        $447,000           $149,000
Deepen CSBE @ 36' (Cut 22)                                                  $2,346,000      $1,759,500           $586,500

Sea Turtle Non-Capture Trawl Sweeping                                          $39,000         $29,250             $9,750
Real Estate Administrative Costs                                               $66,000         $49,500            $16,500
Preconstruction, Engineering, & Design                                      $4,619,000      $3,464,250         $1,154,750
Construction Management (S&A)                                               $4,282,000      $3,211,500         $1,070,500


PROJECT FIRST COSTS (ROUNDED)                                             $54,041,000      $40,530,750        $13,510,250
* ATC= Army Terminal Channel, ATTB=Army Terminal Turning Basin, SAC=San Antonio Channel, SAAC=San Antonio Approach
Channel, CSBE=Cruise Ship Basin East
**The Non-Federal Sponsor shall pay an additional 10% of the costs of GNF of the NED plan, pursuant to Section 101 of WRDA
1986.




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    Table ES-2: Costs and Benefits of the Recommended Plan with or without the LNG conversion




ENVIRONMENTAL IMPACTS AND MITIGATION
Public and environmental resource agencies expressed concerns about the effects of the study
alternatives on Endangered Species Act (ESA) listed corals, green and hawksbill sea turtles, sea grasses,
mangroves, manatees, dolphins, and boat wake induced shoreline erosion.

Based on database search of existing surveys and preliminary benthic surveys conducted from January
through December 2016 by both the National Marine Fisheries Service (NMFS) Habitat Conservation
Division (HCD) and USACE Planning (PD) and Operations Divisions (OD), the deepening and widening
measures along the Army Terminal Channel would not result in direct impacts to submerged aquatic
vegetation (SAV). SAV including macroalgae and seagrass has been mapped in many scattered areas of
the San Juan Harbor, but typically in less than 15'-20' water depths. In addition, all seven ESA listed
threatened coral species have been documented on the discontinuous linear or fringing reef consisting of
corals covering fossil sand dunes (i.e., eolianites) trending in an east-west direction and extending, in some
sites, up to 0.9 miles off shore along the north coast of the San Juan metropolitan area. However, the
closest previously mapped hardbottom habitat (colonized pavement) is 1,500 feet from the closest dredge
area (Cut-6) and Acroporid coral designated critical habitat (DCH) is approximately 2,500 feet north of
Cut-6. Therefore, direct impacts to listed corals and Acroporid DCH from dredging and dredged material
transport related turbidity are not anticipated. The fringing reefs east of the San Juan Harbor bar channel
in the Isla Verde area have been significantly stressed or affected from sedimentation and organic
pollution coming from the San Juan Bay Estuary. This is evident by a remarkably high frequency of hard
coral colonies impacted by Black Band Disease, which suggests poor water quality (Coll Environmental,
2005). Construction may affect but is not likely to adversely affect manatees and listed corals or result in
adverse modification to Acroporid DCH. Additionally, construction would not be likely to jeopardize the
continued existence of sea turtles. In conclusion, no long-term impacts from the Recommended Plan are
expected to listed species or Acroporid DCH.

A background investigation and cultural resources remote sensing survey of the San Juan Harbor channel
Area of Potential Effect (APE) was conducted for the proposed project in consultation with the Puerto Rico
State Historic Preservation Officer (SHPO) and the Instituto de Cultura Puertorriqueña. While background
research revealed numerous shipwrecks within the project vicinity, no previously identified cultural


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resources were located within the APE. SEARCH, Inc. (SEARCH) conducted a remote sensing survey of the
San Juan Harbor between June 1 and June 6, 2017. As a result of this survey, no historic properties were
identified within the Recommended Plan. The USACE has determined that the Recommended Plan for the
San Juan Harbor Navigation Improvements Study poses no effect to historic properties listed or eligible
for listing in the National Register of Historic Places (NRHP). The Puerto Rico SHPO concurred with the
determination.

Construction of the Recommended Plan would cause temporary and minor adverse impacts to water
quality in the areas near dredging activities. The USACE, Jacksonville District will monitor impacts of the
project, if any, and ensuring that they are similar to those predicted during the study and will update its
NEPA analysis, as appropriate.

AREAS OF CONTROVERSY AND UNRESOLVED ISSUES
Concerns raised by agencies and the public included effects of the study alternatives on ESA corals, green
and hawksbill sea turtles, seagrasses, mangroves, manatees, dolphins, and boat wake induced shoreline
erosion. These concerns were addressed in the completed consultations with the NMFS and the U.S. Fish
and Wildlife Service and within this final IFR/EA. If during PED any unanticipated potential impacts are
identified, additional evaluation may be conducted.

AREAS OF RESIDUAL RISK
The conservative assumptions used to reflect the level of data collection efforts for the study make it more
likely that costs and impacts will be lower than those presented in the IFR/EA. Any beneficial uses of
dredged material would be implemented at the option of the USACE and the cost difference would be
cost-shared with the entity requesting the beneficial use of the material.

As previously discussed, two economic analyses are presented for the Recommended Plan to address the
uncertainty surrounding the anticipated conversion of the two San Juan area power plants to LNG and
associated power generation cost reduction benefits. The economic analysis which assumes that there
will be no conversion to LNG removes any power generation cost reduction benefits generated from a
conversion to a more efficient power generation. The BCR without the LNG conversion is 1.9 and with the
LNG conversion is 5.0 at the Federal Water Resources Discount Rate (FY18) of 2.75%.

With either economic analysis used, the proposed navigation improvements of the Recommended Plan
remain economically justified. To determine which economic analysis and BCR should be used for
decision-making purposes, the progress of PREPA’s LNG conversion will be assessed prior to any future
budgeting of Federal funds for design and construction of the project. It is likely that the higher BCR
resulting from the with LNG conversion would increase the project’s budgetary priority above what it
would be for the without LNG conversion. This assessment will be managed out of USACE project
management.




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                       SAN JUAN HARBOR IMPROVEMENTS
          INTEGRATED FEASIBILITY REPORT/ENVIRONMENTAL ASSESSMENT

* Items required for an Environmental Assessment by the National Environmental Policy Act

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                              LIST OF ACRONYMS AND ABBREVIATIONS

AAEQ         average annual equivalent                 DQM     dredging quality management

ACS          American Community Survey                 E       Endangered

APE          area of potential effect                  EA      environmental assessment

AQCR         Air-Quality Control Regions               EC      entrance channel

ASA (CW)     Assistant Secretary of the Army           EFH     Essential Fish Habitat
             for Civil Works
                                                       EJ      Environmental Justice
BCR          benefit to cost ratio
                                                       Em      Engineering Manual
CAA          Clean Air Act
                                                       EO      Executive Order
CAR          Caribbean Basin
                                                       EOPs    Environmental Operating
CBRA         Coastal Barrier Resources Act                     Principles

CECW         Corps of Engineers Civil Works            EPA     Environmental Protection
                                                               Agency
CEDA         Central Dredging Association
                                                       EQ      environmental quality
CEQ          Council on Environmental
             Quality                                   ER      Engineering Regulation

CERCLA       Comprehensive Environmental               ERDC    Engineering Research &
             Response, Compensation &                          Development Center
             Liability Act
                                                       ESA     Endangered Species Act
CFR          Code of Federal Regulations
                                                       ESO     endangered species observers
CO2          carbon dioxide
                                                       FMC     fishery management council
CSRA         cost & schedule risk analysis
                                                       FR      Federal register
CWA          Clean Water Act
                                                       FS      feasibility study
cy           cubic yards
                                                       ft      foot/feet
dB           decibels
                                                       FWOP    future without-project
dB re 1uPa @1m decibels relative to 1
micropascal at 1 meter                                 GI      global insight

DNER         Department of Natural &                   GIS     geographic information system
             Environmental Resources
                                                       GNF     general navigation features
DO           dissolved oxygen
                                                       HAB     hazardous air pollutants
DPS          distinct population segment


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HAPC           habitat areas of particular                NE       no effect
               concern
                                                          NED      National Economic
HTRW           Hazardous, Toxic, & Radioactive                     Development
               Waste
                                                          NEPA     National Environmental Policy
Hz             Hertz                                               Act

IDC            interest during construction               NHPA     National Historic Preservation
                                                                   Act
IFR/EA         Integrated Feasibility Report &
               Environmental Assessment                   NMFS     National Marine Fisheries
                                                                   Service
kHz            kilohertz
                                                          NOA      notice of availability
LERRs          Land, Easement, Rights-of-way
               & Relocation Areas                         NOAA     National Oceanic & Atmospheric
                                                                   Administration
lm/ft2         linear meters per square foot
                                                          NOx      nitrous oxides
LOA            length overall
                                                          NPS      National Park Service
LPP            locally preferred plan
                                                          NRHP     National Register of Historic
m              meter                                               Places
MANLAA         may affect not likely to                   NTU      nephlometric turbidity units
               adversely affect
                                                          O3       ozone
mg/L           milligrams per liter
                                                          O&M      Operations & Maintenance
MHW            mean high water
                                                          ODMDS    Ocean       dredged      material
ml             milliliters                                         disposal site
MLLW           mean lower low water                       OMRR&R   Operations, Maintenance,
                                                                   Repair, Rehabilitation, &
MMPA           Marine Mammal Protection Act
                                                                   Replacement
mm/s           millimeters per second
                                                          OPA      otherwise protected area
MPRSA          Marine Protection, Research, &
                                                          OSE      other social effects
               Sanctuaries Act
                                                          PDT      project delivery team
MSA            Magnuson-Stevens Fishery
               Conservation & Management                  PED      Preconstruction Engineering &
               Act                                                 Design
NAAQS          National Ambient Air Quality               PIERS    Port Import/Export Reporting
               Standards                                           System
NAVFAC         Naval Facility                             PM       particulate matter


                                                 TOC-10

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PPA           project partnership agreement            T&E     threatened & endangered

PPT           parts per thousand                       TEDs    turtle excluder devices

PRPA          Puerto Rico Ports Authority              TMDL    total maximum daily load

RCRA          Resource Conservation &                  TPCS    total project cost summary
              Recovery Act
                                                       U.S.    United States
RED           Regional Economic
              Development                              USACE   United States Army Corps of
                                                               Engineers
RHA           Rivers & Harbors Act
                                                       USC     United States Code
RP            Recommended Plan
                                                       USCG    United States Coast Guard
SAD           South Atlantic Division
                                                       USEPA   United States Environmental
SAFMC         South Atlantic Fishery                           Protection Agency
              Management Council
                                                       USFS    United States Forest Service
SAJ           Jacksonville District
                                                       USFWS   United States Fish & Wildlife `
SAMP          Special Area Management Plan                     Service

SARBO         South Atlantic Regional                  USGS    United States Geological Survey
              Biological Opinion
                                                       USVI    United States Virgin Islands
SHPO          State Historic Preservation
              Officer                                  VOC     volatile organic carbon

SLC           sea level change                         WIIN    Water Infrastructure
                                                               Improvements for the Nation
SMART         Specific, Measurable,                            Act
              Attainable, Risk Informed &
              Timely                                   WQC     water quality certification

SMMP          Site Management & Monitoring             WRDA    Water Resources Development
              Plan                                             Act

sp            species                                  WRRDA   Water Resources Reform &
                                                               Development Act
T             Threatened

T&C           terms & conditions




                                              TOC-11

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1.0     STUDY INFORMATION




Figure 1-1: San Juan Harbor Cruise Ship Terminals along San Antonio Channel
This Integrated Feasibility Report and Environmental Assessment (IFR/EA) documents the feasibility
study process and presents the results of investigations and analyses conducted to evaluate potential
navigation system improvements at San Juan Harbor, Puerto Rico (Figure 1-1).

1.1     Introduction*
San Juan Harbor is located on the north coast of Puerto Rico and is the island’s principal port
(Figure 1-2). The majority of the Commonwealth’s waterborne cargo and cruise ships pass through the
harbor. In 2015, approximately 78% of the Commonwealth’s non-petroleum and non-coal waterborne
commerce came in through San Juan Harbor. Additionally, San Juan Harbor provides the only natural
harbor offering all-weather protection to shipping along the entire north coast.

Currently medium range petroleum tankers must reduce their cargo capacity by loading lighter than
their design draft allows or light load to access terminals at Army Terminal Channel. Additionally, some
container ships serving the terminals along Puerto Nuevo Channel must exit the harbor by retracing
their path instead of using the most direct route by way of Graving Dock Channel, which limits the draft
of these vessels due to the 36-foot depth constraint of Graving Dock Channel. The Federal channels
serving San Juan Harbor’s major terminals are currently authorized to a depth of -40 feet MLLW for
Army Terminal, -39 feet MLLW for Puerto Nuevo, -36 feet MLLW for Graving Dock, -36 feet MLLW for
San Antonio Approach, -36 feet MLLW for the San Antonio, -36 feet MLLW for the San Antonio Channel
Extension, and -36 feet MLLW for the Cruise Ship Basin East (Figure 1-3). The existing dimensions of
those channels place constraints on deeper-drafting petroleum tankers, which result in reduced
efficiency and increased costs. The feasibility study analyzed the beneficial and adverse effects
associated with various alternatives that would increase the channel dimensions or apply non-
structural measures and balances the economic, environmental, and engineering considerations. This
report summarizes the results of the study and will provide the basis for a decision whether to
authorize modifications to the existing navigation system or not.

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Projections of future waterborne commerce, port-specific traffic, cargo volume, commodity
characteristics, vessel size, and trade lane distribution drive the analysis of transportation cost savings
across various alternatives. The study weighs the overall costs and benefits of each alternative against
each other to identify and recommend the best solutions. Dredging and placement of dredged material
constitute the major project costs for this study. The models used to forecast the future conditions
and changes for this study maintain consistency with those used on other harbor investigations and
have received certification or approval for use by the USACE.




Figure 1-2: Location Map




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Figure 1-3: Location of the primary Federal channels, features, and major terminals.

1.2     Study Authority*
The USACE study authority for this IFR/EA is House Resolution 2764 of the Committee on
Transportation and Infrastructure, U.S. House of Representatives, adopted September 20, 2006, which
authorizes the Secretary of the Army to determine the feasibility of providing navigation
improvements at San Juan Harbor, Puerto Rico to increase security, safety and efficiency.

The costs for the IFR/EA are shared between the USACE and PRPA according to Section 105 of the
Water Resources Development Act (WRDA) of 1986, Public Law 99-662, as amended. The study phase
will end on the date the report is submitted to Congress by the Assistant Secretary of the Army for Civil
Works (ASA (CW)) for authorization.

1.3     Federal Policy and Procedures
The USACE planning process follows the six-step process defined in the Principles and Guidelines (P&G)
for Water and Related Land Resources Implementation Studies. This process, used for all planning
studies conducted by the USACE, provides a structured approach to problem solving and provides a
rational framework for sound decision making. The six steps include: 1) Identify Problems and

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Opportunities, 2) Inventory and Forecast Conditions, 3) Formulate Alternative Plans, 4) Evaluate
Alternative Plans, 5) Compare Alternative Plans, and 6) Select a Plan.

As a part of the SMART (Specific, Measurable, Attainable, Risk Informed, Timely) planning
modernization initiative a charrette was held. The charrette involved a single-day meeting held at the
beginning of the study process on November 4, 2015, to apply a risk-based approach to streamline the
study scope and process by eliminating non-essential activities from the decision-making process.
These initiatives followed Congressional action in Section 1001(a) of the Water Resources Reform and
Development Act of 2014 (WRRDA 2014) which codified, generally, the USACE’s planning parameters
limiting the duration, cost, and agency approval process for future feasibility studies. The USACE has
applied these provisions by ensuring that appropriate parameters are maintained for the duration,
cost, and agency approval process for the feasibility study for the Project.

While completing studies faster and at lower costs, the modernized USACE planning process intends
to generate reports that are more concise and easier to understand but still present a thorough
analysis of all important considerations. The combination of this feasibility report and Environmental
Assessment (EA) into an integrated document meets the requirements of water resource development
law and policy, the National Environmental Policy Act (NEPA) (42 U.S.C. §4321 et seq.), and necessary
environmental clearances.

1.4     Objectives*
The overall Federal objective related to water resources project planning contributes to National
Economic Development (NED), consistent with protecting the Nation’s environment, pursuant to
national environmental statutes, applicable executive orders, and other Federal planning
requirements. Water resources project plans alleviate problems and take advantage of opportunities
in ways that contribute to this objective. The Economics Appendix provides additional information
about contributions to NED.

The expected return to the national economy on the total investment to construct and maintain the
improvements over a 50-year study period, spanning from 2026 to 2075, characterizes the analysis to
determine if a Federal interest exists in implementing navigation improvements at San Juan Harbor.
Like most USACE navigation studies, the return to the national economy involves reducing
transportation costs by addressing inefficiencies in the existing transportation system. Unique to San
Juan Harbor, returns to the national economy in terms of reduction in costs of power generation for
the Commonwealth is also considered. For a Federal interest to exist, the contribution to NED must
exceed the cost to construct and maintain the project over the 50-year period of analysis, which for
San Juan Harbor it is from 2026 through 2075. The NED benefits associated with each of the
alternatives considered include the costs to implement and maintain the improvements. This IFR/EA
and the supporting appendices summarize the results and include recommendations.

1.5     Purpose and Need*
The purpose of this project is to allow for petroleum product tankers and larger cruise ships to
efficiently transit the Federal Channels by reducing or eliminating transportation cost inefficiencies,
such as light loading, while minimizing and avoiding environmental impacts. The project is needed
because the existing depths and widths of the Federal channels place constraints on larger more
efficient petroleum product tankers and larger cruise ships. To reach port terminals, some of the
existing ships must light load, which results in additional transits to provide the required quantities of
gasoline, jet fuel, diesel fuel, and other petroleum products for the island. Channel depth constraints

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require the vessel operator to forego potential transportation cost savings available from the
economies of scale associated with existing and larger ships drafting deeper. The widening of Army
Terminal Channel will allow Liquefied Natural Gas (LNG) tankers to access the Puerto Rico Electric
Power Authority (PREPA) terminal at the Army Terminal Turning Basin, which provides for the
introduction of natural gas to PREPA’s San Juan power plants as a more economical fuel source
compliant with U.S. Environmental Protection Agency (USEPA) regulations such as the Mercury and Air
Toxic Standards (MATS). Deepening of Cut-6 through the Army Terminal Turning Basin will allow
petroleum product tankers to load more deeply resulting in the potential for reduced transits and
associated transportation cost savings. Section 3 of this report contains more detailed information
about the project objectives and the alternatives developed in accordance with this purpose and need
statement.

1.6     Scope
This IFR/EA includes (1) a survey of existing and future conditions; (2) an evaluation of related problems
and opportunities; (3) development of potential alternatives; (4) evaluation of alternatives; (5) a
comparison of costs, benefits, adverse impacts, environmental acceptability, and feasibility of those
alternatives; and (6) identification of a Recommended Plan. Information for the analysis came from
land and hydrographic surveys, hydrodynamic and water quality modeling, socioeconomic projections,
sediment sampling, and numerous other data collection efforts. This study includes data from previous
studies augmented with information from the PRPA, the PREPA, commercial shippers, Federal,
Commonwealth, and local resource agencies, as well as Geographic Information System (GIS) mapping
of significant resources and features.

This IFR/EA forecasts waterborne cargo volumes, traffic patterns and vessel fleets, and evaluates the
need for navigation system improvements over a 50-year period of analysis. It considers a wide range
of structural and some non-structural measures within and near the harbor that could address
inefficiencies within the system. However, it concentrates on potential changes to water-based
transportation system components that are within the scope of the study authority described above.

1.7     Study Area*
Figure 1-2 locates San Juan Harbor on the northeast coast of the Commonwealth of Puerto Rico. The
Commonwealth's cruise ships, containerized cargo, dry bulk grains, general cargo (including
automobiles), and petroleum products pass through San Juan Harbor. The entrance channel accesses
the Atlantic Ocean to the north between Isla de Cabras and Old San Juan. Figure 1-3 shows the
locations of the Federal channels and major terminals considered in this study. It also illustrates the
relative locations of the Inner Harbor, Entrance Channel, and terminals.

As shown in Figures 1-3 and 2-2 the study area includes the entrance channel, the Federal inner harbor
channels, Ocean Dredged Material Disposal Site (ODMDS), beneficial use of dredged material
placement areas, and any extension of these water bodies and shorelines that would be impacted by
channel enlargement alternatives or any potential associated landside infrastructure changes.

1.8     Existing Project*
Historical Perspective
San Juan Harbor has been in use since the colonization of the Island by the Spanish. Authorization for
Federal improvements began in 1907 by the River and Harbor Act of 1907, Public Law 59-168. The
existing navigation project was authorized in Section 202(a) of the Water Resources Development Act

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of 1986, Public Law 99-662, as amended by Section 301(a)(12) of the Water Resources Development
Act of 1996, Public Law 104-303.

The authorized navigation features described in the General Reevaluation Report and Environmental
Assessment dated March 1994, revised June 1994, were approved by the Acting Assistant Secretary of
the Army (Civil Works) on July 8, 1994. The last federally constructed navigation improvements under
this authority included deepening the bar channel (Cuts 1-3) to project depths of 56-51 feet, the
Entrance Channel to 48-42 feet, Anegado Channel to 40 feet, Army Terminal and Turning Basin to 40
feet, Puerto Nuevo Channel to 39 feet, Graving Dock Channel to 36 feet, Graving Dock Turning Basin
to 30 feet, Anchorage Area E to 36 feet, Anchorage Area F to 30 feet, San Antonio Channels to 35 feet,
Cruise Ship Basin West to 36 feet and Cruise Ship Basins East to 30 feet, and the San Antonio Channel
Extension to 30 feet.

In the 1994 GRR, the Corps deferred the authorized deepening of the Cruise Ship Basin, the San Antonio
Channel and the San Antonio Extension to 36 feet because these improvements could not be
economically justified at that time. Authorized deferred features are being reconsidered in this study.

The U.S. Census data reveals that the population of Puerto Rico increased from 1950 to 2000, with a
net increase of 1,597,907, which constitutes an average annual increase of 1.5%, or 31,958 per year
during that period. The 2010 census shows a population of 3,725,789, a net loss of 82,821 or 2.2%
decline from the 2000 census.

San Juan is also the tourist capital of the country with over half of the island's hotels located in the
metropolitan area. In addition to being the governmental, commercial, industrial, and financial hub of
Puerto Rico, San Juan is the transportation center. San Juan International Airport ranks in the world's
top tier in traffic. The city is the focal point for a network of highways reaching every part of the island.
Bus systems also serve the metropolitan area and link San Juan with other cities.

Existing Federal Navigation Project
The San Juan Harbor Federal navigation project currently provides a system of channels with traffic
typically following a counterclockwise pattern around the triangular area including Army Terminal,
Puerto Nuevo, and Graving Dock Channels. Turning basins and anchorage areas provide maneuvering
and waiting areas for ship traffic. The following table, Table 1-1, provides more detailed characteristics
of the existing channel dimensions that are depicted in Figure 1-3.

Authorized in the WRDA of 1986, construction of the existing project initiated in 1998 and concluded
in 2001. Most of the project, has been completed with the exception of deepening the San Antonio
Channels, where the San Antonio Approach Channel has been constructed to a depth of -35 feet
MLLW, the San Antonio Channel has been constructed to a depth of -35 feet MLLW, the San Antonio
Channel Extension has been constructed to to a depth of -30 feet MLLW, and the Cruise Ship Basin East
has been constructed to a depth of -30 feet MLLW, as opposed to the authorized depths of -36 feet
MLLW.




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                          Table 1-1: Federal Project Existing Dimensions
 Channel Segment                  Project Depth - Feet             Width - Feet
 Bar Channel (Cuts 1-3)           56 – 51                          800
 Entrance Channel (Cuts 4-6)      48 - 42                          Range Varies
 Anegado Channel                  40                               800
 Army Terminal Channel            40                               350
 Sabana Approach Channel          32                               Range Varies
 Army Terminal Turning Basin      40                               1450-foot Turning Diameter
 Puerto Nuevo Channel             39                               350
 Puerto Nuevo Turning Basin       39                               1015-foot Turning Diameter
 Graving Dock Channel             36                               350
 Graving Dock Turning Basin       30                               Range Varies
 San Antonio Approach Channel 35 (Authorized to 36)                Range Varies
 Cruise Ship Basin North          36                               Range Varies
 Cruise Ship Basin East          30 (Authorized to 36)             Range Varies
 San Antonio Channel              35 (Authorized to 36)            Range Varies
 San Antonio Channel Extension 30 (Authorized to 36)               Range Varies
 Anchorage - E                    36                               Range Varies
 Anchorage - F                    30                               Range Varies
 Channel Name                     Approximate Length (miles)
 Bar and Entrance Channels        1.1
 Anegado Channel                   1.4
 Army Terminal Channel             1.5
 Puerto Nuevo Channel              1.7
 Graving Dock Channel              1.5
 San Antonio Approach Channel      0.7
 San Antonio Channel               0.7


1.9     Prior Reports and Studies*
Over the past few decades, there have been a succession of feasibility-related reports concerning
development projects for San Juan Harbor. Advances in engineering, economics, and other sciences
have aided each successive investigation. An abbreviated list of the most important studies and reports
relating directly to harbor development are summarized below.

1.9.1 Feasibility Studies
Navigation Study for San Juan Harbor, Puerto Rico, General Reevaluation Report (GRR) and
Environmental Assessment, March 1994 (Revised June 1994). The San Juan Harbor improvement
project authorized by the WRDA 1986 was re-authorized by Section 301 of WRDA 1996 to include the
recommendations made in the 1994 General Reevaluation Report (GRR). The plan recommended in
the March 1994 GRR (Revised June 1994) and re-authorized in WRDA 1996 represented a departure
from the project previously authorized in WRDA 1986. In the 1994 GRR, the USACE deferred deepening
of the Cruise Ship Basin, Anchorage Area E, the San Antonio Channel and San Antonio Channel
Extension because those areas were not economically justified.



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Navigation Study for San Juan Harbor, Puerto Rico, Limited Reevaluation Report (LRR) and
Environmental Assessment, August 2002. This draft LRR examined economically justifying the two
Cruise Ship Basins (East and West) and the San Antonio Channel. At the time of the LRR both Cruise
Ship Basins were constructed and are being maintained at -30 feet MLLW. The San Antonio Channel
was constructed and is being maintained at -35 feet MLLW with -30 feet MLLW at its eastern end. The
San Antonio Channel Extension was private with depths of -34 feet to -37 feet MLLW, but was also
authorized to be added to the Federal project with a 36-foot depth. Since private interests deepened
the San Antonio Channel Extension, the LRR did not investigate that segment, but recognized it could
be evaluated in the future as part of a subsequent feasibility study.

1.9.2 Port Inventory
The latest USACE Port Series document, Port Series #13, was published in 1997 and provides a
complete inventory (current at that time) of every port terminal covering their berthing statistics,
loading/unloading equipment, and landside storage, nationwide. This document also provides basic
tidal and climate conditions and dimensions of all the harbor channels. The USACE no longer publishes
the Port Series.

1.9.3 Dredging Reports
San Juan ODMDS, Site Management and Monitoring Plan, January 2011. This plan was prepared and
reviewed by the U.S. Environmental Protection Agency (USEPA), the USACE, the U.S. Fish and Wildlife
Service (USFWS); the Puerto Rico Department of Natural and Environmental Resources (DNER), and
the PRPA. This modified site management and monitoring plan replaces the original and incorporates
subsequent monitoring results and provisions of the WRDA 1992.

Dredged Material Management Plan, Preliminary Assessment, San Juan Harbor, San Juan, Puerto Rico,
November 1996. This report concluded that there was more than 20 years of capacity to contain the
dredged material from San Juan Harbor maintenance dredging.

1.9.4 Waterborne Commerce Statistics
Waterborne Commerce Statistics are published annually by the USACE Institute of Water Resources,
Waterborne Commerce Statistics Center. The Waterborne Commerce Statistics provide the vessel calls
by number, draft, and loads for all United States ports.

1.9.5 Permits
As port facilities have been added or expanded, they have required Federal and state permits. These
documents, on file with the Antilles Permits Section, Jacksonville District, Regulatory Division, provide
additional insight to the social, economic, and environmental conditions of San Juan Harbor.

1.9.6 Water Quality Studies
The Engineering Appendix contains Sediment Trend Analysis (STA) performed in 2002 by GeoSea
Consulting (Canada) Ltd. for San Juan Harbor and a July 1998 WES study, San Juan Bay and Estuary
Study: Hydrodynamic Field Data Collection.

1.10 Report Organization
This integrated report serves as the USACE decision document and EA to meet NEPA requirements for
the proposed action. It is also formatted to facilitate review and processing by the ASA (CW) to provide
a report with recommendations to Congress. Sections intended to meet NEPA requirements are
qualified with an asterisk.

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2.0 EXISTING AND FUTURE WITHOUT-PROJECT                                               CONDITION/
NEPA AFFECTED ENVIRONMENT*
This section describes the existing economic conditions, navigation features, and the physical and
natural environment of San Juan Harbor, all of which are described and analyzed consistent with the
NEPA regulations. This section summarizes the existing conditions (baseline), as well as a forecast of
the future without-project conditions, to provide a sound basis for plan formulation in Section 3 and
impact analysis in Section 5. The future without-project condition is synonymous with the No Action
Alternative for the NEPA analysis. It describes the anticipated conditions at the end of the study’s
50-year period of analysis, which spans from 2026 to 2075. The existing conditions provide the baseline
to forecast the changes that would be expected without USACE action to address inefficiencies in the
Federal navigation system. The topics in this section mirror the topics presented in Section 5, where
the future with-project conditions and impacts of the Recommended Plan receive consideration.

2.1     General Setting*
San Juan Harbor is located within the San Juan metropolitan area along the north coast of Puerto Rico
and is the island’s principal port. Bahia de San Juan is about 60 miles east of Punta Borinquen and 30
miles west of Cabo San Juan. It is the only harbor on the north coast which affords protection in all
weather. It is protected on the north by the relatively high land of Isla San Juan and on the south, east,
and west by the adjacent low mangrove swamps of the Puerto Rico mainland. The bay is about three
miles long in a southeast direction and varies in width from 0.6 to 1.6 miles, but the entire southwest
side is comprised of a shoal. The southwest shore is divided into two large bights by Punta Cataño, the
point which extends about 0.6 mile northeast into the harbor. Metropolitan San Juan, the capital and
principal port of Puerto Rico, includes Isla San Juan on the north side of Bahia de San Juan and the
communities surrounding the bay. The principal cruise tourism facilities are on the south side of Isla
San Juan (Old San Juan) and on the north side of Isla Grande. Container cargo terminals are located at
Puerto Nuevo in the southeast part of the bay. The principal imports into the harbor include foodstuffs,
textiles, building materials, machinery, fertilizers, and petroleum products. Exports include sugar,
molasses, fruit, tobacco, coffee, petrochemicals, pharmaceuticals, and alcoholic products. Over half
the commerce of Puerto Rico passes through San Juan Harbor. Most commercial and government
activities are located here.

2.2     Economic Conditions*
2.2.1 Relative Trade Volume and Trends
Existing Condition
San Juan Harbor is Puerto Rico’s principal cargo port and is located in the island’s population center
with nearly two-thirds of the island’s inhabitants residing in the San Juan-Carolina-Caguas
Metropolitan Statistical Area (MSA). As Puerto Rico is an island, waterborne commerce is relied upon
heavily to supply the Commonwealth with food, manufactured goods, fuels, and nearly all other items
needed to power the economy and sustain the island’s inhabitants and visitors (Figure 2-1).
Waterborne commerce also facilitates the movement of goods off of the island, including goods
produced in Puerto Rico and goods transshipped through Puerto Rico. In 2015 the Waterborne
Commerce Statistics Center estimated that over 50% of all waterborne commerce taking place on the
island passed through San Juan Harbor. In the same year, approximately 78% of all non-petroleum and
non-coal cargo passing through Puerto Rico was shipped to/from San Juan Harbor, while about 35% of
all petroleum and coal handled passed through the among all other harbors on the island (Table 2-1).


                                                   2-1
                                                                                      USACE_000060
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Figure 2-1: Ports of Puerto Rico


            Table 2-1: Total Waterborne Commerce in Puerto Rico - 2015 (metric tons)
                                                                       Percentage of Total
 Year        Commodity Type      San Juan Harbor     Puerto Rico*
                                                                       to San Juan
             Petroleum      and
                                 3,780,000           10,667,000        35%
             coal products
 2015
             All other products 6,258,000            8,022,000         78%
             Total               10,038,000          18,688,000        54%
 *Puerto Rico includes San Juan Harbor throughput and throughput for Guanica, Guayanilla Harbor,
 Humacao, Jobos Harbor, Mayaguez, Ponce, Tallaboa, and Yabucoa.
Source: Waterborne Commerce Statistics Center resources entitled State to State and Region to Region
Commodity Tonnages Public Domain Database (2015) and Waterborne Commerce of the United States
Calendar Year 2015 Part 2–Waterways and Harbors Gulf Coast, Mississippi River System and Antilles.


In addition to the port’s importance in supplying goods to Puerto Rico, a significant number of cruise
passengers visit each year via San Juan Harbor. Cruise itineraries brought over 1.4 million cruise
passengers to San Juan in 2015, both homeport passengers (passengers on cruises that begin and end
in San Juan) and transit passengers (passengers participating in cruises for which San Juan is a stop on
the cruise itinerary). That same year, San Juan Harbor ranked 8th among North American and
Caribbean cruise ports in terms of total number of passengers. Among Caribbean ports, San Juan
Harbor ranked 4th in total passengers. Table 2-2 shows that over the period from 2009-2015 the
highest and second highest number of passenger movements occurred in the two most recent years
for which data is available, 2015 and 2014, respectively, suggesting the industry is currently strong and
growing in San Juan Harbor.




                                                  2-2
                                                                                      USACE_000061
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          Table 2-2: Cruise Passenger Movement in San Juan Harbor 2009-2015 (by Calendar Year)
    Calendar Year         Homeport Passengers            Transit Passengers          Total Passengers
    2009                  449,670                        729,352                     1,179,022
    2010                  545,395                        645,660                     1,191,055
    2011                  529,884                        602,255                     1,132,139
    2012                  409,337                        642,382                     1,051,719
    2013                  428,541                        744,190                     1,172,731
    2014                  436,117                        928,180                     1,364,297
    2015                  488,813                        971,176                     1,459,989
    Source: Puerto Rico Tourism Company – Cruise Passenger Movement in Old San Juan (by Calendar Year)


Future Without-Project Condition
Moving from the existing condition to the future without-project condition, no growth is assumed for
all commodities (cargo). Growth in cruise calls and passengers from 2015 thru 2018 is applied, but no
cruise growth is assumed beyond 2018. The Economics Appendix provides additional details on how
the future without-project commodity volumes and number of cruise calls/passengers were
estimated. Estimated future without-project tonnages used in the analysis are summarized below in
Table 2-3.

               Table 2-3: San Juan Harbor Future Without-Project Commodity Tonnages
          Commodity Category               2026 FWOP
    Containers                                      5,114,000
    Dry Bulk                                         780,000
                                1
    Bulk Petroleum Products                         3,053,000
    General Cargo                                    241,000
    Liquid Bulk2                                     312,000
    LPG                                               42,000
    LNG                                                 0
    Total                                           9,542,000
1 Includes bulk petroleum products bound for petroleum docks in Army Terminal Turning Basin area
2
 Includes non-petroleum liquid bulk cargo bound for petroleum docks in Army Terminal Turning Basin
area and all liquid bulk cargo bound for other docks throughout the harbor

2.2.2 Existing Fleet - Vessel Classes
As an island, Puerto Rico relies on waterborne commerce to meet the needs of residents and visitors
to the island. Thus, San Juan Harbor receives calls by vessels of all types and sizes carrying all types of
cargo. The island’s Caribbean location paired with the tourist attractions found in Old San Juan have
led to many annual cruise calls to San Juan Harbor as well. Table 2-4 provides summary data on the
estimated frequency of vessel calls by vessel type in 2014 based on Waterborne Commerce Statistics
Center data.




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                     Table 2-4: Estimated Number of Vessel Calls by Vessel Type 2014
    Vessel Type                                         Call Count
    Bulker                                              29
    Container (Cont)                                    650
    General Cargo (GC)                                  430
    LPG-LNG                                             17
    Miscellaneous (Misc)                                238
    RoRo                                                338
    Tankers                                             180
    Cruise                                              516
    Notes: Number of calls here is likely understated as it may not include all calls that carried
    exclusively imports or exclusively exports (i.e. not both imports and exports).
    General Cargo vessels include dry barges.
    Tanker vessels include liquid barges.
    Miscellaneous vessels are made up primarily of supply ships ("goletas").
    Sources: Waterborne Commerce Statistics Center


Channel dimension-related problems at San Juan Harbor occur under the existing conditions and will
continue to occur under the future without-project conditions. Problem statements important in
framing the economic analysis are the following:

      x    Existing cargo shippers experience increased operation costs due to light loading, vessel size
           limitations, and congestion delays.

      x    PREPA experiences increased power generation costs in northern power plants due to inability
           to reliably bring LNG by ship to its proposed San Juan Harbor terminal, given the world fleet of
           available LNG tankers.

      x    Existing cruise vessel operators experience increased in-port maneuvering costs due to
           channel and turning basin width and depth constraints.

x     Existing Liquefied Petroleum Gas (LPG) importers on the island of Puerto Rico experience increased
      operating costs due to transporting LPG to San Juan from the southern coast by truck rather than
      by ship direct to San Juan Harbor.

Future Without-Project Condition
As mentioned previously, the channel dimension-related problems listed above at San Juan Harbor will
continue to occur under the future without-project conditions. The future without-project fleet
summary is provided in Table 2-5.




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                      Table 2-5: Future Without-Project Condition Fleet Summary
                 Vessel Class               FWOP 2026 Fleet
    SubPanamax Container Vessels                   537
    Panamax Container Vessels                     273
    5K-35K DWT tankers and tank barges            102
    MR                                             79
    LR1                                             9
    LR2                                             0
    RoRo and Vehicle Carriers                      231
    Cruise                                         651
    LPG                                            13
    LNG                                             0
    Bulkers and General Cargo                      259
    Other                                          514
    Total                                         2668


2.2.3 Existing Operational Conditions
Existing Condition
The following items affect the operations of all vessels using San Juan Harbor:

x     Cruise ship priority – Cruise (passenger) vessels are given priority over all other vessel types on
      both arrival and departure from San Juan Harbor. The San Juan Bay Pilots shift the arrival and
      departure times of non-cruise vessels to accommodate cruise vessels if needed.
x     Safety and security zones – A safety zone of 100 yards when in transit (300 feet) and 50 yards when
      at dock (150 feet) is required for tanker vessels carrying LPG and LNG commodities. Similarly, a
      security zone of 100 yards when in transit (300 feet) and 50 yards when at dock (150 feet) is
      required around cruise vessels. A safety zone is created when the cargo onboard a ship is
      potentially hazardous and is designed to protect those not on the ship from any harm that the
      cargo could cause. A security zone is designed to protect what is on the ship, in this case the
      passengers on board of the cruise vessel.
x     Meeting and overtaking – From Buoy 11 to Buoy 13 (straight stretch in Anegado Channel between
      the USCG station and Crowley dock), two vessels may meet while transiting the channel
      simultaneously (one inbound and one outbound vessel). No meeting is permitted from the harbor
      entrance to Buoy 11, beyond Buoy 13, or anywhere else outside of Anegado Channel. Additionally,
      overtaking is prohibited in any part of the harbor.
x     Small tidal range – Tidal datums computed from NOAA Tide Station 9755371 and referenced to
      Mean Sea Level (MSL) and Puerto Rico Vertical Datum 2002 (PRVD02) indicate the mean tide range
      is 1.11 feet and the spring tide range is 1.57 feet. This is a relatively small tidal range and there is
      no indication from stakeholders that tide is used to allow vessels to load deeper than is possible at
      mean tide or that vessels routinely wait on tide at the harbor entrance. Furthermore, because the
      difference between the mean tide level at 0 feet and mean high water (MHW) at 0.55 feet is less



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    than a foot and because sailing draft data is often rounded to the nearest foot, any use of sum
    small tide would be very difficult to capture in the economic analysis. Thus, tide is not considered
    a factor in the economic analysis. See the Engineering Appendix for additional details regarding
    tidal range.
x   Port rules dictate minimum under keel clearance requirements as follows 1:
    o One foot of under keel clearance for double-hulled vessels
    o Two feet of under keel clearance for single-hulled vessels
    Actual observed underkeel practices are discussed in greater detail in the Economics Appendix.
x   Strong wind, wave, and current conditions – The effects of these conditions are particularly notable
    in the Bar Channel, where prevailing winds from the east at 25-30 knots can increase the effective
    beam of the ship and the combination of wind, waves, and currents causes ships to roll and heel
    increasing the draft of the ship.

Future Without-Project Conditions
As mentioned above, the items affecting the operations of all vessels transiting San Juan Harbor will
continue to occur under the future without-project condition.



2.2.4 Port Hinterland
Existing Condition
The San Juan Harbor hinterland is considered a captive hinterland and includes the entire island of
Puerto Rico. Puerto Rico relies heavily on waterborne commerce to supply the island with food,
manufactured goods, fuels, and nearly all other items needed to power the economy and sustain the
island’s inhabitants and visitors, as very clearly demonstrated during recovery efforts following
hurricanes Irma and Maria. Waterborne commerce also facilitates the movement of goods off of the
island, including goods produced in Puerto Rico and goods transshipped through Puerto Rico.

Future Without-Project Condition
Since Puerto Rico is an island, the port hinterland in the future without-project condition is not
expected to change.



2.3      Navigation Features
2.3.1 Navigation History
Federal involvement in the San Juan Harbor navigation project began 100 years ago and improvements
have been authorized periodically since then. Major historical improvements at San Juan Harbor are
summarized in Section 1.8.




1 Source: Rules provided by San Juan Bay Pilots - Reglamento 6763 11 de diciembre 2004.




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2.3.2 Existing Navigation Configuration and Dimensions
Existing Condition
A feasibility study completed in 1994 provided the existing Federal navigation channel configurations.
Figure 1-3 illustrates the important features and Table 1-1 provides detailed dimensions. Unless
otherwise stated, all depths referenced in this IFR/EA are relative to MLLW.

The entrance to the harbor is composed of Cuts 1-6, which decrease in depth from 56 feet down to 42
feet as vessels pass into the protected waters of the inner channel and vertical motion concerns
decline. Anegado Channel is the harbor’s central inner channel and must be transited by all vessels
bound for all terminals. Anchorage Area F is located south of the Anegado Channel. The USCG currently
has Anchorage Area F designated as an area for ships carrying explosives. Inside of the Anegado
Channel, the harbor can be divided into five distinctive areas identified by the letters A thru E as
described in detail below and in the Economics Appendix.

A.       The Army Terminal Turning Basin area is home to docks receiving petroleum products (liquid
bulk), containerized cargo, and bulk grains. The Cataño Oil Dock (COD) East and COD West (collectively
referred to as “COD” going forward) are leased from the Puerto Rico Land Authority for shared use by
Tropigas, BTB Placco, Puma Energy Caribe (Puma), and Total Petroleum Puerto Rico (Total). Tropigas
and BTB Placco bring propane and bitumen, while Puma and Total handle primarily gasoline, jet fuel,
and diesel. Puma also operates its own private use dock at the Army Terminal Turning Basin’s western
edge. Landside storage facilities with significant capacity for storage of a variety of petroleum products
are located nearby COD and the Puma Caribe dock. The PREPA dock located on the southeastern side
of the turning basin receives fuel oil #6 and diesel (fuel oil #2) for use in power generation at the San
Juan and Palo Seco Power Plants. In addition to the petroleum docks, Trailer Bridge brings
containerized cargo to the Army Terminal dock located between the Puma dock and COD, and bulk
grain cargos are received by various companies at docks just north of the Army Terminal Turning Basin.
B.       The Puerto Nuevo Channel area receives primarily containerized cargo with smaller amounts
of liquid bulk (molasses, alcohol, etc.), general cargo, and Roll-On, Roll-Off (ro-ro) cargo. The liquid bulk
arrives primarily at the northern Puerto Nuevo docks (Piers L-O) on tankers and services a rum
production facility in San Juan. Terminal operators along the channel include Luis A. Ayala Colón Sucrs.,
Inc., Island Stevedoring, and Puerto Rico Terminals (formerly Tote Maritime Puerto Rico and
Internship). Puerto Rico Terminals (PRT) has eight newly renovated cranes, can handle ro-ro and Load-
On, Load-Off (lo-lo) cargos, and covers 122 acres of land, including warehousing and container storage
space.
C.      The Graving Dock Turning Basin area is located north of the Puerto Nuevo Channel and
currently receives general cargo, containerized cargo, and ro-ro cargo (vehicles) on general cargo and
ro-ro vessels.
D.       The Crowley terminal handles containerized cargo. The terminal recently completed
construction of a 900-foot by 114-foot pier, dredging to accommodate new combination container and
ro-ro (con-ro) vessels (34-foot design draft), the paving of 15 acres to be used for container stacking,
and receipt of three new-build ship-to-shore gantry cranes. See Figure 1-3 for location of Crowley
terminal. Existing vessels calling on this terminal are mainly tugs and barges, although the composition
of the fleet calling on this terminal is expected to change by the project base year (estimated at 2026)
as part of the terminal improvements underway and described above.



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E.        The San Antonio Approach Channel (SAAC), San Antonio Channel (SAC), and San Antonio
Channel Extension (SAC Extension) includes all of the port’s cruise facilities. Home-ported cruise
facilities are located south of the SAC and SAC Extension at the Pan American Cruise Docks East and
West (PAD-E and PAD-W) and in-transit cruise vessels utilize the berths north of the SAAC.
Containerized and bulk cargos are also received at docks along the SAC. Supply ships, known locally as
“goletas”, operate mainly out of Piers 8-10 and transship a variety of goods, equipment, and materials
to smaller Caribbean islands.

Future Without-Project Condition
The Federal project would remain as designed in its current dimensions in the future without-project
condition. No changes to the footprint of the Federal system of channels would occur. However, as
part of the future without-project condition, the USCG has plans to expand and deepen Anchorage
Area F to the approved depths in adjacent channels for safety purposes as a safety area for ships
experiencing mechanical failures or other emergencies. Their rule making process will change the
purpose of Anchorage Area F from a location for ships carrying explosives to a safety zone for all
commercial vessels.



2.3.3 Maintenance Dredging/Dredged Material Management
Existing Condition
The existing project requires periodic maintenance dredging to maintain authorized depths.
Historically, dredged material removed from San Juan Harbor has been placed within the San Juan
ODMDS, which is approximately one square mile (Figure 2-2). The average annual maintenance
dredging needs of the Federal channels is approximately 155,400 cubic yards. The Federal Government
currently maintains the existing project approximately every five to seven years and the material is
disposed of in the ODMDS. This ODMDS has been used for dredged material disposal activities since
1975 and was last used in 2017. It is located approximately 2.2 nautical miles north-northwest of the
entrance to San Juan Harbor. Water depths start at approximately 213 meters (700 feet) at the
southern boundary and slope moderately to approximately 400 meters (1,300 feet) at the northern
boundary with average depths of 292 meters (965 feet). The site is managed and monitored under the
2011 Site Management and Monitoring Plan (SMMP) which can be found at
https://www.epa.gov/ocean-dumping/site-management-and-monitoring-plan-smmp-san-juan-
harbor-ocean-dredged-material. The Recommended Plan does not anticipate the need to expand the
ODMDS. If needed, an evaluation under Section 103 of the Marine Protection, Research, and
Sanctuaries Act (MPRSA) for any newly authorized areas to be dredged will be performed prior to
material disposal in the ODMDS.




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Figure 2-2: Location of the ODMDS from the Site Management and Monitoring Plan (SMMP) for San
Juan Harbor, Puerto Rico
Future Without-Project Condition
The existing maintenance dredging schedule and methods would continue under the future without-
project condition. The same disposal areas would be used, although the use of other upland disposal
areas would be considered. There are no capacity limitations at the ODMDS so continued dredged
material operations and maintenance are expected in the future.




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2.4     Environmental Conditions*
2.4.1 Wind and Wave Climate
Existing Condition
Easterly trade winds predominate throughout the entire year, primarily from the ENE direction. Wind
speeds in the area are moderate. The mean annual wind speed is 14.2 km/hr, but shows considerable
daily and monthly variation. Maximum wind speeds occur in July (mean monthly velocity = 16.1 km/hr)
and minimum wind speeds generally occur in October (11.3 km/hr). Infrequent tropical storms and
hurricanes are sometimes severe, occur any time from August to October, and generally produce
considerable rainfall (USEPA, 1982).

As winds move over water, friction generates waves. The distance of open water (fetch) a wind blows
over affects the size of waves produced (USACE, 2008). At a given wind speed and duration, a longer
fetch will generate larger waves. At large fetch lengths in deep water, the wave height becomes
dependent only on duration of the wind. The heights and energies of wind generated waves increase
as long as the wind blows over them until they eventually reach shore. Conversely, vessel wakes
dissipate as they move away from the transiting vessel. The average waves generated by winds and
the average waves generated by vessels within San Juan Harbor are estimated to be of similar heights,
on average, but occur with extremely different distributions and frequencies.

In San Juan Harbor, the effect of waves (including vessel wakes) on the Cataño shoreline are of
particular interest due to the existing public infrastructure and development. Coastal areas are subject
to constantly changing erosion and accretion trends. Additionally, the natural variability of wind speed
and direction combined with wave addition and cancelling effects make it difficult to reliably predict
whether vessel- and wind-generated waves will cause erosion or accretion at specific locations. Tidal
effects can cancel out over time due to back and forth flows. Vessels wakes follow a similar back and
forth path as tides in San Juan Harbor but may be concentrated at certain tide stages and could have
erosion and accretion effects that are difficult to predict.

Seas in the area usually run less than eight feet. Waters are roughest in winter and midsummer. For
example, waves of eight feet or more are encountered off the north coast 10-12% of the time in July.
High seas are usually associated with strong winds out of the northeast through southeast blowing
over a long fetch of water. Extreme wave heights are generated by hurricanes and can reach 40 feet
or more in deep water (NOAA 2017).

Future Without-Project Condition
The natural wind and wave climate will remain roughly the same as the existing condition with some
potential changes related to changes in sea level.


2.4.2 Tides
Existing Condition
The tidal range throughout San Juan Harbor is uniform and microtidal. The astronomically-generated
high and low tides within the Federal channel range from about one to two feet over the year.

Future Without-Project Condition
Tidal range will remain essentially the same as the existing condition, with some potential changes
related to mean sea level change projections as discussed in 2.4.4. While there is expected to be a



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small increase in tidal surge and penetration for all three scenarios, the structural aspects of the project
will be either unaffected or can be easily adapted to accommodate the change.



2.4.3 Currents
Existing Condition
Currents at San Juan Harbor are greatly influenced by the direction and strength of the trade winds.
The trades blow primarily from the northeast, which in conjunction with the east-west alignment of
the coastline results in a westerly, alongshore current. Surface currents show general westward drift
(mean speed 0.6 knots) with a significant tidal component (USEPA 2011).

Future Without-Project Condition
Currents will remain the same as in the existing condition, but could experience some slight changes
due to sea level changes.



2.4.4 Relative Sea Level Change
Existing Condition
The baseline sea level change scenario referenced to the midpoint of the latest National Tidal Datum
Epoch (1992), produces a 0.39-foot (or 4.08-inch) increase between 2018 and 2075 for the “low”
scenario, a 0.94-foot increase for the “intermediate” scenario, and a 2.29-foot increase for the “high”
scenario. Relative sea level change was calculated using the USACE Sea Level Change Curve Calculator,
which is available at: http://www.corpsclimate.us/ccaceslcurves.cfm. This calculator uses the
methodology described in Engineer Regulation (ER) 1100-2-8162, Incorporating Sea Level Changes in
Civil Works Programs (USACE 2013a). The tool also provides comparisons to scenarios in the NOAA
Technical Report OAR CPO-1 titled Global Sea Level Rise Scenarios for the United States National
Climate Assessment (2012); the National Research Council’s (NRC) Sea Level Rise for the Coasts of
California, Oregon, and Washington: Past, Present, and Future report (NRC 2012); and the NPCC2
Climate Risk Information 2013: Climate Methods Memorandum, drafted by the New York City Panel
On Climate Change (NPCC 2013b). At present, tracking changing sea level using a midpoint moving
average shows that local mean sea level (LMSL) is generally tracking the low curve, with some variability
in the intermediate range. But, a 5-year midpoint moving average, showing more variability as expected,
shows recent trends at and above the intermediate scenario. Using the calculator and given that FEMA
elevations are referenced to LMSL (PRV02), the 1% AEP with no waves could impact the lower BFE at
Puerta de Tierra between 2045 (high scenario) and 2090 (intermediate scenario). The time to impact
will be sooner than these estimates if waves are considered. Based on the FEMA maps, adverse impacts
exist today under 1% AEP conditions and likely more frequent events as well.

Future Without-Project Condition
Potential impacts of rising sea level on total water levels experienced at the site include overtopping
of waterside structures, increased shoreline erosion, and flooding of low lying areas. The total regional
sea level change predicted by the three scenarios (baseline, intermediate, and high) will not have a
significant impact to the performance of the San Juan Harbor Federal navigation project 1) as there
are no associated emergent Federal General Navigation Features (GNF) which would need to be
redesigned to account for SLC and greater wave loading and 2) because a small region of San Juan
Harbor infrastructure is tied to the FEMA BFE which could be impacted between 2045 and 2090. A



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positive potential impact of SLC on the project is a reduction in required maintenance due to increased
depth in the channel, but this is not quantified.

2.4.5 Geotechnical
Existing Condition
The Commonwealth of Puerto Rico’s geology can be divided into two broad formations belonging to
rocks of volcanic or sedimentary origin. Those of sedimentary origin consist mostly of limestone, and
are normally found underlying the northern part of the Island and sections of the southern coastal
plains.

The coastal plain of San Juan Harbor shows a surficial geology dominated by lagoon and estuarine
environments, covered by fluvial and eolian deposits that have dictated the geomorphologic evolution
of this region. Estuary areas are characterized by low-lying flat land that has evolved to its present
conditions by erosion, deposition, compaction, and subsidence, all of which are still active.

The study area is located within the shallow marine shelf that surrounds the Commonwealth of Puerto
Rico. Sediments of Holocene to Pleistocene overlie limestone of Tertiary age. The limestone is found
at depths varying from 40 feet to more than 100 feet in depth. Periods of fluctuating sea levels
occurred during the glacial periods at the close of the Tertiary thus exposing the limestone allowing
for weathering and erosion to occur. Shallow lagoons formed in depressions along the coast. Silt and
clay were and still are transported from upland areas by rivers and streams and are deposited into the
San Juan Harbor.
Details related to the geotechnical investigations for the study area are presented in the Engineering
Appendix. Geotechnical investigations were conducted throughout the years for deepening projects
and maintenance dredging. Thus, a variety of historic data that includes borings logs, and wash probe
data are available, dating back to 1972. Various historic borings reach below the recent maximum
dredging depth and are viable to evaluate the subsurface conditions of the proposed project. However,
for the construction phase, additional investigations will be required to characterize unknown areas,
as well as to characterize materials at greater depths.
The majority of the core borings reveal soft clay (CL) and stiff plastic clay (CH). Sand and gravel mixes
were also encountered (i.e. sand mix, sand and clay, and gravel and clay). Some hard limestone and
sandstone were also encountered. Materials encountered in each channel section are discussed
below. Further rock description and considerations are included in the Engineering Appendix.
Cut-6: Boring logs indicate primarily sandy deposits, with possible lenses of gravel or layers of hard
brown calcareous quartz sandstone, intermixed with soft clay or soft silt. Sand (SM) with gravel
fragments are described to -44.3 in boring CB-SJ90-21. Rock was found at the end of the boring. None
of the existing borings extend to the proposed depth. Wash probes encountered refusal at similar
depths. Additional borings will be required to delineate the subsurface material.
Anegado Channel: Anegado Channel bottom material is characterized primarily by very soft clay with
very low strength, with lesser occurrence of high plastic clays. Limestone or sandstone may be present
below a depth of approximately -50 feet MLLW. This is six feet below the proposed project depth and
it is not anticipated to be encountered.
Army Terminal Channel and Army Terminal Turning Basin: Materials encountered in the Army Terminal
Channel and Army Terminal Turning Basin are primarily soft clay, clay and sand, with a few instances
of weathered rock. The clay is generally highly plastic, and includes traces of shell, sand, and gravel.



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Information available is limited to the existing channel. No data is available for the proposed widening.
Rock interlayered with clays were found during the last widening of the Army Terminal Channel.
Medium hard to hard limestone and sand and clay interlayers are found within the dredging template.
Seismic surveys and additional borings are needed to delineate the location of what, if any, rock exists
in this area because that data cannot be ascertained from the standard placement of core borings.
Nonetheless, the USACE has environmental resource side scan sonar and towed video, as well as
cultural resource remote sensing surveys of the widening measures and areas beyond the widening
measures. These document the area and the results indicate this project would not have a direct
impacts to environmental resources.
Cruise Ship Basin East: Materials in the Cruise Ship Basin are mostly unconsolidated materials primarily
composed of soft clays and sandy material. Refusal was encountered in some wash probes refusal
depths of -40 MLLW, below the proposed dredge template.
San Antonio Approach Channel and San Antonio Channel: San Antonio Channel constructed depth is
approximately -36 feet MLLW, meeting the currently authorized project depth of -35 feet MLLW and
also the proposed project depth of -36 feet MLLW. Therefore, no new work is necessary to obtain the
proposed depth with the exception of contract overdepths.
San Antonio Channel Extension and Expansion: No geotechnical information is currently available for
the San Antonio Channel Extension areas. However, the sponsor is currently constructing the
expansion area to the authorized project depth of -36 feet MLLW, plus applicable overdepths. It is
assumed that Federal involvement in this area will be limited to Operations and Maintenance (O&M)
in the future.
Core boring logs, wash probes, and various laboratory results, including grain size analysis and
suspended sediment-time curves are included in Attachment B of the Engineering Appendix.
Future Without-Project Condition
No geotechnical changes are anticipated in the future without-project condition.


Shoaling Rate Existing Condition
Shoaling occurs when sediments fall out of suspension and deposit on the bottom of a body of water.
Sediments enter the harbor from overland runoff, shoreline erosion, and, stormwater discharges, etc.
While shoals are generally favorable for fish habitat, they present a problem for navigation when they
impede either recreational or commercial vessel traffic. Shoaling within the navigation channel does
not occur in every reach of the channel; rather, it occurs in particular reaches and rates and magnitudes
are higher in some reaches than others. Historic dredging records were analyzed to aid in determining
maintenance dredging quantities for each reach. Maintenance dredging data and details of the analysis
can be found in the Engineering Appendix.
Future Without-Project Condition
A Sediment Trend Analysis (STA) was performed in 2002 by GeoSea Consulting (Canada) Ltd. for San
Juan Harbor (Engineering Appendix, Attachment A). The analysis delineated regions of the harbor
where the sediment transport regimes were described as Dynamic Equilibrium, Net Accretion, Net
Erosion, and Total Deposition in the Engineering Appendix. In addition, the STA analysis detailed the
different regions of the harbor and the processes that lead to the particular transport regime. Results
of the analysis, detailed in the Engineering Appendix, conclude that shoaling would continue in the




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future without-project condition in the same areas it occurs now. The existing maintenance dredging
schedule and methods would continue for the future without-project condition.


2.4.6 Water Quality
Existing Condition
San Juan Harbor is an important component of the San Juan Bay estuary system which includes San
Juan Bay, the Condado Lagoon, the San José Lagoon, Los Corozos Lagoon, La Torrecilla Lagoon, and the
Piñones Lagoon, as well as the interconnecting Martín Peña and San Antonio Channels and the Suárez
Canal. “San Juan Bay is the focal point for most of the past and present development within the San
Juan metropolitan area, and the bay’s drainage basin has been almost completely urbanized. The
intensity and diversity of human activities taking place within the metropolitan area have influenced
the water and sediment quality of the estuary in many ways, impairing in many instances its functions
and values” (SJBEP 2000). However, San Juan Bay’s direct connection to the Atlantic Ocean via the
Boca del Morro results in average dissolved oxygen levels between 5.0-6.5 mg/L and salinities of 33-
37 ppt just below the water’s surface (-2 feet) within San Juan Harbor (Anamar 2008; Anamar 2011).
The Rio Puerto Nuevo turning basin is located in the southeast portion of the harbor near the mouth
of the Puerto Nuevo River which is the main source of sediment and fresh water into the harbor. The
River connects to the low flowing Caño Martín Peña which connects to the San José Lagoon. The Caño
Martín Peña and San José Lagoon are severely degraded from highly turbid, organic and bacteria-rich
waters with low levels of dissolved oxygen.
Freshwater flows from the Puerto Nuevo River are driven by local rainfall which flushes untreated and
treated stormwater runoff and wastewater from Caño Martín Peña and San José Lagoon into the
harbor. Despite this, the Puerto Rico Environmental Quality Board (EQB), through the promulgation of
the Puerto Rico Water Quality Standards Regulation, has designated the waters of the San Juan Harbor
as SC, Coastal waters intended for uses where the human body may come in direct contact with the
water (such as fishing, boating, etc.) and for use in propagation and preservation of desirable species.
The turbidity standard for SC waters in Puerto Rico is not to exceed 10 nephelometric turbidity units
(NTU), except by natural phenomena (EQB 2016). To date sediments from the harbor have been
suitable for placement in the San Juan ODMDS.
A Water Quality Certification (WQC) (33 U.S.C. §1341) pursuant to Section 401 of the Clean Water Act
(CWA) was issued to the USACE for disposal of dredged material associated with the project by EQB
on January 14, 2015 (Appendix K). This WQC covers the discharge of dredged material into the
Condado lagoon artificial depressions. Special protocols are in place to manage the discharge, including
turbidity increases, in an environmentally acceptable manner. A new WQC will be sought from EQB for
the new dredging areas after completion of this IFR/EA. Per the process of obtaining a WQC in Puerto
Rico, any NEPA documentation will be submitted to the Office of Permits General (OGPe) after
signature/approval for another round of public and agency coordination. Once the OGPe approves the
project by letter, that letter and the CZMA consistency concurrence is submitted to the EQB who will
then issue the WQC.
Future Without-Project Condition
Operations and maintenance dredging activities would continue to cause temporary increases in
turbidity along and adjacent to the navigation channel when dredging is occurring. EQB water quality
regulations require that water quality standards not be violated during dredging operations. The
USACE would continue to maintain the harbor under the existing Section 401 WQC. The existing



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Section 401 WQC contains various protective measures that would continue to ensure compliance with
the Commonwealth’s water quality criteria.



2.4.7 Wetlands and Submerged Aquatic Vegetation (SAV)
Existing Condition
Centuries of development have severely altered the natural ecosystems of San Juan Harbor. Most of
the shoreline is now hardened and developed. However, the San Juan Bay Estuary is the largest estuary
in Puerto Rico, part of the National Estuary Program (NEP), and an estuary of national importance.
Coastal mangrove wetland habitats are still found along La Esperanza peninsula and at the mouth of
the Puerto Nuevo River. Mangrove species found in San Juan Harbor include: red (Rhyzophora mangle),
black (Avicennia germinans), and white (Laguncularia racemosa). Like seagrasses, mangroves are a
highly productive habitat that "provide feeding, breeding, nesting, and roosting areas for birds,
mammals, and reptiles, with the vegetative detritus of mangroves serving as the base of the food web
for crabs, mollusks, shrimp, and fish, among others" (SJBEP, 2000). Mangroves are important for
shoreline protection and stabilization. In addition, mangrove habitats provide many important
ecological functions, including providing refuge for juvenile stages of managed fish species and have
been identified as significant resources for federally listed species. These systems also provide organic
matter that forms the basis of a littoral-zone, marine food web. Sloughs (channels of slow-moving
water) penetrate mangrove wetlands adjacent to channel areas. Some of these sloughs are natural,
while some are man-made. These are extremely important areas that provide species with
passageways for movement into and out of interior mangrove areas. They are also important for refuge
and feeding areas for various fishes and invertebrates such as juvenile spiny lobster (Panulirus argus)
and gray snapper (Lutjanus griseus).

As with most dredging projects, it is important to consider impacts to subsurface features that serve
as essential fish habitat (EFH) or provide unique habitat features or services. The predominant benthic
substrate within the project area is mud with invertebrate burrow holes. However, submerged aquatic
vegetation (SAV) consisting of marine macro-algae and seagrass occurs within San Juan Harbor at
scattered locations and generally at depths less than -15feet (-4.6 meters). Both red and green macro-
algae are prevalent throughout the bay. Seagrass species include shoal grass (Halodule wrightii),
paddle grass (Halophila decipiens), manatee grass (Syringodium filiforme), and turtle grass (Thalassia
testudinum). All four species of seagrass occur in Condado Lagoon while manatee, turtle, and paddle
grass occur along the shorelines adjacent to the San Juan Marina east of the terminus of the San
Antonio Channel. Scattered turtle and paddle grass beds have been found in San Juan Bay (NOAA 2016;
USACE 2017). These include mono-specific beds of paddle grass, mixed red and green macro-algae
with paddle grass, and sparse turtle grass as documented with underwater video during benthic
surveys conducted by the NMFS and the USACE from January through December 2016 (Reports
available      at:   http://www.saj.usace.army.mil/About/Divisions-Offices/Planning/Environmental-
Branch/Environmental-Documents/.

Seagrasses significantly modify the physical, chemical, and geological properties of coastal areas; they
provide nutrients, primary energy, and habitats which sustain our coastal fisheries resources; and they
provide foraging grounds for some endangered marine species (Vicente, 1990). Federally protected
species such as green sea turtles (Chelonia mydas) and Antillean manatees (Trichechus manatus
manatus) feed directly on seagrasses. Seagrass beds also serve as a substrate for epiphytes, such as
filamentous algae and epiphytic diatoms, which in turn serve as food for invertebrates and fish.


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Future Without-Project Condition
In the future without-project condition/No Action Alternative, O&M dredging will have no effect on
existing mangrove wetlands in San Juan Harbor. O&M dredging at the currently authorized depths
could result in minor indirect impacts to SAV due to turbidity. A greater number of vessels are
anticipated to call on the port in the future without-project condition. Therefore, more pressure wave
and propeller wash impacts to SAV habitat could occur, which could limit the growth of this habitat.



2.4.8 Hardbottom Habitat
Existing Condition
In addition to the SAV, hardbottom habitat occurs within San Juan Harbor but primarily adjacent to
entrance channel Cuts 1-3 (narrow, discontinuous linear or fringing “reef” consisting of corals covering
fossil sand dunes [i.e., eolianites], see Figure 2-3 along the Cataño shoreline (scattered rocks with
macro-algae, Figure 2-4), and elsewhere on hard substrates (rocks, pilings, docks, bulkheads).
Encrusting zoanthids, octocorals (Leptogorgia, Briareum), sponges, polychaetes, and sea stars have
been documented. Scleractinian corals (including seven threatened species) are found on the fringing
reefs along the northern coastline.

Hardbottom habitat provides valuable structure for benthic (occurring at the bottom of a body of
water) fauna and flora, as well as fish habitat. Hardbottom refers to a classification of coral
communities that occur in temperate, subtropical, and tropical regions that lack the diversity, density,
and reef development of other types of coral communities (SAFMC 1998). For the purposes of this
investigation, hardbottom habitat is defined as exposed areas of rock or consolidated sediments,
distinguished from surrounding unconsolidated sediments, which may or may not be characterized by
a thin veneer of live or dead biota (the plant and animal life of a region). Hardbottom provides habitat
and foraging grounds for a diverse array of invertebrate and fish species. These communities support
habitat-structuring sessile (non-mobile) epifauna (organisms living on the sea floor) such as sponges,
corals, bryozoans, and ascidians (Burgess et al. 2011).




Figure 2-3: Limestone substrate adjacent entrance channel (Source: NOAA 2016)




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Figure 2-4: Cataño hardbottom with macro-algae

Future Without-Project Condition
Continuing to perform O&M dredging at the currently authorized depths could result in minor indirect
impacts to hardbottom benthos due to turbidity. The bottom of the channels would normally be
recolonized by organisms from adjacent similar habitats following completion of dredging events. No
direct impacts to hardbottom habitats are anticipated in the future without-project condition. An
increase in the number of vessels calling on the port would be expected to increase propeller wash
impacts to hardbottom habitat, which could limit the growth of this habitat.



2.4.9 Essential Fish Habitat
Existing Condition
The 1996 amendments to the Magnuson-Stevens Fishery Conservation and Management Act
(Magnuson-Stevens Act) (16 U.S.C. §801 et. seq.) set forth a new mandate for the NMFS, regional
fishery management councils (FMC), and other Federal agencies to promote the protection,
conservation, and enhancement of EFH. The EFH provisions of the Magnuson-Stevens Act support one
of the nation’s overall marine resource management goals to maintain sustainable fisheries. The
Magnuson-Stevens Act’s final rule, to manage fishery resources and their habitats, was released on
January 17, 2002. NMFS and its affiliate, the CFMC, oversee the managed species and their habitats
potentially found within the proposed project’s footprint. If a construction, permitting, funding, or
other proposed action potentially affects EFH(s), then applicable Federal permitting agencies must
consult with the NMFS. The EFH consultation ensures the potential action considers the effects on
important habitats and supports the management of sustainable marine fisheries (NOAA, South
Atlantic Region 2008).




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In the Caribbean waters under the jurisdiction of the U.S., EFH is identified and described based on
areas where the life stages of 17 managed species of fish and marine invertebrates occur. Fourteen of
the 17 managed species, which have been documented in the study area, are listed in Table 2-6 below.

Since all of these species occur in all habitats within the Caribbean waters under U.S. jurisdiction, EFH
includes all waters and substrates, including coral habitats, submerged vegetation, and adjacent
intertidal vegetation, including wetlands and mangroves that are necessary for the reproduction,
growth, and feeding of marine species.

All of San Juan Harbor is tidally influenced, so it and adjacent wetlands are considered EFH. Therefore,
EFH within the project area includes estuarine and marine submerged and emergent vegetation, tidal
freshwater wetlands, tidal creeks, water column, intertidal and subtidal mudflats (unconsolidated
bottom), coastal inlets, coral and artificial reefs, and hardbottom. Many of these habitats foster growth
and provide food and protection from predators and are integral to producing healthy populations of
commercially and recreationally important species. Species that may occur in the project area habitats
are noted in Table 2-6.

                    Table 2-6: Managed species documented in the study area
 Species                     Common Name                   SPAG*      FMP
 Chaetodon striatus          Banded Butterflyfish                     Reef Fish - aquarium trade
 Epinephelus guttatus        Red Hind                      X          Reef Fish
 Cephalopholis fulvus        Coney                         X          Reef Fish
 Lutjanus analis             Mutton Snapper                           Reef Fish
 Lutjanus apodus             Schoolmaster                             Reef Fish
 Lutjanus griseus            Gray Snapper                  X          Reef Fish
 Ocyurus chrysurus           Yellowtail Snapper            X          Reef Fish
 Haemulon plumieri           White Grunt                              Reef Fish
 Balistes vetula             Queen Triggerfish                        Reef Fish
 Sparisoma chrysopterum      Redtail Parrotfish                       Reef Fish
 Holocentrus ascensionis     Squirrelfish                             Reef Fish
 Malacanthus plumieri        Sand Tile Fish                           Reef Fish
 Panulirus argus             Spiny Lobster                            Spiny Lobster
 Strombus gigas              Queen Conch                              Queen Conch
Source: Rivera, 2015; CSA Architects & Engineers, 2014; ERM, 2013; Glauco A. Rivera & Associates,
2011. *SPAG: Potential Spawning Aggregation site in San Juan Bay (Ojeda, 2007).

Per the Fishery Management Plan (FMP) for each of the four groups below, EFH is defined as (CFMC
and NOAA 2004):

Spiny Lobster FMP: EFH in the U.S. Caribbean consists of all waters from MHW to the outer boundary
of the exclusive economic zone (EEZ) - habitats used by phyllosoma larvae and seagrass, benthic algae,
mangrove, coral, and live/hardbottom substrates from MHW to 100 fathoms depth used by other life
stages.

Queen Conch FMP: EFH in the U.S. Caribbean consists of all waters from MHW to the outer boundary
of the EEZ – habitats used by eggs and larvae and seagrass, benthic algae, coral, live/hardbottom and
sand/shell substrates from MHW to 100 fathoms depth used by other life stages.




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Reef Fish FMP: EFH in the U.S. Caribbean consists of all waters from MHW to the outer boundary of
the EEZ – habitats used by eggs and larvae and all substrates from MHW to 100 fathoms depth used
by other life stages.

Coral FMP: EFH in the U.S. Caribbean consists of all waters from mean low water (MLW) to the outer
boundary of the EEZ (Figure 2-5) – habitats used by larvae and coral and hardbottom substrates from
MLW to 100 fathoms depth – used by other life stages.




Figure 2-5: Composite EFH for species and life stages of the Spiny Lobster, Queen Conch, Reef Fish,
and Coral.
Future Without-Project Condition
No new EFH areas will be dredged for maintenance of Federal navigation channels. Only previously
dredged EFH (unvegetated, unconsolidated bottom and estuarine water column) would continue to


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be impacted through previously authorized operations and maintenance dredging activities that are
needed to address shoaling. The closest EFH Habitat Area of Particular Concern (HAPC) and Marine
Protected Areas (MPA) are the Isla Verde MPA and the Piñones State Forest (PSF) located
approximately six and 12-15 km (respectively) east of San Juan Harbor. PSF contains the largest
remaining mangrove forest in Puerto Rico with all four species present and serves as habitat for at
least 38 species of fish (CFMC and NOAA, 2004). Although the Forest is part of the estuarine system of
San Juan Bay, it lies outside the area of influence of San Juan Harbor O&M activities.

Therefore, the continued maintenance dredging of the authorized channel depths would not have a
substantial adverse impact on EFH or federally-managed fisheries along the north coast of Puerto Rico
as discussed in previous NEPA documents for San Juan Harbor operations and maintenance dredging.
Substrates within the project area are naturally dynamic and unconsolidated, and measures are
implemented. Turbidity could affect vision of marine life within the sediment plume as well as those
marine organisms with gills, but these effects would be temporary, as they would be limited to the
actual dredging and placement operations. Routine maintenance dredging may suppress re-
colonization of certain benthic organisms and therefore could impact other trophic levels within the
food chain. However, the actual channel widths encompass a fraction of the entire water body, and
similar habitat occurs immediately adjacent to the channels.

Other Marine/Estuarine Habitats
Benthic macrofauna serve as ecologically important components of the food web by consuming
detritus, plankton, and smaller organisms living in the sediments and in turn serving as prey for finfish,
shrimp, and crabs. Benthic macrofauna are also relatively sedentary, and many species are sensitive
to changing environmental conditions. Dominant species in the harbor channels include mollusks,
polychaetes, oligochaetes, nematodes, and amphipods. Populations in the navigation channel are
assumed to be not as stable and numerically abundant as nearby wetlands and mudflats due to the
frequent disturbance by maintenance dredging.



2.4.10 Protected Species
The USFWS and NMFS have responsibilities under the Endangered Species Act of 1973 (16 U.S.C. §1531
et. seq.) (ESA) to protect certain species. There are many threatened and endangered (T&E) species
known to occur near San Juan Harbor. However, not all of them would be affected by a proposed
action. Accordingly, the USACE is working with USFWS Field Office in Boquerón, Puerto Rico, as well as
the NMFS Southeast Regional Office in St. Petersburg, Florida, to focus on the species listed in
Table 2-7. This list includes the federally-listed T&E species that could be present in the area based
upon their geographic range. However, the actual occurrence of a species in the area would depend
upon the availability of suitable habitat, the season of the year relative to a species' temperature
tolerance, migratory habits, and other factors. The following sections summarize species-specific
information relevant to the Study area.




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Table 2-7: Selected federally-threatened and endangered species potentially present in the vicinity
                                    of San Juan Harbor, Puerto Rico
 Common Name                      Scientific Name               Status                            Year Listed
 Marine Mammals
 Sei whale                        Balaenoptera borealis         E                                 1970
 Sperm whale                      Physeter macrocephalus        E                                 1970
 Blue whale                       Balaenoptera musculus         E                                 1970
 Finback whale                    Balaenoptera physalus         E                                 1972
 Antillean Manatee                Trichechus manatus            T                                 2017
 Marine Turtles
 Leatherback turtle               Dermochelys coriacea          E                                 1970
 Loggerhead turtle                Caretta                       Northwest Atlantic Ocean DPS; 2011
 Hawksbill turtle                 Eretmochelys imbricata        E                                 1970
 Green turtle                     Chelonia mydas                Northwest Atlantic DPS; T         2016
 Fish
 Scalloped hammerhead             Sphyrna lewinii               Northwest Atlantic DPS; TT        2014
 Nassau grouper                   Epinephelus striatus          T                                 2016
 Giant manta ray                  Manta birostris/ M. alfredi   T (proposed)                      2017
 Corals
 Elkhorn coral                    Acropora palmata              T                                 2006
 Staghorn coral                   Acropora cervicornis          T                                 2006
 Pillar coral                     Dendrogyra cylindrus          T                                 2014
 Rough Cactus Coral               Mycetophyllia ferox           T                                 2014
 Lobed Star Coral                 Orbicella annularis           T                                 2014
 Mountainous Star Coral           Orbicella faveolata           T                                 2014
 Boulder Star Coral               Orbicella franksi             T                                 2014
 E – federally-endangered
 T – federally-threatened
 Endangered: A taxon "in danger of extinction throughout all or a significant portion of its range.”
 Threatened: A taxon "likely to become endangered within the foreseeable future throughout all or a
 significant portion of its range.”


2.4.10.1        Fishes

2.4.10.1.1       Scalloped Hammerhead Shark
Existing Condition
The hammerhead sharks are recognized by their laterally expanded head that resembles a hammer.
The scalloped hammerhead shark (Sphyrna lewinii) is distinguished by a marked central indentation
on the anterior margin of the head, along with two more indentations on each side of this central
indentation, giving the head a “scalloped” appearance. The body is fusiform, with a large first dorsal
fin and low second dorsal and pelvic fins. Coloration is generally uniform gray, grayish brown, bronze,
or olive on top of the body that shades to white on the underside with dusky or black pectoral fin tips.
This shark is a high trophic level predator and opportunistic feeder with a diet that includes a wide
variety of teleosts, cephalopods, crustaceans, and rays. The northwest Atlantic Ocean distinct
population segment (DPS) was listed under the ESA as threatened on September 2, 2014.



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Estuaries and coastal embayments have been identified as particularly important nursery areas, while
offshore waters contain important spawning and feeding areas. Adult habitat consists of continental
shelf areas further offshore, with adult aggregations common over seamounts and near islands.

The scalloped hammerhead shark can be found in coastal warm temperate and tropical seas
worldwide. In the western Atlantic Ocean, the species range extends from the northeast coast of the
United States (from New Jersey to Florida) to Brazil, including the Gulf of Mexico and Caribbean Sea.
The species could occur along the north coast of Puerto Rico.

Future Without-Project Condition
There would continue to be no effect on scalloped hammerhead sharks from normal operations and
maintenance dredging activities (USACE/BOEM 2017). Dredging would continue to operate in
accordance with the most up to date Regional Biological Opinion. No additional effects on this species
are anticipated in the future without-project condition.



2.4.10.1.2       Nassau Grouper
Existing Condition
The Nassau grouper (Epinephelus striatus) is a long-lived (29 years maximum), moderate sized Serranid
fish with large eyes and a robust body. The range of color is wide, but ground color is generally buff,
with five dark brown vertical bars and a large black saddle blotch on top of caudal peduncle and a row
of black spots below and behind its eye. There is also a distinctive dark tuning-fork mark beginning at
the front of the upper jaw, extending dorsally (on top) along the interorbital region, and then dividing
into two branches on top of the head behind the eyes; another dark band from the tip of the snout
through the eye and then curving upward to meet its fellow just before the dorsal-fin origin. Juveniles
exhibit a color pattern similar to adults. On 29 June 2016, NMFS issued a final rule (81 FR 42268; 50
CFR Part 223) listing the Nassau Grouper as a threatened species under the ESA.

The Nassau grouper is primarily a shallow-water, insular fish species that has long been valued as a
major fishery resource throughout the wider Caribbean, South Florida, Bermuda, and the Bahamas.
The Nassau grouper is considered a reef fish, but it transitions through a series of developmental shifts
in habitat. The larvae are planktonic and after 35-40 days recruit from an oceanic environment into
demersal habitats hiding in macroalgae, coral, and seagrass beds.

The Nassau grouper's confirmed distribution currently includes Bermuda, Florida, throughout the
Bahamas, and Caribbean Sea. The species does occur along the north coast of Puerto Rico.

Future Without-Project Condition
There would continue to be no effect on Nassau grouper from normal O&M dredging activities
(USACE/BOEM 2017). Dredging would continue to operate in accordance with the most up to date
Regional Biological Opinion. No additional effects on this species are anticipated in the future without-
project condition.




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2.4.10.1.3      Giant Manta Ray
Existing Condition
On January 12, 2017, NMFS published a proposed rule in the Federal Register (82 FR 3694) to list the
giant manta ray and reef manta ray (Manta birostris/M. alfredi) as threatened species under the ESA.
The distribution of the giant manta ray is worldwide in tropical and temperate ocean waters. On the
U.S. Atlantic Coast, the giant manta ray has been documented as far north as New Jersey. The giant
manta ray is commonly encountered on shallow reefs or sighted feeding offshore at the surface. The
giant manta ray is occasionally observed in sandy bottom areas and seagrass beds. Regional sub-
populations appear to be small and generally contain less than 1,000 adult individuals and are generally
declining except for those areas where they are specifically protected (Hawaii, Maldives, Yap, and
Palau). The primary threats to manta species are targeted fishing and fishery bycatch.

Future Without-Project Condition
There would continue to be no effect on the giant manta ray from normal operations and maintenance
dredging activities (USACE/BOEM 2017). Dredging would continue to operate in accordance with the
most up to date Regional Biological Opinion. No additional effects on this species are anticipated in
the future without-project condition.


2.4.10.3         Sea Turtles
Existing Condition
The presence of four different sea turtles species could occur in the study area, loggerhead,
leatherback, hawksbill, and green. Of the four species, the hawksbill and green are the most common
in San Juan Harbor. Although sandy beach habitat occurs within San Juan Harbor along La Esperanza
and in Condado Lagoon, DNER has not officially documented nesting there (Carlos Diez, Puerto Rico
Department of Natural and Environmental Resources, San Juan, Puerto Rico, personal communication,
July 12, 2016). Sea turtle nesting is limited to the sandy beaches along the north coast of Puerto Rico
adjacent to San Juan Harbor.
Leatherback. Leatherback sea turtles (Dermochelys coriacea) are widely distributed throughout the
oceans of the world, and are found in waters of the Atlantic, Pacific, and Indian oceans (Ernst and
Barbour, 1972). Leatherback turtles are the largest living turtles and have a larger migration range than
any other sea turtle species. The leatherback is the most pelagic (open ocean) of the sea turtles and is
often seen near the edge of the continental shelf; however, they are also observed just offshore of the
surf line. They enter coastal waters on a seasonal basis to feed in areas where jellyfish are
concentrated.
Zug and Parham (1996) pointed out that the main threat to leatherback populations in the Atlantic is
the combination of fishery-related mortality (especially entanglement in gear and drowning in trawls)
and the intense egg harvesting on the main nesting beaches. Boat strikes are also a threat and source
of mortality for leatherbacks in Puerto Rico. There is potential for leatherbacks to be present off the
north coast during migration and leatherback nesting has been documented on the sandy beach north
of the Avenida Ashford (Dos Hermanos) Bridge (USFWS, 2005 – Harberer 2005). No critical habitat has
been designated for leatherback turtles in the project area.
Loggerhead. The loggerhead (Caretta caretta) is characterized by a large head with blunt jaws. The
carapace and flippers are a reddish-brown color; the plastron is yellow. Adults grow to an average
weight of about 200 pounds. The USFWS and the NMFS listed the Northwest Atlantic Ocean DPS of the
loggerhead sea turtle as threatened on September 22, 2011 (76 FR 58868).


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No loggerhead sea turtle nesting has ever been documented in Puerto Rico (Carlos Diez, Puerto Rico
Department of Natural and Environmental Resources, San Juan, Puerto Rico, personal communication,
July 12, 2016). The species feeds on mollusks, crustaceans, fish, and other marine animals. The
loggerhead sea turtle can be found throughout the temperate and tropical regions of the Atlantic,
Pacific, and Indian Oceans. It may be found hundreds of miles out to sea, as well as in inshore areas
such as bays, lagoons, salt marshes, creeks, ship channels, and the mouths of large rivers. Coral reefs,
rocky places, and ship wrecks are often used as feeding areas. This species could occur offshore San
Juan Harbor. No critical habitat has been designated for loggerhead turtles in the project area.
Hawksbill. The hawksbill turtle (Eretmochelys imbricata) is small to medium-sized compared to other
sea turtle species. Hawksbill turtles are unique among sea turtles in that they have two pairs of
prefrontal scales on the top of the head and each of the flippers usually has two claws. This species
was listed under the ESA as endangered in 1970.
Hawksbill turtles use different habitats at different stages of their life cycle, but are most commonly
associated with healthy coral reefs. The ledges and caves of coral reefs provide shelter for resting
hawksbills both during the day and at night. Hawksbills are known to inhabit the same resting spot
night after night. Hawksbills are also found around rocky outcrops and high energy shoals. These areas
are optimum sites for sponge growth, which certain species are the preferred food of hawksbills. They
are also known to inhabit mangrove-fringed bays and estuaries, particularly along the eastern shore of
continents where coral reefs are absent.
The nesting season varies with locality, nesting occurs all year long in Puerto Rico. Hawksbills nest at
night and, on average, about 4.5 times per season at intervals of approximately 14 days. They nest
under the vegetation on the high beach and nests have been observed having the last eggs of the
clutch as close as 3 inches from the sand’s surface. Hawksbill sea turtles have been reported in San
Juan Bay and nesting has been documented on the sandy beach north of the Avenida Ashford (Dos
Hermanos) Bridge (USFWS, 2005 – Harberer 2005). DCH habitat for this species occurs approximately
50 miles east of the project area around Culebra Island.
Green. The nesting range of green sea turtles in the southeastern United States includes sandy beaches
of mainland shores, barrier islands, coral islands, and volcanic islands between Texas and North
Carolina, the U.S. Virgin Islands (USVI) and Puerto Rico (NMFS and USFWS, 1991). Green turtles
(Chelonia mydas) are primarily herbivorous, feeding on algae and sea grasses, but also occasionally
consume jellyfish and sponges. Green turtle foraging areas in the southeastern United States include
any coastal shallow waters having macroalgae or sea grasses, including areas near mainland coastlines,
islands, reefs, or shelves, and any open-ocean surface waters, especially where advection from wind
and currents concentrates pelagic (open ocean) organisms (Hirth, 1997; NMFS and USFWS, 1991).
Adults of both sexes are presumed to migrate between nesting and foraging habitats along corridors
adjacent to coastlines and reefs. DCH for this species occurs approximately 50 miles east of the project
area around Culebra Island. The SAV habitat found in San Juan Harbor and Condado Lagoon are
important grazing areas for the green sea turtle.
Future Without-Project Condition
Effects on sea turtles resulting from O&M activities in the future without-project condition would not
change. Maintenance dredging using hopper dredges would continue to be prohibited in Puerto Rico
until NMFS issues an updated South Atlantic Regional Biological Opinion (SARBO). An updated
Biological Assessment under the SARBO was provided to NMFS in June 2017 that includes the use of
hopper dredges in Puerto Rico for operations and maintenance dredging. It is anticipated that hopper



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dredges will be utilized for O&M operations under the SARBO in the foreseeable future to improve
efficiency.

2.4.10.4         Whales
Existing Condition
Fin or Finback Whale. Fin or finback whales (Balaenoptera physalus) are the second-largest species of
whale, with a maximum length of about 75 feet (22 meters) in the Northern Hemisphere, and 85 feet
(26 meters) in the Southern Hemisphere. Adults can weigh between 80,000-160,000 lbs. (40-80 tons).
Fin whales have a sleek, streamlined body with a V-shaped head. They have a tall, "falcate" dorsal fin,
located about two-thirds of the way back on the body, that rises at a shallow angle from the animal's
back. Within the United States, the fin whale is listed as endangered throughout its range under the
ESA and is listed as "depleted" throughout its range under the Marine Mammal Protection Act of 1972
(MMPA) (16 U.S.C. §1361 et. seq.).

Fin whales can be found in social groups of two to seven whales and in the North Atlantic are often
seen feeding in large groups that include humpback whales, minke whales, and Atlantic white-sided
dolphins. Fin whales are large, fast swimmers and the killer whale (Orcinus orca) is their only non-
human predator. During the summer, fin whales feed on krill, small schooling fish (e.g. herring, capelin,
and sand lance), and squid by lunging into schools of prey with their mouth open, using their 50- 100
accordion-like throat pleats to gulp large amounts of food and water. They then filter the food particles
from the water using the 260-480 "baleen" plates on each side of the mouth. Fin whales fast in the
winter while they migrate to warmer waters. Males become sexually mature at 6-10 years of age;
females at 7-12 years of age. Physical maturity is attained at approximately 25 years for both sexes.
After 11-12 months of gestation, females give birth to a single calf in tropical and subtropical areas
during midwinter. Newborn calves are approximately 18 feet (6 meters) long, and weigh 4,000-6,000
lbs. (2 tons). Fin whales can live 80-90 years.

Fin whales are found in deep, offshore waters of all major oceans, primarily in temperate to polar
latitudes, and less commonly in the tropics. They occur year-round in a wide range of latitudes and
longitudes, but the density of individuals in any one area changes seasonally. The species could occur
off the north coast of Puerto Rico in the vicinity of the ODMDS. No DCH has been designated for this
species in the project area.

Humpback Whale. Humpback whales live in all major oceans from the equator to sub-polar latitudes.
They typically migrate between tropical/sub-tropical and temperate/polar latitudes. In the Atlantic
Ocean, humpback whales feed in the northwestern Atlantic during the summer months and migrate
to calving and mating areas in the Caribbean. Six separate feeding areas are utilized in northern waters
after their return. These areas are within the biologically important area defined by the 200 meters
(656 feet) isobath on the North American east coast. These areas are outside of the project’s potential
impact area.

On September 8, 2016 NMFS delisted the West Indies Distinct Population Segment (DPS) (one of
fourteen DPSs for this species worldwide) but the species is still protected under the MMPA. The best
available estimate for the number of individuals in the North Atlantic is 11,750 humpback whales.
Recent estimates of abundance in the North Atlantic stock indicate continued population growth;
however, the size of the humpback whale stock may be below the optimum sustainable population in
the U.S. Atlantic Exclusive Economic Zone (NOAA Fisheries, Office of Protected Resources, Waring,
2011).



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Humpback whales face many threats due to human activity. They may become entangled in fishing
gear, either swimming away with the gear after entanglement or by becoming anchored by it.
Inadvertent vessel strikes can injure or kill humpbacks. Whale watching vessels may harass/stress or
strike whales. Traffic through shipping channels, fisheries and aquaculture may displace whales that
normally aggregate in that area. No critical habitat has been designated for humpback whales. The
species could occur off the north coast of Puerto Rico in the ODMDS.

Sei Whale. Sei whales (Balaenoptera borealis) are members of the baleen whale family and are
considered one of the "great whales" or rorquals. Two subspecies of sei whales are recognized, B. B.
borealis in the Northern Hemisphere and B. B. schlegellii in the Southern Hemisphere. These large
animals can reach lengths of about 40-60 feet (12-18 meters) and weigh 100,000 lbs. (45,000 kg). Sei
whales have a long, sleek body that is dark bluish gray to black in color and pale underneath. They have
219-410 baleen plates that are dark in color with gray/white fine inner fringes in their enormous
mouths.

This species was listed under the ESA as endangered in 1970. They are usually observed singly or in
small groups of 2-5 animals, but are occasionally found in larger (30-50) loose aggregations. Sei whales
are capable of diving 5-20 minutes to opportunistically feed on plankton (e.g., copepods and krill),
small schooling fish, and cephalopods (e.g., squid) by both gulping and skimming. Sei whales become
sexually mature at 6-12 years of age when they reach about 45 feet (13 meters) in length, and generally
mate and give birth during the winter in lower latitudes. Females give birth to a single calf that is about
15 feet (4.6 meters) long and weighs about 1,500 lbs. (680 kg). Sei whales have an estimated lifespan
of 50-70 years.

Sei whales have a cosmopolitan distribution and occur in subtropical, temperate, and subpolar waters
around the world. They prefer temperate waters in the mid-latitudes and can be found in the Atlantic,
Indian, and Pacific Oceans. During the summer, they are commonly found in the Gulf of Maine and on
Georges Bank and Stellwagen Bank in the western North Atlantic. Populations of sei whales, like other
rorquals, may seasonally migrate toward the lower latitudes during the winter and higher latitudes
during the summer. They prefer subtropical to subpolar waters on the continental shelf edge and slope
worldwide and they are usually observed in deeper waters of oceanic areas far from the coastline. The
species could occur off the north coast of Puerto Rico in the vicinity of the ODMDS. No DCH has been
designated for this species in the project area.

Sperm Whale. Sperm whales (Physeter macrocephalus) are the largest of the odontocetes (toothed
whales). Adult females may grow to lengths of 36 feet (11 meters) and weigh 15 tons (13,607 kg) while
adult males reach about 52 feet (16 meters) and may weigh as much as 45 tons (40,823 kg). The sperm
whale is distinguished by its extremely large head, which takes up to 25 to 35% of its total body length.
There are between 20-26 large conical teeth in each side of the lower jaw. Sperm whales are mostly
dark gray, but oftentimes the interior of the mouth is bright white and some whales have white patches
on the belly.

This species was listed under the ESA as endangered in 1970. Because sperm whales spend most of
their time in deep waters, their diet consists of many larger organisms that also occupy deep waters
of the ocean. Their principle prey are large squid weighing between 3.5 ounces and 22 pounds (0.1 kg
and 10 kg), but they will also eat large demersal and mesopelagic sharks, skates, and fishes. Female
sperm whales reach sexual maturity around 9 years of age when they are roughly 29 feet (9 meters)
long. After a 14-16 month gestation period, a single calf about 13 feet (4 meters) long is born. Although



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calves will eat solid food before one year of age, they continue to suckle for several years. Most females
will form lasting bonds with other females of their family and, on average, 12 females and their young
will form a family unit. While females generally stay with the same unit all their lives in and around
tropical waters, young males will leave when they are between 4-21 years old and can be found in
"bachelor schools," comprised of other males that are about the same age and size.

Sperm whales inhabit all oceans of the world. They can be seen close to the edge of pack ice in both
hemispheres and are also common along the equator, especially in the Pacific. Sperm whales are found
throughout the world's oceans in deep waters between about 60° N and 60° S latitudes. In tropical and
temperate areas, there appears to be no obvious seasonal migration. Sperm whales tend to inhabit
areas with a water depth of 1,968 feet (600 m) or more, and are uncommon in waters less than 984
feet (300 m) deep. While female sperm whales are sometimes seen near oceanic islands, they are
typically far from land. Immature males will stay with female sperm whales in tropical and subtropical
waters until they begin to slowly migrate towards the poles, anywhere between ages 4 and 21 years
old. Older, larger males are generally found near the edge of pack ice in both hemispheres. On
occasion, however, these males will return to the warm water breeding area. No critical habitat has
been designated for this species. Since portions of the ODMDS are over 1,350 feet deep, the species
could occur off the north coast of Puerto Rico in the vicinity of ODMDS. No DCH has been designated
for this species in the project area.

Blue Whale. The blue whale (Balaenoptera musculus) is a cosmopolitan species of baleen whale. In the
Northern Hemisphere, they are generally smaller than those in the Southern Ocean. Maximum body
length in the North Atlantic is about 88.5 feet (27 meters), while the largest blue whale reported from
the North Pacific was about 88 feet (26.8 meters). Adults in the Antarctic can reach a maximum body
length of about 108 feet (33 meters) and can weigh more than 330,000 pounds (150,000 kg). Blue
whales are identified by the following characteristics: a long body and comparatively slender shape; a
broad, flat "rostrum" when viewed from above; a proportionately smaller dorsal fin than other baleen
whales; and a mottled gray color pattern that appears light blue when seen through the water. This
species was listed under the ESA as endangered in 1970.

Scientists have yet to discern many details regarding the life history of the blue whale. The best
available science suggests the gestation period is approximately 10-12 months and that blue whale
calves are nursed for about 6-7 months. Most reproductive activity, including births and mating, takes
place during the winter. Weaning probably occurs on, or en route to, summer feeding areas. The age
of sexual maturity is thought to be 5-15 years. The primary and preferred diet of blue whales is krill
(euphausiids). In the North Atlantic, blue whales feed on two main euphausiid species: Thysanoëssa
inermisand and Meganyctiphanes norvegica. In addition, T. raschii and M. norvegica have been
recorded as important food sources of blue whales in the Gulf of St. Lawrence. In the North Pacific,
blue whales prey mainly on Euphausia pacifica and, secondarily, on T. spinifera.

Blue whales are found in oceans worldwide and are separated into populations by ocean basin in the
North Atlantic, North Pacific, and Southern Hemisphere. They follow a seasonal migration pattern
between summering and wintering areas, but some evidence suggests that individuals remain in
certain areas year-round. Blue whales inhabit subpolar to sub-tropical latitudes. Poleward movements
in spring allow the whales to take advantage of high zooplankton production in summer. Movement
towards the subtropics in the fall allows blue whales to reduce their energy expenditure while fasting,
avoid ice entrapment in some areas, and engage in reproductive activities in warmer waters of lower
latitudes. Although the species is often found in coastal waters, blue whales are thought to occur


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generally more offshore than humpback whales, for example. The species could occur off the north
coast of Puerto Rico in the vicinity of the ODMDS. NMFS has not designated DCH for this species in the
project area.

Future Without-Project Condition
Normal O&M dredging activities would continue to have no effect on whales (USACE/BOEM 2017).
USACE has never had a documented whale strike as a result of dredging operations. Dredging would
continue to operate in accordance with the most up to date Regional Biological Opinion. No additional
effects on finback, Sei, sperm, or blue whales are anticipated in the future without-project condition.



2.4.10.5.      Antillean Manatees
Existing Condition
Antillean manatees (Trichechus manatus manatus) have large, seal-shaped bodies with paired flippers
and a round, paddle-shaped tail. They are typically grey (color can range from black to light brown)
and are occasionally spotted with barnacles attached to them or colored by patches of green or red
algae. Average adult manatees are about nine feet long and weigh about 1,000 pounds
(https://www.fws.gov/southeast/wildlife/mammals/manatee/).

The Antillean manatee inhabits the coastal waters of Puerto Rico and has been documented both
feeding and traveling in the San Juan Harbor and Condado Lagoon area. Seagrass beds in the Lagoon
provide suitable foraging habitat for the species. Furthermore, the location of the Lagoon provides
suitable shelter for the species (SJBEP, 2011). The USFWS has jurisdiction for protection of the manatee
under the ESA and the MMPA. On April 5, 2017, the USFWS published a final rule reclassifying the West
Indian manatee and its two recognized subspecies (Florida and Antillean) from endangered to
threatened (82 FR 16680). This species is also protected by Law Number 241 (Wildlife Law of the
Commonwealth of Puerto Rico) and Regulation Number 6766, which regulates the management of
threatened and endangered species in Puerto Rico. USFWS has not designated DCH for this species in
the project area.

Future Without-Project Condition
Dredging would continue to operate in accordance with the most up to date manatee protection
specifications. Precautions would be taken during dredging events as have been coordinated with the
USFWS. No additional impact to manatees is anticipated in the future without-project condition/No
Action Alternative.



2.4.10.6        Corals
Existing Condition
Elkhorn Coral. Elkhorn coral (Acropora palmata) belong to the most abundant group of corals in the
world (Acropora genus) and once represented the most dominant reef building species throughout
Florida and the Caribbean. Elkhorn coral is a large, branching coral with thick and sturdy antler-like
branches and is found in shallow reefs, typically in water depths from 0-35 feet, as these corals prefer
areas where wave action causes constant water movement. Colonies are fast growing: branches
increase in length by 2-4 inches (5-10 cm) per year, with colonies reaching their maximum size in
approximately 10-12 years. Over the last 10,000 years, elkhorn coral has been one of the three most



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important Caribbean corals contributing to reef growth and development and providing EFH. This
species was listed under the ESA as threatened on May 9, 2006.

Elkhorn coral was formerly the dominant species in shallow water (3-16 feet [1-5 meters] deep)
throughout the Caribbean and on the Florida Reef Tract, forming extensive, densely aggregated
thickets (stands) in areas of heavy surf. Coral colonies prefer exposed reef crest and fore reef
environments in depths of less than 20 feet (6 meters), although isolated corals may occur to 65 feet
(20 meters).

NMFS has designated critical habitat for elkhorn and staghorn corals in four areas: Florida, Puerto Rico,
St. John/St. Thomas, and St. Croix. Figure 2-6 shows the designated areas for Puerto Rico, which
includes all areas surrounding the islands of the Commonwealth of Puerto Rico, 98 feet (30 meters) in
depth and shallower, seaward of the U.S. Coast Guard Convention on the International Regulations for
Preventing Collisions at Sea (COLREGS demarcation line). Per NOAA chart 25670, the COLREGS
demarcation line transects outer Bar Channel Cut-2 in San Juan Harbor. In addition, a 4(d) (16 U.S.C.
§1533(d)) rule (50 CFR Part 223) establishing “take” prohibitions for elkhorn and staghorn corals went
into effect on November 28, 2008 for these areas. Take includes collecting, bothering, harming,
harassment, damage to, death, or other actions that affect health and survival of listed species. This
species has been documented in the study area on the narrow, discontinuous linear or fringing “reef”
consisting of corals covering fossil sand dunes (i.e., eolianites) trending in an east-west direction and
extending, in some sites, up to 0.9 miles off shore (CFMC, 2004; CSA Architects & Engineers, 2014;
ERM, 2013; Glauco A. Rivera & Associates, 2011; Coll Rivera Environmental, 2005). DCH for this species
occurs in outer Bar Channel Cuts 1 and 2 in San Juan Harbor.




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Figure 2-6: Elkhorn and Staghorn Corals Designated Critical Habitat (DCH)
Staghorn Coral. Staghorn coral (Acropora cervicornis) is a branching coral with cylindrical branches
ranging from a few centimeters to over 6.5 feet (2 meters) in length. This coral exhibits the fastest
growth of all known western Atlantic corals, with branches increasing in length by 4-8 inches (10-20
cm) per year. This species was listed under the ESA as threatened on May 9, 2006.

Staghorn coral occurs in back reef and fore reef environments from 0-98 feet (0 to 30 m) deep. In
addition to growing on reefs, staghorn corals often form colonies on bare sand. The upper limit is
defined by wave forces, and the lower limit is controlled by suspended sediments and light availability.
Fore reef zones at intermediate depths of 15-80 feet (5-25 meters) were formerly dominated by
extensive single species stands of staghorn coral until the mid-1980s.

Staghorn coral is found in the Atlantic Ocean, Caribbean Sea, and western Gulf of Mexico. Specifically,
staghorn coral is found throughout the Florida Keys, the Bahamas, the Caribbean islands, and
Venezuela. The northern limit of staghorn coral is around Boca Raton, Florida. The dominant mode of
reproduction for staghorn coral is asexual fragmentation, with new colonies forming when branches
break off a colony and reattach to the substrate. Sexual reproduction occurs via broadcast spawning
of gametes into the water column once each year in August or September. Individual colonies are both
male and female (simultaneous hermaphrodites) and will release millions of "gametes." The coral
larvae (planula) live in the plankton for several days until finding a suitable area to settle, but very few
larvae survive to settle and metamorphose into new colonies. The preponderance of asexual



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reproduction in this species raises the possibility that genetic diversity is very low in the remnant
populations. This species has been documented in the study area on the narrow, discontinuous linear
or fringing “reef” consisting of corals covering fossil sand dunes (i.e., eolianites) trending in an east-
west direction and extending, in some sites, up to 0.9 miles off shore (CFMC, 2004; CSA Architects &
Engineers, 2014; ERM, 2013; Glauco A. Rivera & Associates, 2011; Coll Rivera Environmental, 2005).
DCH for this species occurs in outer Bar Channel Cuts 1 and 2 in San Juan Harbor.

Pillar Coral. Pillar coral (Dendrogyra cylindrus) colonies form numerous, heavy, cylindrical spires, that
grow upwards from an encrusting base mass. The colonies can attain a height of 10 feet (3 meters),
with a pillar diameter of more than 4 inches (10 cm). Polyps are normally extended during the day,
giving the colony a fuzzy appearance. This species was listed under the ESA as threatened on 10
October 2014. Colonies are typically found on flat gently sloping back reef and fore reef environment
in depths of 3-82 feet (1-25 meters). The species does not occur in extremely exposed locations. This
species occurs in the Caribbean, the southern Gulf of Mexico, Florida, and the Bahamas. In addition, it
has been documented in the study area on the narrow, discontinuous linear or fringing “reef”
consisting of corals covering fossil sand dunes (i.e. eolianites) trending in an east-west direction and
extending, in some sites, up to 0.9 miles off shore (CFMC, 2004; CSA Architects & Engineers, 2014;
ERM, 2013; Glauco A. Rivera & Associates, 2011; Coll Rivera Environmental, 2005). NMFS has not yet
proposed DCH for this species.

Rough Cactus Coral. Rough cactus coral (Mycetophyllia ferox) colonies consist of flat plates with
radiating valleys. It is a widely recognized valid species with colonies comprised of thin, weakly
attached plates with interconnecting, slightly sinuous, narrow valleys. Tentacles are generally absent
and corallite centers tend to form single rows. The walls of the valleys commonly join to form closed
valleys, a feature not seen in other members of Mycetophyllia. The ridges are usually small and square,
with a groove on top. The ridges, or walls between valleys, are commonly quite thin, and are irregular,
and valleys are narrower. This species was listed under the ESA as threatened on October 10, 2014.

This species is most common in fore reef environments from 5-30 meters (but is more abundant from
10-20 meters), but also occurs at low abundance in certain deeper back reef habitats and deep lagoons.
This species occurs in the Caribbean, southern Gulf of Mexico, Florida, and the Bahamas. In addition,
it has been documented in the study area on the narrow, discontinuous linear or fringing “reef”
consisting of corals covering fossil sand dunes (i.e., eolianites) trending in an east-west direction and
extending, in some sites, up to 0.9 miles off shore (CFMC, 2004; CSA Architects & Engineers, 2014;
ERM, 2013; Glauco A. Rivera & Associates, 2011; Coll Rivera Environmental, 2005). NMFS has not yet
proposed DCH for this species.

Lobed Star Coral. Lobed star coral (Orbicella annularis) colonies grow in several morphotypes that were
originally described as separate species. The species occurs as long, thick columns with enlarged,
dome-like tops; large, massive mounds; sheets with skirt-like edges; irregularly bumpy mounds and
plates or as smooth plates. Colonies grow up to 10 feet (3 meters) in diameter. The surface is covered
with distinctive, often somewhat raised, corallites. This species was listed under the ESA as threatened
on October 10, 2014.

Lobed star coral inhabits most reef environments and is often the predominant coral between 22-82
feet (7-25 meters). The flattened plates are most common at deeper reefs, down to 165 feet (50
meters). It is common to Florida, Bahamas and Caribbean. In addition, it has been documented in the
study area on the narrow, discontinuous linear or fringing “reef” consisting of corals covering fossil



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sand dunes (i.e., eolianites) trending in an east-west direction and extending, in some sites, up to 0.9
miles off shore (CFMC, 2004; CSA Architects & Engineers, 2014; ERM, 2013; Glauco A. Rivera &
Associates, 2011; Coll Rivera Environmental, 2005). NMFS has not yet proposed DCH for this species.

Mountainous Star Coral. This species has been called the “dominant reef-building coral of the Atlantic”
(Brainard et al 2011). Orbicella faveolata buds extratentacularly to form head or sheet colonies with
corallites that are uniformly distributed and closely packed, but sometimes unevenly exsert. Septa are
highly exsert, with septocostae arranged in a variably conspicuous fan system, and the skeleton is
generally far less dense than those of its sibling species. Active growth is typically found at the edges
of colonies, forming a smooth outline with many small polyps. This species was listed under the ESA as
threatened on October 10, 2014.

Orbicella faveolata is found from 3-100 feet (1-30 m) in back-reef and fore-reef habitats, and is often
the most abundant coral between 30-65 feet (10-20 m) in fore-reef environments. This species occurs
in the Caribbean, the Gulf of Mexico, Florida, and the Bahamas. May also be present in Bermuda, but
this requires confirmation. In addition, it has been documented in the study area on the narrow,
discontinuous linear or fringing “reef” consisting of corals covering fossil sand dunes (i.e., eolianites)
trending in an east-west direction and extending, in some sites, up to 0.9 miles off shore (CFMC, 2004;
CSA Architects & Engineers, 2014; ERM, 2013; Glauco A. Rivera & Associates, 2011; Coll Rivera
Environmental, 2005). NMFS has not yet proposed DCH for this species.

Boulder Star Coral. This species (Orbicella franksi) builds massive, encrusting plate or subcolumnar
colonies via extratentacular budding. The characteristically bumpy appearance of this species is caused
by relatively large, unevenly exsert, and irregularly distributed corallites. Boulder Star Coral is
distinguished from its sibling Orbicella species by this irregular or bumpy appearance; a relatively
dense, heavy, and hard skeleton (corallum); thicker septo-costae with a conspicuous septocostal
midline row of lacerate teeth; and a greater degree of interspecies aggression. This species was listed
under the ESA as threatened on October 10, 2014.

This species mostly grows in the open like other species of this genus but smaller, encrusting colonies
are common in shaded overhangs. It is uncommon in very shallow water, but becomes common
deeper. This species occurs in the Caribbean, the Gulf of Mexico, Florida, and the Bahamas. In addition,
it has been documented in the study area on the narrow, discontinuous linear or fringing “reef”
consisting of corals covering fossil sand dunes (i.e., eolianites) trending in an east-west direction and
extending, in some sites, up to 0.9 miles off shore (CFMC, 2004; CSA Architects & Engineers, 2014;
ERM, 2013; Glauco A. Rivera & Associates, 2011; Coll Rivera Environmental, 2005). NMFS has not yet
proposed DCH for this species.

Future Without-Project Condition
In the future without-project condition, O&M dredging would continue to result in discountable
impacts to listed corals. Dredged material transport may affect listed corals adjacent to Bar Channel
Cuts 1 and 2 through turbidity and sedimentation. However, by following the USEPA Site Management
and Monitoring Plan (SMMP), turbidity and scow leakage would be controlled and there would be no
adverse effects to listed corals.




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2.4.11 Marine Mammals
Existing Condition
The MMPA, enacted in 1972 and substantially amended in 1996, provides Federal protection to all
marine mammals. In addition to the whales species discussed above, the bottlenose dolphin has been
described as the most frequently sighted cetacean, especially for inshore waters of Puerto Rico.
However, the abundance of the Puerto Rico and U.S. Virgin Islands stock of bottlenose dolphins is
unknown (NOAA 2011). Some cetacean species occur in the study area year-round (e.g. bottlenose
dolphin, beaked whales), while others (e.g. humpback whale) occur seasonally as they migrate through
the area. Several of these marine mammal species discussed previously are also protected by the ESA.

Future Without-Project Condition
In the future without-project condition/No Action Alternative, O&M dredging would continue and
vessels would continue to call at the Port. Many of the marine mammals, including the common
bottlenose dolphin, are acclimated to commercial and recreational vessels that traverse the area.
Increased impacts to marine mammals in the future without-project condition are not anticipated.



2.4.12 Birds
Existing Condition
Various areas within San Juan Harbor are utilized by many species of birds for nesting and feeding.
According        to        the         Puerto        Rico          Breeding        Bird        Atlas
(http://www.aosbirds.org/prbba/Puerto%20Rico%20Status.html), about 58 species of birds are found
within the San Juan Bay area, 44 of which are sea birds, waterfowl, or wading birds that utilize the
shallows, wetlands, and open water of San Juan Bay. The brown pelican (Pelecanus occidentalis) is a
permanent resident in the bay. Pelicans feed throughout the bay but prefer the calm waters behind
the Esperanza peninsula and mangrove lined shores. Numerous gulls, terns, and frigate birds also use
the Esperanza peninsula and sheltered waters behind it for roosting and feeding (USFWS 2017).

Future Without-Project Condition
O&M dredging activities would continue at the currently authorized project depths and are not
expected to result in adverse impacts to the bird resources described above.



2.4.13 Invasive Species
Existing Condition
Invasive species can adversely impact native plant and animal populations by disrupting natural
ecosystem functions. Islands have long been considered to be particularly vulnerable to biotic
invasions. The 1,032 species of alien plants reported for Puerto Rico and Virgin Islands (PRVI) represent
about a third of total plant diversity on these islands (DRNA 2015). Some aquatic invasive species that
may occur in the project area or in the area of influence include:

    x   Freshwater Plants
            o Phragmites australis (Common reed)
            o Melaleuca quinquenervia (Bottlebrush tree)
    x   Freshwater Animals
            o Iguana (Green iguana)



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           o Cherax quadricarinatus (Australian red claw crawfish)
    x   Marine/Estuarine Animals
           o Pterois volitans (Red lionfish)
           o Oreochromis aureus (Blue tilapia)
           o Petrolisthes armatus (Green porcelain crab)
           o Perna viridis (Asian green mussel)
           o Phyllorhiza punctata (Australian spotted jellyfish)
    x   Marine/Estuarine Plants
           o Halophila stipulacea (Mediterranean seagrass)
Species can be introduced by a variety of different mechanisms; however, most estuarine and marine
species introductions are associated with shipping (Ruiz et al. 2000). Commercial shipping is the only
direct mechanism related to this project. Presently, the largest single source of shipping-related
introductions is ballast water (Carlton 1985, Lavoie et al. 1999). Ballast water is pumped into the hull
of a vessel to stabilize the vessel and keep it upright while carrying cargo. This water can be discharged
at the receiving port as the cargo is loaded or unloaded. Each vessel may take on and discharge millions
of gallons of water. Ballast water taken on in foreign ports may include an abundance of aquatic plants,
animals, and pathogens not native to Puerto Rico. If discharged into territory waters, these foreign
species may become problematic.

In addition to ballast water discharge, another important source for the introduction of nonindigenous
organisms is the fouling community that grows on the hull, rudder, propellers, anchor, anchor chain,
or any other submerged structure of vessels that are not properly cleaned or maintained. Historically,
such fouling communities were composed of massive layers of a variety of organisms, both attached
and merely entrained in or living on that growth. Although such extensive growth is not as common
on seagoing vessels in recent times, it still provides an opportunity for worldwide transport of fouling
organisms, particularly on towed barges and other structures like mothballed ships and exploratory
drilling platforms.

Future Without-Project Condition
In the future without-project condition, the potential will continue to exist for introduction of invasive
species. Federal regulations require the master of each vessel subject to the regulation at 33 C.F.R. §
151.1510 to employ one of the listed ballast water management practices. This regulation decreases
the rate at which invasive species are introduced to the study area. The USCG will continue to monitor,
enforce, and revise regulations related to the discharge of ballast water while vessels are in port in
accordance with the aforementioned regulation.



2.4.14 Air Quality
Existing Condition
Puerto Rico is a United States territory with Commonwealth status. The USEPA, Region 2 and the
Puerto Rico EQB regulate air quality in Puerto Rico. The Clean Air Act (CAA) (42 U.S.C. §7409) gives
USEPA the responsibility to establish the primary and secondary National Ambient Air Quality
Standards (NAAQS) that set acceptable concentration levels for six criteria pollutants: particulate
matter (PM), sulfur dioxide, carbon monoxide, nitrous dioxide, ground level ozone, and lead. Short-
term standards (1, 8, and 24-hour periods) have been established for pollutants contributing to acute
health effects, while long-term standards (annual averages) have been established for pollutants



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contributing to chronic health effects. Each state has the authority to adopt stricter standards; , Puerto
Rico adopted the national ambient air quality standards (NAAQS) established by USEPA and developed
a State Implementation Plan under the Clean Air Act that incorporates permitting and regulatory
requirements for stationary and mobile sources of air pollution. USEPA regulations designate Air-
Quality Control Regions (AQCRs) in violation of the NAAQS as nonattainment areas. On the basis of the
severity of the pollution problem, nonattainment areas are categorized as marginal, moderate,
serious, severe, or extreme. USEPA regulations designate AQCRs with levels below the NAAQS as
attainment areas. Maintenance AQCRs are areas previously designated nonattainment areas that have
subsequently been designated attainment areas for a probationary period through implementation of
maintenance plans.

San Juan Harbor is located within the Puerto Rico AQCR which is comprised of the entire
Commonwealth of Puerto Rico, including Vieques, Culebra, and surrounding islands (40 CFR § 81.77).
All areas within the AQCR are in attainment or unclassifiable (due to lack of data) for NAAQS for the
following criteria pollutants: ozone, carbon monoxide, nitrogen dioxide, sulfur dioxide, PM2.5, and
lead (USEPA 2008).

Due to its location, San Juan Harbor experiences nearly constant on-shore trade winds and sea breezes.
The harbor is surrounded by the municipalities of San Juan, Guaynabo, and Cataño. Non-compliance
was due to pollution from power plants, industrial facilities, motor vehicles, and major San Juan
emitters. In 2010 the Municipality of Guaynabo came into compliance with air quality standards. In
2011, USEPA provided a grant to the Polytechnic University of Puerto Rico in the amount of $886,095
to install pollution-reduction technology on 72 heavy-duty trucks and replace 10 old heavy-duty trucks
with 2010 or newer lower emissions diesel trucks in the Port of San Juan. These upgrades reduced the
air emissions of fine particles (PM), nitrogen oxides (NOx), and carbon monoxide from diesel engines
operating in the port. The Municipality of Guaynabo is identified as being in moderate non-attainment
of the NAAQS for particulate matter with a diameter of 10 micrometers or less (USEPA 2008).

The PREPA owns and operates two power plants in the vicinity of San Juan. The San Juan Power Plant
located in the area of the bay and the Palo Seco Power Plant located in Cataño just outside the entrance
of the Bay. In order to comply with the Mercury and Air Toxics Standards (MATS) administered by the
USEPA and to reduce cost of electricity production in Puerto Rico, PREPA is preparing to convert a
number of the power generation units at its San Juan and Palo Seco Power Plants to burn natural gas
as the primary fuel instead of Bunker C and Diesel (No. 6 and No. 2 type) fuel oil.


Future Without-Project Condition
There will be no effect on existing air quality if no action is taken. Ambient air quality conditions in San
Juan Harbor would more than likely remain the same.



2.4.15 Hazardous, Toxic, and Radioactive Waste
Existing Condition
San Juan Harbor is highly developed. All of the major port storage facilities have confinement areas
sufficient to contain any spills and no hazardous or toxic materials or waste have been identified within
the project footprint. No hazardous, toxic, or radioactive waste has been encountered or released in
the project area. Sediments from the navigation channels of the harbor typically have traces of heavy
metals, Polychlorinated biphenyls (PCBs), pesticides, Polycyclic Aromatic Hydrocarbons (PAHs), and


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petroleum products, at low levels that do not affect the sediment quality or the water quality of the
harbor. To date sediments from the harbor have been suitable for ocean placement, into the San Juan
ODMDS. Maintenance dredging of the harbor channels happens approximately every five to seven
years.

Future Without-Project Condition
Previous maintenance dredging performed in the existing navigation channels has not encountered
any hazardous or toxic wastes. Sediments to be dredged from the harbor have been tested most
recently in 2011 for the purposes of ocean disposal (Anamar 2011) and a sediment disposal evaluation
was submitted to USEPA in accordance with Section 103 of the Marine Protection, Research and
Sanctuaries Act of 1972 (MPRSA) (33 U.S.C. §1413) which documents that the proposed dredging and
disposal of sediments is suitable for ocean disposal. The analysis confirmed that hazardous and toxic
materials are not present in the sediments at levels of concern.



2.4.16 Noise
Existing Condition
Noise is often defined as any sound that is undesirable because it interferes with communication, is
intense enough to damage hearing, diminishes the quality of the environment, or is otherwise
annoying. Response to noise varies by the type and characteristics of the noise source, distance from
the source, receptor sensitivity, and time of day. Noise can be intermittent or continuous, steady or
impulsive, and it may be generated by stationary or mobile sources. Noise is described by a weighted
sound intensity (or level), which represents sound heard by the human ear and is measured in units
called decibels (dB). The potential impacts of underwater sounds associated with dredging operations
have come under increasing scrutiny by regulatory agencies.

San Juan Harbor has functioned as an international harbor since pre-colonial times. Over the last 300
years, San Juan Harbor has evolved to accommodate the growing shipping industry as larger vessels
continued to arrive. At the same time, recreational and other commercial boat traffic and industrial
noise has continued to increase. Several sources of ambient noise are present in San Juan Harbor. The
ambient noise level of an area includes sounds from both natural (wind waves, fish, tidal currents,
mammals) and artificial (commercial and recreational vessels, dredging, pile driving, etc.) sources. Tidal
currents produce hydrodynamic sounds, which are most significant at very low frequencies (< 100 Hz).
Vessel traffic, including vessels passing the immediate study area, generate sounds that can travel
considerable distances, in frequencies ranging from 10 to 1000Hz. Sea state (surface condition of the
water characterized by wave height, period, and power) also produces ambient sounds above 500 Hz.
As a commercial and industrial area, San Juan Harbor experiences a wide range of noise from a variety
of industrial activities. Biological sounds associated with mammals, fishes, and invertebrates can also
generate broadband noise in the frequency of 1 to 10 kHz with intensities as high as 60 to 90 dB.

San Juan Harbor has the typical noise characteristics of a busy harbor. Sources include recreational and
commercial vessel traffic, dredging vessels and dock side facilities. Noise sources for vessels include
cranes, whistles and various motors for propulsion. Dockside noise sources include cranes, trucks, cars,
and loading and unloading equipment. In addition to the noise in the water/marine environment, noise
can impact the human environment. Background noise exposures change during the course of the day
in a gradual manner, which reflects the addition and subtraction of distant noise sources. Ambient




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noise represents the combination of all sound within a given environment at a specified time. Humans
hear sound from 0-140 dB. Sound above this level is associated with pain.

High intensity sounds can permanently damage fish hearing (Nightingale and Simenstad 2001).
Dredging operations generally produce lower levels of sound energy but last for more extended
periods of time than more intense construction activities (e.g. pile driving) (Nightingale and Simenstad
2001). These sounds have been documented to be continuous and low frequencies (< 1000 Hz) and
are within the audible range of listed species of both whales (7Hz–22 kHz) and sea turtles (100-1000Hz)
(Clarke et al. 2002).

Noise has been documented to influence fish behavior. Fish detect and respond to sound by utilizing
cues to hunt for prey, avoid predators, and for social interaction. Fish produce sound when swimming,
mating, or fighting and also noise associated with swimming. Fish use a wide range of mechanisms for
sound production, including scraping structures against one another, vibrating muscles, and a variety
of other methods. Sounds produced by spawning fishes, such as sciaenids, are sufficiently loud and
characteristic for them to be used by humans to locate spawning locations.

Relative to exposure to anthropogenic noise, NOAA guidelines define two levels of harassment for
marine mammals: Level A based on a temporary threshold shift (190 dB for pinnipeds and 180 dB for
cetaceans) and Level B harassment with the potential to disturb a marine mammal in the wild by
causing disruption to behavioral patterns such as migration, breeding, feeding, and sheltering (160 dB
for impulse noise such as pile driving and 120 dB for continuous noise such as vessel thrusters)
(http://www.nwr.noaa.gov/Marine-Mammals/MM-sound-thrshld.cfm). According to Richardson et al.
(1995) the following noise levels could be detrimental to marine mammals:

Prolonged exposure of 140 dB re 1 Pa/m (continuous man-made noise) at 1 km can cause permanent
hearing loss. Prolonged exposure of 195 to 225 dB re 1 Pa/m (intermittent noise) at a few meters or
tens of meters can cause immediate hearing damage.

NOAA released a draft report that provides guidance for assessing the effects of anthropogenic sound
on marine mammal species under the jurisdiction of NMFS (NOAA 2013). The guidance will replace the
current thresholds used by NOAA and described above. NOAA compiled, interpreted, and synthesized
best available science to update the threshold levels for temporary and permanent hearing threshold
shifts. Different target species for protection have widely divergent tolerance levels for sounds (owing
to different hearing sensitivities, hearing integration times, etc.). Due to the complexity and variability
of marine mammal behavioral responses, NOAA will continue to work over the next years on
developing additional guidance regarding the effects of anthropogenic sound on marine mammal
behavior (http://www.nmfs.noaa.gov/pr/acoustics/guidelines.htm).

Future Without-Project Condition
Construction activity associated with maintenance dredging will continue. This dredging will result in
a short term increase in noise over the existing background level though this will not cause a significant
increase in the ambient noise levels. San Juan Harbor is within an urban setting and noises related to
recreational and commercial vessel traffic, dredging vessels, and dock side facilities would continue
similar to the existing conditions.




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2.4.17 Coastal Barrier Resources
Existing Condition
The Coastal Barrier Resources Act (CBRA) (16 U.S.C. §3501 et. seq.) was enacted by Congress in 1982
to encourage the conservation of coastal barriers that provide quality habitat for migratory birds and
other wildlife and spawning, nursery, nesting, and feeding grounds for a variety of commercially and
recreationally important species of finfish and shellfish. CBRA seeks to discourage development by
restricting Federal expenditures (e.g., Federal insurance) that encourage development. Areas within
a designated Coastal Barrier Resources System (CBRS) unit can be developed provided that private
developers or other non-Federal parties bear the cost.

CBRS units are areas of fragile, high-risk, and ecologically sensitive coastal barriers. Development
conducted in these areas is ineligible for both direct and indirect Federal expenditures and financial
assistance. Along with CBRS units are otherwise protected areas (OPAs). OPAs are national, state, or
local areas that include coastal barriers that are held for conservation or recreation. The only Federal
funding prohibition within OPAs is Federal flood insurance. There are three CBRS units located near
San Juan Harbor, PR-87 Punta Vacia Talega and PR-87P Punta Vacia Talega Otherwise Protected Area
(OPA) approximately 13-19 km east and PR-86P Punta Salinas OPA approximately 6 km west
(Figure 2-7).

Future Without-Project Condition
The CBRS units will continue to be protected without a project pending no changes in the current
regulations.




Figure 2-7: San Juan Harbor Vicinity Coastal Barrier Resource System Units

2.4.18 Cultural and Historic Resources
Existing Condition
A “historic property” is defined at 54 U.S.C. §300308 in the National Historic Preservation Act (54 U.S.C.
§300101 et. seq.) (NHPA) as any prehistoric or historic district, sites, building, structure, artifacts, or
object included on, or eligible for inclusion on, the National Register. Several Federal laws and
regulations protect these resources, including the NHPA, the Archaeological and Historic Preservation
Act of 1974 (54 U.S.C. §§312501- 312508), and the Archaeological Resources Protection Act of 1979
(16 U.S.C. §§470aa-470mm). These Federal laws, specifically Section 106 of the NHPA, require Federal
agencies to consider the effects of their actions on cultural resources and historic properties, including
districts, sites, buildings, structures and objects included or eligible for inclusion in the NRHP.
Additionally, the Council on Environmental Quality’s regulations implementing NEPA require that



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Federal agencies consider the “[u]nique characteristics of the geographic area such as proximity to
historic or cultural resources, park lands, prime farmlands, wetlands, wild and scenic rivers, or
ecologically critical areas” and “[t]he degree to which the [proposed] action may adversely affect
districts, sites, highways, structures, or objects listed in or eligible for listing in the National Register of
Historic Places or may cause loss or destruction of significant scientific, cultural, or historical
resources.” 40 CFR §1508.27(b)(3), (8). Documentation of historic/cultural resources is important for
this project because San Juan Harbor provides an environment that is rich in historic human activity;
its geological setting is characterized by sediment types, especially heavy muds, which are well known
for preserving shipwrecks and their contents.

Section 106 of the NHPA (54 U.S.C. §306108) and its implementing regulations (36 CFR Part 800)
requires an assessment of the potential impact of an undertaking on historic properties that are within
the proposed project’s Area of Potential Effects (APE), which is defined as the geographic area(s)
“within which an undertaking may directly or indirectly cause alterations in the character or use of
historic properties, if any such properties exist” (36 CFR 800.16(d)). The APE for the direct impacts for
the proposed project includes the areas where ground disturbing activities and the placement of
dredged material would occur. This includes the proposed areas of the Inner Harbor Channels to be
widened and deepened and the ODMDS. The APE for the indirect impacts associated with the
proposed project includes the adjacent shoreline of San Juan Harbor that may be affected by erosion
caused by increased vessel wake and historic properties within the viewshed of San Juan Harbor.

San Juan Harbor has been a significant port dating back to the end of the fifteenth century and the
European exploration and settlement of the New World. Christopher Columbus landed on the west
coast of Puerto Rico at Boquerón Bay in 1943, naming the area San Juan Bautista. At this time, the
indigenous population measured approximately 60,000 people. Spanish colonization of the island did
not occur until 1508 when Juan Ponce de Len established a permanent settlement with the
permission of the Taino chiefdom of Guaina (Jiméz de Wagenheim 1998). Ponce de Len also explored
the northern coast of the island and established Puerto Rico (Rich Port) at present day San Juan Harbor
to export the island’s gold. The Spanish subjection and maltreatment of the indigenous population led
to a Taino revolt in 1511. However, due to military subjugation, disease, and abuse from the Spanish,
the native population was reduced by 75% in 1515. In order to replace the native workforce of the
island’s gold mines, the Spanish began importing enslaved Africans and indigenous people from nearby
islands (Jiméz de Wagenheim 1998).

By 1521, the islet adjacent to Puerto Rico became the central Spanish settlement of San Juan and the
island itself had come to be called Puerto Rico. Through the second half of the 16th century, San Juan
became increasingly strategic for the export of sugarcane and ginger and as a military outpost for
Spain’s colonial empire. In order to reinforce the military defenses of Puerto Rico, the Santa Catalina
fortress (present-day La Fortaleza) was built and construction began on El Morro Castle. The city was
fortified well enough to rebuke the attack of Sir Francis Drake in 1595. George Clifford, 3rd Earl of
Cumberland, attacked and took the city in 1598; however, Spanish forces arrived shortly to rescue the
island from the British. In 1625, Dutch forces attacked the city of San Juan, but the Spanish repelled
the forces from El Morro. After this attack, the Spanish began improving their waterside fortifications,
including the initial construction of the City Wall in 1634 (Krivor 2017).

During the eighteenth century, the ruling Bourbon court introduced trade and administrative reforms
that stimulated agricultural development, military improvements, and population growth (Jiméz de
Wagenheim 1998). City fortifications, including walls and moats, were constructed between 1789 and


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1798. El Morro was expanded and updated to defend San Juan against warships during this period, and
was successfully utilized to resist a British naval invasion in 1797 (Giusti 2014).

During the beginning of the nineteenth century, Spain loosened its grip on Puerto Rico resulting in
increased trade with foreign nations. Native Puerto Ricans (Criollos) sought political autonomy and
gradually transformed the island to a sugarcane and coffee plantation-based economy (Jiméz de
Wagenheim 1998). Increased trade caused a significant boost in San Juan Harbor traffic, and the first
substantial dredging of the harbor began in the late 1880s. The Spanish American War occurred in
1898 and resulted in three naval battles in the Harbor. During the war, the Spanish scuttled the ships
La Manuela and Cristóbal Colón at the harbor entrance to narrow the entryway into the port. The
Spanish also placed mines in the harbor entrance as the Americans attempted to bombard the city’s
fortifications. The Spanish American War ended in July 1898 with the cession of Puerto Rico to the
United States (Acosta 2014).

The early twentieth century saw continued improvement project to San Juan Harbor. Both the USACE
and local authorities dredged the Harbor, and the United States government provided the first funding
for improvements to San Juan Harbor via the River and Harbor Act in March 1907 (P.L. 59-168).
Between 1907 and 1910, the USACE removed thousands of cubic yards of coral and sediment and
dumped the material in “a remote part of the harbor” (Krivor 2017). The USACE continued to dredge
the Harbor and improve the mangrove areas surrounding the port throughout the twentieth century.
The United States also established small military bases on Puerto Rico following the acquisition of
Puerto Rico as a territory. El Morro was modernized and the San Juan Naval Air Station, the Tenth Naval
District Headquarters, the San Juan Naval Dry Dock and Repair Facility, the San Juan USCG Station, and
the U.S. Army Terminal were constructed in the vicinity of the Harbor.

During its 500-year history, numerous ships have sunk as a result of storms, war, or running aground
on the reef around the entrance to the harbor (Table 2-8). In order to locate and identify these
potentially significant submerged cultural resources which may be affected by widening and deepening
the San Juan Harbor Federal Channel, numerous cultural resources investigations have been
undertaken within the current study area since the initial 1974 San Juan Harbor feasibility report. In
1992, a magnetometer survey of the Bar Channel, Army Terminal Channel, and the Puerto Nuevo
Channel identified 13 magnetic targets that had the potential to represent significant cultural
resources. The results of this fieldwork is documented in the report entitled Cultural Resources
Magnetometer Survey at San Juan Harbor, Puerto Rico (Márquez Marin 1993). A subsequent diver
identification of these targets was conducted and documented in the report Cultural Resource
Magnetic Anomaly Identification Investigation in San Juan Harbor, San Juan Puerto Rico (Koski-Karell
1993). Results of the diver investigation determined that one magnetic target (Anomaly 6:7, the wreck
of a steel steamship) and a shipwreck site in the vicinity of Buoy R-4 appeared to be potentially
significant.

                Table 2-8: Shipwrecks in San Juan Bay (Adapted from Koski-Karell 1993).
 Year    Cause               Name               Type                Origin        Source
 Sixteenth Century
 1524    Reef                Santa Maria        110 Ton Nao         Spanish       Cardona
                                                Barge 15 Yards
 1529    Caribs              --                                     Spanish       Cardona
                                                Long




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Year   Cause             Name              Type                Origin       Source
1530   Hurricane         --                Navio               Spanish      Cardona
1530   --                --                Ship                Spanish      Cardona
                                           Six or Seven
1545   Hurricane         --                                    --           Cardona
                                           Loaded Ships
1550   Storm             --                Anchored Vessels    --           Cardona
                         La Concepcion y
1550   Storm                                150 Ton Galleon    Spanish      Cardona
                         Espiritu Santo
1551   Storm             San Cristobal     200 Ton Nao         Spanish      Cardona
                         San Salvador
1554   --                Dona Juana         Naos               Spanish      Hostos Cerame
                         Regina Coelis
1560   Reef              San Juan          130 Ton Galliot     Spanish      Cardona
1562   --                San Esteban       --                  --           Hostos Cerame
1573   Storm             --                Urca                --           Hostos Cerame
                         Nuestra Señora
1588   --                                   Navio              Spanish      Cardona
                         del Rosario
1589   Reef              --                Navio               Spanish      Cardona
                         San Juan
1589   --                                   Navio              Spanish      Cardona
                         Gargantua
       Sunk at           Nuestra Senora
1595                                        960 Ton Galleon    Spanish      Cardona
       Entrance of Bay   de Begoña
       Sunk at
1595                     La Pandorga        Naos               Spanish      Cardona
       Entrance of Bay
       Sunk at
1595                     San Francisco      70 Ton Navio       French       Cardona
       Entrance of Bay
       Sunk at
1595                     Tejada             80 Ton Navio       --           Cardona
       Entrance of Bay
       Burned by
1595                     --                 Frigate            Spanish      Hostos Cerame
       Drake
Seventeenth Century
       Lost at Port's
1601                     San José           380 Ton Nao        Biscayne     Cardona
       Entrance
                                                               Spanish      Cardona/Hosto
1615   Hurricane          --                2 Navios 1 Sloop
                                                               local        s Cerame
1622   Disabled          San Antonio       Navio               Spanish      Cardona
                                                               Larraspuru
1623   Storm             St. Joseph         Galleon            Fleet/       Cardona
                                                               Spanish
                         Nuestra Senora
1623   Shoal                                Galleon            Spanish      Hostos Cerame
                         de Begoña


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Year   Cause              Name               Type               Origin       Source
                          Nuestra Señora                                     Cardona/Hosto
1625   Blazed at War                         300 Ton Navio      Spanish
                          del Rosario                                        s Cerame

1625   War                --                 Sloop              Dutch        Hostos Cerame

1625   Arrived in
                          Jesus Maria        80 Ton Ship        Spanish      Cardona
-30    Distress
                                                                             Cardona/Hosto
1626   Storm              --                 Navio              Canaries
                                                                             s Cerame
                                                                             Cardona/Hosto
1626   Storm              --                 Navio              Castille
                                                                             s Cerame

                                                                             Cardona/Hosto
1626   Storm              --                 Ship               Local
                                                                             s Cerame
                          Nuestra Señora
1635   Reefs              de Pena de         Nao                Spanish      Cardona
                          Francia
1649   --                 --                 Advice Boat        Spanish      Hostos Cerame
                          San Matias Alias
1651   Storm                                 Nao                Spanish      Coll y Toste
                          La Vizcaina
1659
       Arrived in
or                        --                 Sailboat           Spanish      Coll y Toste
       Distress
1660
Eighteenth Century
1745   --                 --                 36 Cannon Ship     French       Hostos Cerame
Nineteenth Century
                          La
1825   Hurricane                             Schooner           Spanish      Hostos Cerame
                          Puertorriqueña

1825   Hurricane          Congrave           Brigantine         English      Hostos Cerame

1825   Hurricane          --                 3 Schooners        Spanish      Hostos Cerame
1827   Hurricane          --                 Ship               --           Hostos Cerame
1837   Hurricane          --                 38 Ships           --           Hostos Cerame

1837   Hurricane          Pepita             Schooner           Spanish      Hostos Cerame
1853   Hurricane          Carmen             Schooner           Spanish      Coll y Toste

1853   Hurricane          Josefita           Schooner           Spanish      Coll y Toste

1853   Hurricane          Rita               Schooner           Spanish      Coll y Toste




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Year   Cause               Name              Type                Origin       Source
1853   Hurricane            --                Felucca            Local        Coll y Toste
                                              2 Sloops, 1
1867   Hurricane           --                                    Spanish      Hostos Cerame
                                              Sailboat
1876   Hurricane           --                 10 Ships           --           Hostos Cerame
       War Sunk at
1898                       Manuela            Ship               Spanish      A. Rivera
       Entrance
       War Sunk at
1898                       Colon              Ship               Spanish      A. Rivera
       Entrance
Twentieth Century
1904   --                  Mabel Jordan       --                 --           Hostos Cerame
                                                                 Puerto
1961   Fire                Hilda II           Yacht                           Hostos Cerame
                                                                 Rico
1962   --                  Libertad          --                  --           Hostos Cerame
1964   --                  S.S. Catalina      --                 --           Hostos Cerame
1965   --                  M/V Pocahontas     --                 --           Hostos Cerame
1968   Reef                Ocean Eagle       Oil Tanker          Liberia      Hostos Cerame




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Additional field investigations were conducted during April 1994 by Mid-Atlantic Technology to
evaluate two potentially significant resources that had been identified in the above referenced reports.
The results of these investigations are documented in the report entitled Underwater Investigations
to Ground Truth Two Potentially Significant Submerged Cultural Resources, San Juan Harbor, San Juan,
Puerto Rico (Hall 1994). One of these resources was found to be a steel-constructed ship, referred to
as Target 6:7, which had been partially salvaged and demolished (Hall 1994). The vessel could not be
identified; however, its construction was typical of the early to mid-twentieth century. Based on the
underwater examination the wreck was found to be ineligible for inclusion in the NRHP. A potentially
significant wreck site was identified southwest of Buoy R-4. No timbers or other structural evidence
was visible; however, several historic artifacts were identified in the area dating the wreck site from
the mid-seventeenth to mid-eighteenth century. The USACE determined the historic wreck site to be
potentially eligible for inclusion in the National Register and avoidance was recommended.

In 2000, archaeologists from Panamerican Consultants, Inc. (Panamerican) conducted an additional
submerged cultural resources investigation of Target 6:7 (Hall 1994). Based on the original USACE
assessment of not eligible for inclusion in the NRHP, wreck removal efforts of Target 6:7 (Hall 1994)
were instituted as part of dredging operation; however, additional information emerged about the
vessel suggesting that it may be the Manuela or the Crist¦bal Col¦n. Both ships were scuttled to block
the San Juan Harbor entrance channel during the Spanish-American War. Based on this new
information that suggested that the vessel might be significant, wreck removal efforts were halted and
an investigation was undertaken to determine the wreck's identity and assess its significance. The
investigation reported in Archaeological Diver Identification and Evaluation of an Iron-Hulled Vessel in
the Entrance Channel to San Juan Harbor, Puerto Rico (James et al. 2001) determined that the wreck
dated from the mid-to-late nineteenth century and was tentatively identified as the Manuela, a
propeller-driven steamship built in Scotland in 1872. Based on the location of the wreck in the entrance
channel, the USACE determined that data recovery of the Manuela was necessary to mitigate for
adverse impacts of dredging.

During the initial mitigation of the Manuela by Panamerican in 2002, a second possible wreck location
was identified 700 feet north of the Manuela site. Panamerican investigated the reported wreck
location and documented their findings in an Archaeological Diver Identification and Evaluation of
Anomaly 6:7 in the Entrance Channel to San Juan Harbor, Puerto Rico (Krivor 2003). As a result of this
investigation, it was determined that portions of the Crist¦bal Col¦n were represented in the wreckage
remains. The Crist¦bal Col¦n was an iron-hulled sidewheel steamer built in Scotland in 1865. Although
damaged by previous dredging operations, the wreckage of the Crist¦bal Col¦n was determined
eligible for listing in the NRHP and recordation of the ship was determined as appropriate mitigation
for adverse impacts of dredging.

The final cultural resources investigation within the San Juan Harbor Federal channel included the data
recovery of the Manuela and the detailed recordation of the Crist¦bal Col¦n and is documented in the
report Archaeological Data Recovery of the Iron-Hulled Vessel Manuela and Documentation of the
Crist¦bal Col¦n In the Entrance Channel to San Juan Harbor San Juan, Puerto Rico (James et al. 2003).
Both shipwrecks were removed from the entrance channel, the wreckage assessed and recorded, and
artifacts preserved. After recordation the remains of both vessels were redeposited near the Antonio
L¦pez, a National Historic Landmark seven miles west of San Juan. The wreck remains were arranged
on the sea floor in a similar orientation to their original context in San Juan Harbor. The location of
both the Manuela and the Crist¦bal Col¦n was chosen to facilitate future dive trips and provide
protection for the archaeological integrity of the Antonio L¦pez.


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There are six historic properties listed in the NRHP that are located immediately adjacent to the San
Juan Harbor Study area (Figure 2-8). These properties are located on the islet of San Juan overlooking
the Harbor and include the Castillo de San Felipe del Morro portion of the San Juan National Historic
Site (SJ0100029), Faro del Castillo Morro (SJ0200003), U.S. Post Office and Courthouse, La Fortaleza
(SJ0100031), U.S. Custom House (SJ0200044), and the Old San Juan Historic District (Distrito Histórico
del Viejo San Juan). In addition to being listed in the NRHP, the Old San Juan Historic District and La
Fortaleza are National Historic Landmarks, Castillo de San Felipe del Morro is a National Historic Site,
and La Fortaleza and San Juan National Historic Site are included in the United Nations Educational,
Scientific, and Cultural Organization (UNESCO) World Heritage List as an outstanding example of
European developments in military architecture in the Caribbean from the sixteenth to twentieth
centuries.

The San Juan National Historic Site was listed in the NRHP in 1966 and inscribed in the World Heritage
List in 1983. The site consists of two large masonry forts (San Felipe del Morro and San Cristóbal), the
north city walls, the majority of the south city walls, the San Juan Gate and various other associated
structures and earthworks dating from the sixteenth through twentieth centuries. The Castillo de San
Felipe del Morro is located on the western tip of the islet de San Juan, approximately 1,000 feet from
the San Juan entrance channel. Construction on the fort began in 1539 and has been expanded,
repaired, and modified to fulfill the military requirements of each century. A large rip rap embankment
surrounds the perimeter of the site to protect the Fort from erosion.

Faro del Castillo Morro, or Puerto San Juan Light, is the oldest lighthouse still in existence and use in
Puerto Rico. The San Juan Light was first constructed in 1846; however, due to deterioration the
current lighthouse was built at its current location within the Castillo de San Felipe del Morro in 1876.
The San Juan Light was listed in the NRHP in 1981.

La Fortaleza is the original fortification protecting San Juan Harbor. It was listed in the NRHP in 1966
and inscribed in the World Heritage List in 1983 along with the San Juan National Historic Site. La
Fortaleza was constructed between 1533 and 1540 on the southern edge of the islet, approximately
0.5 miles south of the Castillo de San Felipe del Morro. The site originally consisted of a circular tower
and four stone walls; a second tower was constructed at the end of the sixteenth century. After Castillo
de San Felipe del Morro was constructed at a more strategic location at the entrance to San Juan
Harbor, la Fortaleza was relegated to a positional of secondary defensive importance. The site has been
the Puerto Rican gubernatorial residence since 1640. La Fortaleza is protected from erosion by a rip
rap embankment.

The U.S. Post Office and Courthouse is located 200 feet north of the cruise ship basin. The building is a
three-story, concrete structure which occupies a square block bounded by Calle San Justo, Calle Tanca,
Calle Commercio, and Calle Recinto Sur. The building was constructed in 1914 and is significant example
of American institutional architecture of the period. In 1940, a six-story annex was constructed on the
south façade, representing one of the best examples of Vienna-School influenced architecture in
Puerto Rico. The U.S. Post Office and Courthouse was listed in the NRHP in 1988 and continues to serve
as the center of the Puerto Rico judiciary and postal systems.

The San Juan Custom House abuts the cruise ship basin on its east façade. The building was constructed
in the Spanish-Colonial Revival style and consists of a first floor constructed in 1924 and a second floor
build in 1927. The San Juan Custom House was listed in the NRHP in 1988 as an architecturally and




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historically significant contribution to the first, transitional phase of the American Customs Service in
Puerto Rico.

The Old San Juan Historic District (Distrito Histórico del Viejo San Juan) was originally listed in the NRHP
in 1972 and consisted of the north-western triangle of the San Juan islet. The boundary was recently
increased in 2012 to be bounded by Muñoz Rivera and Ponce de León Avenues, Paseo de Covadonga,
and J. A. Corretejer and Recinto Sur Streets. The Old San Juan Historic District contains over 700 late
sixteenth, seventeenth, eighteenth, and nineteenth structures associated with the development of this
historically important seaport, seat of government, and commercial center of Puerto Rico.

Future Without-Project Condition
Without a project, the extensive cultural and historic resources of the San Juan Harbor area would
continue to be protected under several Federal laws and regulations similar to the existing conditions
descriptions. As a result of previous mitigation, no impacts to cultural or historic resources are
anticipated from continued operations and maintenance dredging. The natural wind and wave climate
will remain roughly the same with some potential changes related to sea level change. However, with
the forecasted increase in vessel traffic, the number of vessel wakes and the associated impacts will
increase over time. As the vessels get larger, wakes will become increasingly concentrated during high
tides when their impacts would be greatest. Existing revetments and sea walls will continue to protect
historic properties from erosional effects.




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             San Juan Harbor. Puerto Rico




         San Juan Harbof NatioMiI Historic Site
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Figure 2-8: NRHP properties in the vicinity of San Juan Harbor




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2.4.19 Aesthetics and Recreation
Existing Condition
Aesthetic resources are perhaps more difficult to define than aesthetics itself. USEPA (1973) stated the
following:

“A. G. Alexander Baumgarten (1714-1762) is credited with coining the word AESTHETIC, in his work
Aesthetica (dated 1750), to denote "that branch of science which deals with beauty" (Klien, 1966). Like
beauty, then, the word has no clear and agreed-on definition that is operative-it remains a term that
designates a vague concept…”

In the context of large infrastructure projects, aesthetics generally involves personal and subjective
evaluations of the acceptability of visual scenes. The subject is often approached in terms of a
“viewshed,” which is the scene of the proposed project and consequences as viewed from various
locations. Since the project involves a large landscape, this section will be addressed from a regional
San Juan Harbor aspect.

San Juan Harbor is a historic seaport, and has been associated with vessels of increasing size for
hundreds of years. A scenic setting is provided by the harbor and river and the numerous vessels
common to these waters, including commercial and recreational boats as well as vessels calling on the
Port. The estuarine environment provides opportunities for boating and fishing, as well as an escape
from the faster pace of land-based activities. Several boat ramps and marinas are located in San Juan
Harbor. The Port itself is situated in an urban/commercial setting.

Future Without-Project Condition
Regardless of the implementation of the proposed project, in the future without-project condition/No
Action Alternative, larger vessels will call at the port. One potential effect on local aesthetics could be
that larger vessels would call at the port in the future and those ships may be visible from farther away
(albeit typically for a short interval of time in any given position). This shift to larger vessels is already
occurring and will take place regardless of deepening. Apart from the shipping industry, other
anthropogenic features have affected and continue to affect local aesthetics. These include roadways
and railways, infrastructure, vehicular traffic, industrial complexes, and blighted properties. Dredge
vessels and equipment used during operations and maintenance may temporarily affect aesthetics in
San Juan Harbor, just as scaffolding and cranes temporarily obscure architectural features in an urban
setting. There would continue to be temporary and minor impacts on recreational boating during
continued maintenance dredging of the navigation channel but no more than there is now as the
maintenance schedule is not expected to change.



2.4.20 Socioeconomics
The parameters used to describe the demographic and socioeconomic environments include trends in
population, employment, and income distribution for the Commonwealth of Puerto Rico and the forty
municipalities that make up the San Juan-Carolina-Caguas Metropolitan Statistical Area (MSA).
Additional details may be found in the Economics Appendix.

Historical Population and Population Projections
The U.S. Census data indicates that the population of Puerto Rico increased from 1950 to 2000, a net
increase of 1,597,907. This constitutes an average annual increase of 1.5%, or 31,958 per year during
that period. The 2010 census shows a population of 3,725,789, a net loss of 82,821 or a 2.2% decline


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from the 2000 census. A surge in the out-migration of its citizens explains much of this decline, with
nearly one-third of those born in Puerto Rico living on the U.S. mainland in 2013.2

San Juan-Carolina-Caguas MSA
In all, there are 78 municipalities of the Commonwealth of Puerto Rico. The largest MSA is the San
Juan-Carolina-Caguas MSA with a total population of 2,350,126 in 2010, approximately 63.0% of the
total population of Puerto Rico. Approximately two out of every three people in Puerto Rico live within
the San Juan-Carolina-Caguas MSA. In 2015 the population of the municipality of San Juan was 355,074,
the most populous municipality in Puerto Rico.

Population Density
Puerto Rico is 10 times more densely populated than the United States as a whole. Based on the 2015
population estimate, population density in Puerto Rico is 988 people per square mile or 362 people
per square kilometer. This makes Puerto Rico the fourth most densely populated state or territory in
the United States. It is behind only Washington, District of Columbia (10,589 people per square mile);
New Jersey (1,210 people per square mile); and Rhode Island (1,006 people per square mile).

Figure 2-9 presents, at a glance, the 2010 Census Profile for the U.S. Territory of Puerto Rico including
population distribution by race, population distribution by sex and age, population density, and the
decennial population from 1970 to 2010.

Employment and Income
The economy of Puerto Rico is relatively concentrated in (1) educational services, healthcare and social
assistance services, and (2) retail trade. According to the U.S. Census 2011-2015 American Community
Survey (ACS) 5-Year Estimates, Puerto Rico employment totaled 1,063,350 on average with over 37%
of jobs attributable to these two sectors combined.

The San Juan-Carolina-Caguas MSA industry sectors yield employment distributions similar to those in
Puerto Rico overall. Also of note, the arts, entertainment, and recreation, and accommodation and
food services sector ranks fourth in terms of the percentage of people employed in the San Juan-
Carolina-Caguas MSA, which is consistent with San Juan Harbor’s prominence as a Caribbean cruise
port and with the importance of tourism on the island. According to the U.S. Census Bureau’s 2010-
2014 ACS, the median household income in 2010-2014 for Puerto Rico was on average $19,686. Of the
three municipalities directly adjacent to San Juan Harbor, both San Juan ($22,266) and Guaynabo
($34,450) had median household incomes greater than that of Puerto Rico overall, while the median
household income in Cataño ($18,625) was less than that of Puerto Rico overall.

See the Economics Appendix for additional details on historical unemployment rates in the
municipality of San Juan and for discussion of qualification for incorporation of unemployment benefits
as part of NED benefits per ER 1105-2-100.




2 Based on 2013 data from the United Nations and U.S. Census Bureau as reported by the Pew Research Center in the August

11, 2014 article entitled “Puerto Rican Population Declines on Island, Grows on U.S. Mainland” by D’Vera Cohn, Eileen Patten
and Mark Hugo Lopez.


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Figure 2-9: Commonwealth of Puerto Rico 2010 Demographic Profile (Source: United States Census
Bureau, 2010 Decennial Census
Future Without-Project Condition
According to the statistics presented by the Puerto Rico Statistics Institute regarding U.S. Community
Survey estimates, the population of Puerto Rico is expected to continue its downward trend in the
period from 2010 to 2050. The decline in population is projected to reach 737,000 or 19.8% over the
40 year period. This constitutes an average annual decline of 0.5%, or 18,423 people per year. Given
current information, significant changes in other socioeconomic variables in the future without-project
are not expected.

2.4.21 Unique Characteristics
As far as unique characteristics of the geographic area, such as proximity to historical or cultural
resources, park lands, prime farmlands, wetlands, wild and scenic rivers, or ecologically critical areas,
the greater San Juan Bay estuary contains habitat for corals, other hard grounds, sea grass and other
SAV and mangroves which support (or potentially could support) associated sport/commercial fish,
spiny lobster, fighting conch, and aquarium trade species. However, in the study area, only the
proposed USCG Anchorage F expansion contains quality habitat. Extensive historic dredging in
Condado Lagoon has left deep depressions or dredge holes which impair the lagoon's water quality
and living resources. A cultural resources survey was conducted to identify any potential effects to
unique cultural characteristics and is discussed further in Sections 2.4.18 and 5.4.18.



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3.0     PLAN FORMULATION
The USACE plan formulation process identifies existing and anticipated problems and opportunities to
develop planning objectives. It then identifies specific measures that could be combined to assemble
sets of alternatives that 1) address the problems identified, 2) meet the planning objectives, and 3)
avoid project constraints. These alternatives are then screened, carefully refined, and compared to
each other in an iterative fashion to identify the alternatives that best balance the many factors to be
considered in selecting alternatives that avoid project constraints. These alternatives are designed to
be complete, effective, efficient, and acceptable to reasonably maximize net benefits while minimizing
costs and adverse impacts.

To streamline the plan formulation process, the USACE applies risk-informed decision-making. Risk-
informed decision-making aims to reduce the cost-shared study schedule and budget while still
allowing the USACE to produce comprehensive feasibility reports that adequately support the
recommendations. Risk-informed planning concentrates on eliminating non-essential activities,
minimizing the collection of information that does not meaningfully influence the decisions or
recommendations, and reporting only the pertinent, supporting, and required level of data. When
appropriate, risk-informed planning also uses assumptions, best professional judgment, and/or
estimates instead of acquiring new data to support the decision-making process after considering the
relative likelihood, nature, and magnitude of the impacts to the overall decision and the associated
environmental, social, and economic consequences.

To ultimately select a plan, the final array of alternatives are compared to each other from the
perspectives of the NED, Regional Economic Development (RED), Environmental Quality (EQ), and
Other Social Effects (OSE) accounts to identify and recommend the alternative that provides the best
and most balanced solution, as the Recommended Plan.

The four accounts were established in the economic and environmental principles and guidelines
(P&G) approved in 1983 to facilitate the evaluation of management measures and display the effects
of alternative plans. The NED account displays the plan with the greatest net economic benefit
consistent with protecting the nation’s environment; the EQ account displays non-monetary effects
on ecological, cultural, and aesthetic resources including the positive and adverse effects of alternative
plans; the RED account displays changes in the distribution of regional economic activity (e.g., income
and employment); and the OSE account displays plan effects on social aspects such as community
impacts, health and safety, displacement, energy conservation, and others. The Federal P&G require
that the NED plan must also be evaluated in consideration of the P&G criteria of completeness,
effectiveness, efficiency, and acceptability. Each alternative plan is formulated in consideration of
these criteria and discussed further in Section 3.4.3.

3.1     Problems, Opportunities, Objectives, and Constraints*
The first step in the planning process is the identification of problems, opportunities, and constraints.
The identification and development of problems, opportunities, and constraints specific to San Juan
Harbor resulted from internal discussions, public outreach (i.e. planning charrette, public meetings,
release of Draft IFR/EA for public review, etc.), and communication with external stakeholders and
resource agencies.

The NEPA scoping process played an important part in gathering information to help identify problems,
opportunities, constraints, and stakeholder’s, the public’s, and agencies’ concerns. A well-attended


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planning charrette on November 4, 2015 and public meetings held November 5, 2015 and August 22,
2017 helped identify problems and opportunities. Resource agency representatives identified and
located areas of environmental concerns on navigation charts. U.S. Coast Guard representatives
provided a presentation detailing the location of groundings, collisions, and allisions within the harbor.
The San Juan Bay Pilots identified navigation concerns including wind and wave challenges, bank
suction effects, and difficult turns. Terminal operators provided information and letters on channel
depth constraints of their existing fleet resulting in inefficient light loading of petroleum tankers.
Petroleum deliveries to Puerto Rico and the San Juan metropolitan area, in particular, contribute
greatly to the case for Federal interest, as there are two power plants, two airports, and Puerto Rico’s
most populous region all of which are heavily reliant on these imports.

3.1.1 Problems
A problem is an existing condition to be considered for change. As discussed, meetings and
coordination with the PRPA, terminal operators, the San Juan Bay Harbor Pilots’ Association, the USCG
Sector San Juan, maritime interests, environmental resource agencies, and interested individuals
provided valuable insight to existing problems and opportunities for improvements. The most
important problems identified for San Juan Harbor are summarized as follows:

    x   Insufficient channel depths and widths.

            o   Petroleum vessels (requiring more than 40 foot depths) are experiencing
                inefficiencies. These inefficiencies cause the transportation industry to light load large
                vessels, or use smaller, less efficient vessels to transport the cargo.

            o   Depth-related problems are expected to be exacerbated by ongoing and forecasted
                shifts to the use of larger vessels, particularly for petroleum tankers.

    x   Potential transportation delays resulting from strong wind, wave, and current conditions.

            o   Prevailing winds from the East at 25-30 knots make transiting the Bar Channel difficult
                by increasing the drift angle of the ships, which increases the effective beam or swept
                path of the ship.

            o   Winds, waves, and currents at the Entrance (Bar) Channel cause ships to roll and heel,
                which increases the draft of ships.

            o   As ships accelerate to negotiate wind, wave, and current conditions at the Entrance
                (Bar) Channel, squat and sinkage effects cause increased bow pressure and a
                shortened steering lever making turns difficult to control.

3.1.1.1 Insufficient Channel Depths and Widths
Restrictive Channel Depths
Feedback from stakeholders, combined with knowledge of the existing and the forecasted vessel fleet
servicing San Juan Harbor, indicates that the most pressing problems are related to meeting the needs
of the growing size and increasing depth requirements of petroleum vessels. These problems are
causing transportation inefficiencies that will continue into the future, if they are not addressed.
Transportation inefficiencies occur when channels and maneuvering areas do not fully accommodate
the vessels using them. Currently, large vessels are constrained by insufficient channel depths and




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under-sized turning areas and all vessels can be constrained by strong or unpredictable winds and
currents or other conditions that affect operational maneuverability.

Puma Energy, in their November 4, 2015 Planning Charrette presentation, noted their medium range
tankers light load to a 38-foot draft with two-feet of underkeel clearance as a result of the 40-foot
channel depth which constrains those ships from loading to a draft of 42 feet with two feet of under
keel clearance or a project depth of 44 feet.

Total Energy, in their November 16, 2015 letter, indicates the San Juan Harbor Federal channels do not
allow fully loaded ships (medium range tankers) leading to 5% to 10% dead freight. Total Energy also
requested increasing Federal channel depths from 40 to 44 feet.

Both of these depth-constrained terminals established a Federal interest for further evaluation. As a
result, there are opportunities to decrease transportation costs and inefficiencies while bringing the
forecasted goods in on fewer ships.

Furthermore, according to the harbor pilots, tankers and container ships experience squat effects on
vessel maneuverability in the Army Terminal Channel.

Restrictive Channel Widths
   x Restrictive navigation aids marking of channel widths make turns from Anegado Channel to
       Army Terminal Turning Basin difficult. Two groundings were reported in 2010 at the transition
       from Anegado Channel to Army Terminal Turning Basin due to this navigation restriction
       imposed by the placement of these aids to navigation within the Federal channel footprint.

    x   Harbor pilots indicated tankers and container ships experience bank (suction) effects along
        Army Terminal and Puerto Nuevo Channels.

    x   Restricted use of Cruise Ship Turning Basin East, limited depths restrict cruise ship
        maneuvering, resulting in multipoint turns requiring additional time.

3.1.1.2 Difficult Wind and Wave Conditions
The San Juan Bay pilots, USCG representatives, and other maritime interests identified areas of
particular concern within San Juan Harbor. These areas include the Bar (Entrance) Channel, the
transition from Anegado Channel to Army Terminal Channel, Army Terminal Channel itself, Puerto
Nuevo Channel, and restricted turning basins for maneuvering cruise ships transiting through the San
Antonio Channels to cruise ship terminals.

3.1.1.3 Limited Width in Turning Basins
The San Juan Bay pilots, USCG representatives, and other maritime interests identified restricted
turning basins for maneuvering cruise ships transiting through the San Antonio Channel to cruise ship
terminals. The Army Terminal Turning Basin was also identified as a restrictive turning basin for larger
vessels transiting San Juan Harbor.




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Figure 3-1: Light Loaded PUMA and TOTAL tankers conceptual lost capacity in existing and future
without-project conditions

3.1.2 Opportunities
Opportunities focus on desirable future conditions and potential ways to address specific problems
within the study area. The following opportunities were identified during the planning process and
were evaluated over the 50-year period of analysis. These opportunities, realized through the
implementation of measures (structural and/or non-structural), include:

   x   Transporting the forecast volume of fuels or goods into and out of the harbor on fewer, larger,
       more efficient vessels.

   x   Elimination or reduction of navigational restrictions and inefficiencies (i.e. channel width and
       depth limitations) to enable maritime carriers to realize the transportation economies of scale
       without adversely impacting their shipping operations.

   x   Facilitating navigation efficiency and maneuverability by ultimately reducing congestion.

   x   Realize power generation cost reduction benefits via the conversion from diesel to LNG.

3.1.3 Objectives
Planning objectives are summarized in statements that describe the desired results for solving or
alleviating problems and realizing opportunities. These objectives must reflect the problems and
opportunities and represent desired positive changes in comparison to the without-project conditions
described in Section 2. The overall Federal objective related to water and related land resources



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project planning is to contribute to NED, consistent with protecting the Nation’s environment pursuant
to national environmental statutes, applicable executive orders, and other Federal planning
requirements. Water resources project plans are formulated to alleviate problems and take advantage
of opportunities in ways that contribute to this objective.

The need for modifications to the existing navigation system in San Juan Harbor is generated by
physical constraints and the associated inefficiencies that limit the system’s ability to safely and
efficiently serve the forecasted vessel fleet and process the forecasted cargo volumes. The purpose of
this feasibility study is to identify and recommend a comprehensive set of navigation modifications
that would reasonably maximize, consistent with protecting the Nation’s environment, San Juan
Harbor’s contribution to net NED benefits by addressing those physical constraints and inefficiencies.

Developing specific, flexible, measurable, realistic, attainable, and acceptable objectives is critical to
the success of the planning process. The study team worked with many stakeholders to develop a
primary planning objective that also serves as the Purpose and Need statement for the NEPA process:

 PRIMARY PLANNING OBJECTIVE/NEPA PURPOSE AND NEED STATEMENT.

 To reasonably maximize San Juan Harbor’s contribution to national economic development,
 consistent with protecting the Nation’s environment, by addressing the physical constraints and
 inefficiencies in the existing navigation system’s ability to efficiently serve the current and
 forecasted vessel fleet and process the forecasted cargo volumes.


For clarity, and to assist in applying this objective, the primary planning objective is based upon known
problems and opportunities and considers the following objective statements:

    x   To reduce navigation transportation costs through San Juan Harbor and reduce regional power
        generation costs, ultimately contributing to NED over the 50-year period of analysis from 2026
        to 2075.

    x   To develop an alternative that is environmentally acceptable and sustainable for the 50-year
        period of analysis from 2026 to 2075.

    x   To improve navigation maneuverability (alleviate congestion) by increasing Federal channel
        depths and widths, as well as turning basin widths, for existing and future fleets.

Contributions to the NED account represent the anticipated increase in the value of the national output
of goods and services. In the case of navigation projects (such as San Juan Harbor), the increase in
national output is in the form of reduced transportation costs (benefits). When people buy goods, the
price includes the cost to have the goods transported from where they are produced to where they
are sold. Where efficiencies are created, the lower cost of transporting the goods can be passed on to
consumers in the form of lower prices. Efficiencies can also help promote exports. When goods made
in the U.S. or Puerto Rico are transported more efficiently, they can be delivered to customers in other
countries at a lower cost. This can make U.S. products more competitive and lead to greater
employment in the continental U.S. or Puerto Rico. The USACE does not attempt to predict what
portion of project benefits would accrue to consumers versus shipping companies or manufacturers.
Attributing benefits to specific entities would be extremely complex and speculative. Instead, the




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benefits are expressed in terms of transportation costs saved by all parties on all goods, whether they
are imported or exported.

NED benefits are estimated by calculating the total costs to transport the forecasted cargo through the
unmodified (without-project) harbor system and through each alternative scenario using the
HarborSym Modeling suite of tools. Benefits for each alternative are calculated by subtracting the total
transportation costs for that alternative from the total transportation costs for the same cargo under
the without-project conditions. Net benefits are then calculated by subtracting the total costs to
implement each alternative from the benefits that would result from implementing that alternative.
Positive net benefits (where cost savings exceed implementation costs) are considered contributions
to the NED account. NED benefits are normally expressed in terms of average annual net benefits that
are calculated over the 50-year period of analysis. The calculations consider the timing of the
expenditures and benefits by applying a discount rate that converts the dollar value of costs and
benefits received at different time periods to present value.

NED benefits include origin-to-destination benefits, reduced congestions and turning time efficiencies,
and power generation benefits. Origin-to-destination benefits are primarily derived “at-sea” based on
the ability to utilize different vessels or to load more cargo onto them based on differing harbor
condition scenarios. For deepening alternatives, most origin-to-destination benefits result from
efficiencies related to the ability to use the additional draft to deploy larger, more efficient vessels
and/or to transport more cargo on the same vessels and reducing the total number of trips needed to
transport a given volume of cargo. Congestion reduction and turning time efficiency benefits are
derived near and within the harbor and result from a reduction in transit times needed to navigate the
harbor and turning basins. These benefits are normally smaller than the associated origin-to-
destination benefits and are attributable to increased flexibility of harbor operations resulting from
less concentrated traffic due to increased depths of available turning basins, which allows more access
to deeper draft vessels and an expanded maneuvering area.

Power generation cost reduction benefits result from widening improvements of the Army Terminal
Channel. The widening of Army Terminal Channel and the east and west flares to the Army Terminal
Turning Basin allow for large LNG tankers to transit the harbor and be received at the proposed PREPA
LNG berth in the Army Terminal Turning Basin. The existing channel dimensions restrict calls from
world fleet vessels with beams greater than approximately 131 feet. Because the majority of LNG
vessels available in the world fleet have beams exceeding this limit, channel widening would be
necessary to reliably receive LNG vessels in San Juan Harbor. A conversion to LNG would provide a
more efficient and cleaner burning fuel source than the bunker fuel and diesel fuel combination
currently used to power the Palo Seco and San Juan Power Plants in San Juan, Puerto Rico. With LNG,
the two power plants would be expected to produce the same amount of electricity as would be
produced with diesel fuel but using fewer metric tons of fuel to do so.

3.1.4 Constraints
Constraints are resource, legal, or policy considerations that limit the actions that can be implemented
to meet the study objectives. The plan formulation process strives to efficiently meet the study
objectives without violating the constraints. The study-specific constraints include:

    x   Compliance with maritime safety requirements (e.g. USCG safety clearances);

    x   Avoid unacceptable impacts to important natural resources;



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    x   Avoid unacceptable impacts to important cultural and historical resources; and

    x   Avoid unacceptable impacts to landside infrastructure.

3.2     Assumptions
To facilitate analysis and screening, this feasibility study utilized two sets of assumptions: (1) standard
USACE deep draft navigation assumptions and (2) project-specific assumptions. The assumptions
related to the future without-project conditions described in the USACE Planning Guidance Notebook
(ER 1105-2-100) for all deep draft navigation feasibility studies include:

    x   Nonstructural measures within the authority and ability of port agencies, other public
        agencies, and the transportation industry to implement are assumed to occur. These measures
        consist of reasonably expected changes in management and the use of existing vessels and
        facilities on land and water. Examples are lightering, tug assistance, use of favorable tides, split
        deliveries, topping-off, alternative modes and ports, and transshipment facilities, such as the
        USCG’s relocation of buoys to areas of existing deep water.

    x   Alternative harbor and channel improvements available to the transportation industry over
        the planning period include those in place and under construction at the time of the study,
        and those authorized projects that can reasonably be expected to be in place over the planning
        period.

    x   Authorized operation and maintenance is assumed to be performed in the harbors and
        channels over the period of analysis unless clear evidence is available that maintenance of the
        project is unjustified.

    x   In projecting commodity movements involving intermodal movements, sufficient capacity of
        the hinterland transportation and related facilities, including port facilities, is assumed unless
        there are substantive data to the contrary.

    x   A reasonable attempt should be made to reflect advancing technology affecting the
        transportation industry over the period of analysis. However, benefits from improved
        technology should not be credited to the navigation improvement if the technological change
        would occur both with and without the plan.

The following study-specific assumptions were also developed for the San Juan Harbor feasibility study:

    x   Without a Federal project, none of the channel deepening or widening measures would occur.

    x   The assumption of underkeel clearance required for a vessel will be based on actual practices,
        not on USACE clearance standards.

    x   The ODMDS will have sufficient capacity to meet the combined needs of the new work and 50
        years of maintenance material.

    x   Separately, and as part of the future without-project condition, the USCG may re-designate
        the San Juan Harbor Anchorage Area “F” through its rule making process to include an
        expanded area and depths commensurate with the proposed adjacent deepening of the
        Anegado Channel.


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    x   PREPA estimates conversion of their two power plants in San Juan to LNG will require 36
        months from start (permitting final approval) to achieving commercial operational status.
        Details of the PREPA LNG conversion per a January 11, 2018 letter from them (See Appendix J)
        are as follows:

            o    PREPA will pursue a public-private partnership (P3) for this project. The government
                 will provide port, portside land, and necessary easements for the infrastructure and
                 will start studies for design and permitting (PREPA will file the permit application to
                 FERC). The P3 will be an agreement between PREPA and the private company, where
                 the private company will engineer, design, construct, operate and own-to-transfer the
                 maritime terminal for receiving, storing, and gasification of LNG. The private company
                 shall provide the new dock and LNG unloading facilities, LNG transferring
                 infrastructure (cryogenic pipeline, etc.), storage tank(s), gasifiers, and all related
                 auxiliaries as well as gas transfer and supply lines. The anticipated term is currently
                 estimated to be from a 15- to 20- year operation, where at the end of the term all the
                 facilities and infrastructure title and ownership shall be vested upon the Government
                 of Puerto Rico.

            o    PREPA will purchase the LNG and the private company will unload, receive, store,
                 gasify, and transfer natural gas to PREPA. Tolling fees shall compose of initial capital
                 expenditure (CAPEX), maintenance CAPEX, operating expense (OPEX), and margin. It
                 is estimated that the tolling fee will be in the range to $1.25 to $1.50 per million BTU’s
                 managed in the facilities.

            o    PREPA’s implementation schedule for the project is as follows:

        Start procurement of the private company for the P3: April 2018
        Permitting start date: April 2018 (detailed studies for filing)
        Start conceptual design and required associated studies: May 2018
        Anticipated establishment of P3 contract: March 2019
        Detailed design start date: March 2019
        Detailed design completed for all systems: September 2020
        Permitting final approval: February 2021
        Construction start date: April 2021
        Construction end date/Commercial Operation: April 2024

3.3     Development of Management Measures
The first step of plan formulation involves identifying all potential management measures for the given
problems. A management measure is a structural or non-structural action that can be implemented at
a specific geographic site to address one or more planning objectives. The structural and non-structural
measures evaluated for this study are outlined below.

3.3.1 Structural Measures
After iterative discussions with stakeholders, the USACE developed a set of widening and deepening
structural measures to address the navigation problems. As previously discussed, navigation problems
at San Juan Harbor are primarily related to: (1) insufficient Federal channel depths, (2) difficult currents
and winds, and (3) restrictive channel widths and turning basins. The following basic structural
measures were initially identified to meet the objectives/purpose and need of providing transportation


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cost savings in San Juan Harbor: deepening channels and turning basins and widening channels. The
refinement of these measures to meet the needs of specific reaches and terminals are described in
subsequent paragraphs.

3.3.1.1 Deepening Measures
Deepening the channels would allow larger and deeper draft vessels, as well as the existing fleet of MR
petroleum tankers, to utilize the harbor more efficiently through increased vessel loading. This
measure was carried forward for detailed analysis based on the potential for significant transportation
costs savings related to use of the harbor by the existing and forecasted vessel fleets.

3.3.1.2 Widening Measures
Vessel simulation analysis optimizes or refines the width components of proposed navigation features
to improve efficiency and avoid adverse environmental impacts. Through coordination with the San
Juan Bay Pilots’ Association, the USCG, and other maritime interests, the USACE developed a set of
widening measures based on experience and best professional judgment. The widening measures
shown in Figure 3-2 provided an initial set of wideners for ship simulation testing to meet the project’s
objectives.

The USACE used the widening measures shown in Figure 3-2 to develop initial cost estimates, economic
modeling, and impact analyses for the study, while ship simulation exercises with the San Juan Bay
pilots continued at the Engineering Research and Development Center (ERDC) in Vicksburg, Mississippi.
Further economic analysis revealed a lack of transportation cost savings (benefits) for ships transiting
to the Puerto Nuevo Channel container terminals. Evaluation of the existing Panamax container fleet
showed a lack of width or depth constrained ships, which resulted in elimination of the widening and
deepening measures for the Puerto Nuevo Channel and Turning Basin and Graving Dock Channel. The
50-foot widening measure for Graving Dock Channel received additional consideration, but a lack of
information to verify the need for a wider channel to accommodate future LPG vessels resulted in
removal of this widening measure from further evaluation.

Ship simulation verified the need to widen the Army Terminal Channel 100 feet as discussed in the
Engineering Appendix. A 50-foot widening measure on each side of the channel helped to minimize
potential environmental impacts and reduce dredging volumes. The LR2 Petroleum Product Tanker
and the LNG Carrier required the 100-foot widening to access docks at terminals along Army Terminal
Turning Basin.

3.3.1.3 Enlarging Turning Basins
Initially, enlargement of the Army Terminal Turning Basin and Puerto Nuevo Turning Basin received
consideration to improve access to and from Puerto Nuevo Channel for container ships. As previously
mentioned, evaluation of the existing Panamax container fleet showed a lack of width or depth
constrained ships, ultimately resulting in elimination of the widening and deepening measures for the
Puerto Nuevo Channel and Turning Basin, Graving Dock Channel, and the expanded transition from
Army Terminal Turning Basin to Puerto Nuevo Channel. Ship simulation did confirm the need for
construction of east and west flares for the Army Terminal Turning Basin to improve turning
maneuverability for LR2 Tankers and LNG Vessels.




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Figure 3-2: Widening measures

3.3.2 Nonstructural Measures
The following nonstructural management measures were identified to improve navigation in San Juan
Harbor: additional tugs, additional trucking, offshore port, light loading of vessels to accommodate
larger vessels under existing conditions, use of tides to transit large vessels under existing conditions,
lightering, and designating and marking areas adjacent to the channel with natural depths that equal
or exceed channel depths as widening measures.

3.3.2.1 Additional Tugs
Ship simulation exercises indicated ships “…had some difficulties entering or exiting the southern end
of Army Terminal Channel near buoy G-7” (ERDC Ship Simulation Report, May 2017). While the ERDC
recommended that “the corner by buoy G-7 should be flared,” tugs already provide assistance (ERDC
Ship Simulation Report, May 2017). The current operating practice makes use 6000 horsepower tractor
tugs for maneuvering at Army Terminal Channel and Turning Basin and Graving Dock Channel and
Turning Basin. See the Engineering Appendix, Attachment C, ERDC Ship Simulation Report.

The existing and future cruise ship fleet have no requirement for tug assist since cruise ships have bow
and stern thrusters or use Azipods (a fixed pitch propeller mounted on a steerable gondola [pod] which
contains the electric motor driving the propeller). Azipods or azimuth thrusters extend below the hull
of the ship and have the capability to rotate 360 degrees or any horizontal angle (azimuth) making a


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rudder unnecessary. The azimuth thrusters give ships better maneuverability than a fixed propeller
and rudder system. The increased maneuverability provided by these propulsion units allows the
Captain of the ship to turn and dock these vessels without tug assistance. For these reasons, additional
tugs are not required.

3.3.2.2 Additional Trucking
Use of additional trucks to carry containers and petroleum products to provide the same amount of
commodities throughout the hinterland served by San Juan Harbor would significantly increase truck
traffic and congestion along the highway system, as well as adversely impact air quality by increasing
emissions. Waterborne transportation continues to provide the most efficient and economical means
of transporting goods from one location to another. Information related to transportation costs by
various methods is provided in the Economics Appendix. This measure was eliminated from
consideration based on a lack of economic efficiency and effectiveness and the wide range of adverse
safety, social, and environmental impacts that generally result from moving cargo over highways
instead of over waterways.

3.3.2.3 Offshore Port
An offshore port, if an environmentally acceptable location could be found and it could be built to
withstand the wind and weather conditions, would likely decrease the number of larger vessels
entering San Juan Harbor. But, it would increase the total number of vessels transiting the harbor. The
commodities would be unloaded at the offshore port, temporarily stored, and then transferred to
smaller vessels or barges for transportation to other marine terminals prior to being transferred again
and then transported to their final destinations. While the existing harbor infrastructure may not need
to be changed, it would still be needed and additional land-based infrastructure would be needed to
support a less efficient system. For these reasons, an offshore port generally increases transportation
costs and would likely require additional vessels or barges to carry the same amount of commodities.
Such facilities are expensive to construct and maintain, and the existing harbor infrastructure would
still be required. This measure was eliminated from consideration based on lack of economic
effectiveness and efficiency.

3.3.2.4 Light Loading of Vessels
This measure limits the cargo-carrying capacity of vessels that enter the port. Existing cargo shippers
experience increased operation costs due to light loading, vessel size limitations, and congestion
delays. Larger vessels still enter the harbor, but cannot be loaded to their design draft. This increases
transportation costs due to the additional transits required to bring in the same amount of material as
a fully loaded petroleum product tanker, as well as the congestion and delays caused by the additional
transits. This measure is already being implemented by the shipping industry, as needed. This measure
is considered and addressed within the models used to forecast future harbor utilization under various
scenarios. See the Economics Appendix for additional information.

3.3.2.5 Use of Tides
Tides range from about 1.11 to 1.57 feet. This is a relatively small tidal range and there is no indication
from stakeholders that tide is used to allow vessels to load deeper than is possible at mean tide or that
vessels routinely wait on tide at the harbor entrance. Furthermore, because the difference between
the mean tide level at 0 feet and mean high water at 0.55 feet is less than a foot and because sailing
draft data is often rounded to the nearest foot, any use of sum small tide would be very difficult to
capture in the economic analysis. Thus tide is not considered a factor in the economic analysis.



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3.3.2.6 Lightering
Lightering involves the process of transferring cargo between vessels of different sizes while at sea,
usually between barges and bulk carriers or oil tankers. Prevailing winds from the east at 25 – 30 knots
occur often with waves of eight feet or more. Those wind and wave conditions prevent consideration
of lightering as a safe option for the transfer of petroleum products from one vessel to another.
Lightering reduces a vessel’s draft enough to enable it to enter a port that cannot accommodate large
vessels. This measure was eliminated from consideration based on the combination of safety
considerations and a lack of economic effectiveness and efficiency due to double handling of cargo.

3.3.2.7 Use Existing Deep Water to Widen Channels
Making use of naturally deep water outside existing channel limits provides a potential nonstructural
measure. This nonstructural measure would relocate navigation buoys to widen the channel into areas
with natural depths greater than 42 feet along the existing Entrance (Bar) Channel Reaches near buoys
G5, G7, and G9. This would not require any dredging for the existing 42-foot project depth near buoy
G7 and potentially no dredging for proposed deeper authorized depths where naturally deep water
exists. Hydrographic surveys during the Preconstruction, Engineering, and Design (PED) phase will
confirm available water depths for relocation of buoys in the Entrance Channel.

The areas considered for relocation of USCG Aids to Navigation (ATONs) include buoys G5, G7, and G9
(Figure 3-3) along the east side of the Entrance Channel and buoys R2 and G3 (Figure 3-4) at the north
end of Army Terminal Channel. During ship simulation exercises the San Juan Bay Pilots’ Association
requested relocation of buoys G5, G7, and G9 about 50 feet to the east. The buoys presently lie either
along the edge of the channel or within the channel.

The previous simulation study conducted at ERDC (Webb, 1993) recommended a funnel on the north
end of the Army Terminal Channel to ease the turn from Anegado Channel. The funnel was
constructed, but the buoys R-2 and G-3 were never moved to mark the widened turn. The USACE will
request the USCG relocate the buoys R-2 and G-3 as shown in Figure 3-4.

3.3.2.8 No Action
The no action alternative is carried forward in the investigation for comparison purposes.




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Figure 3-3: Nonstructural Measure – Relocate USCG buoys G5, G7, and G9 about 50 feet east to
naturally deep water (Excerpt from 44th Ed, June 2011 of NOAA Chart 25670, Bahía De San Juan)




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Figure 3-4: Nonstructural Measure – Relocate USCG buoy R2 and G3 to allow use of existing wideners
(Excerpt from 44th Ed, June 2011 of NOAA Chart 25670, Bahía De San Juan)




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3.4     Screening of Measures and Formulation of Alternatives
To simplify the screening of measures and formulation of alternatives, the USACE developed five
economic modeling phases that are primarily based on groups of measures that would 1) Trigger a
transition of fleet (like to the LR2 or larger LNG vessels), influenced by the physical factors affecting
larger vessels (confirmed through ship simulation.); 2) Impact annual numbers of vessel calls; and
3) Improve maneuverability, effectively reducing import transportation costs.

These economic modeling phases are described below and illustrated in Figure 3-5.

Phase 1.       Army Terminal Channel widening (50 feet on each side) at the existing 40-foot project
depth to accommodate the transition of fleet to LR2 petroleum tankers & LNG design vessels
Phase 2.       Deepening in 1-foot increments Cut-6 (43-47 feet), Anegado Channel (41-45 feet),
Army Terminal Channel (41-45 feet) and Army Terminal Turning Basin (41-45 feet)
Phase 3.       Deepen Graving Dock Turning Basin up to 45 feet (current depth is 30 feet) and Deepen
Graving Dock Channel with 50-foot widening measure up to 45 feet (current depth is 36 feet)
Phase 4.       Deepen Puerto Nuevo Channel with 50-foot widening and Turning Basin
Phase 5.       Deepen San Antonio Channels and Cruise Ship Basin East to authorized 36-foot depth




Figure 3-5: Economic modeling phases




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3.4.1 Screening of Measures
The USACE assessed each measure for completeness, acceptability, efficiency, effectiveness, and
technical, policy, or legal constraints to determine whether to retain it for consideration and
formulation of alternatives.

Completeness. Extent to which the alternative provides and accounts for all necessary investments or
actions to ensure realization of the planning objectives.

Effectiveness. Extent to which the alternative contributes to achieving the planning objectives.

Efficiency. Extent to which the plan is the most cost-effective means of addressing the specified
problems and realizing the specified opportunities, consistent with protecting the nation’s
environment.

Acceptability. Workability and viability of the alternative with respect to acceptance by Federal and
non-Federal entities and the public, and compatibility with existing laws, regulations, and public
policies.

In thorough consideration of the four criteria from the 1983 P&G, preliminary alternatives are
formulated and refined by combining, adapting, and scaling management measures. Tables 3-1 and
3-2 summarize the structural and non-structural measures retained, those measures eliminated from
further consideration, and the reasons for the decisions. Through careful consideration, the USACE
eliminated measures initially considered for modification from two of the five economic modeling
phases, Phases 3 and 4, for the following reasons:

    x   Phase 3 would have modified the Graving Dock Channel and Graving Dock Turning Basin to a
        LPG Terminal. Throughout study development, necessary port user information for the
        Graving Dock Channel and Turning Basin segments failed to materialize in a timely manner to
        develop potential benefits, which resulted in elimination from further consideration.

    x   Phase 4, which would have modified the Puerto Nuevo Channel and Turning Basin, fell out of
        consideration based on a lack of need for modification or a lack of information to support
        deepening and widening. Based on evaluation of vessel call data, the vessels that utilize these
        terminals include ro-ro, container ships, and other vessels and are not currently depth-
        constrained at the existing authorized depths. Evaluation of historical sailing draft data for
        ships serving the Puerto Nuevo Channel terminals indicated a lack of depth constrained calls,
        which resulted in screening out the widening and deepening alternatives related to the Puerto
        Nuevo Channel and Turning Basin segment of Phase 4.

For additional details related to the screening out of Phases 3 and 4, see the Economics Appendix.

3.4.2 Formulation of Alternatives
Preliminary alternatives are formulated and refined by combining, adapting, and scaling management
measures to best address the four criteria from the P&G. The USACE combined widening and
deepening measures to form alternatives within the remaining economic modeling phases, Phase 1,
Phase 2, and Phase 5.

In accordance with 40 CFR §1502.14, the USACE will “[r]igorously explore and objectively evaluate all
reasonable alternatives, and for alternatives eliminated from detailed study, briefly discuss the reasons



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for their having been eliminated.” For this IFR/EA, a reasonable alternative is defined as an alternative
that meets the objectives of the project and is under USACE jurisdiction to implement. A measure that
could be implemented by others can be considered as long as it meets the objectives on its own or it
can be a component of an alternative that meets the objectives in a way that is complete, effective,
efficient, and acceptable.

3.4.3 Focused Array of Alternatives
Working with the PRPA, shipping industry experts, harbor pilots, the USCG, and other stakeholders,
the USACE carried forward the following structural and nonstructural measures to develop alternatives
within economic modeling Phases 1, 2, and 5:

x   Nonstructural wideners
x   Widening
x   Deepening

Initially, the deepening measures included incremental depths from an existing project depth of 40
feet to 41, 42, 43, 44, and 45 feet MLLW within the harbor, with Cut-6 of entrance channel being two
feet deeper. When the USACE combined the measures to assemble alternatives, the number of
possible combinations resulted in over 100 possible deepening and widening alternatives. Evaluation
of historical sailing draft data for ships serving the Puerto Nuevo Channel terminals indicated a lack of
depth constrained calls, which resulted in screening out of the widening and deepening alternatives
related to the Puerto Nuevo Channel and Turning Basin segment of Phase 4. Due to the lack of
information from terminal operators from Graving Dock, USACE carried forward the remaining seven
alternatives for further evaluation as shown in Table 3-1. Table 3-2 summarizes this alternative
screening process. The no action alternative was carried forward in the investigation for comparison
purposes.

The San Juan Harbor economic analysis of potential project benefits has two major components: (a)
transportation costs savings measured using USACE’s HarborSym model, and (b) reduction in power
generation costs to the PREPA measured using dispatch run data provided by PREPA for its northern
power plants. The benefits shown in Tables 3-3 and 3-4 represent transportation cost savings to
petroleum tankers and LNG tankers transiting the Army Terminal Channel, and cruise ships utilizing
the cruise ship terminals along the San Antonio Channels. Widening Army Terminal Channel for LNG
tankers to provide liquefied natural gas for two San Juan area power plants resulted in power
generation cost reduction benefits for Phase 1. The Economics Appendix provides a detailed analysis
of the HarborSym modeling used to develop the transportation cost saving benefits. The Economics
Appendix also provides a detailed explanation on the calculation of power generation cost reduction
benefits, which are incorporated into the benefits for Phase 1 under “WITH LNG CONVERSION.”




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                                                                                                               Table 3-1: Screening of Structural Measures
               Measure     Description                         Technical                Policy/Legal Acceptability        Efficiency                     Effectiveness                                     Completeness Other                   Retain?   Reason for
                                                               Constraints              Constraints                                                                                                                                                       screening out
               Structural
               Phase-1    Widening channels
               1.1-1.2     Widen Army Terminal Channel         Ensuring disposal        None                Acceptable if it        Improves efficiency by          Effective in reducing                  Complete          Meets the          Yes
                           100 feet (from an existing width    capacity. Availability                       meets                   allowing larger wider beam      transportation costs due to larger                       planning
                           of 350 feet to a maximum width      of dredges.                                  environmental laws      vessels (LR2 and LNG) to        ships; Reduces power generation                          objectives 1, 2,
                           of 450 feet) at an existing depth   Compliance with                              and regulations and     transit the harbor              costs at San Juan power plants by                        and 3, and the
                           of 40 feet.                         laws and                                     policies.                                               allowing larger ships to transit                         NEPA purpose
                                                               regulations. etc.                                                                                    Army Terminal Channel                                    and need
               Phase-2     Deepening channels
               2.1-2.5     Deepen at 1-foot increments a       Ensuring disposal        None                Acceptable if it        Improves efficiency by          Effective in reducing                  Complete with     Meets the          Yes
                           100-foot widened Army Terminal      capacity. Availability                       meets                   allowing vessels to load        transportation costs by allowing       addition of       primary planning
                           Channel from 41 - 45 feet           of dredges.                                  environmental laws      deeper during harbor visits,    ships to draft deeper and reduce       Phase 1           objectives 1, 2,
                           including reaches from Cut-6 to     Compliance with                              and regulations and     which reduces total vessel      transits                               widening for      and 3, and the
                           Army Terminal Turning Basin         laws and                                     policies                transits                                                               Army Terminal     NEPA purpose
                                                               regulations. etc.                                                                                                                           Channel           and need
               Phase-3     Deepening channels
               12-13       Deepen Graving Dock Turning         Ensuring disposal        Economic            Not acceptable          Current port user information   Not effective since lack of            Not complete                         No        Not economically
                           Basin at 1-foot increments from     capacity. Availability   justification       based on current        does not justify deeper         information exists to justification    without                                        justified without
                           30’ up to 39’ and Graving Dock      of dredges.                                  lack of port user       depths or widths                transportation costs savings for       additional port                                additional port
                           Channel with 50-foot widening       Compliance with                              information to verify                                   deeper depths and additional           user                                           user information
                           measure from 36’ up to 39 feet.     laws and                                     existing and future                                     channel width                          information to                                 to resolve the
                                                               regulations. etc.                            fleets require                                                                                 justify                                        need for deeper
                                                                                                            additional depth and                                                                           deepening and                                  draft LPG tankers
                                                                                                            width                                                                                          widening
               Phase-4     Deepening channels
               14.1-14.6   Deepen Puerto Nuevo Channel         Ensuring disposal        Economic            Not acceptable due      No improved efficiency since    No increased effectiveness since       Not complete                         No        Not economically
                           and Turning Basin from 39’ up to    capacity. Availability   justification       to lack of depth        current channel depths and      no reduction in transportation         without vessel                                 justified without
                           45 feet and widen.                  of dredges.                                  constrained vessel      widths appear to meet           cost savings will result without the   requirement                                    vessel
                                                               Compliance with                              calls                   existing and future fleet       need for increased vessel draft        for additional                                 requirement for
                                                               laws and                                                             needs                                                                  depth                                          additional depth
                                                               regulations. etc.
               Phase-5     Deepening channels
               7.1-7.2     Deepen San Antonio Channels         Ensuring disposal        None                Acceptable if it        Improves efficiency by          Effective in reducing turning times    Complete          Meets the          Yes
                           and Cruise Ship Basin East          capacity. Availability                       meets                   increasing underkeel            and vessel operating costs                               primary planning
                                                               of dredges.                                  environmental laws      clearance for cruise ships’                                                              objectives 1, 2,
                                                               Compliance with                              and regulations and     azimuth thrusters and                                                                    and 3, and the
                                                               laws and                                     policies.               expands maneuvering area                                                                 NEPA purpose
                                                               regulations. etc.                                                    for turns                                                                                and need
                                                                                                                                                                                                                                                                          Case 1:22-cv-02430-CJN Document 30-3 Filed 05/05/23 Page 122 of 295




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                                                                                                                Table 3-2: Screening of Non-Structural Measures
               Measure      Description        Technical               Policy/Legal Acceptability         Efficiency                       Effectiveness                         Completeness Other                                 Retain?   Reason for screening out
                                               Constraints             Constraints
               Non-
               Structural
               N-1          Additional tugs    USACE does not          None         Acceptable if it      Would not be cost efficient           The current fleet of tugs        Incomplete:                                        No        Additional tugs not required
                                               have the authority                   meets safety          since existing fleet of tugs          provides required assistance     additional tug                                               during ship simulation;
                                               to require the use                   requirements; but     provides needed assistance            as needed; no need for           assistance                                                   existing tug fleet meets
                                               of more tugs                         might increase                                              additional tug assistance        would not                                                    safety requirements
                                                                                    congestion                                                  required during ship             improve safety
                                                                                                                                                simulation
               N-2          Offshore port      Costs,                  None         Acceptable if it   Not efficient due to double              Off-Loading vessels is not       Incomplete:      May not be feasible to            No        Inefficient, incomplete, and
                                               Environmental                        meets              handling requirements                    reliable due to weather and      Significant      construct, expensive to                     outside USACE jurisdiction
                                               conflicts, Limited                   environmental laws                                          wind conditions offshore.        additional       operate and maintain, risks
                                               opportunity to                       and regulations                                                                              infrastructure   from storms, new and
                                               reduce                               and policies                                                                                 required         significant environmental
                                               inefficiencies                                                                                                                                     impacts
               N-3          Light loading of   None                    None         Acceptable if it      Not efficient                         Carrying less cargo per          Incomplete:      This is the source of a portion   No        Ineffective, outside USACE
                            vessels                                                 meets safety                                                transit equates to increased                      of the potential cost savings.              jurisdiction
                                                                                    requirements                                                transportation costs due to
                                                                                                                                                increased transit for delivery
                                                                                                                                                of the goods.
               N-4          Use of tide to     Practical time limits   None         Acceptable if it      Not efficient                         Delays cause increased           Incomplete:      Lowers overall safety             No        Inefficient/ Tides range from
                            transit larger     to transit the                       meets safety                                                transportation costs                                                                          about 1.11 to 1.57 feet; not
                            vessels            harbor                               requirements                                                                                                                                              significant enough for vessel
                                                                                                                                                                                                                                              operators to use

               N-5          Lightering         None                    None         Acceptable if it      Not efficient                         Not effective because it         Incomplete:      Lowers overall safety             No        Inefficient/double handling
                                                                                    meets safety                                                doesn't address the problem                                                                   of cargo and unsafe with
                                                                                    requirements                                                of transportation cost                                                                        prevailing wind and wave
                                                                                                                                                savings.                                                                                      climate
               N-6          Designate deep     Size, location and      None         Acceptable if it      Efficient if necessary to meet        Effective in reducing            Complete         Cost efficient                    Yes
                            water areas for    depth of natural                     meets safety          objectives of project. Use of         potential for groundings
                            widening           conditions                           requirements          existing deep water to widen          during high wind conditions
                            measures                                                                      channel by relocating USCG
                                                                                                          buoys improves vessel transits
                                                                                                          and safety clearances
               N-8          No action          None                    None         Unacceptable to       Not Efficient                         Not Effective                    N/A              The port indicated that with      Yes
                                                                                    users                                                                                                         current and future growth,
                                                                                                                                                                                                  this plan would hinder
                                                                                                                                                                                                  opportunities for port
                                                                                                                                                                                                  development. Carried forward
                                                                                                                                                                                                  to compare alternative plans.
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Table 3-3 presents the preliminary economic summary comparison for incremental deepening
measures within economic modeling Phases 1, 2, and 5 under the future-with and without the proposed
LNG conversion. The costs that factored into the figures in this table are rough order magnitude and do
not include PED or construction management. The costs for Phase 1 includes an estimated $349,933,000
of associated costs for PREPA modifications of local service facilities to handle the LNG.

                       Table 3-3: Preliminary Economic Summary of Phases 1, 2, and 5.




Note: Only one mobilization/demobilization is included in this cost estimate for a mechanical clamshell dredge. These are ROM
costs; PED and construction management are not included. Power generation cost reduction benefits included. FY18 price
levels, FY18 discount rate of 2.75%, all dollar values rounded to the $1,000s.

The depth combinations that generated the highest net benefits, based on preliminary HarborSym
Model results are highlighted in grey. The last row, in blue, combines phases with the greatest net
benefits for a closer refinement in costs (Table 3-3). This process resulted in the identification of a
focused array of alternatives for evaluation and identification of the NED. This focused array consists of
Phase 1 widening of the Army Terminal Channel to the existing 40 foot depth, Phase 2 deepening
between 43 feet and 44 feet-which would be the limiting project depth, and Phase 5 deepening
improvements to 36 feet. From this focused array, costs were additionally refined to include another
mobilization/demobilization of the hydraulic hopper dredge in addition to the mechanical dredge, and
updated the unit costs for the dredged material. These refinements are displayed in Table 3-4.

                                   Table 3-4: Focused Array Economic Summary




Note: FY18 price levels, FY18 discount rate of 2.75%, all dollar values rounded to the $1,000s.




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As previously discussed, the four P&G Accounts, NED, RED, EQ, and OSE, were established to facilitate
evaluation, comparison, and display potentially varying effects of alternative plans. The Federal
Objective is to determine the alternative with that reasonably maximizes net benefits, while still
protecting or minimizing impacts to the environment. The NED account displays changes in the
economic value of the national output of goods and services. Under this account, the Recommended
Plan generates the highest AAEQ net benefits ranging from about $60.2 million with a benefit-cost ratio
(BCR) of 5.0 in the with LNG conversion economic analysis and a BCR of 1.9 in the without LNG
conversion. In addition to the NED account, the RED, EQ, and OSE accounts can exhibit meaningful
differences between alternatives considered.

With regard to the Recommended Plan, the OSE account includes the effects of the project on the
population in the region. The environmental quality account considers non-monetary effects on
ecological, cultural, and aesthetic resources. Under this account, the preferred plan should avoid or
minimize environmental impacts and maximize environmental quality in the project area to the extent
practicable considering other criteria and planning objectives. More detailed descriptions of the analysis
and impacts can be found in Section 5 of this report and in the Appendices. For the purposes of
alternatives analysis, all action plans were compared to the future without-project condition (i.e. NEPA
No Action), which factors in 50 years of sea level change (to 2075).

Throughout the screening process, the four P&G accounts were considered with the intent to identify
those additional factors that could significantly contribute to the ultimate decision of plan selection.
See Figure 3-6 for a summary on how the Recommended Plan addresses the four accounts.




Figure 3-6: Recommended Plan Summary of the Four Accounts
Throughout the development of the final array of alternatives the USACE coordinated with various
resource agencies to identify the primary resources that could be impacted by the proposed
alternatives. A summary table of environmental impacts for the focused array of alternatives, Including
the No Action Alternative, is presented in Table 3-5.



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                                                        Table 3-5: Summary of Environmental Impacts for Focused Array of Alternatives, Including the No Action Alternative (Environmental Quality Account)
                Environmental Factor                   No Action                                      41’                                        42’                                       43’                                        44’                                        45’
               General Consequences       A greater increase in ship transits        Larger ships and slight decrease in ship   Larger ships and slight decrease in      Larger ships and small decrease in ship    Larger ships and small decrease in ship    Larger ships and small decrease in ship
                                          (compared to action alternatives) are      transits predicted. Deepening would        ship transits predicted. Deepening       transits predicted. Deepening would        transits predicted. Deepening would        transits predicted. Deepening would
                                          predicted due to need for more ships       result in less risks to threatened and     would result in, less risks to           result in less risks to threatened and     result in less risks to threatened and     result in less risks to threatened and
                                          to carry same amount of cargo. This        endangered species, some impacts to        threatened and endangered species,       endangered species, some impacts to        endangered species, some impacts to        endangered species, some impacts to
                                          results in greater risk to threatened      fish habitat. Year 2026 modeled to         some impacts to fish habitat. Year       fish habitat. Year 2026 modeled to have    fish habitat. Year 2026 modeled to have    fish habitat. Year 2026 modeled to have
                                          and endangered species, and more air       have less vessel calls.                    2026 modeled to have less vessel         less vessel calls.                         2,648 vessel calls.                        2,648 vessel calls.
                                          pollution. Year 2026 modeled to have                                                  calls.
                                          2,668 vessel calls.
               Geology and                O&M of the Federal navigation              Increased channel depth, but no real       Increased channel depth, but no real     Increased channel depth, but no real       Increased channel depth, but no real       Increased channel depth, but no real
                                          channel will result in no effect on        effect on geology and geomorphology        effect on geology and                    effect on geology and geomorphology        effect on geology and geomorphology        effect on geology and geomorphology
               Geomorphology              geology and geomorphology                                                             geomorphology

               Tides                      No impact to tidal range is predicted.     No impact to tidal range is predicted.     No impact to tidal range is predicted.   No impact to tidal range is predicted.     No impact to tidal range is predicted.     No impact to tidal range is predicted.

               Currents                   Currents will generally remain the         Currents will generally remain the         Currents will generally remain the       Currents will generally remain the         Currents will generally remain the         Currents will generally remain the
                                          same, but some changes could occur         same. Some areas of the harbor may         same. Some areas of the harbor may       same. Some areas of the harbor may         same. Some areas of the harbor may         same. Some areas of the harbor may
                                          due to changing climate and weather        experience a reduction in currents due     experience a reduction in currents       experience a reduction in currents due     experience a reduction in currents due     experience a reduction in currents due
                                          patterns.                                  to wider deeper channels.                  due to wider deeper channels. The        to wider deeper channels. The              to wider deeper channels. The              to wider deeper channels. The
                                                                                                                                magnitude of these changes is            magnitude of these changes is slightly     magnitude of these changes is slightly     magnitude of these changes is slightly
                                                                                                                                slightly greater than the 41’            greater than the 42’ alternative.          greater than the 43’ alternative.          greater than the 44’ alternative.
                                                                                                                                alternative.

               Sea level change (SLC) /   The historical SLC rate would cause        SLC would not significantly impact the     SLC would not significantly impact       SLC would not significantly impact the     SLC would not significantly impact the     SLC would not significantly impact the
                                          water surface elevation to increase by     performance of the Federal navigation      the performance of the Federal           performance of the Federal navigation      performance of the Federal navigation      performance of the Federal navigation
               water levels               approximately 0.34 feet over the 50        project as there are no associated         navigation project as there are no       project as there are no associated         project as there are no associated         project as there are no associated
                                          year period of analysis (represented as    emergent general navigation features.      associated emergent general              emergent general navigation features.      emergent general navigation features.      emergent general navigation features.
                                          the year 2075). SLC could cause                                                       navigation features.
                                          impacts to existing infrastructure
                                          including overtopping of waterside
                                          structures, increased shoreline
                                          erosion, and flooding of low lying
                                          areas.
               Land Use                   O&M of the Federal navigation              Temporary effect in construction           Temporary effect in construction         Temporary effect in construction areas,    Temporary effect in construction areas,    Temporary effect in construction areas,
                                          channel will result in no effect on land   areas, otherwise no effect.                areas, otherwise no effect.              otherwise no effect.                       otherwise no effect.                       otherwise no effect.
                                          use.
               HTRW                       HTRW has not been encountered              The dredging of virgin material is not     The dredging of virgin material is not   The dredging of virgin material is not     The dredging of virgin material is not     The dredging of virgin material is not
                                          during O&M dredging.                       anticipated to encounter HTRW and          anticipated to encounter HTRW and        anticipated to encounter HTRW and          anticipated to encounter HTRW and          anticipated to encounter HTRW and
                                                                                     sediment evaluations support this          sediment evaluations support this        sediment evaluations support this          sediment evaluations support this          sediment evaluations support this
                                                                                     expectation.                               expectation.                             expectation.                               expectation.                               expectation.
               Wetlands                   O&M of the existing Federal                Dredging operations would not affect       Dredging operations would not affect     Dredging operations would not affect       Dredging operations would not affect       Dredging operations would not affect
                                          navigation channel has no effect on        existing saltwater wetlands.               existing saltwater wetlands.             existing saltwater wetlands.               existing saltwater wetlands.               existing saltwater wetlands.
                                          wetlands.
               Water Quality              Maintenance dredging and ODMDS             Construction dredging and disposal         Construction dredging and disposal       Construction dredging and disposal         Construction dredging and disposal         Construction dredging and disposal
                                          disposal cause temporary turbidity         (including ODMDS and Condado               (including ODMDS and Condado             (including ODMDS and Condado               (including ODMDS and Condado               (including ODMDS and Condado
                                          increases during construction but no       lagoon) would cause temporary              lagoon) would cause temporary            lagoon) would cause temporary              lagoon) would cause temporary              lagoon) would cause temporary
                                          long-term impacts have occurred due        increases in turbidity; Operations         increases in turbidity; Operations       increases in turbidity; Operations would   increases in turbidity; Operations would   increases in turbidity; Operations would
                                          to the Federal project.                    would maintain 10 NTU above                would maintain 10 NTU above              maintain 10 NTU above background           maintain 10 NTU above background           maintain 10 NTU above background
                                                                                     background standard or temporarily         background standard or temporarily       standard or temporarily shutdown; No       standard or temporarily shutdown; No       standard or temporarily shutdown; No
                                                                                     shutdown; No long-term impacts             shutdown; No long-term impacts           long-term impacts anticipated.             long-term impacts anticipated.             long-term impacts anticipated.
                                                                                     anticipated.                               anticipated.
                                                                                                                                                                                                                                                                                                          Case 1:22-cv-02430-CJN Document 30-3 Filed 05/05/23 Page 126 of 295




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               Air Quality              Greatest impact to air emissions due      Reduction in vessel related emissions   Reduction in vessel related emissions   Reduction in vessel related emissions      Reduction in vessel related emissions      Reduction in vessel related emissions
                                        to more vessels needed to deliver         compared to FWOP. The alternative       compared to FWOP. The alternative       compared to FWOP. The alternative will     compared to FWOP. The alternative will     compared to FWOP. The alternative will
                                        same amount of cargo.                     will have a temporary minor increase    will have a temporary minor increase    have a temporary minor increase in         have a temporary minor increase in         have a temporary minor increase in
                                                                                  in emissions related to the             in emissions related to the             emissions related to the construction of   emissions related to the construction of   emissions related to the construction of
                                                                                  construction of the project.            construction of the project compared    the project compared to the 42’            the project compared to the 43’            the project compared to the 44’
                                                                                                                          to the 41’ alternative.                 alternative.                               alternative.                               alternative.

               Threatened and           KEY for acronyms: NE=No Effect,           KEY for acronyms: NE=No Effect,         KEY for acronyms: NE=No Effect,         KEY for acronyms: NE=No Effect,            KEY for acronyms: NE=No Effect,            KEY for acronyms: NE=No Effect,
                                        MANLAA=May Affect, Not Likely to          MANLAA=May Affect, Not Likely to        MANLAA=May Affect, Not Likely to        MANLAA=May Affect, Not Likely to           MANLAA=May Affect, Not Likely to           MANLAA=May Affect, Not Likely to
               Endangered Species       Adversely Affect, MALAA=May Affect,       Adversely Affect, MALAA=May Affect,     Adversely Affect, MALAA=May             Adversely Affect, MALAA=May Affect,        Adversely Affect, MALAA=May Affect,        Adversely Affect, MALAA=May Affect,
               (Dredging/Long term)     Likely to Adversely Affect                Likely to Adversely Affect              Affect, Likely to Adversely Affect      Likely to Adversely Affect                 Likely to Adversely Affect                 Likely to Adversely Affect

               Nassau Grouper           O&M would continue to operate             Construction dredging and ODMDS or      Construction dredging and ODMDS         Construction dredging and ODMDS or         Construction dredging and ODMDS or         Construction dredging and ODMDS or
                                        under the most up-to-date South           Condado lagoon disposal would result    or Condado lagoon disposal would        Condado lagoon disposal would result       Condado lagoon disposal would result       Condado lagoon disposal would result
                                        Atlantic Regional Biological Opinion.     in NE to the species.                   result in NE to the species.            in NE to the species.                      in NE to the species.                      in NE to the species.

               Scalloped Hammerhead     O&M would continue to operate             Construction dredging and ODMDS or      Construction dredging and ODMDS         Construction dredging and ODMDS or         Construction dredging and ODMDS or         Construction dredging and ODMDS or
                                        under the current South Atlantic          Condado lagoon disposal would result    or Condado lagoon disposal would        Condado lagoon disposal would result       Condado lagoon disposal would result       Condado lagoon disposal would result
               Shark                    Regional Biological Opinion.              in NE to the species.                   result in NE to the species.            in NE to the species.                      in NE to the species.                      in NE to the species.

               Loggerhead Sea Turtle    Would continue to operate under the       Hopper dredging MALAA the species.      Hopper dredging MALAA the species.      Hopper dredging MALAA the species.         Hopper dredging MALAA the species.         Hopper dredging MALAA the species.
                                        current South Atlantic Regional           Other dredge types MANLAA and           Other dredge types MANLAA and           Other dredge types MANLAA and              Other dredge types MANLAA and              Other dredge types MANLAA and
                                        Biological Opinion. Protective            ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal           ODMDS or Condado lagoon disposal           ODMDS or Condado lagoon disposal
                                        measures would be implemented.            would have NE to the species.           would have NE to the species.           would have NE to the species.              would have NE to the species.              would have NE to the species.
               Leatherback Sea Turtle   O&M would have NE to this species.        Construction dredging and ODMDS or      Construction dredging and ODMDS         Construction dredging and ODMDS or         Construction dredging and ODMDS or         Construction dredging and ODMDS or
                                                                                  Condado lagoon disposal would have      or Condado lagoon disposal would        Condado lagoon disposal would have         Condado lagoon disposal would have         Condado lagoon disposal would have
                                                                                  NE to the species.                      have NE to the species.                 NE to the species.                         NE to the species.                         NE to the species.

               Hawksbill Sea Turtle     O&M would continue to operate             Hopper dredging MALAA the species.      Hopper dredging MALAA the species.      Hopper dredging MALAA the species.         Hopper dredging MALAA the species.         Hopper dredging MALAA the species.
                                        under the current South Atlantic          Other dredge types MANLAA and           Other dredge types MANLAA and           Other dredge types MANLAA and              Other dredge types MANLAA and              Other dredge types MANLAA and
                                        Regional Biological Opinion. Protective   ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal           ODMDS or Condado lagoon disposal           ODMDS or Condado lagoon disposal
                                        measures would be implemented.            would have NE to the species.           would have NE to the species.           would have NE to the species.              would have NE to the species.              would have NE to the species.
               Green Sea Turtle         O&M would continue to operate             Hopper dredging MALAA the species;      Hopper dredging MALAA the species;      Hopper dredging MALAA the species;         Hopper dredging MALAA the species;         Hopper dredging MALAA the species;
                                        under the current South Atlantic          Other dredge types MANLAA and           Other dredge types MANLAA and           Other dredge types MANLAA and              Other dredge types MANLAA and              Other dredge types MANLAA and
                                        Regional Biological Opinion. Protective   ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal           ODMDS or Condado lagoon disposal           ODMDS or Condado lagoon disposal
                                        measures would be implemented.            would have NE to the species.           would have NE to the species.           would have NE to the species.              would have NE to the species.              would have NE to the species.
               Blue Whale               Would continue to operate under the       Dredging would have NE; Vessel          Dredging would have NE; Vessel          Dredging would have NE; Vessel             Dredging would have NE; Vessel             Dredging would have NE; Vessel
                                        current South Atlantic Regional           transportation during construction      transportation during construction      transportation during construction         transportation during construction         transportation during construction
                                        Biological Opinion. Protective            MANLAA but is discountable;             MANLAA but is discountable;             MANLAA but is discountable; Protective     MANLAA but is discountable; Protective     MANLAA but is discountable; Protective
                                        measures would be implemented.            Protective measures would be            Protective measures would be            measures would be implemented.             measures would be implemented.             measures would be implemented.
                                                                                  implemented.                            implemented.

               Sei Whale                Would continue to operate under the       Dredging would have NE; Vessel          Dredging would have NE; Vessel          Dredging would have NE; Vessel             Dredging would have NE; Vessel             Dredging would have NE; Vessel
                                        current South Atlantic Regional           transportation during construction      transportation during construction      transportation during construction         transportation during construction         transportation during construction
                                        Biological Opinion. Protective            MANLAA but is discountable;             MANLAA but is discountable;             MANLAA but is discountable; Protective     MANLAA but is discountable; Protective     MANLAA but is discountable; Protective
                                        measures would be implemented.            Protective measures would be            Protective measures would be            measures would be implemented.             measures would be implemented.             measures would be implemented.
                                                                                  implemented.                            implemented.

               Fin Whale                Would continue to operate under the       Dredging would have NE; Vessel          Dredging would have NE; Vessel          Dredging would have NE; Vessel             Dredging would have NE; Vessel             Dredging would have NE; Vessel
                                        current South Atlantic Regional           transportation during construction      transportation during construction      transportation during construction         transportation during construction         transportation during construction
                                        Biological Opinion. Protective            MANLAA but is discountable;             MANLAA but is discountable;             MANLAA but is discountable; Protective     MANLAA but is discountable; Protective     MANLAA but is discountable; Protective
                                        measures would be implemented.            Protective measures would be            Protective measures would be            measures would be implemented.             measures would be implemented.             measures would be implemented.
                                                                                  implemented.                            implemented.

               Sperm Whale              Would continue to operate under the       Dredging would have NE; Vessel          Dredging would have NE; Vessel          Dredging would have NE; Vessel             Dredging would have NE; Vessel             Dredging would have NE; Vessel
                                        current South Atlantic Regional           transportation during construction      transportation during construction      transportation during construction         transportation during construction         transportation during construction
                                        Biological Opinion. Protective            MANLAA but is discountable;             MANLAA but is discountable;             MANLAA but is discountable; Protective     MANLAA but is discountable; Protective     MANLAA but is discountable; Protective
                                        measures would be implemented.            Protective measures would be            Protective measures would be            measures would be implemented.             measures would be implemented.             measures would be implemented.
                                                                                  implemented.                            implemented.
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               Humpback Whale           O&M would continue to operate             Dredging would have NE; Vessel          Dredging would have NE; Vessel          Dredging would have NE; Vessel           Dredging would have NE; Vessel           Dredging would have NE; Vessel
                                        under the current South Atlantic          transportation during construction      transportation during construction      transportation during construction       transportation during construction       transportation during construction
                                        Regional Biological Opinion. Protective   MANLAA but is discountable;             MANLAA but is discountable;             MANLAA but is discountable; Protective   MANLAA but is discountable; Protective   MANLAA but is discountable; Protective
                                        measures would be implemented.            Protective measures would be            Protective measures would be            measures would be implemented.           measures would be implemented.           measures would be implemented.
                                                                                  implemented.                            implemented.
               Antillean Manatee        O&M would continue to implement           Construction dredging and ODMDS or      Construction dredging and ODMDS         Construction dredging and ODMDS or       Construction dredging and ODMDS or       Construction dredging and ODMDS or
                                        protective measures = MANLAA              Condado disposal MANLAA the             or Condado disposal MANLAA the          Condado disposal MANLAA the              Condado disposal MANLAA the              Condado disposal MANLAA the
                                                                                  manatee; Protective measures would      manatee; Protective measures would      manatee; Protective measures would       manatee; Protective measures would       manatee; Protective measures would
                                                                                  be implemented.                         be implemented.                         be implemented.                          be implemented.                          be implemented.

               Elkhorn Coral            O&M would operate under the               Construction dredging MANLAA ;          Construction dredging MANLAA;           Construction dredging MANLAA;            Construction dredging MANLAA;            Construction dredging MANLAA;
                                        current South Atlantic Regional           ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal
                                        Biological Opinion; Protective            would have no effect; Protective        would have no effect; Protective        would have no effect; Protective         would have no effect; Protective         would have no effect; Protective
                                        measures would be implemented.            measures would be implemented.          measures would be implemented.          measures would be implemented.           measures would be implemented.           measures would be implemented.
                                        (turbidity monitoring)                    (turbidity monitoring)                  (turbidity monitoring)                  (turbidity monitoring)                   (turbidity monitoring)                   (turbidity monitoring)
               Staghorn Coral           O&M would operate under the               Construction dredging MANLAA;           Construction dredging MANLAA;           Construction dredging MANLAA;            Construction dredging MANLAA;            Construction dredging MANLAA;
                                        current South Atlantic Regional           ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal
                                        Biological Opinion; Protective            would have no effect; Protective        would have no effect; Protective        would have no effect; Protective         would have no effect; Protective         would have no effect; Protective
                                        measures would be implemented.            measures would be implemented.          measures would be implemented.          measures would be implemented.           measures would be implemented.           measures would be implemented.
                                        (turbidity monitoring)                    (turbidity monitoring)                  (turbidity monitoring)                  (turbidity monitoring)                   (turbidity monitoring)                   (turbidity monitoring)
               Pillar Coral             O&M would operate under the               Construction dredging MANLAA;           Construction dredging MANLAA;           Construction dredging MANLAA;            Construction dredging MANLAA;            Construction dredging MANLAA;
                                        current South Atlantic Regional           ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal
                                        Biological Opinion; Protective            would have no effect; Protective        would have no effect; Protective        would have no effect; Protective         would have no effect; Protective         would have no effect; Protective
                                        measures would be implemented.            measures would be implemented.          measures would be implemented.          measures would be implemented.           measures would be implemented.           measures would be implemented.
                                        (turbidity monitoring)                    (turbidity monitoring)                  (turbidity monitoring)                  (turbidity monitoring)                   (turbidity monitoring)                   (turbidity monitoring)
               Rough Cactus             O&M would operate under the               Construction dredging MANLAA;           Construction dredging MANLAA;           Construction dredging MANLAA;            Construction dredging MANLAA;            Construction dredging MANLAA;
                                        current South Atlantic Regional           ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal
                                        Biological Opinion; Protective            would have no effect; Protective        would have no effect; Protective        would have no effect; Protective         would have no effect; Protective         would have no effect; Protective
                                        measures would be implemented.            measures would be implemented.          measures would be implemented.          measures would be implemented.           measures would be implemented.           measures would be implemented.
                                        (turbidity monitoring)                    (turbidity monitoring)                  (turbidity monitoring)                  (turbidity monitoring)                   (turbidity monitoring)                   (turbidity monitoring)
               Lobed Star Coral         O&M would operate under the               Construction dredging MANLAA;           Construction dredging MANLAA;           Construction dredging MANLAA;            Construction dredging MANLAA;            Construction dredging MANLAA;
                                        current South Atlantic Regional           ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal
                                        Biological Opinion; Protective            would have no effect; Protective        would have no effect; Protective        would have no effect; Protective         would have no effect; Protective         would have no effect; Protective
                                        measures would be implemented.            measures would be implemented.          measures would be implemented.          measures would be implemented.           measures would be implemented.           measures would be implemented.
                                        (turbidity monitoring)                    (turbidity monitoring)                  (turbidity monitoring)                  (turbidity monitoring)                   (turbidity monitoring)                   (turbidity monitoring)
               Mountainous Star Coral   O&M would operate under the               Construction dredging MANLAA;           Construction dredging MANLAA;           Construction dredging MANLAA;            Construction dredging MANLAA;            Construction dredging MANLAA;
                                        current South Atlantic Regional           ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal
                                        Biological Opinion; Protective            would have no effect; Protective        would have no effect; Protective        would have no effect; Protective         would have no effect; Protective         would have no effect; Protective
                                        measures would be implemented.            measures would be implemented.          measures would be implemented.          measures would be implemented.           measures would be implemented.           measures would be implemented.
                                        (turbidity monitoring)                    (turbidity monitoring)                  (turbidity monitoring)                  (turbidity monitoring)                   (turbidity monitoring)                   (turbidity monitoring)
               Boulder Star             O&M would operate under the               Construction dredging MANLAA;           Construction dredging MANLAA;           Construction dredging MANLAA;            Construction dredging MANLAA;            Construction dredging MANLAA;
                                        current South Atlantic Regional           ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal        ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal         ODMDS or Condado lagoon disposal
                                        Biological Opinion; Protective            would have no effect; Protective        would have no effect; Protective        would have no effect; Protective         would have no effect; Protective         would have no effect; Protective
                                        measures would be implemented.            measures would be implemented.          measures would be implemented.          measures would be implemented.           measures would be implemented.           measures would be implemented.
                                        (turbidity monitoring)                    (turbidity monitoring)                  (turbidity monitoring)                  (turbidity monitoring)                   (turbidity monitoring)                   (turbidity monitoring)
               Marine Mammals           Future maintenance dredging may           Dredging and disposal may impact        Dredging and disposal may impact        Dredging and disposal may impact         Dredging and disposal may impact         Dredging and disposal may impact
                                        impact marine mammals. Protective         marine mammals. Protective              marine mammals. Protective              marine mammals. Protective measures      marine mammals. Protective measures      marine mammals. Protective measures
                                        measures would be implemented.            measures would be implemented.          measures would be implemented.          would be implemented. Impact would       would be implemented. Impact would       would be implemented. Impact would
                                                                                  Impact would be temporary and           Impact would be temporary and           be temporary and isolated to the         be temporary and isolated to the         be temporary and isolated to the
                                                                                  isolated to the dredging and disposal   isolated to the dredging and disposal   dredging and disposal areas during the   dredging and disposal areas during the   dredging and disposal areas during the
                                                                                  areas during the construction phase.    areas during the construction phase.    construction phase.                      construction phase.                      construction phase.
               Essential Fish Habitat   Temporary impacts from construction       Temporary impacts from construction     Temporary impacts from                  Temporary impacts from construction      Temporary impacts from construction      Temporary impacts from construction
                                        related turbidity.                        related turbidity.                      construction related turbidity.         related turbidity.                       related turbidity.                       related turbidity.
               Birds                    No impacts from continued operations      No effect is anticipated from           No effect is anticipated from           No effect is anticipated from            No effect is anticipated from            No effect is anticipated from
                                        and maintenance of the existing           construction; Beneficial use options    construction; Beneficial use options    construction; Beneficial use options     construction; Beneficial use options     construction; Beneficial use options
                                        Federal navigation channel.               may positively affect bird foraging     may positively affect bird foraging     may positively affect bird foraging      may positively affect bird foraging      may positively affect bird foraging
                                                                                  habitat in Condado lagoon.              habitat in Condado lagoon.              habitat in Condado lagoon.               habitat in Condado lagoon.               habitat in Condado lagoon.
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               Benthic Resources       Complete removal of benthic infauna      Complete removal of benthic infauna        Complete removal of benthic infauna      Complete removal of benthic infauna          Complete removal of benthic infauna          Complete removal of benthic infauna
                                       and epifauna will occur with every       and epifauna followed by a recovery;       and epifauna followed by a recovery;     and epifauna followed by a recovery;         and epifauna followed by a recovery;         and epifauna followed by a recovery;
                                       maintenance dredging event, followed     Not anticipated to be different from       Not anticipated to be different from     Not anticipated to be different from         Not anticipated to be different from         Not anticipated to be different from
                                       by a recovery.                           performing maintenance dredging.           performing maintenance dredging.         performing maintenance dredging.             performing maintenance dredging.             performing maintenance dredging.


               Hardbottom Habitat      O&M of the existing Federal              Construction dredging and ODMDS or         Construction dredging and ODMDS          Construction dredging and ODMDS or           Construction dredging and ODMDS or           Construction dredging and ODMDS or
                                       navigation channel will have no          Condado lagoon disposal would have         or Condado lagoon disposal would         Condado lagoon disposal would have           Condado lagoon disposal would have           Condado lagoon disposal would have
                                       additional effect on undisturbed         no effect on undisturbed hardbottom        have no effect on undisturbed            no effect on undisturbed hardbottom          no effect on undisturbed hardbottom          no effect on undisturbed hardbottom
                                       hardbottom habitats in the area.         habitats in the area.                      hardbottom habitats in the area.         habitats in the area.                        habitats in the area.                        habitats in the area.
               Invasive Species        O&M of the existing Federal               This alternative will not cause            This alternative will not cause          This alternative will not cause              This alternative will not cause             This alternative will not cause
                                       navigation channel will have no          additional threats from invasive           additional threats from invasive         additional threats from invasive             additional threats from invasive             additional threats from invasive
                                       additional effect on invasive species;   species; Regulations will help control     species; Regulations will help control   species; Regulations will help control       species; Regulations will help control       species; Regulations will help control
                                       However, the No Action results in an     aquatic invasive species.                  aquatic invasive species.                aquatic invasive species.                    aquatic invasive species.                    aquatic invasive species.
                                       even greater number of vessels
                                       predicted to call on the Port.
               Environmental Justice   O&M of the existing Federal              The alternative is not anticipated to      The alternative is not anticipated to    The alternative is not anticipated to        The alternative is not anticipated to        The alternative is not anticipated to
                                       navigation channel will have no effect   have a disproportionately high and         have a disproportionately high and       have a disproportionately high and           have a disproportionately high and           have a disproportionately high and
                                       on EJ communities.                       adverse impact on low income or            adverse impact on low income or          adverse impact on low income or              adverse impact on low income or              adverse impact on low income or
                                                                                minority communities from                  minority communities from                minority communities from                    minority communities from                    minority communities from
                                                                                construction and/or secondary effects.     construction and/or secondary            construction and/or secondary effects.       construction and/or secondary effects.       construction and/or secondary effects.
                                                                                                                           effects.
               Noise                   O&M of the existing Federal              Minor adverse impacts to aquatic           Minor adverse impacts to aquatic         Minor adverse impacts to aquatic             Minor adverse impacts to aquatic             Minor adverse impacts to aquatic
                                       navigation channel will have no          species due to displacement;               species due to displacement;             species due to displacement;                 species due to displacement;                 species due to displacement;
                                       additional effect on noise in the        Temporary and minor impact to              Temporary and minor impact to            Temporary and minor impact to human          Temporary and minor impact to human          Temporary and minor impact to human
                                       Harbor. However, the No Action           human populations due to the               human populations due to the             populations due to the construction of       populations due to the construction of       populations due to the construction of
                                       results in an even greater number of     construction of project.                   construction of project. Slightly        project. Slightly longer than 42’            project. Slightly longer than 43’            project. Slightly longer than 44’
                                       vessels predicted to call on the Port.                                              longer than 41’ alternative.             alternative.                                 alternative.                                 alternative.
               Aesthetics              O&M of the existing Federal              No effect to area wide aesthetics;         No effect to area wide aesthetics;       No effect to area wide aesthetics;           No effect to area wide aesthetics;           No effect to area wide aesthetics;
                                       navigation channel will have no effect   Larger ships will transit more             Larger ships will transit more           Larger ships will transit more efficiently   Larger ships will transit more efficiently   Larger ships will transit more efficiently
                                       on area wide aesthetics. However, the    efficiently through the port; Not out of   efficiently through the port; Not out    through the port; Not out of character       through the port; Not out of character       through the port; Not out of character
                                       No Action results in an even greater     character for the San Juan area.           of character for the San Juan area.      for the San Juan area.                       for the San Juan area.                       for the San Juan area.
                                       number of vessels predicted to call on
                                       the Port.
               Coastal Barrier         O&M of the existing Federal              No effect to CBRA Zones as a result of     No effect to CBRA Zones as a result      No effect to CBRA Zones as a result of       No effect to CBRA Zones as a result of       No effect to CBRA Zones as a result of
                                       navigation channel will have no effect   improvements.                              of improvements.                         improvements.                                improvements.                                improvements.
               Resources               on CBRA zones.
               Cultural and Historic   O&M of the existing Federal              No effect on historic properties.          No effect on historic properties.        No effect on historic properties.            No effect on historic properties.            No effect on historic properties.
                                       navigation channel will have no effect
               Resources               on historic properties.
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4.0     RECOMMENDED PLAN*
This section provides a detailed description of the Recommended Plan developed and selected through
the plan formulation process. The details discussed in this section include plan components, design and
construction considerations, operations and maintenance, dredged material placement, costs, benefits,
risk and uncertainty, Non-Federal Sponsor’s (NFS) view, Environmental Operating Principles (EOPs), and
the USACE Campaign Plan. The Recommended Plan represents the project in the impacts analysis for
Section 5 of this IFR/EA. The assumed channel widening and turning basin sizes represent the maximum
anticipated sizes based on the best professional judgment of harbor pilots and ship simulation testing to
allow design vessels to safely and efficiently utilize the terminals.

The USACE process for selecting an alternative begins at the district and NFS level and expands, with
product development, to incorporate the division and headquarters levels through a series of reviews and
approvals, and at the same time allows for feedback and suggestions from resource agencies. For
Congressionally authorized projects, such as this, the final agency decision maker is the Secretary of the
Army through the ASA (CW).

The navigation improvements included in the Recommended Plan respond to local needs and desires as
well as the economic and environmental criteria used to screen, evaluate, select, and refine measures and
alternatives. If implemented, the Recommended Plan would handle the current and forecasted vessel
fleets and cargo volumes with fewer delays and less congestion and damages than under the No Action
Alternative while avoiding all unacceptable adverse environmental impacts.

4.1     Description of the Recommended Plan
4.1.1 General Navigation Features
General navigation features include channels, jetties or breakwaters, locks and dams, basins or water
areas for vessel maneuvering, turning, passing, mooring or anchoring incidental to transit of the channels
and locks. General navigation features also include dredged material management areas and sediment
basins.

No expansion or deepening of the Entrance Channel is included in the Recommended Plan, as the risks
are very low that additional Bar Channel depth will be required. As a contingency, during PED the USACE,
in coordination with the San Juan Bay Pilots, will verify the adequacy of the existing Bar Channel depths
by evaluation of vessel squat tables to confirm adequate underkeel clearance in the anticipated future
with-project condition and through use of existing available technology, such as a CADET vertical ship
motion study. Deepening starts with Cut-6, which has an additional 2 feet of depth for wind and wave
allowances for ship squat effects, and continues through Anegado Channel, Army Terminal Channel to
Army Terminal Turning Basin. Widening only occurs along Army Terminal Channel. Widening and
deepening of the inner harbor channels serve petroleum product tankers, LNG tankers, cruise vessels,
containerships, bulk/general cargo carriers, roll-on/roll-off ships and barges.

Starting from the entrance of San Juan Harbor, the Recommended Plan:
x Deepens Cut-6 of the Bar Channel to 46 feet to maintain the existing 2-foot squat and wave allowance.
x Deepens the Anegado Channel, Army Terminal Channel, and Army Terminal Turning Basin to 44 feet
    to support petroleum product tankers.
x Widens the Army Terminal Channel by 100 feet, effectively increasing the channel width from 350
    feet to 450 feet, supporting petroleum tankers and LNG vessels.



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x   Provides eastern and western flares at the intersection of the Army Terminal Channel and the Army
    Terminal Turning Basin.
x   Deepens the San Antonio Approach Channel, San Antonio Channel, San Antonio Channel Extension,
    and Cruise Ship Basin East to the authorized 36 foot depth to resolve inefficiencies for vessels
    transiting these channels, primarily cruise vessels. Federal interest and economic justification to
    construct to this authorized depth have been confirmed through this study.
x   Furthermore, the plan includes a 1,050-foot extension east of the San Antonio Channel in order to
    accommodate the terminal operators’ needs for additional depth in this portion of the Harbor.

x   Dredged Material Placement Options
    o Base Plan - Place dredged material at the existing ODMDS.
    o Beneficial use of dredged material to include the filling of dredged holes in Condado Lagoon to
       restore SAV habitat was evaluated.
Figure 4-1 of this section provides the details of the proposed changes and illustrates the general locations
of the major features. Figures 3-3 (non-structural measure) and 3-4 (non-structural measure) in Section 3
provide more detailed descriptions and locations of the Recommended Plan features.




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Figure 4-1: Recommended Plan

4.1.2 Lands, Easements, Rights of Way, and Relocation Considerations
The Recommended Plan’s navigation improvement features do not require acquisition of real estate
interests. As the project has a connection to commerce and navigation, the Government will exercise its
rights under navigation servitude for those features, if necessary. The base plan dredged material
management option is the approved ODMDS. The project footprint has been verified by appropriate
telephone, cable, and utility organizations to confirm there are no required relocations for utilities in


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conjunction with the Federal navigation project expansion, as discussed in the Engineering Appendix. An
extensive search for utilities was performed by the USACE Jacksonville District Engineering Division
personnel in 1998 prior to the last deepening project completed in 2000, and correspondence with
stakeholders has not revealed any development since that time. Thus there are no relocations required.

4.1.3 Local Service Facilities
The associated costs for local service facilities are approximately $350 million for infrastructure
improvements associated with PREPA’s conversion to LNG and $2,054,000 for berths at facilities, which
benefit from the deeper channel. These costs are 100% non-Federal and are not included in the project
first costs of the Recommended Plan.

4.1.4 Relocation of Aids to Navigation (ATONs)
The USCG Sector San Juan plans to move buoys G5, G7, and G9 to areas of existing deep water outside of
the Federal channel limits, which allows widening of the Entrance Channel reaches from Cuts 4 – 6 without
deepening (Figure 3-3). Another non-structural measure involves the USCG relocation of buoy R2 and G3
to allow use of existing wideners (Figure 3-4).

4.1.5 Mitigation*
The intent of compensatory mitigation is to replace the ecological function and services lost as a result of
unavoidable impacts. Based on evaluation of existing surveys and preliminary benthic surveys conducted
for this study, the Recommended Plan is not anticipated to result in direct or indirect impacts to resources
of concern (SAV/hardbottom/hard corals). The closest mapped hardbottom habitat (colonized pavement)
is 457 meters from the closest dredge cut (Cut-6) and Acroporid coral DHC is approximately 762 meters
north of Cut-6. For evaluation purposes, the USACE, Jacksonville District uses 150 meters for estimating
the indirect impact zone adjacent to the limits of construction dredging. Therefore, impacts to listed corals
from dredging and dredged material transport related turbidity are not anticipated. Additional benthic
surveys will take place prior to construction to confirm these separation distances remain accurate.
Cultural resource investigations included a background investigation and cultural resources remote
sensing survey of the San Juan Harbor channel APE in consultation with the Puerto Rico SHPO and the
Instituto de Cultura Puertorriqueña. No cultural resources were identified within the footprint of the
Recommended Plan.

4.2     Effects from Hurricanes Maria and Irma on the Recommended Plan
The 2017 hurricane season was an active one for the Caribbean and destruction was widespread,
especially in Puerto Rico. Two major hurricanes impacted the Commonwealth; Hurricane Irma on
September 7, 2017 and then Hurricane Maria on September 20, 2017. The impacts from these two storms
were widespread across Puerto Rico. The power infrastructure was severely impacted by Hurricane Irma.
Impacts experienced from the passage of Hurricane Maria triggered an island-wide power outage. The
publically-owned utility authority, PREPA, is in the process of restoring the permanent power grid and
through this process is making necessary infrastructure improvements.

Although these storms caused billions of dollars in damages across Puerto Rico, the devastating storm
impacts did not impact the quantitative analysis of this study. These storms do, however, impact the
overall importance of the recommended navigation improvements to the people of Puerto Rico. The
Recommended Plan did not change following the passage of Hurricanes Irma and Maria, the benefits of
the navigation improvements continue to justify the costs. Nonetheless, in the context of hurricane
recovery, Federal interest in the Recommended Plan has broadened. Even though the study authority for



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the Recommended Plan falls under a non-disaster authority, it complements the efforts of the many
Federal agencies, including the USACE, facilitating the recovery of Puerto Rico through cost sharing,
grants, loans, technical assistance, and more. The Recommended Plan in and of itself supports the
National Recovery Framework calling for the Nation to seek means to best restore, redevelop, and
revitalize the health, social, economic, natural and environmental fabric of the community - and to build
a more resilient Nation – by rebuilding stronger, smarter and safer.

The widening improvements of the Recommended Plan accommodate larger LNG vessels and larger
petroleum tankers (LR2), supporting the potential for lower power generation costs and more efficient
transportation of petroleum products. These energy and fuel-related commodities impact every sector of
the economy – making this project one of the most critical projects, economically, for the island. In
addition, the island’s conversion to LNG fosters improvements in air quality by burning cleaner fuel in
power plants and reducing emissions – a step forward in complying with USEPA’s MATS.

Per conversations with PREPA, the utility authority still plans to convert the San Juan area power plants
to LNG post-Hurricanes Irma and Maria. The conversion plan is outlined in a letter provided by PREPA to
SAJ Planning and Policy Division in January 2018, several months after the occurrence of Irma and Maria.
Risk and uncertainty surrounding PREPA’s LNG conversion plan is discussed in Section 4.5 Risk and
Uncertainty.

4.3     Dredging and Dredged Material Management
Construction of the Recommended Plan is estimated to generate approximately 2.2 million cubic yards
(cy) of dredged material. The Recommended Plan is the base plan and is expected to place all dredged
material at the existing ODMDS located about two miles northwest of the Entrance Channel. As outlined
in the Dredged Material Management Plan (DMMP) – Preliminary Assessment, the ODMDS has sufficient
capacity to handle current O&M material, new work material, and any additional maintenance material
generated from this project. Additionally, the DMMP Preliminary Assessment contains a summary of
potential beneficial use sites evaluated for this IFR/EA – which are also discussed later in this section.

4.3.1 Construction Methodology
The type of dredging equipment considered for a particular construction contract depends on various
parameters such as the type and amount of material, depth of the channel, access and distance to
placement site, wave energy environment, availability and condition of equipment, environmental
windows, etc. Ultimately, the contractor, selected through the contracting process, determines the
construction methodology.

Based on available core borings for San Juan Harbor, the material to be dredged would not require blasting
and consists primarily of sand and clay, with limited areas of a less dense limestone. For the widening and
deepening efforts, a potential contractor might use a hydraulic cutterhead dredge, hopper dredge, or
mechanical excavator.

For planning and cost estimating purposes of the Recommended Plan, the USACE assumed that a
mechanical clamshell dredge would be used in combination with a hydraulic hopper dredge for
construction. The mechanical dredge would be used within the limits of the Federal channels and in tight
corners or berthing areas. Material from these reaches would be placed in a scow or on a barge for
transport to the ODMDS. A hopper dredge is anticipated to be used to remove unconsolidated overburden
material from within the limits of the Federal channel and new construction widening measures. Material
would be transported to the ODMDS in accordance with the USEPA-approved SMMP.


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Since dredging equipment does not typically result in a perfectly smooth and even channel bottom, a drag
bar, chain, or other item may be pulled along the channel bottom to smooth down high spots and fill in
low spots. This finishing technique also reduces the need for additional dredging to remove any high spots
that may have been missed by the dredging equipment. It may be more cost-effective to use a drag bar
or other leveling device (and possibly less hazardous to sea turtles) than to conduct additional hopper
dredging. Detailed descriptions on types of dredging equipment, including mechanical-clamshell,
hydraulic hopper, and cutterhead dredges, can be found in Engineer Manual, (EM) 1110-2-5025,
Engineering and Design - Dredging and Dredged Material Disposal.

4.3.2 Operations and Maintenance (O&M) Considerations
Maintenance dredging usually involves a clamshell and bottom dump barge taking the material to the
ODMDS, as current practices documented in the DMMP. Maintenance dredging would utilize the same
placement area as used for existing conditions; the duration and frequency of dredging events would be
within the range occurring under current conditions. O&M dredging would generally occur about every
five to seven years with a clamshell dredge and bottom dump barge, taking approximately 155,000 cy of
material to the ODMDS located northwest of the navigation channel. It is estimated that the
Recommended Plan would increase O&M quantities by approximately 15,000 cy a year (See the
Engineering Appendix).

4.3.3 Beneficial Use Placement Options
Since the early 1990’s, Congressional actions have placed a considerable emphasis on beneficially using
dredged material. Statutes, such as the WRDAs of 1992, 1996, 2000, 2007, and 2016, demonstrate that
beneficial use is a Congressional priority. The USACE has encouraged the use of dredged material for
beneficial use through such regulations as 33 CFR Part 335, ER 1105-2-100, ER 1130-2-520, and Policy
Guidance Letter No. 56. ER 1105-2-100, paragraph E-15a.(1)(d) states it is Corps policy “that all dredged
material management studies include an assessment of potential beneficial uses for environmental
purposes, including fish and wildlife habitat creation, ecosystem restoration and enhancement and/or
hurricane and storm damage reduction.”

Opportunities for beneficial use of dredged material exist in the project vicinity. In accordance with ER
1105-2-100, the USACE evaluated several beneficial use opportunities as a part of this project
(Figure 4-2). These different dredged material management options were coordinated with the
environmental resource agencies to discuss potential setbacks or resource challenges. The details and
screening of these sites is outlined below.




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Figure 4-2: Beneficial Use Placement options evaluated 1) Filling of Dredged Holes in Condado Lagoon,
2) Cataño Living Shoreline, 3) Open-water Dredged Material Management Area, (existing location for
maintenance material), 4) ODMDS
Option 1. This beneficial use option consists of taking approximately 230,000 cy of dredged material from
the San Antonio Channels and Cruise Ship Basin East to Condado Lagoon to fill dredged holes facilitating
seagrass habitat restoration. The construction method estimated for Option 1 makes use of a clamshell
dredge and bottom dump barge. This option requires a pump-out from the bottom dump barge for
placement in Condado Lagoon resulting in a $2.8 million dollar increase in costs, as compared to taking
the same amount of material to the ODMDS. According to an October 2011 report, The Hydrodynamics of
the Condado Lagoon, prepared for the San Juan Bay Estuary Program by the Caribbean Oceanography
Group and Tetra Tech, Condado Lagoon (south of Ashford Avenue bridge) is not a high energy
environment. Circulation is largely wind driven and material placed in the artificial depressions would
remain there except for very fine particles. Under a "98% exceedance wind event," material too fine to
remain stable (less than 0.21-0.46mm) would be re-suspended. Therefore, dredged material containing
fine grained particles less than 0.21-0.46mm would require capping if used to restore Condado Lagoon.




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Informational meetings were held with Estuario Programma de San Juan Bahia (San Juan Bay Estuary
Program) and Para La Naturaleza (For the Nature) in May and July of 2017 to identify whether there was
a potential interest in cost sharing for the restoration of seagrass habitat in Condado Lagoon. Both
agencies expressed interest and requested additional information to make an informed budgetary
decisions. Ultimately, due to the study schedule, the fact that the beneficial use is not the least cost, the
PRPA’s position to not cost-share in any incremental costs above the base plan for beneficial use, and the
lack of a cost-sharing non-Federal partner at the point of preparation of this final IFR/EA, beneficial use in
Condado Lagoon is not being pursued at this time as part of the Recommended Plan. However, costs have
been prepared and cost apportionment tables are included in this decision document, if, in the future
during PED or construction, a non-Federal sponsor is identified to cost-share 65% Federal/35% non-
Federal in the incremental costs above the base plan, authority is granted for the USACE to cost-share in
the beneficial use, and there is Federal funding to do so.

Example cost apportionment of incremental costs above the base plan for the beneficial use of dredged
material in Condado Lagoon:

                                                                                     Estimated                Estimated
 Type of Work            Estimated Cost                           Cost-Share         Federal Share            Non-Federal Share
 Mob/Demob*              $ 600,000                                65/35              $390,000                 $210,000
 Transport & Placement** $ 1,100,000                              65/35              $682,000                 $385,000
 Turbidity Controls***   $600,000                                 65/35              $390,000                 $210,000
 Monitoring****          $400,000                                 65/35              $260,000                 $140,000
 Total                                                                               $1,722,000               $945,000
NOTES:
FY18 Price Levels
*Mob/demob: mobilization/demobilization of any additional equipment required for the beneficial use above what is required for the base plan
**Transport & Placement (including sandy capping material): Additional transportation & placement costs above the base plan. Assumes
hydraulic unloading from San Antonio Channels and Cut-6 to Condado Lagoon placement location. Capping material, with higher sand content,
is assumed to be coming from Cut-6 for this estimate. Approximately 25% of the material transported would be used for capping. For the purposes
of this estimate, all material is assumed to be coming from the Federal navigation project. If additional capping material is needed, La Esperanza
would be the most-likely source and would likely cost more-those costs are not incorporated into this estimate.
***Turbidity: Costs for Turbidity controls (turbidity curtains) not required for the base plan
****Monitoring: Monitoring plan, ESA observer, and turbidity monitoring that is not required for the base plan



Option 2. This beneficial use option evaluated involves the development of a new Dredged Material
Management Area (DMMA) located in open water west of Anchorage Area F. This option costs about
$9 million more than taking the 2.2 million cubic yards of material from the entire project to the ODMDS.
The costs do not include the containment that would be required nor the turbidity controls and
monitoring. Ultimately, Option 2, the DMMA, dropped out from further consideration as there are
environmental resources (SAV) present in this vicinity that were identified through bathymetric surveys.
The avoidance and minimization of impacts to these existing resources was enough to eliminate this
beneficial use option from further evaluation

Option 3. Option 3 proposed to beneficially use dredged material for a living shoreline to protect the
Cataño shoreline from wind generated waves, which cause erosion. The idea for Option 3 was generated
from a letter the USACE received from the Municipality of Cataño expressing concern over the wind and
wave energies damaging their shoreline. Option 3 costs approximately $13 million more than the base
plan and this estimate does not include the required material (rock, concrete structural units, etc.) for the
structures, nor the turbidity controls and monitoring, which would only increase the costs. In addition to


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environmental resources (hardbottom habitat) identified in this vicinity where impacts to these resources
would need to be avoided, Option 3 also dropped from further consideration as there is not anticipated
to be enough rock generated from the plan for the shoreline structures. Therefore, the only beneficial use
of dredged material option that remains viable is the restoration of seagrass habitat in Condado Lagoon
by filling the dredged holes up to depths of 12 to 15 feet.

Option 4 (Base Plan). The least cost, engineeringly-feasible, and environmentally acceptable dredged
material management option is to transport all dredged material from channel deepening and widening
improvements to the approved ODMDS by dump scows or hopper dredges– this represents the base plan
within the Federal Standard.

Table 4-1 provides a comparison of costs for the four different dredged material placement options.
Section 204 of WRDA 1992 (P.L. 102-580) defines these incremental costs associated with construction
of a beneficial use project for the protection, restoration, and creation of aquatic and ecologically related
habitats, identifies as costs solely limited to construction costs in excess of those costs necessary to carry
out the dredging for construction, operation, or maintenance of the authorized navigation project in the
most cost effective way, consistent with economic, engineering, and environmental criteria. Section 207
of WRDA 1996 (P.L. 104-303) authorizes the use of a disposal method that is not the least cost option if
the incremental costs are reasonable in relation to the environmental benefits for navigation projects,
subject to certain requirements.

                Table 4-1: Cost Comparison for Dredged Material Management Options
                    Dredged Material              Volume of Construction        Incremental Costs
                    Placement Location            Dredged Material to be        above Base Plan
                                                  placed @ Each Location
 Option 1           Fill Dredged Holes            230,000 cy                    (+) ~ $2.8M

 Option 2           DMMA                          2,200,000 cy                  (+) ~ $9M

 Option 3           Living Shoreline              2,200,000 cy                  (+) ~ $13M
 Option 4           ODMDS (Base Plan)             2,200,000 cy




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4.4      Detailed Cost Estimates and Benefits of the Recommended Plan
The Cost Engineering and Risk Analysis Appendix contains detailed information on the development of
project costs, cost assumptions, and the associated risks that factored into the contingency. The
Economics Appendix includes detailed discussions of the transportation cost savings and benefit analysis,
including the power generation cost reduction benefits category.

4.4.1 Project Costs and Benefits
Once the NED plan was determined, a detailed cost estimate was developed. The cost estimate includes
a narrative, a summary cost, and a detailed cost showing quantity, unit cost, and the amount for
contingencies for each cost item. The USACE Cost Engineering incorporated a 31% contingency for the
NED Plan based on a Class 4 project (early conceptual technical information). See the Cost Engineering
and Risk Analysis Appendix. The costs of the non-construction features of the project are also included in
the cost estimate.

The project costs were prepared using the Micro-Computer Aided Cost Engineering System (MCACES), the
construction cost (including PED, local service facilities, and aids to navigation) is $ $403,975,000 with the
LNG conversion and $57,158,000 without the LNG conversion. The IDC is estimated to be $1,207,000 and
is the same with or without the LNG conversion. The AAEQ costs range from $2,281,000 (without LNG
conversion) to $15,172,000 (with LNG conversion). The AAEQ net benefits for the Recommended Plan
range from $2,041,000 to $60,097,000 (with LNG conversion) and the BCR ranges from 1.9 (without LNG
conversion) to 5.0 (with LNG conversion) at the Federal Water Resources Discount Rate (FY18) of 2.75%
remaining economically justified under either scenario.

Table 4-2 presents the economics for the Recommended Plan. The column entitled “with LNG conversion”
includes the power generation cost reduction benefits in the analysis attained through the LNG
conversion, and the column entitled “without LNG conversion” excludes the power generation cost
reduction benefits from the analysis – they are the exact same plan, only the economics differ.

      Table 4-2: Average Annual Equivalent (AAEQ) benefits and costs for the Recommended Plan




NOTE: All values rounded to the $1,000s, includes Interest During Construction.




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Transportation cost savings are, however, greater in the without LNG conversion economics scenario due,
in part, to the fact that vessel operating costs of LNG vessels exceed those of petroleum tankers
(Figure 4-3). This effectively means that the annual transportation costs of delivering fuel used by PREPA
in power generation to the two San Juan power plants is lower when the fuel being delivered is diesel and
is being carried on petroleum tankers, rather than when the fuel being delivered is LNG being carried on
LNG vessels. This increase in annual transportation costs from the without-project condition to the with-
project condition for vessels servicing PREPA offsets a portion of the transportation cost savings
attributable to vessels that do not service PREPA. Thus, when the transportation costs of supplying fuel
to PREPA and other terminal operators stays constant rather than increasing, the average annual
transportation cost savings are greater, as they are not being diminished by using vessels with higher
vessel operating costs. The following figure illustrates how the transportation cost savings were
developed in both scenarios, with the LNG conversion and without the LNG conversion.




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               TRANSPORTATION COST SAVINGS (TCS)
 This is an overview schemalic. However. TCS lor tankers are primarily
   realized by eva luating Vessel Operating Costs ($) 01 the tankers.
Whereas TCS for cruise vessels are primarily realiled through time savings
                 gained by increased maneuverability.

         w / LNG conversion                        wlo LNG conversion

                  ~                                       ~           ~
        $         ~                                $      w           w
                                                                      to
                  ~
                  D           "
                              Z
                              ~
                                                          ~
                                                          D           0

              FWOP          FWP                          FWOP       FWP

         fewer calls           savings            fewer calls - savings

         $       ~~          ~~                   $       ~~        ~~
                 ~w          ~w                           ~w        ~w
                 00          00                           00        00
                 ~~          ~~                           ~~        ~~


              FWOP           FWP                         FWOP       FWP

        decr~a.sed = savings                       decr~a.sed = savings
        transit time                               transit time

         w                                         w


         ""                                        "" FWOP
              FW~~WP                                                 FWP
        - $2 Milr.on                               - $4 Million
       TCS are realized through the                 TCS are not diminished by
           eflic·encies gained by                     LNG increased vessel
       reducing the number of calls                  operating casts. TCS are
         & decreasing cruise vessel               realized through efficiencies
        Iransit tme from deepening                   gained by reducing the
         & widening improvement:;.                number 01 calls & decreasIng
          Vessel operaling costs for              cruise vessel transit time from
       LNG vessels reduce the total                  deepening & widening
                amount of TCS.                            improvements.

Figure 4-3: Transportation Cost Savings Diagram



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4.4.2 Cost Apportionment
The WRDA of 1986 (Public Law 99-662), as amended, specifies cost apportionment by project purpose for
deep draft navigation projects. Federal participation in navigation projects is limited to sharing costs for
design and construction of GNF consisting of breakwaters and jetties, entrance and primary access
channels, widened channels, turning basins, anchorage areas, locks, and dredged material management
areas with retaining dikes. Table 4-3 shows the cost sharing summary for the NED plan with the LNG
conversion and Table 4-4 shows the cost sharing summary for the NED plan without the LNG conversion.

Per Section 101(a) of WRDA 1986, as amended, non-Federal cost sharing for general navigation features
varies according to the channel depth. For a commercial navigation project with project depths greater
than 20 feet but not in excess of 50 feet, the non-Federal share for the construction of GNF is 25%. This
percentage applies to mitigation and other work cost shared the same as GNF.

Non-Federal interests are responsible for and bear all costs for acquisition of necessary lands, easements,
rights-of-way and relocations (LERR), terminal facilities, and dredging berthing areas and interior access
channels to those berthing areas.

Section 101(a) of WRDA 1986, as amended, also requires the non-Federal sponsor pay an additional
amount equal to 10% of the total construction cost for GNF. The additional 10% of the GNF costs, less the
amount of LERR credit afforded to the sponsor for the value of LERR, can be paid by the non-Federal
sponsor over a period not to exceed 30 years, with interest. However, in this case, there is no LERR
adjustment credit since the sponsor has no related costs.

Per Section 101(b) of WRDA 1986, as amended, operation and maintenance of the GNF are a 100% Federal
responsibility.

The ATON are a 100% Federal responsibility of the USCG.

Costs presented in Tables 4-3 and 4-4 are the Project First Costs (“Constant Dollar Basis”) from the second
column of the Total Project Cost Summary (TPCS) spreadsheet (See the Cost Engineering and Risk Analysis
Appendix). The USACE regulations require use of the Constant Dollar Cost estimate at current price levels,
not including inflation, for feasibility reports and Chief’s Reports. The Constant Dollar Cost serves as the
basis for the cost of the project for authorization and represents the Project First Cost. Project First Cost
include PED costs, construction management costs, construction costs of the GNF with both Federal and
non-Federal in-kind contributions, as applicable, LERR values, and contingencies determined through the
Cost and Schedule Risk Analysis (CSRA).

The Total Project Cost is also calculated. This is the Federal Navigation Project’s Constant Dollar Cost fully
funded with escalation to the estimated midpoint of construction and is estimated to be $62,209,000.
This number is the provided for use in financial planning, as it contains information regarding the overall
cost-sharing obligations used for development of partnership agreements.




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    Table 4-3: Federal and Non-Federal Cost Apportionment for the Recommended Plan (with LNG
                                             conversion)
                      FEDERAL/NON-FEDERAL COST APPORTIONMENT - WITH LNG CONVERSION
                                    October 01, 2017 Price Levels (FY 2018)
                                                                    Total Cost Federal Share              Non-Fed Share
GENERAL NAVIGATION FEATURES (GNF)                                       >20' to 50'              75%                25%
Mobilization & Demobilization (Clamshell)                                 $3,350,000       $2,512,000           $837,000
Standby Time (Mechanical Clamshell)                                         $234,000        $175,500             $58,500
Mobilization & Demobilization (Hydraulic Hopper)                           $2,744,000      $2,058,000           $686,000
Standby Time (Hydraulic Hopper)                                              $349,000        $261,750             $87,250

                 ~Economic Modeling Phase 1~
W iden ATC 100' @ Existing 40' (Cut 8)                                     $7,389,000      $5,541,750         $1,847,250
               ~Economic Modeling Phase 2~
Deepen Cut 6 @ 46'                                                           $742,000        $556,500           $185,500
Deepen Anegado (Cut 7) @ 44'                                               $6,762,000      $5,071,500         $1,690,500
Deepen and W iden ATC 100' @ 44' (Costs only for
deepening/widening improvements > 40')                                     $8,475,000      $6,356,250         $2,118,750
Deepen ATTB @ 44' (Cut 8)                                                  $7,352,000      $5,514,000         $1,838,000
ATTB East & W est Flares @ 44'                                             $1,354,000      $1,015,500           $338,500
                  ~Economic Modeling Phase 5~
Deepen SAAC @ 36' (Cut 18)                                                   $494,000        $370,500           $123,500
Deepen SAC @ 36' (Cut 18)                                                  $2,849,000      $2,136,750           $712,250
Deepen SAC Extension @ 36' (Cut 20)                                          $596,000        $447,000           $149,000
Deepen CSBE @ 36' (Cut 22)                                                 $2,346,000      $1,759,500           $586,500

Sea Turtle Non-Capture Trawl Sweeping                                         $39,000         $29,250              $9,750
Real Estate Administrative Costs                                              $66,000         $49,500             $16,500
Preconstruction, Engineering, & Design                                    $4,619,000       $3,464,250         $1,154,750
Construction Management (S&A)                                             $4,282,000       $3,211,500         $1,070,500
TOTAL GNF                                                                $54,041,000      $40,530,750        $13,510,250


SUBTOTAL PROJECT FIRST COSTS                                             $54,041,000      $40,530,750        $13,510,250

10% OF NED GNF NON-FEDERAL**                                                        $0    -$5,404,100         $5,404,100


NON-FEDERAL CONSTRUCTION COSTS (LOCAL SERVICE FACILITIES)
Berthing Area Dredging (COD / Total Terminals) @ 44'                         $611,000               $0          $611,000
Berthing Area Dredging (PUMA Terminal) @ 44'                                 $446,000               $0          $446,000
Berthing Area Dredging (PREPA Terminal) @ 44'                                $747,000               $0          $747,000
PREPA LNG Facility Modifications                                        $348,024,000                $0      $348,024,000
TOTAL NON-FEDERAL LOCAL SERVICE FACILITIES                              $349,829,000                $0      $349,828,000
                                                                                   $0
USCG AIDS TO NAVIGATION (100% USCG FEDERAL COST)                             $105,000        $105,000                  $0
                                                                                  $0
TOTAL PROJECT COSTS                                                     $403,975,000      $40,636,000       $363,338,000
* ATC= Army Terminal Channel, ATTB=Army Terminal Turning Basin, SAC=San Antonio Channel, SAAC=San Antonio Approach
Channel, CSBE=Cruise Ship Basin East
**The Non-Federal Sponsor shall pay an additional 10% of the costs of GNF of the NED plan, pursuant to Section 101 of WRDA
1986.




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  Table 4-4: Federal and Non-Federal Cost Apportionment for the Recommended Plan (without LNG
                                            conversion)
               FEDERAL/NON-FEDERAL COST APPORTIONMENT - WITHOUT LNG CONVERSION
                                October 01, 2017 Price Levels (FY 2018)
                                                                Total Cost Federal Share                 Non-Fed Share
GENERAL NAVIGATION FEATURES (GNF)                            >20' to 50'             75%                           25%
Mobilization & Demobilization (Clamshell)                                  $3,350,000      $2,512,000           $837,000
Standby Time (Mechanical Clamshell)                                         $234,000        $175,500             $58,500
Mobilization & Demobilization (Hydraulic Hopper)                           $2,744,000      $2,058,000           $686,000
Standby Time (Hydraulic Hopper)                                             $349,000        $261,750             $87,250


                  ~Economic Modeling Phase 1~
W iden ATC 100' @ Existing 40' (Cut 8)                                     $7,389,000      $5,541,750         $1,847,250
                 ~Economic Modeling Phase 2~
Deepen Cut 6 @ 46'                                                          $742,000        $556,500           $185,500
Deepen Anegado (Cut 7) @ 44'                                               $6,762,000      $5,071,500         $1,690,500
Deepen and W iden ATC 100' @ 44' (Costs only for
deepening/widening improvements > 40')                                     $8,475,000      $6,356,250         $2,118,750
Deepen ATTB @ 44' (Cut 8)                                                  $7,352,000      $5,514,000         $1,838,000
ATTB East & W est Flares @ 44'                                             $1,354,000      $1,015,500           $338,500
                  ~Economic Modeling Phase 5~
Deepen SAAC @ 36' (Cut 18)                                                   $494,000        $370,500           $123,500
Deepen SAC @ 36' (Cut 18)                                                  $2,849,000      $2,136,750           $712,250
Deepen SAC Extension @ 36' (Cut 20)                                          $596,000        $447,000           $149,000
Deepen CSBE @ 36' (Cut 22)                                                 $2,346,000      $1,759,500           $586,500


Sea Turtle Non-Capture Trawl Sweeping                                        $39,000          $29,250             $9,750
Real Estate Administrative Costs                                             $66,000          $49,500            $16,500
Preconstruction, Engineering, & Design                                    $4,619,000       $3,464,250         $1,154,750
Construction Management (S&A)                                             $4,282,000       $3,211,500         $1,070,500
TOTAL GNF                                                                $54,041,000      $40,530,750        $13,510,250

SUBTOTAL PROJECT FIRST COSTS                                             $54,041,000      $40,530,750        $13,510,250


10% OF NED GNF NON-FEDERAL**                                                        $0    -$5,404,100         $5,404,100

NON-FEDERAL CONSTRUCTION COSTS (LOCAL SERVICE FACILITIES)
Berthing Area Dredging (COD / Total Terminals) @ 44'                         $611,000               $0          $611,000
Berthing Area Dredging (PUMA Terminal) @ 44'                                 $446,000               $0          $446,000
Berthing Area Dredging (PREPA Terminal) @ 44'                                $747,000               $0          $747,000
TOTAL NON-FEDERAL LOCAL SERVICE FACILITIES                                 $1,804,000               $0        $1,804,000
                                                                                   $0
USCG AIDS TO NAVIGATION (100% USCG FEDERAL COST)                             $105,000        $105,000                  $0
                                                                                  $0
TOTAL PROJECT COSTS                                                      $55,950,000      $40,636,000        $15,314,000
* ATC= Army Terminal Channel, ATTB=Army Terminal Turning Basin, SAC=San Antonio Channel, SAAC=San Antonio Approach
Channel, CSBE=Cruise Ship Basin East
**The Non-Federal Sponsor shall pay an additional 10% of the costs of GNF of the NED plan, pursuant to Section 101 of WRDA
1986.




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4.4.3 Project Schedule and Interest during PED/Construction
Project schedules and durations may vary depending on several factors, particularly the time required to
obtain Congressional authorization and appropriation. Other areas of schedule uncertainty include the
availability of dredging equipment to complete the work in compliance with environmental requirements
and delays due to unexpected severe weather conditions. These uncertainties factor into the calculation
of the IDC.

IDC accounts for the opportunity cost of expended funds before the benefits of the project are available
and is included among the economic costs that comprise the NED project costs. The amount of the pre-
base year cost equivalent adjustments depends on the interest rate; the construction schedule, which
determines the point in time at which costs occur; and the magnitude of the costs to be adjusted. The
PED durations are included in the IDC, as well as the construction durations. The current construction
schedule assumes authorization of the project in a future WRDA. Assuming Congress provides funding
subsequently to authorization of the project, the proposed schedule of activities would follow resulting in
benefits starting in the base year of the proposed project. The IDC was computed with the Federal Water
Resources Discount Rate (FY18) of 2.75%. Total PED and construction duration includes 40 months with
the PED activity taking about 24 months and the construction taking about 16 months (1 year, and 4
months). Table 4-5 summarizes the PED and construction activities for the Recommended Plan. The IDC
amounts to $1,207,000 and includes PED plus construction.

       Table 4-5: Approximate PED and construction durations used to compute IDC for the NED
 Description                                           Duration in Months Cumulative Months
 Division Engineer’s Transmittal (S = PED Start)                         0                      S
 Design Agreement*                                                       3                    S+3
 Plans and Specifications                                               12                   S+15
 Project Partnership Agreement (PPA) Initiated                           4                   S+19
 Advertise (Contingent upon funding) Contract                            2                   S+21
 Award Contract                                                          3                   S+24
 Construction Start (C = Construction Start)                             0                      C
 Construction Complete                                                  16                   C+16
*Assumes standard model agreement

4.4.4 Financial Analysis of Non-Federal Sponsor’s Capabilities
The non-Federal sponsor, the PRPA, concurs with the financial responsibility as it pertains to the cost
sharing, as outlined in Table 4-3. Current policy requires the non-Federal sponsor to document their ability
to pay through submission of a self-certification of financial capability as described in CECW-PC
memorandum dated June 12, 2007. The Correspondence Appendix contains this certification and letter
of support for the Recommended Plan.




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4.5     Risk and Uncertainty
Risk and uncertainty relating to project benefits exists in the potential fluctuation of the Federal interest
rate, changes in vessel operating costs, and deviations from vessel or cargo forecasts. Risks associated
with interest rates, vessel and cargo forecasts, and vessel operating costs are discussed further in the
Economics Appendix. Risks pertaining to project construction, including cost and schedule risks for the
Recommended Plan, are discussed in the Cost Engineering and Risk Analysis Appendix. Uncertainties
pertaining to the power generation cost reduction benefits resulting from the conversion to LNG by PREPA
are discussed below.

Risks and Uncertainty Surrounding Proposed LNG Investment
The Recommended Plan is the same regardless of the economic scenario. However, there is a level of
uncertainty surrounding the proposed LNG. In order to account for this uncertainty, the economic analysis
and plan formulation used two distinctive sets of Future With-Project (FWP) condition assumptions
resulting in a range of possible project benefits. The two scenarios considered are the following:

    1) Assume San Juan area power plants will convert from the use of diesel fuel for power generation
       in the future without-project condition to the use of LNG for power generation if a Federal
       navigation project is constructed. Include power generation cost reduction benefits as a project
       benefit.
    2) Assume San Juan area power plants will maintain use of diesel fuel both with and without a
       Federal navigation project. Do not include power generation cost reduction benefits as a project
       benefit.

This uncertainty related to the LNG conversion matters from an analysis perspective because it produces
uncertainty as to whether power generation cost reduction benefits, the source of the majority of project
benefits, will actually be realized if a Federal navigation improvement project is implemented. As
previously mentioned, a conversion to LNG is assumed to occur only if a Federal navigation project,
including widening of Army Terminal Channel, is constructed due to width limitations of the existing
channel prevents the larger, more economical, and readily available in the world fleet LNG vessels from
calling on San Juan. Based on input from the PREPA, the relatively low price of LNG compared to diesel,
and the widespread use of LNG in power generation across the world, it seems that a transition to LNG is
a reasonable future assumption. However, the transition to LNG will require a significant monetary
investment in LNG infrastructure on the part of PREPA and/or some private entity. The combination of
PREPA’s 2017 bankruptcy, frequent changes to plans including a 2018 announcement by the Governor of
Puerto Rico calling for privatization of PREPA, and the damage caused by Hurricanes Irma and Maria have
created a climate of uncertainty surrounding if and when the LNG investment and conversion will occur.

There is a level of uncertainty surrounding PREPA’s conversion to LNG and the timing of the conversion.
PREPA has outlined plans that include entering into a P3 to finance the construction of LNG infrastructure
(e.g. storage tanks, pipelines, etc.) adjacent to San Juan Harbor and to operate the regasification facility.
PREPA’s timeline for creating the P3 starts April 2018 with a contract established with a private company
in March 2019. Consequently, information on whether the P3 has been established and whether the
conversion is proceeding according to the timeline occurs following the submission of the Chief’s Report,
hence the level of uncertainty and development of the two economic scenarios. Even with the uncertainty
surrounding the LNG conversion, the consequence of PREPA not converting to LNG by the project base
year of 2026, and instead maintaining use of diesel fuel in power generation in the San Juan area plants is
low from a planning perspective. The Recommended Plan is economically justified at the Federal Water


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Resources Discount Rate (FY18) of 2.75% in either economic analysis, with BCRs ranging from 1.9 (without
LNG conversion) to 5.0 (with LNG conversion). Regardless of which scenario actually occurs, the
Recommended Plan remains the same, the exact same Federal navigation improvements are proposed.
The Federal Investment also remains the same. However, a level of uncertainty remains when considering
future budgeting of Federal funds for design and construction since the higher AAEQ net benefits and BCR
resulting from the with LNG conversion economic analysis would likely increase the project’s budgetary
priority above what it would be if the without LNG conversion economic analysis and BCR are used. To
address this uncertainty, progress of PREPA’s LNG conversion will be assessed prior to any USACE
budgetary actions.

In addition to consideration of both economics scenarios outlined above in plan formulation, sensitivity
analyses were conducted to estimate the benefits associated with the conversion to LNG occurring
between one and five years after the Federal navigation project base year. Project BCRs ranged from 4.2
(convert to LNG five years after project base year) to 4.8 (convert to LNG one year after project base year).

The following risks related to the LNG conversion and the Recommended Plan are also acknowledged but
were not quantified as part of economic analysis:
    x Variation in the price spread over time between LNG and diesel fuel
    x Use of methods other than those proposed in the current study to supply LNG to the northern
        coast of Puerto Rico
    x Use of alternative fuels
    x Changes in power generation technology and/or EPA policy between now and conversion to
        LNG

See the Economics Appendix for additional discussion of these analyses and associated risks and
uncertainties.




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5.0     IMPACTS OF THE RECOMMENDED PLAN*
This section explains how the Recommended Plan, as described in the previous section, would affect the
economic conditions, the navigation system components, and the environmental resources in the study
area. The section headings are organized to mirror the relevant resources presented in Section 2 of this
report. Please refer to Table 3-5 for a summary of environmental impacts analyzed for the focused array
of alternatives, including the no action alternative.

5.1     General Setting*
Neither the future without-project/No Action Alternative nor the proposed project would change the
current general setting within the project area.

The proposed project would not directly affect land use, including by the conversion of additional natural
areas to urban use. The analysis supporting this conclusion considered the existing throughput capacity
estimated for the San Juan Harbor, which includes landside constraints. The proposed navigation channel
improvements are not directed at increasing the capacity of the harbor to process cargo, but rather at
enabling the port to do so more efficiently. The economic analysis determined that the channel
improvements would only result in cargo transiting through the San Juan Harbor more efficiently and did
not conclude that the project would result in an increase in total cargo that transits the harbor. Therefore,
the project would have no material effect on the conversion of additional natural area. The project would
also not result in any landside transportation changes since the commodities entering the port are not
anticipated to change with or without the project.

The dredging templates lie entirely within the water column of San Juan Harbor. The project does not
include dredging of any upland or wetland areas. Maintenance dredging under the no-action alternative,
as well as new work project dredging, places dredged material in the San Juan ODMDS, an action that
does not affect land use. Any beneficial use options, if implemented, would not impact land use. Lastly,
the project will not require an upland staging area because all construction-related activities will take
place on the water utilizing barges.

5.2     Economic Conditions
Transportation cost savings result primarily from the more efficient use of the existing petroleum product
fleet loading deeper with an anticipated partial transition to larger LR2 tankers and from the increased
maneuverability of cruise vessels, which together result in reduced vessel calls and reduced congestion in
the harbor.

5.2.1 Trade Volume
Because Puerto Rico is an island, waterborne commerce is crucial to meeting inhabitants’ and visitors’
needs, with everything from food and household supplies for daily use to petroleum products used to
generate electricity and to power vehicles moving through the Commonwealth. With 78% of all non-
petroleum and non-coal cargo passing through Puerto Rico was shipped to/from San Juan Harbor, while
about 35% of all petroleum and coal handled on the island passed through the port. According to the U.S.
Energy Information Administration (EIA), approximately 80% of the energy used in Puerto Rico comes
from petroleum with the transportation and electric power sectors being the island’s top petroleum




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products as of 2014. 3 Because Puerto Rico neither produces nor refines crude oil, all petroleum consumed
on the island must be imported. 4

In addition to cargo throughput, a significant number of cruise passengers pass through San Juan Harbor
each year. This includes passengers participating in cruises that begin and end in San Juan (homeport
passengers) and passengers participating in cruises for which San Juan is a stop on the cruise itinerary
(transit passengers). Table 2-2 of the Economics Appendix shows that over the period from 2009-2015 the
highest and second highest number of passenger movements occurred in the two most recent years for
which data is available, 2015 and 2014, respectively, suggesting the industry is currently strong and
growing in San Juan Harbor.

As an island, Puerto Rico relies on waterborne commerce to meet the needs of residents and visitors to
the island. Thus, San Juan Harbor receives calls by vessels of all types and sizes carrying all types of cargo.
The island’s Caribbean location paired with the tourist attractions found in Old San Juan have led to many
annual cruise calls to San Juan Harbor as well. The Economics Appendix provides summary data on the
estimated frequency of vessel calls by vessel type in 2014 based on Waterborne Commerce Statistics
Center data, which summarizes historical call counts for cruise vessels and cargo vessels by arrival draft
based on information provided by the San Juan Bay Pilots. Because the channel depths throughout the
harbor vary widely with only 30 feet of depth in the Graving Dock Turning Basin up to 40 feet in the Army
Terminal Turning Basin, identification of potentially constrained calls requires additional information
about the terminal for which these vessels are bound. Discussion of which vessels and terminals were
determined to be depth-constrained and potentially benefitting is provided in the Existing Condition
Operations and Navigational Constraints section that follows.

5.2.2 Port Hinterland and Clients
Being an island, Puerto Rico relies heavily on waterborne commerce to supply its food, manufactured
goods, fuels, and nearly all items needed to power the economy and sustain the island’s inhabitants and
visitors. Waterborne commerce also facilitates the movement of goods off of the island, including goods
produced in Puerto Rico and goods being transshipped through Puerto Rico. The economic drivers are
manufacturing, primarily pharmaceuticals, textiles, petrochemicals, and electronics; followed by the
service industry, notably finance, insurance, real estate, and tourism.

Puerto Rico has been experiencing an economic depression for 11 consecutive years, starting in 2006 after
a series of negative cash flows and the expiration of Section 936 of the U.S. Internal Revenue Code (26
U.S.C. § 936) that applied to Puerto Rico. Section 936 was critical for the economy of the island as it
established tax exemptions for U.S. corporations that settled in Puerto Rico and allowed its subsidiaries
operating on the island to send their earnings to the parent corporation at any time, without paying
Federal tax on corporate income.




3 Source: U.S. Energy Information Administration (EIA) website (https://www.eia.gov/state/print.php?sid=RQ#30) -U.S. Energy

Information Administration, International Energy Statistics, Petroleum, Consumption, Puerto Rico, Total Petroleum Consumption,
Quadrillion Btu, 2009-13; U.S. Energy Information Administration, International Energy Statistics, Total Energy, Total Primary
Energy Consumption, Puerto Rico, 2008-12; U.S. Energy Information Administration, International Energy Statistics, Puerto Rico,
Petroleum, Consumption, Total Petroleum Consumption and individual products, quadrillion Btu, 2010-14.
4 Source: U.S. EIA website (https://www.eia.gov/state/print.php?sid=RQ#30) - U.S. Energy Information Administration, Puerto

Rico Territory Energy Profile, Data, Reserves & Supply, and Imports & Exports, accessed March 8, 2016; U.S. Energy Information
Administration, International Energy Statistics, Petroleum, Total Imports of Refined Products, Puerto Rico, 2008-13.


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Puerto Rico is poorer than the poorest state of the United States, with 45% of its population living below
poverty. Unemployment is more than twice the U.S. average.

Approximately 2 million people live in the San Juan metropolitan area and about half of the 3.5 million
residents of Puerto Rico live and work in this Metropolitan Statistical Area (MSA). San Juan is also the
manufacturing, tourism, and financial center of Puerto Rico.

In 2015, over 50% of all waterborne commerce taking place on the island passed through San Juan Harbor.
In the same year, approximately 78% of all non-petroleum and non-coal cargo passing through Puerto
Rico was shipped to/from San Juan Harbor, while about 35% of all petroleum and coal handled on the
island passed through the port. See Figure 5-1.

Triple-deck barges towed by ocean-going tugs and Panamax container ships bring consumer goods in and
out of Puerto Rico from Jacksonville and throughout the Caribbean. Figure 5-2 provides an overview of
the San Juan Harbor port facilities and the major commodities associated with each terminal.




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Figure 5-1: Port Hinterland and Clients




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Figure 5-2: San Juan Harbor and commodities

5.2.3 Fleet Characterization
According to the EIA, approximately 80% of the energy used in Puerto Rico comes from petroleum with
the transportation and electric power sectors being the island’s top consumers of petroleum products as
of 2014. 5 Because Puerto Rico neither produces nor refines crude oil, all petroleum consumed on the
island must be imported. 6 Petroleum tankers calling San Juan typically call docks in the Army Terminal
Turning Basin area of the channel where the federally constructed channel depth is 40 feet. Based on
information received from port users and historical vessel call data, the two principal constraints existing
in San Juan Harbor and impacting the operations of petroleum tankers are:

x   the current 350-foot width of the Army Terminal Channel and
x   the current 40-foot depth in the Anegado and Army Terminal Channels.

5 Source: U.S. Energy Information Administration (EIA) website (https://www.eia.gov/state/print.php?sid=RQ#30) -U.S. Energy

Information Administration, International Energy Statistics, Petroleum, Consumption, Puerto Rico, Total Petroleum Consumption,
Quadrillion Btu, 2009-13; U.S. Energy Information Administration, International Energy Statistics, Total Energy, Total Primary
Energy Consumption, Puerto Rico, 2008-12; U.S. Energy Information Administration, International Energy Statistics, Puerto Rico,
Petroleum, Consumption, Total Petroleum Consumption and individual products, quadrillion Btu, 2010-14.
6 Source: U.S. EIA website (https://www.eia.gov/state/print.php?sid=RQ#30) - U.S. Energy Information Administration, Puerto

Rico Territory Energy Profile, Data, Reserves & Supply, and Imports & Exports, accessed March 8, 2016; U.S. Energy Information
Administration, International Energy Statistics, Petroleum, Total Imports of Refined Products, Puerto Rico, 2008-13.


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The width constraint prevents a partial transition of fleet from the existing Medium Range (MR) and Long
Range 1 (LR1) tankers to include some calls by Long Range 2 (LR2) tankers. The depth constraint impacts
the existing fleet of MR tankers and LR1 tankers, many of which must light load to be able to use the
channel at its current 40 foot depth. The depth constraint would also impact LR2 tankers which, assuming
the channel width issue were addressed and these vessels were able to call San Juan, would be required
to light load significantly. Table 5-1 outlines the MR, LR1, and LR2 tanker classes and existing channel
constraints faced by each. The next three subsections provide details of the two aforementioned
constraints as they pertain to the MR, LR1, and LR2 tanker classes.

  Table 5-1: Existing Channel Constraints Experienced by Petroleum Tankers (all dimensions in feet)
 Existing Channel Constraints Experience by Petroleum Tankers (all dimensions in feet)

                         LOA              Beam             Design Draft    Can call San
 Tanker      DWT                                                           Juan     under Constrained
 Description range                                                         existing       by channel:
                         Min      Max     Min     Max      Min     Max     conditions?

 MR            35-55K    570.7 654.7 88.6         105.9    34.45 44.29 Yes                   Depth

 LR1           55-85K    700      796.6 105.7 131.2        38.55 48.23 Yes                   Depth

                                                                       No - limiting
                                                                                      Width            and
               85-                                                     factor      is
                                                                                      Depth
 LR2           130K      748      869     134.8 150.9      37.99 55.02 channel width

 MR dimensions come from fleet of 40K and 50K DWT tankers that called San Juan from 2010-2015 (WBC
 Statistics        Center           and          San        Juan           Bay          Pilots'       Log).
 LR1 dimensions come from fleet of 60K, 70K, and 80K DWT tankers that called San Juan's Puma_COD
 dock             from               2010-2014             (WBC              Statistics            Center).
 LR2 dimensions come from world fleet of 85K to 130K DWT tankers with beams >131 feet. Out of over
 1000 vessels in the world fleet, only 4 have beams <131 feet. Beam of > 131 feet was used as the criteria
 of identifying LR2 vessels of relevance to this study because it defines the constraining factor.



Furthermore, the existing petroleum fleet must currently light load due to the existing Army Terminal
Channel depth of 40 feet again demonstrating the transportation inefficiencies present in San Juan today
and expected to continue into the future. Additionally, cruise vessels have priority over all cargo vessels,
which can sometimes lead to cargo vessel delays on arrival.

The Army Terminal Channel width is the limiting factor here as the current width can only accommodate
the smallest LNG and combination gas tankers in world fleet, of which there are a limited number and by
which a relatively frequent call would be required to meet PREPA’s demand. Currently inefficiencies exist
in power generation in Puerto Rico. PREPA experiences increased power generation costs in northern
power plants due to inability to reliably bring LNG by ship to its proposed San Juan Harbor terminal given
the world fleet of available LNG tankers.




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San Juan Harbor is a popular cruise port and serves as a homeport location for Royal Caribbean as well as
a transit stop for many of the cruise industry’s major companies, including Royal Caribbean, Disney,
Celebrity, Norwegian, Carnival, and Crystal cruise lines.

5.3     Navigation Environment*
5.3.1 Navigation History
For details on the navigation history, please refer to section 2.3.1

5.3.2 Navigation Configuration and Dimensions
The configuration and dimensions of the Recommended Plan are detailed in the Plan Formulation Section
(Section 3). Key details of the Recommended Plan are shown in the Figure 4-1. Table 5-2 summarizes the
with-project dimensions.

                                Table 5-2: Future With-Project Dimensions
 General Navigation Feature       Depth          Width            Length

                                   (Feet)        (Feet)                (Nautical Miles)

 Bar (Entrance) Channel            56-46         800 - 950             0.91

 Anegado Channel                   44            800                   1.19

 Army Terminal Channel             44            450                   0.90

 Army Terminal Turning Basin       44            1450-Diameter

 Puerto Nuevo Channel              39            350                   0.9

 Puerto Nuevo Turning Basin        39            1000-Diameter

 Graving Dock Channel              36            350                   1.21

 Graving Dock Turning Basin        30            750-Diameter

 San Antonio Channels              36            500 - 900             1.22

 Cruise Ship Turning Basin East    36            Varies


5.3.3 Port Facilities
The port would continue improvements to the existing PREPA Terminal and berthing area and Army
Terminal Turning Basin petroleum product terminals. The port would also realize immediate benefits in
repairing, upgrading, and expanding their existing facilities.




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5.3.4 Dredged Material Management

5.3.4.1 Process and Schedule
The transfer of Federal channel dredged material from the proposed project would not significantly differ
from that for the future without-project condition (primarily comprising transfer of material for O&M
dredging) with the exception of potential beneficial use of dredged material options.

O&M and new construction dredged material would continue to be placed in the ODMDS. See Section 4.3
for material quantities and other beneficial use of dredge material placement options. The USACE will
continue evaluation of other potential beneficial uses of dredged material during the PED phase as
discussed in paragraphs 4.3.3.

5.3.4.2 Use of Upland Placement Sites
No upland dredged material management sites exist for San Juan Harbor material placement.

5.3.4.3 Use of ODMDS
The existing ODMDS has capacity for the new work material and existing and future O&M material. Use
of the San Juan ODMDS will not differ from current operations with the proposed new construction
project. See Section 4.3 for additional information on the ODMDS.

5.4     Environmental Conditions*
5.4.1 Wind and Wave Climate
Puerto Rico's wind regime is characterized by two principal factors: diurnal land and sea breezes, and
persistent 10 ms-1 northeasterly trade winds. Because of the duration and strength of these winds, the
San Juan coastline is wave dominated, subject to open ocean waves formed by the trade wind system and
to large swell formed by North Atlantic storms. Since the San Juan Harbor entrance channel is sufficiently
deep and no new construction dredging is required there, the Recommended Plan is not expected to
affect the average expected wave climate in this area nor the inner harbor.

Erosion of shorelines within San Juan Harbor is affected by a variety of external factors including tides and
sea level change, currents, vessel wakes, tropical and subtropical storms, and shoreline changes
(hardening, i.e. riprap). San Juan Harbor is transited by many vessels each year. As waves (wakes)
produced by vessels travel outward from the sides of vessels, they would contact shorelines if there is not
a long enough distance for the waves to dissipate beforehand. The size of waves created by vessel
movement is affected by the size and horsepower of the vessel, shape of vessel hull, direction of tidal
current, speed of travel, and shape of the channel.

During the NEPA scoping process, various entities wanted to understand how the project may influence
the wave climate in the harbor and potential erosion to surrounding shorelines. During high tide, waves
would impact regions higher on the shore. The period of high tide, corresponding to the period of transit
of large vessels, is therefore of interest at Cataño. This is largely attributable to the largest wakes from
vessel wakes in the harbor being associated with Panamax class vessels since they transit the harbor at
the highest speeds of all vessel classes. Time averaged energy over a day would be the same with and
without-project.

Since the and other action alternatives reduce the number of vessel calls, The instantaneous energy will
be increased for the larger ships, however with the proposed project the number of vessel calls will be



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reduced. As there is a potential for larger ship wakes due to increased horsepower, there will be overall
less calls. Once the ship wake energy is integrated over time, the future with-project scenario (larger ships,
increased horsepower, reduced number of calls) is equal to the current without-project condition (smaller
ships, smaller wake, less horsepower, no reduction in number of calls). As ships enter the harbor at the
Bar Channel the vessels have already started slowing down to make the turn from Cuts 3, 4, and 5 to Cut-
6 and Anegado Channel. At Anegado Channel cruise ships must slow down more (to almost dead slow)
to make the turn to the San Antonio Channel and a full stop at the cruise ship terminals. Commercial ships
in transit to Army Terminal Channel, Graving Dock Channel, and Puerto Nuevo Channels slow to almost
dead slow to allow harbor tugs to make up alongside in the Anegado Channel to assist with the transit to
Army Terminal Channel, Graving Dock Channel, or Puerto Nuevo Channel. At dead slow the commercial
ships produce little to no wake. Due to the need to slow down upon entering the Bar Channel for turns,
for tugs to make up alongside and assist the ships to a full stop at terminals, these ships produce little or
no vessel wakes and have almost negligible impacts on shoreline erosion. The prevailing easterly winds,
which can reach speeds of up to 25-30 knots, primarily result in producing a wave climate causing erosion
along the Cataño shoreline.

Since there are no proposed changes to the outer Bar Channel, it is not anticipated that wave propagation
will be an issue for with the Recommended Plan any more than for the existing project, nor will the
relatively small changes to the project affect the wave climate. Additionally, the economic analysis
indicates that fewer total vessels would call on San Juan Harbor in the future with-project condition
compared to the future without-project condition (No Action Alternative).

Overall, erosion of San Juan Harbor shorelines is controlled predominantly by wind waves and tidal
currents. The relative infrequency of cargo vessel wakes compared with wind waves makes them a minor
factor contributing to shoreline changes and erosion. Deepening the Federal navigation channel would
reduce the shoreline impact of vessel wakes by reducing the number of vessels and increasing the range
of tides during which vessels can transit the harbor. Therefore, the deeper alternatives have a
progressively smaller vessel wake impact on surrounding shorelines. Vessel wake impacts to shorelines
decreased with increasing depth and the future without-project condition (or No Action Alternative) had
the greatest predicted impact to surrounding shorelines in the Harbor.

5.4.2 Tides
Changes in water surface elevation between the proposed project and the future without condition are
not anticipated.

5.4.3 Currents
Some areas of the navigation channel may experience a reduction in current speed as a result of the
channel deepening and widening. However, anticipated minor changes are not expected to have a
significant impact on vessel maneuverability.

5.4.4 Relative Sea Level Change
Relative sea level (RSL) refers to local elevation of the sea with respect to land, including the lowering or
rising of land through geologic processes such as subsidence and glacial rebound. It is anticipated that the
sea level will rise within the next 100 years. To incorporate the direct and indirect physical effects of
projected future SLC on design, construction, operation, and maintenance of Federal projects, the USACE
has guidance in ER 1100-2-8162 and Engineer Technical Letter (ETL) 1100-2-1 (USACE 2013a, 2014).




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As discussed in the Engineering Appendix, relative SLC was calculated using the USACE SLC Curve
Calculator which is available at: http://www.corpsclimate.us/ccaceslcurves.cfm. This Calculator uses the
methodology described in ER 1100-2-8162, Incorporating Sea Level Changes in Civil Works Programs
(USACE 2013a) and relies on authoritative data from NOAA. ER 1100-2-8162 also provides both a
methodology and a procedure for determining a range of SLC estimates based on global sea level change
rates, the local historic sea level change rate, the construction (base) year of the project, and the design
life of the project. Three estimates are required by the guidance, a baseline estimate representing the
minimum expected SLC, an intermediate estimate, and a high estimate representing the maximum
expected SLC. ER 1100-2-8162 provides a detailed explanation of the procedure, equations employed, and
variables included to account for the eustatic change, as well as site specific uplift or subsidence to
develop corrected rates http://www.publications.usace.army.mil/.

Based on historical sea level measurements taken from NOS gauge 9755371 at San Juan, Puerto Rico, the
historic SLC rate (e+M) was determined using the SLC Curve Calculator at
http://www.corpsclimate.us/ccaceslcurves.cfm. At San Juan, Puerto Rico Gauge 9755371, the mean sea
level trend updated for 2016 is 2.08 mm/year (0.006824 feet/yr) with a 95% confidence interval of +/-
0.43 mm/year (0.00141 feet/yr) based on monthly mean sea level data from 1962 to 2016 which is
equivalent to a change of 0.68 feet in 100 years (See Engineering Appendix; Figure 1, Figure 2, Figure 3).
For this study, after having consulted with SLC experts throughout the USACE Climate Change Community
of Practice, it was decided to use the updated and most conservative value of 0.006824 +/- 0.00141 feet/yr
to determine impacts due to SLC (https://tidesandcurrents.noaa.gov/sltrends/sltrends.html). Tidal
datums and extreme water levels for Gauge 9755371 for San Juan, Puerto Rico are shown in the
Engineering Appendix – Figure 8.

The project base year, the year in which benefits are expected to begin accruing, is specified as 2026 with
a 50 year economic project life. Engineering Appendix – Tables 2 and 3 show the Relative Sea Level Change
Projections and the Estimated Relative Sea Level Change Projections from 2018 to 2118, respectively for
every five years, starting from the study completion year of 2018. Figure 6 and Figure 7 show the Relative
Sea Level Change Projections (beginning in 1992) and the Estimated Relative Sea Level Change Projections
from 2018 to 2118, respectively, for three levels of projected future sea level change during the life of the
project. It is noted that Engineering Appendix – Table 3 and Figure 7 show the relative differences in the
water level between the start and end dates for the USACE scenarios, which is calculated using Eq. 3 from
ER 1100-2-8162. This accounts for the difference in start time (2018) and 1992, the origin of the estimates.
Both the table and the graph start at zero in the project study completion year. Associating this with a
particular datum is not possible unless an assumed rate/curve is used to transfer the datums developed
for the current National Tidal Datum Epoch (NTDE) to the project start year. The SLC Curve Calculator tool
and the generated table and graph from the Calculator simply shows the change in height during the
project’s life.

Using the calculator and given that FEMA elevations are referenced to LMSL (PRV02), the 1% AEP with no
waves could impact the lower BFE at Puerta de Tierra between 2045 (high scenario) and 2090
(intermediate scenario). The time to impact will be sooner than these estimates if waves are considered.
Based on the FEMA maps, adverse impacts exist today under 1% AEP conditions and likely more frequent
events as well.

Potential impacts of rising sea levels include overtopping of waterside structures, increased shoreline
erosion, and flooding of low lying areas. A potential positive impact of rising sea levels on the project is a
reduction in required maintenance due to increased depth in the channel, but this is not quantified. In



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general, the regional SLC (baseline, intermediate, and high) scenarios did not significantly impact the
alternatives considered in this study, as the differences in the projections did not meaningfully influence
the selection of one alternative over another. While there may be small increases in tidal surge and
penetration, these would be expected for all alternatives. Given that 1) there are no associated emergent
Federal GNF which would need to be redesigned to account for SLC and greater wave loading and 2)
because a small region of San Juan Harbor infrastructure is tied to the FEMA BFE which could be impacted
between 2045 and 2090.

While there is expected to be a small increase in tidal surge and penetration for all three scenarios
(baseline, intermediate, and high), the structural aspects of the project will be either unaffected or can be
adapted to accommodate the change.

5.4.5 Geotechnical
Geotechnical investigations were conducted throughout the years for deepening projects, and
maintenance dredging. Thus, a variety of historic data that includes borings logs, and wash probe data are
available, dating back to 1972. Various historic borings reach below the recent maximum dredging depth,
and are viable to evaluate the subsurface conditions of the proposed project. However, for the
construction phase, additional investigations will be required to characterize unknown areas, as well as
to characterize materials at greater depths.

In 1990, wash probes in San Juan Harbor were performed to define top of either rock or soil materials
impenetrable at water pressures of up to 80 psi. These include: (a) 11 wash probes at 300-foot intervals
along a survey line, 750 feet off the centerline of the Bar Channel; (b) 124 wash probes at 300-foot
intervals along the Anegado, Army Terminal, Puerto Nuevo, Graving Dock, San Antonio Approach, and San
Antonio Channels; (c) 41 wash probes on a grid pattern of 300 and 600-foot intervals in both the Army
Terminal Turning Basin, and the Graving Dock Turning Basin; (d) 40 wash probes on a grid pattern of 300,
450, and 900-foot intervals northwest of, and within Anchorage Area E. In early 1991, an additional 48
wash probes were drilled at 100-foot intervals at survey lines 300 to 750 feet west off the Bar Channel’s
centerline. Drilling depths for the wash probes range from -35 to -55 feet. See Engineering Appendix–
Table 6 for summary of wash probe data.

A total of 57 borings were drilled in San Juan Harbor during 1990-91 exploration program. Eleven borings
at the southern end of the Anegado Channel were drilled at 500-foot-intervals along the side slopes of
the channel. A 2,000-foot-interval along the same side of the channel was adapted during the main boring
stage in 1991. Forty-six borings were performed during this operation.

In 1994, 37 borings were performed in San Juan Harbor. Eleven borings were drilled in the Army Terminal
Channel, 17 borings in the Bar Channel area, one boring was performed in the Graving Dock Channel, and
nine borings were drilled in the Puerto Nuevo Channel.

In 2000, 30 borings were drilled. One boring was drilled in the Anchorage Area F, and two in Anchorage
Area E. Nine were performed in the San Antonio Channel, and 17 were performed in the Cruise Ship Basins
East and West. One boring was drilled in the Puerto Nuevo Channel.

The majority of the historic core borings were drilled using a 5-foot drive sampler. More recent core
borings were obtained using the standard 140lb hammer with 30-inch drop and the Standard Penetration
Test (SPT) method. Wash probes were performed by washing through a 2-inch sampler to either project
depth or refusal (i.e. impenetrable material at pressures of up to 80 psi).



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Data used for analysis is summarized in Engineering Appendix – Tables 5 and 6 and depicted in Figures 15
through 26. Boring logs and laboratory results available are provided in Attachment B.

Materials Encountered. The majority of the core borings reveal soft clay (CL) and stiff plastic clay (CH).
Sand and gravel mixes were also encountered (i.e. SM, SC, and GC). Some hard limestone and sandstone
were also encountered. Core boring logs, wash probes, and various laboratory results, including grain size
analysis and suspended sediment-time curves are included in Engineering Appendix– Attachment B.

A summary of encountered materials expected for the various alternatives being evaluated are
summarized in Section 2.4.5 and the Engineering Appendix – Table 8. Alternatives with greatest degree of
uncertainty due to lack of boring information include the Cruise Ship Basin East deepening and widening
of the Army Terminal Channel.

Unconsolidated materials could be removed utilizing conventional dredging methods. Any soft to
moderately hard rock could be excavated with a large rock cutter head hydraulic pipeline, or a large
backhoe dredge. While hard rock has been encountered in the Harbor, it has not been field verified in
detail in areas within the tentative selected plan alternatives. Further geotechnical investigation during
the PED phase would be required to verify current assumptions.

Limestone can be found at depths varying from 40 feet to more than 100 feet Hard rock interlayered with
clays were found during the last widening of the Army Terminal Channel. For cost estimating purposes for
this deepening project, materials to be dredged are assumed to be soft clay, clay and sand, with some
occurrence or outcropping of rock. Furthermore, it is assumed that blasting would not be required due to
most rock being removed during the last deepening event, which was limited to the entrance of the
channel. However, uncertainty exists due to lack of geotechnical information. Particularly, borings along
the Army Terminal Channel and Turning Basin show the occurrence of rock. Therefore, the need for
blasting will be further evaluated during the PED phase.

Shoaling Rates
In order to assess changes to O&M resulting from proposed channel modifications, the increase in channel
shoaling was predicted as a result of increasing channel dimensions of the project features. See Plates
from the Engineering Appendix for details. The average annual shoaling rate for each navigation channel
was calculated for the time period from 1994 to 2012 using USACE dredging records. Channel dimensions
were calculated for the present-condition and were calculated for the post-project condition. Shoaling
estimates for the post-project condition were calculated by prorating the historic average annual shoaling
rate based upon the percent increase in channel volume (Engineering Appendix – Table 4).

A Sediment Trend Analysis (STA) was performed in 2002 by GeoSea Consulting (Canada) Ltd. for San Juan
Harbor (Engineering Appendix, Attachment A). The analysis delineated regions of the harbor where the
sediment transport regimes were described as: Dynamic Equilibrium, Net Accretion, Net Erosion, and
Total Deposition, which are denoted in the last column of the Engineering Appendix – Table 4. In addition,
the STA analysis detailed the different regions of the harbor and the processes that lead to the particular
transport regime.

Cut-6 in the San Juan Outer region is subject to the accreting trends into the harbor entrance that suggest
the channel is subject to infilling.

Anegado Channel, San Antonio Approach Channel, and Anchorage Area F are in the San Juan Central
region which is a transport environment that is characterized by increasing mud content as sediments are



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transported from the outside into the harbor. The trends extend from the northwest area of the Anegado
Channel to the region where the dredged channel bifurcates forming the Graving Dock and Army Terminal
Channels.

Cruise Ship Basin East, San Antonio Channel, and San Antonio Extensions are in the San Antonio Channel
region. STA analysis showed that through the San Antonio channel, there is westward transport down the
channel as it meets with the Anegado Channel. It appears likely that the trends are driven by flow out of
the Laguna del Condado, which is also accessible to sedimentation from the Atlantic. The very eastern
part of the San Antonio Channel region which includes the San Antonio Channel Extensions shows Total
Deposition behavior and is filled with fine-grained sediments (Engineering Appendix – Figure 9).

Army Terminal Channel and Army Terminal Turning Basin are in the San Juan Inner region. The sediments
in the area are generally muddy (pure mud and sandy mud). The transport regime shows that infilling
occurs into the channels from the shallow flats bounding the channels. All navigation channels in the San
Juan Inner region are in the Total Deposition regime. It is also very likely that sediment infilling the Army
Terminal Channel also comes from the bay directly south of Punta Cataño.

The total additional annual shoaling that is expected due to the Recommended Plan is approximately
15,000 cy/yr. See the Engineering Appendix for additional discussion on shoaling.

5.4.6 Water Quality
Water quality can be affected by the proposed project directly or indirectly and temporarily. Direct,
temporary effects on water quality may occur during dredging operations (project construction);
increased turbidity is primary among these effects. Long term effects are not anticipated. The USACE will
obtain a WQC in accordance with Section 401 of the CWA (33 U.S.C. §1341) and will adhere to the
conditions of this certification as a commitment of this project.

The proposed channel deepening would not increase the salinity concentrations in San Juan Harbor which
are at marine levels or higher due to evaporation. However, dredging operations are likely to have a
temporary and minor impact to water quality nearby the dredge plant. The proposed project would have
dredges operating in various areas of the channel for roughly one year.

Hopper dredges are also often associated with increased turbidity from their overflow discharges. The
suction drag arms of the hopper dredge hydraulically remove sediment from the dredged site and
discharge the material into storage hoppers on the dredge. During filling, fine sediments (primarily silt,
clays, and fine sands) are allowed to wash overboard (overflow) to maximize the load of sediment for
transport to the placement area. This overflow process is one source of turbidity plumes and
sedimentation generated by the hopper dredge. Hitchcock and Drucker (1996) summarized values for
material lost through the overflow process on a typical 4,500 ton hopper dredge operating in United
Kingdom (UK) waters. Results from this study indicate that during an average loading time of 290 minutes,
4,185 tons of dry solids are retained as cargo, while 7,973 tons of dry solids are returned overboard from
overflow. Sand sized particles fall directly to the seabed and are reduced to background levels over a
distance of 200 to 500 meters (m) and smaller silt-sized particles have a typical settling velocity of 0.1 to
1.0 millimeters per second (mm/s) and are reduced to background values of 2 to 5 milligrams per liter
(mg/l) over a similar distance. According to Neff (1981 and 1985), concentrations of 1000 mg/l
immediately after discharge decreased to 10 mg/l within 1 hour. The minimal impact of settling particles
from hopper dredge turbidity plumes was further supported by a study from Partech (1982), which found




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that the initial hopper dredge overflow concentrations of 3,500 mg/l were reduced to 500 mg/l within 50
meters.

The distance that sediment plumes may extend is dependent upon the type of dredge, how it is operated,
currents, and the nature of the sediments within the dredged area. A study performed by Newell and
Siederer (2003) in the UK (high current velocities) showed that, in most cases, coarse material up to sand-
size particles settles within 200 to 600 meters of the point source of discharge, depending on depth of
water, tidal velocity, and the velocity of flow from the discharge pipe. During hopper dredging operations
in the Baltic, Gajewski and Uscinowicz (1993) noted that the main deposition of sand from hopper dredge
overflow was confined to distances within 150 meters on each side of the dredge. This study further
supported that the initial sedimentation associated with overflow material behaves like a density current
where particles are held together by cohesion during the initial phase of the sedimentation process and
are mainly confined to a zone of a few hundred meters from the discharge chutes. According to a plume
dispersion model developed by Whiteside et al. (1995) (based on field study measurements obtained while
hopper dredging in Hong Kong waters), the contours for sediment deposition remain as a narrow band
extending for approximately 100 meters on each side of the vessel, consistent with that recorded by
Gajewski and Uscinowicz. As a component of the sedimentation associated impacts to hardbottom from
hopper dredging in adjacent sand sources offshore of Bal Harbor, Florida, Blair et al. (1990) recorded
elevated sediment levels at about 335 meters (1,100 feet) from the sand source. For the proposed project,
hopper dredging could take place in San Juan Harbor and would consist of mostly clay (Engineering
Appendix – Geotechnical).

For cutterhead suction dredges, turbidity is only generated at the seafloor by the cutterhead where
sediment suspension occurs during the process of removing sediments from the seafloor. However,
sediments are usually confined to the immediate vicinity of the cutterhead and do not reach the sea
surface (LaSalle et al. 1991). Studies performed by D. F. Hayes (1986) on a hydraulic cutterhead dredge
operating in Savannah Harbor indicated that average suspended sediment concentrations within 488
meters (1,600 feet) of the dredge were generally raised less than 200 mg/l in the lower water column and
less than 100 mg/l and 50 mg/l in the middle and upper water column, respectively.

During a past maintenance dredging project in San Juan Harbor between 3 March and 25 April 2007,
dredge compliance turbidity readings averaged 8.4 NTU while background readings averaged 5.4 NTU.
There were no exceedances of the 10 NTU Puerto Rico coastal water standard.

 A WQC was issued to the USACE for disposal of dredged material associated with the project by EQB on
January 14, 2015 (Appendix K). This WQC covers the discharge of dredged material into the Condado
lagoon artificial depressions. As discussed above a new WQC will be sought from EQB for the new dredging
areas after completion of this IFR/EA. Per the process in Puerto Rico, the FONSI with accompanying NEPA
documents will be submitted to the OGPe after signature/approval for another round of public and agency
coordination. Once the OGPe approves the project by letter, that letter and the CZMA consistency
concurrence is submitted to the EQB who will then issue the WQC.

5.4.7 Wetlands and Submerged Aquatic Vegetation
The USACE has determined that dredging operations for the proposed project would not directly affect
existing mangrove wetlands or SAV. In addition, temporary indirect effects from elevated turbidity levels
during construction are also not anticipated since these resources are greater than 150 meters from the
deepening and widening of the channel. Therefore, the proposed San Juan Harbor expansion would have
negligible effects on existing mangrove wetlands and SAV in San Juan Harbor.



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5.4.8 Hardbottom Habitat
As discussed in Section 2.4.8, hardbottom habitat is present adjacent the entrance channel and along the
north coast. The USACE has determined that dredging operations for the proposed project would not
directly affect existing hardbottom habitat. In addition, temporary indirect effects from the deepening
and widening of the channels from elevated turbidity levels during construction and dredged material
transport to the ODMDS are also not anticipated due to the distances between these resources and
construction (>150m). The May 29, 2018 Biological Opinion states that, “NMFS concludes that the
proposed action is not likely to adversely affect leatherback sea turtles, sperm, sei, blue, and fin whales,
elkhom, staghom, pillar, rough cactus, mountainous star, lobed star, and boulder star corals, scalloped
hammerhead sharks, Nassau grouper, and designated critical habitat for elkhom and staghom corals.
NMFS also concludes that the proposed action may adversely affect but is not likely to jeopardize the
continued existence of green, loggerhead, and hawksbill sea turtles.”

Indirect Impacts
Indirect impacts to hardbottom habitats near the dredging area would be due in large part to any turbidity
resulting from the dredging of material from the entrance channel and any subsequent sedimentation
that could occur. These impacts could result in sub-lethal effects (injury, decreased fecundity, etc.) on the
macroinvertebrate community. Recent USACE consultations under Section 7 of the ESA (16 U.S.C. §1536)
with the NMFS for two projects in Miami-Dade County concluded that the effects of sedimentation on the
adjacent threatened coral, Acropora cervicornis, would be insignificant since the rates of sedimentation
documented in a similar offshore dredging project were within the bounds of sedimentation documented
to occur naturally. The NMFS concluded that due to this sedimentation rate and a proposed 400-foot
buffer between the dredging area and the threatened corals, the effects on the coral would be
“insignificant” (NMFS 2009, NMFS 2011).

Adjacent the Entrance Channel (within 150 meters) there is no previously mapped hardbottom/coral reef
habitat that could experience minor temporary stress due to increased sedimentation. In fact, the closest
previously mapped hardbottom habitat (colonized pavement) is 457 meters from the closest dredge area
(Cut-6) and Acroporid coral DCH is approximately 762 meters north of Cut-6. SAJ USACE uses 150 meters
as the estimated indirect impact zone adjacent to the limits of construction dredging for evaluation
purposes. This indirect impact zone was based on a review of the results of in-water coral sedimentation
monitoring associated with the 1980-1981 Port Everglades deepening project (CSA 1981) and Key West
dredging project in 2004 (CSA 2006). In addition, in their USEPA consultation document for the ODMDS
SMMP, NMFS stated: “NMFS believes that impacts to sea turtle refuge and foraging habitat, listed corals,
and ESA-designated coral critical habitat from leakage of dredged materials from vessels in transit to the
ODMDS will be discountable (F/SER31:LC).” Therefore, indirect impacts to hardbottoms and coral reefs
from turbidity and sedimentation as a result of construction activities are not anticipated.

5.4.9 Essential Fish Habitat
The proposed project is not anticipated to adversely affect EFH including hardbottom habitat and SAV but
will adversely affect estuarine water column and softbottom habitat. Considering the abundance of
estuarine water column and soft bottom habitat within San Juan Harbor, the impact is not anticipated to
significantly adversely affect EFH or federally managed fisheries in Puerto Rico.

Effects of the proposed project include death and injury of fishes and forage during construction dredging
operations and subsequent maintenance dredging operations. Direct removal of softbottom habitats will
occur as well as indirect impacts due to temporary changes in water quality. The below list summarizes
potential effects of the proposed project on EFH and managed species:


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x   Directly affecting mortality or injury of individual fishes (adults, subadults, juveniles, larvae, and/or
    eggs, depending on species, time of year, location, etc.) due to dredge equipment during construction
    (various areas of the channel for approximately one year) and maintenance dredging (an effect
    temporary in duration). No one area would experience an extended duration of effects.
x   Indirectly affecting foraging behavior of individuals through production of turbidity at
    construction/maintenance dredging sites (an effect temporary in duration).
x   Indirectly affecting movements of individuals around/away from dredging sites due to construction
    equipment and related disturbed benthic habitats (an effect temporary in duration).
x   Indirectly affecting foraging and refuge habitats by removal of benthic habitat (i.e. softbottom) (an
    effect temporary in duration); new softbottom is created due to dredging.

These dredging related impacts would occur on a temporary scale. As noted, the effects would only be
felt in the area of dredging activity which would not be taking place at all locations at all times. Individually
or in sum, the above are not anticipated to significantly adversely affect managed species or EFH. An EFH
Assessment is incorporated into this integrated document in Sections 2 and 5 and has been coordinated
with NMFS during the public review of the Draft IFR/EA (See Section 6.8).

5.4.10.1         Other Marine/Estuarine Habitats
Dredging activities can impact benthic assemblages either directly or indirectly and may vary in nature,
intensity, and duration depending on the project, site location, and time interval between dredging
operations. Direct catastrophic impacts include physical removal or smothering by the settlement of
suspended materials (Morton 1977; Guillory 1982). Recovery in dredged sites occurs by four basic
mechanisms: remnant (undredged) materials in the sites, slumping of materials with their resident fauna
into the site, adult immigration, and larval settlement. Remnant materials, sediments missed during the
dredging operation, act as sources of “seed” populations to colonize recently removed sediments.
Suspended materials may also interfere in the feeding, respiration or reproduction of filter feeding
benthos and nekton (Sherk and Cronin 1970). Though initial loss of benthic resources are likely, quick
recovery between six months (McCauley et al. 1977; Van Dolah et al. 1979; Van Dolah et al. 1984; and
Clarke and Miller-Way 1992) to two years (Bonsdorff 1980; Ray 1997) is expected. Therefore, benthic
communities are not anticipated to be significantly affected except for the short term affect resulting from
sediment removal during project construction.

5.4.10 Protected Species
A summary of the effects determinations for threatened and endangered species as a result of the
proposed project is in Table 5-3. The USACE determined that the proposed project, “may affect, but is not
likely to adversely affect” (MANLAA) scalloped hammerhead shark, Nassau grouper, giant manta ray,
leatherback sea turtles, Antillean manatee, sperm, sei, blue, or fin whales, elkhorn, staghorn, pillar, rough
cactus, lobed star, mountainous star or boulder star corals, nor will the project adversely modify DCH for
Acroporid corals. During project construction, dredging operations “may affect” green and hawksbill sea
turtles only if a hopper dredge is used for construction. Project plans have been refined to minimize
potential effects to the extent feasible. A biological assessment evaluating these determinations was sent
to the NMFS on July 14, 2017 initiating consultation under Section 7 of the ESA and NMFS provided a final
Biological Opinion on May 29, 2018 (Section 6.7) attached in Appendix F.

5.4.10.1        Fish (Nassau Grouper, Scalloped Hammerhead Shark, and Giant Manta Ray)
Considering the overlaps of various life stages in distribution within the proposed project area and
subsequent risk of take relative to dredging operations, this section considers the impacts of the proposed



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project to scalloped hammerhead shark (SHS), Nassau grouper (NG), and Giant manta ray (GMR) together.
Potential direct and indirect impacts associated with dredging that may adversely impact these species
include entrainment and/or capture of adults, juveniles, larvae, and eggs by dredging and trawling
activities, short-term impacts to foraging and refuge habitat, water quality, and sediment quality, and
disruption of migratory pathways.

Hopper dredges have not been known to take any of these species. In addition, hopper dredges are used
within known shark, grouper, and manta ray habitat in Florida and the southeast U.S. but have not been
known to directly impact adult, juvenile, and larval SHS, NG, and GMR species through entrainment in the
draghead. Therefore, hopper dredging impacts to these species are discountable.

Impacts to SHS, NG, and GMR as a result of cutterhead and clamshell dredges have also not been
documented. Given the mobility of these species, the lack of a suction field from mechanical dredging,
and the small area of active dredging by a bucket during each load, the likelihood of mechanical dredging
practices to incidentally take SHS, NG, and the GMR is discountable.




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                                                                            Table 5-3: Summary of Effect Determination for Threatened and Endangered Species.


                                         Sea Turtles                                           Whales                                             Stony Cafals                                               Fishe s
 Proposed Activity/      ~         ~ '"                                                                                                                ~          ~                              ~              ~
   Route to Effect       ~         ~~             ==   Zc:       _                                                           c:                        'g.~                   ~        .;;      ~           -c-E                ..
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 Hydraulic Hopper
Dredge                   NE                                                 NE         NE               NE    NE       MANlAA   MANlAA   MANlAA    MANlAA        MANlAA     MANlAA   MANlAA        NE          NE              NE

Hydraulic
Cutterhead Dredge        NE       MANlAA      MANlAA    MANlAA              NE         NE               NE    NE       MANlAA   MANlAA   MANlAA    MANlAA        MANlAA     MANlAA   MANlAA        NE          NE              NE

Mechanical Dredge        NE       MANlAA      MANlAA    MANlAA              NE         NE               NE    NE       MANlAA   MANlAA   MANlAA    MANlAA        MANlAA     MANlAA   MANlAA        NE          NE              NE
Bed Leveling             NE       MANlAA      MANlAA    MANlAA              NE         NE               NE    NE       MANlAA   MANlAA   MANlAA    MANlAA        MANlAA     MANlAA   MANlAA        NE          NE              NE
Turbidity and
Sedimenta t ion                     NE           NE         NE              NE         NE               NE    NE       MANlAA   MANlAA   MANlAA    MANlAA        MANlAA     MANlAA   MANlAA        NE          NE              NE

Transportation                                                           MANlAA - MANlAA - MANlAA - MANlAA -
hopper;                  NE         NE           NE         NE           disoount a dis.counta dis.counta dis.counta     NE       NE       NE         NE           NE         NE       NE          NE          NE              NE
t ug/scow/barge                                                             ble        ble              ble   ble
Material placement                                                       MANlAA - MANlAA - MANlAA - MANlAA -
(ODMDS or                NE         NE           NE         NE           disoounta discounta discounta discounta         NE       NE       NE         NE           NE         NE       NE          NE          NE              NE
Restoration Site)                                                           ble        ble              ble   ble
                      MANlAA -                                                                                                                                                                MANlAA        MANlAA        MANlAA
                      discounta   MANlAA      MANlAA    MANlAA              NE         NE               NE    NE         NE       NE       NE         NE           NE         NE       NE     discounta discounta discounta
Trawling                 ble                                                                                                                                                                     ble       ble       ble
Dredge Lighting       MANlAA      MANlAA      MANlAA    MANlAA              NE         NE               NE    NE        NE       NE        NE         NE           NE         NE       NE          NE          NE              NE
Critical Habitat                    NE          NE                                                                     NLAM     NLAM




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5.4.10.2         Sea Turtles
Construction Related Effects
Although the overall impacts to sea turtles from dredging activities are relatively small and continues
to decrease, the USACE and the dredging industry are committed to the continued pursuit of efforts to
further reduce dredging impacts on sea turtles. Current conservation measures implemented by the
USACE to reduce impacts to sea turtles during hopper dredging operations are discussed in Section
6 of this report (Environmental Compliance). The following sections summarize specific effects from
various components of construction.

Hopper Dredging
Hopper dredges include self-propelled ocean-going vessels that hydraulically lift dredged material
from the bottom surface and deposit it into an open hopper within the ship. The draghead(s) operates
like a vacuum cleaner being dragged along the bottom. When the hopper is full, the dredge transits to
a placement location and releases the dredged material into a designated underwater placement site
by opening doors on the hopper bottom or in some cases the vessel is designed to split open
longitudinally. The impacts (lethal and many non-lethal impacts are restricted by the “take” provisions
in the ESA to sea turtles by hopper dredges was first identified as a problem in the late 1970’s and in
Puerto Rico three species of threatened or endangered sea turtles could potentially be impacted –
loggerhead, green, and hawksbill. However, Puerto Rico is currently not included in the SARBO so
hopper dredges have not been used there previously. NMFS concurs with USACE that there is a low
possibility of adverse effect to leatherbacks and the impact is discountable, but that hopper dredging
is likely to adversely affect loggerheads, greens and hawksbills.

Hydraulic Cutterhead
The potential impacts of hydraulic cutterhead dredging on sea turtles was considered by NMFS in their
1991, 1995, and 1997 SARBO, as well as the 2003 (revised in 2005) Gulf of Mexico Regional Biological
Opinion (GRBO), for USACE hopper dredging activities. Under each Biological Opinion the NMFS
determined that cutterhead pipeline dredging may affect but is not likely to adversely affect sea turtles.
In contrast to hopper dredges, pipeline dredges are relatively stationary and therefore act on only small
areas at any given time. In the 1980s, observer coverage was required by the NMFS at pipeline outflows
during several dredging projects deploying pipeline dredges along the Atlantic coast. No turtles or
turtle parts were observed in the outflow areas. Additionally, the USACE’s SAD office in Atlanta,
Georgia, charged with overseeing the work of the individual USACE Districts along the Eastern Seaboard
from North Carolina through Florida, provided documentation of hundreds of hours of informal
observation by USACE inspectors during which no takes of listed species were observed. Additional
monitoring by other agency personnel, conservation organizations or the general public has never
resulted in reports of turtle takes by pipeline dredges (NMFS 1991).

Mechanical Dredging
The impacts of mechanical dredging operations on sea turtles were previously assessed by the NMFS
(NMFS 1991; NMFS 1995; NMFS 1997; NMFS 2003) in the various versions of the SARBO and the 2003
(revised in 2005) GRBO. The 1991 SARBO states that “clamshell dredges are the least likely to adversely
affect sea turtles because they are stationary and impact very small areas at a given time. Any sea
turtle injured or killed by a clamshell dredge would have to be directly beneath the bucket. The chances
of such an occurrence are extremely low…” (NMFS 1991). NMFS also determined that “(o)f the three
major dredge types, only the hopper dredge has been implicated in the mortality of endangered and
threatened sea turtles.” This determination was repeated in the 1995 and 1997 SARBO’s (NMFS 1995




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and 1997). There has been no new information which concludes there is an increased risk of sea turtle
take by clamshell dredges since the 1991, 1995, and 1997 SARBO’s were issued by NMFS.

Dredge Turbidity Plume
Mechanical and hydraulic hopper dredges could be used throughout the project area. Turbidity may
be generated when the full bucket travels through the water column to the surface and is emptied into
an adjacent barge. However, turbidity within the open water system will quickly dissipate due to
currents, wind and wave action. In addition, turbidity will be monitored and if exceeds authorized
levels in the WQC (>7NTU above background) the activity causing the exceedance will cease until levels
return to normal background.

Dredge Lighting
The presence of artificial lighting on or within the vicinity of nesting beaches is detrimental to critical
behavioral aspects of the nesting process including nesting female emergence, nest site selection, and
the nocturnal sea-finding behavior of both hatchlings and nesting females. Though hatchlings use
directional brightness of a natural light field (celestial sources) to orient to the sea, light from artificial
sources interferes with the natural light cues resulting in misdirection (Witherington and Martin 2003).
Female sea turtles approaching nesting beaches and neonates (i.e., hatchlings) emerging from nests
and exiting their natal beaches, may be adversely affected by lighting associated with dredges and
equipment operating in the nearshore (0-3 nm) environment. For dredging vessels, appropriate
lighting is necessary to provide a safe working environment during nighttime activities on deck (i.e.
general maintenance work deck, endangered species observers, etc.). In compliance with the USACE
Safety and Health Requirements Manual (USACE 2011), a minimum luminance of 30 lm/ft2 is required
for outside work performed on board the dredge during nighttime dredge operations. In order to
reduce potential disorientation effects on female sea turtles approaching the nesting beaches and sea
turtle hatchlings making their way seaward from their natal beaches, while still adhering to minimum
luminance requirements, light emanating from offshore equipment would be minimized through
reduced wattage, shielding, lowering, and/or use of low pressure sodium lights to the extent
practicable. Shielded low-pressure sodium vapor lights have been identified by the USFWS as the best
available technology for balancing human safety and security, roadway illumination, and endangered
species protection. They provide the most energy efficient, monochromatic, long-wavelength, dark sky
friendly, environmentally sensitive light of the commercially available street lights and would be highly
recommended for all lights on the beach or on offshore equipment (Gallagher 2006).

Trawling
Although currently not a practice within Puerto Rico, modified shrimp trawling equipment and
techniques are used to capture and relocate threatened and endangered sea turtles from hopper
dredging sites to decrease the potential for entrainment of sea turtles in the drag arms. Provided
NMFS includes relocation trawling in the new SARBO, USACE may use this technique as a risk
management tool to limit takes, if necessary during future O&M projects. With respect to trawling and
sea turtle interactions, the effects of trawling during capture and handling can result in raised levels of
stress hormones. Based on past observations obtained during similar research-trawling for turtles,
these effects are expected to dissipate within a day (Stabenaua and Vietti 1999). Routinely, when a sea
turtle is captured, and before it is released, the turtle is tagged to help determine recaptures and a
tissue sample is taken for genetic analysis by NMFS scientists.

Handling of any sea turtles captured in the trawls would be limited to NMFS approved and permitted
observers who will be handling sea turtle species and adhering to the terms and conditions of any



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Biological Opinion and any potential permit conditions to ensure the safety of the turtles, it is expected
that trawling, capture, tagging and release activities would have minimal and insignificant effects on
the animals. All animals would be handled with care, kept moist, protected from temperature
extremes during sampling, and returned to the sea as quickly as possible in accordance with the sea
turtle handling criteria included in the NMFS’ Final Biological Opinion dated May 29, 2018 (Appendix
F).

Conservation Measures for the Proposed Project
The USACE will use the following conservation measures outlined below during the construction of the
proposed project (described in detail in Appendices F and G):

x   Use of a rigid draghead deflector
x   Inflow/overflow screening
x   Endangered species observers
x   Use of National Dredging Quality Management (DQM) and Operations and Dredging Endangered
    Species System (ODESS) Programs
x   Coordination with Sea turtle community of practice
Long Term Effects
Impacts to sea turtles were evaluated based upon effects of the project on food supply, habitat, and
life period. The proposed project is not likely to adversely affect benthic food supply and these effects
are expected to be temporary in nature. Even though initial loss of benthic resources is not likely, quick
recovery, between 6 months (McCauley et al. 1977; Van Dolah et al. 1979; Van Dolah et al. 1984; and
Clarke and Miller-Way 1992) to 2 years, (Bonsdorff 1980; Ray 1997) is expected. A small increase in
turbidity and some suction from dredging activities may affect some species of aquatic organisms or
vegetation that loggerheads may feed on. These sediment disturbance impacts are expected to be
minimal in nature and are not expected to have a measurable effect on water quality beyond the
frequent natural increases in sediment load.

5.4.10.3          Whales
Construction Related Effects
All five of the species of large whales being considered under this assessment, the sperm, sei, blue, fin
and humpback whale, may be present offshore San Juan Harbor and in the ODMDS. However, the
Humpback is perhaps the most likely especially during winter migrations (January-mid-March). Direct
and indirect impacts from dredging operations and dredge plants are similar for mechanical or
hydraulic type dredges.

Impacts from dredging operations have the potential to occur offshore during a dredge plant’s transit
to and from the ODMDS but such interactions are rare. The USACE expects that dredging operations
would have a minimal effect on whales. Additionally, a review of the NMFS large whale strike database
does not indicate any records of large whale vessel strikes associated with any dredging equipment in
Puerto Rico. The dredge crew and contractors will be required to abide by NMFS’s Southeast Region
Vessel Strike Avoidance Measures and Reporting for Mariners, per the ODMDS SMMP, and all dredges
will be required to have NMFS-approved endangered species observers aboard, in accordance with
the pertinent BO.

Noise generated from the dredging equipment has the potential to harm marine mammals, including
large whales. Although behavioral impacts are possible (i.e. a whale changing course to move away


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from a vessel), the number and frequency of vessels present within a given project area is small and
any behavioral impacts would be expected to be minor. Furthermore, for hopper dredging activities,
endangered species observers (ESOs) would be on board and would record all large whale sightings
and note any potential behavioral impacts.

Long Term Effects
The proposed project would have no effect on the food supply, habitat, or life period of the sperm, sei,
blue, fin or humpback whale. Since the forecasts and analysis indicate that the proposed project would
result in fewer vessel transits than the No Action Alternative, the risks related to vessel strikes would
not be expected to increase.

5.4.10.4          Antillean Manatee
The proposed project may affect, but is not likely to adversely affect the manatee. The contractor
would adhere to the standard manatee conditions during construction in order to avoid vessel strikes.
The Contractor may be held responsible for any manatee harmed, harassed, or killed as a result of
vessel collisions or construction activities. Failure of the Contractor to follow these specifications is a
violation of the ESA. The standard manatee conditions apply year-round in Puerto Rico. The Contractor
will be instructed to take the necessary precautions to avoid contact with manatees. If manatees are
sighted within 100 yards of the dredging activity, all appropriate precautions would be implemented
to insure protection of the manatee. The Contractor would stop, alter course, or maneuver as
necessary to avoid operating moving equipment (including watercraft) any closer than 100 yards of
the manatee. Operation of equipment closer than 50 feet to a manatee shall necessitate immediate
shutdown of that equipment.

In addition, the following conservation recommendations were provided by the USFWS in the Final
CAR (USFWS 2018):

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avoiding and minimizing watercraft threats to the manatees.

 (          (   use within the San Juan Bay. The Service has a project with
the Puerto Rico Manatee Conservation Center and the DNER to assess the health of manatees within
the San Juan Bay and track manatees to study movement patterns and habitat use within the San Juan
Bay.

 !       specific education campaign using existing and new alternatives and media
sources.

The USACE agrees to maintain open and cooperative communication with the USFWS regarding actions
necessary protect the manatee while constructing and operating the project within our authority.

5.4.10.5        Corals
Construction Related Effects
As stated in Section 2.4.10.6, none of the seven Caribbean listed threatened coral species have been
documented within the construction footprint or within the 150m indirect impact zone and Acroporid
DCH is also 762m from the closest dredge area (Entrance Channel Cut-6).

There are numerous published papers specific to sedimentation impacts to Caribbean coral reefs
(Rogers 1983; Rogers 1990; Dodge and Vaisnys 1977, Bak 1978). However, peer-reviewed literature



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specific to monitoring of dredging projects in Puerto Rico is very limited. USACE reviewed four
monitoring reports and two peer reviewed studies from recent projects in documented Acropora
habitat between 1980 – 2007 where sedimentation and turbidity data were collected not only at sites
adjacent to the channels or sediment sources, but also from background sites so that potential indirect
impacts associated with dredging could be detected in addition to background impacts from natural
events. The four projects that were reviewed were: (1) Port Everglades entrance channel widening and
deepening project conducted in 1980-1981; (2) Broward County Shore Protection Project conducted
in 2005; (3) Key West Harbor O&M dredging 2004-2006 and (4) Key West Harbor O&M dredging 2007
(Jordan et al. 2010; Gilliam et al. 2006; Fisher et al. 2008; CSA 2007; and CSA 1981). These projects
utilized cutterhead, hopper, and clamshell dredges (or a combination thereof) for their operations. To
further inform potential impact-reduction methods, BMPs, monitoring protocols, and mitigation
feasibility, the results from the recent Miami Harbor project will be considered during the PED phase
of the San Juan Harbor project.

From a turbidity and/or sedimentation standpoint, a hopper dredge has the highest likelihood of
adverse effect due to the overflow of water being returned from the hopper to the surrounding
environment. With this overflow, “fines” (usually clays or silts which are light enough not to have
settled out in the hopper) are returned to the water during dredging operations. The clamshell or
bucket dredge ranks second since the material may or may not be enclosed in a bucket, and if it is not
enclosed, material may escape that bucket into the surrounding environment. The dredging method
with the lowest level of associated sedimentation or turbidity is the cutterhead dredge. This dredge
has suction that removes the sediment, transports it to the surface where it is either pumped into the
receiving site, or placed in a scow for transport to a placement site. The receiving scow may or may
not involve overflow of fine-laden water (similar to the previous description of the hopper dredge).
The Key West O&M projects in 2004-2006 and 2007 utilized both a clamshell dredge and a hopper
dredge. The Broward County Shore Protection Project utilized a hopper dredge and the Port Everglades
expansion project in 1980 utilized a cutterhead dredge. Understanding which types of equipment were
utilized allows for a comparison across projects of results regarding turbidity and/or sedimentation
monitoring.

A review of these four projects found that using BMPs for turbidity and sedimentation control (e.g.
ceasing dredging when turbidity levels exceed permitted standards) are protective of the coral and
hardground environments surrounding south Florida sand sources and navigation channels. Impacts
associated with storms can have sedimentation rates in excess of 400 times those seen with a dredging
project. The following information is provided from the Key West Harbor O&M project. (CSA 2007):

“Average daily sedimentation rates at the monitoring sites fluctuated based on weather conditions
and ambient suspended sediment load in the surrounding waters. This was especially evident during
periods of winter cold-front activity during November 2005 and January 2006, with associated rough
seas and high turbidity. During these periods, average daily sedimentation rates were more than twice
as high as during the previous November and January, and up to 25 times above levels observed during
June 2004 at several sites. The passage of hurricanes during August and September of 2004 and July,
September, and October of 2005 provided the most dramatic increase in levels of sediment re-
suspension... Average daily sedimentation rates at several of the Hawk Channel seagrass sites and the
bank reef sites were up to 400 times higher than levels noted during June 2004. Following Hurricane
Dennis in July 2005, nearly every sediment trap site had at least a ten-fold increase in the average daily
sedimentation rate compared to the previous month.”



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“Site BP-41, a bank reef monitoring site adjacent to the Main Ship Channel, had an average daily
sediment deposition rate of 18 mg/cm2/day for August 2005, while in the following month when
Hurricanes Katrina and Rita impacted the area, the average daily sediment deposition rate recorded in
the traps increased to 1,219 mg/cm2/day, 67 times the previous month’s level. For Site SP-37, a
seagrass site located adjacent to the Main Ship Channel, there was an increase in average daily
sediment deposition rate during this same period from 14.4 mg/cm2/day up to 3,529.7 mg/cm2/day,
245 times the August levels.”

Additionally, Gilliam et al. 2010 and Fisher et al. 2011, found there to be no detectable impacts to
corals living on the hardgrounds adjacent to the sand sources utilized for the Broward County Shore
Protection Project. While the Key West and Broward County projects were required by regulatory
permit to maintain a lower turbidity threshold (15 NTUs), a review of the monitoring from the Port
Everglades channel widening and deepening from 1980-1981 continues this trend in showing little to
no effect of dredging operations on corals adjacent to dredging areas (CSA 1981). The Port Everglades
deepening project in 1980-1981 was not bound by any state or Federal agency issued turbidity level
that required the dredge to cease operations. USACE did monitor turbidity and sedimentation levels
throughout the dredging operations, which is most similar in nature to the dredging currently
proposed, and the final report for the Port Everglades deepening conducted states, “(d)ue to the
powerful suction ability of the dredge, only a small fraction of the dredged material entered the water
column. No significant increase in turbidity levels was detected during daily monitoring of the dredging
operations by the USACE environmental contractor” (CSA 1981).

To protect hardgrounds in project areas which could support the seven Caribbean listed threatened
coral species, the USACE requires turbidity monitoring with all of its projects. It is a standard practice
for the USACE to monitor sedimentation associated with dredging projects where corals and coral
habitats are adjacent to the project area. This has been standard practice for more than 30 years.

In a Biological Opinion (BO) for dredging associated with sand mining (Consultation #
F/SER/2009/00879), a review of effects of sedimentation associated with A. cervicornis was provided.
NMFS (2009a) stated the following:

“Additionally, Rogers (1983) tested sedimentation rates on A. cervicornis, among other coral species,
and determined that daily doses of sediment at a rate of 200 mg/cm2/day had no effect (Rogers 1990).”

Therefore, since the rates of sedimentation observed during the Key West and Port Everglades
deepening monitoring were within the bounds of sedimentation documented to be occurring
naturally, and those were far less than this 200 mg/cm2/day threshold set by Rogers (1983) cited by
NMFS (2009a), the USACE concluded that adverse effects to A. cervicornis and DCH from increased
sedimentation will be insignificant. This determination is consistent with NMFS’ previous findings in
NMFS Biological Opinions (2008c, 2011) for Acropora sp. near dredging projects. The USACE also
extrapolates this determination for the remaining six listed threatened coral species.

Dredged Material Management Impacts
Potential environmental impacts could occur as the barge is loaded if material is allowed overflow and
during transport if the barge leaks material. Operational controls eliminate spilling material during
loading by monitoring the dredge operator to make sure that the dredge bucket swings completely
over the barge prior to opening the bucket. Requiring barges in good repair with new seals minimizes
leaking during transport. Hauling rock is often damaging to transport barges, so intermediate
inspection and repairs may be required during the project to maintain the barges in good working


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condition. Seals may require replacement. It should be noted that historical documentation from
dredging projects for the last 50-years show that all scows leak to some extent. This leakage can
increase if the ratio of dredged material to water decreases, as the scow seals are designed to contain
dredged material, not water. Proper use of the ODMDS minimizes the environmental impacts during
placement. The barges will be required to use positioning equipment to place dredged material within
the designated ODMDS and inspectors may be required to monitor placement activity. The USACE’s
required monitoring of vessels in ullage and location ensure that the dredged material is being
disposed of in the approved location. The placement of dredged material is not anticipated to have an
impact on Acropora sp. corals or DCH. The ODMDS is not within the boundaries of DCH as the site is
located offshore of San Juan Harbor in water depths between 213-400 meters.

In order to reduce the chances of turbidity and sedimentation impacts to ESA-listed corals and DCH
from dredging and potential leaks from disposal vessels, the USACE will work in conjunction with the
NMFS to develop a turbidity monitoring plan. The plan will include turbidity monitoring stations
adjacent to ESA-listed corals (if any are found during the pre-construction resource surveys) and at the
edges of the DCH for elkhorn and staghorn corals near the disposal vessel transit route. The exact
number and locations of the monitoring stations will be determined and detailed in the collaborative
monitoring plan. Turbidity in these locations must not exceed 7 Nephelometric Turbidity Units (NTUs)
above background as measured at the control locations positioned 200 meters (m) upstream of the
dredge. The monitoring plan will include adaptive management measures to be implemented to
mitigate turbidity in the event that turbidity exceeds 7 NTUs above background at these locations.
Adaptive management may include measures to correct disposal vessel leakage, reducing overflow,
etc.

5.4.11 Marine Mammals
A study conducted on the effects of dredging noise on bottlenose dolphins determined that
frequencies generated from dredging activities were not unlike those generated from shipping, tourist,
and recreational boat traffic (NAVFAC 2008). Bottlenose dolphins are most sensitive to frequencies
from 4 to 20 kHz and although source frequencies generated from a dredging vessel can fall in this
range, noise effects are unlikely to acoustically mask bottlenose dolphin sound, particularly when
generated within 100 meters of a dredging vessel (Applied Ecology Solutions 2006). In addition,
dolphins are highly mobile and are likely to only be in the vicinity of dredging operations for a short
period of time. Although bottlenose dolphins are common in the study area, the USACE has never
documented a direct effect on bottlenose dolphins from dredging activities during its numerous
dredging projects throughout the United States; therefore, an Incidental Harassment Authorization in
accordance with the MMPA is not anticipated for this project. In the 2005, notice in the Federal
Register (70 FR 21174) for the issuance of an Incidental Harassment Authorization for blasting at the
Port of Miami, NMFS concluded, “(a)ccording to the Corps, bottlenose dolphins and other marine
mammals have not been documented as being directly affected by dredging activities and, therefore,
the USACE does not anticipate any incidental harassment of bottlenose dolphins. NMFS concurs.”

On the basis of (1) the predicted noise effect thresholds noted by Richardson et al. (1995) presented
in Section 2.4.16, (2) the background noise that already exists in the marine environment
(approximately 120 dB), and (3) the ability of marine mammals to move away from the immediate
noise source, noise generated by bucket, cutterhead, and hopper dredge activities would not be
expected to affect the migration, nursing/breeding, feeding/sheltering or communication of marine
mammals. Although behavioral effects are possible (i.e. a whale changing course to move away from
a vessel), the number and frequency of vessels present in a given project area would be small, and any


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behavioral impacts would be expected to be minor. The dredging operations for the proposed project
would not take place in every area of the channel at one time. While multiple dredges may be used at
any given time, they would operate at distances that allow enough space for the movement of marine
mammals and other species around the vessels. Furthermore, for hopper dredging activities,
endangered species observers would be on board and would record all large whale sightings and note
any potential behavioral impacts. In light of the factors listed, the proposed project is not expected to
result in more than minimal and temporary adverse impacts to marine life as a result of dredging and
dredge equipment noise. Based on Sections 2.4.16 and 5.4.16, it is reasonable to assume that
underwater sounds produced during the San Juan Harbor dredging project would not exceed NMFS
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Noise levels in excess of 120 dB, or the Level B Criterion for harassment, could be exceeded depending
on the type of dredging equipment used. However to date, NMFS has not made a determination that
sound generation associated with dredging operations, or any other vessel operations, will be
considered type B harassment and will require an IHA for operations. Therefore, no additional
coordination under the MMPA is anticipated for this project.

5.4.12 Birds
The USACE does not anticipate that avian species, including shorebirds, seabirds, and migratory birds,
would be adversely (directly or indirectly) affected by the proposed project. The proposed project
would cause only temporary impacts to the bird community as individuals avoid active construction
areas due to noise and general activity. Since dredging would occur in open and deep water, impacts
to the bird community are expected to be temporary and minor. In addition, placement of dredged
material within the ODMDS may displace seabirds using the site for foraging.

Shorelines used by birds within the Harbor are not expected to erode any more in the future with-
project condition (proposed project) than in the without-project-condition. However, if the USACE
conducts additional dredging of the La Esperanza Peninsula Section 1135 project footprint to correct
longshore drift problems, the removal of excess sandy material should be kept to the minimum
required to stabilize the Peninsula in order to limit bird habitat loss. Moreover, this sandy dredged
material should be beneficially used to cap construction dredged material from the Recommended
Plan placed in the artificial depressions within the Condado Lagoon (Material Placement Option 1
Beneficial Use). Capping may be necessary to prevent re-suspension of the placed construction
material which is anticipated to have a grain size less than the optimal 0.21-0.46mm (Tetra Tech 2011).
Beneficial effects to bird foraging habitat should result from the Condado Lagoon bathymetry/SAV
restoration. Finally, both harbor and coastal beaches are important nesting, foraging, and
loafing/roosting habitats for migratory birds. USACE is committed to monitoring the assumptions of
the project to ensure that additional impacts to natural resources in the harbor are not incurred.

5.4.13 Invasive Species
As mentioned in Section 2.4.13, the primary pathway for non-native species introduction is shipping.
The principal way that aquatic invasive species can enter territorial waters through shipping is by the
discharge of ballast water while vessels are in port. Ballast water is pumped into the hull of a vessel to
help stabilize the vessel and keep it upright while carrying cargo. This water can be discharged at the
receiving port as the cargo is loaded or unloaded. Each vessel may take on and discharge millions of
gallons of water. Ballast water taken on in foreign ports may include an abundance of aquatic plants,




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animals, and pathogens not native to Puerto Rico. If discharged into territorial waters, these foreign
species may become problematic.

In addition to ballast water discharge, another important source for the introduction of nonindigenous
organisms is the fouling community that grows on the hull, rudder, propellers, anchor, anchor chain,
or any other submerged structure of vessels that are not properly cleaned or maintained. Historically,
such fouling communities were composed of massive layers of a variety of organisms, both attached
and merely entrained in or living on that growth. Although such extensive growth is not as common
on seagoing vessels in recent times, it still provides an opportunity for worldwide transport of fouling
organisms, particularly on towed barges and other structures. Recent invasions by a number of coastal
invasive species offer evidence that hull fouling remains a viable pathway for non-indigenous
introductions.

Similar to the future without-project condition, Federal regulation requires the shipping industry to
employ one of the listed ballast water management practices to better control the invasive species
introduction pathway through the ballasts of vessels (33 CFR §151.1510). This regulation should
decrease the rate at which invasive species are introduced to the study area. Project economics show
that the No Action Alternative would actually result in a greater increase in the number of vessels
anticipated to call on the San Juan Harbor, thus increasing the potential for introduction of invasive
species to the project area. The proposed project would result in fewer vessels than what is anticipated
in the No Action Alternative, which should reduce the potential for the introduction of invasive species.

5.4.14 Air Quality
Dredging operations are typically powered by diesel engines. Depending on the size, type, age, and
condition of the equipment, various emissions can be expected for the duration of the operation. The
project area is compliant with Puerto Rico air quality standards. It is important to note that the
improvements for the Recommended Plan will occur in a bay that experiences nearly constant trade
winds and sea breezes.

The Recommended Plan will improve navigation of commercial vessels through the harbor without
adversely affecting air quality. There will be fewer vessel calls overall, albeit larger vessels with greater
horsepower and emission potential. A quantitative emissions analysis using EPA’s Compilation of Air
Pollutant Emission Factors: AP-42 indicates that the difference between future without-project and
future with-project in vessel emissions differs anywhere between 0% to 10%. For example, with the
assumption that all other harbor operations remain the same, the annual change in CO2 vessel
emissions in Army Terminal Channel may increase from approximately 35,500,000 pounds up to
39,400,000 pounds.

The project will also facilitate newer, larger, cleaner, and more efficient vessels to reach the port,
including larger specialized vessels containing LNG to the Army Terminal Area. The future conversion
of the Power Plants from bunker or diesel fuel oil to LNG will improve the air quality of the harbor and
also offset any additional emissions from the future commerce therein.

Air quality benefits from updating electrical power generation plant from fuel oil to LNG. The fuel oil
is the heavy phase from the petroleum distillation process, which typically contains undesirable
impurities of sulfur, metals, and some water. Fuel oil when burned releases high levels of heat ideally
for heating furnaces, boilers, and power generation. But also produces undesirable combustion
products such has ash, particle matter, sulfur compounds (SOX) and other gases from incomplete



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combustion. Some of these combustion by-products can escape from the power plant and contribute
to local air pollution problem.

The average chemical composition of the LNG is 97% methane, 1.5% ethane, 0.25% propane, and the
reminder 1.25% are inert gases. The burning of LNG is a clean combustion process, due that the gas
burns completely forming CO2 and water as emission. The drawback with gases is that they tend to
have lower energy values than liquids per unit of volume.

CH4 + O2 Æ CO2 + H2O + Energy

Versus

CXHYOZ + O2 Æ CO2 + H2O + SO2 + PMX + Ash + Energy

In comparing the use of Bunker C fuel oil versus LNG for power generation at peak value of 125,000
million BTU per day for the conversion of the two power plants, the Bunker C fuel oil requirements will
be approximately 822,368 gallons per day. The LNG requirements will be approximately 1,512,511
gallons per day, approximately double the volume LNG will be needed to reach the power generation
needs per day. The advantage is LNG is abundant, has a lower cost, and does not have the undesirable
by-product emissions.

The proposed project has been analyzed for conformity applicability pursuant to regulations
implementing Section 176(c) of the CAA. It has been determined that the activities proposed under
this proposed project would not exceed de minimis (a level of risk too small to be concerned with)
levels of direct or indirect emissions of a criteria pollutant or its precursors and are exempted by 40
CFR § 93.153. For these reasons a conformity determination is not required for this project.

5.4.15 Hazardous, Toxic, and Radioactive Waste (HTRW)
Based upon the dredging history of the San Juan Harbor Federal Navigation Channel, the project is not
expected to encounter HTRW. No HTRW would be released in the project area during or after
construction. The dredging of virgin material should not impact existing sediment conditions. There is
a potential risk reduction for fuel oil spills, due to the expected reduction in the demand of fuel oil via
the port, after the Power Plants convert from fuel oil to natural gas. Neither the channel(s) nor the
dredged material management site(s) would be affected by HTRW during dredging/placement
operations. The project would not change or affect the ability for Federal regulations, U.S. Customs,
and Port Security to continue to address the transportation of any HTRW.

5.4.16 Noise
Impacts of Dredging Noise on Marine Life
Reine et al. (2012a) found that the majority of underwater sounds produced by hydraulic cutterhead
dredging operations were of relatively low frequency (< 1000 Hz). Their study was conducted during
rock fragmentation and therefore represented a worst case scenario. The source level was estimated
to be between 170 and 175 dB re 1uPa @1m. These sound levels decreased with increasing distance
from the source. The authors determined that the area of influence was limited to less than 100 m
from the source. At 100 m received levels were less than 150 dB re 1 uPa rms. In addition, according
to Reince et al. (2012b) the most intense sounds produced by a backhoe dredge excavating rock and
gravel were associated with bottom grabs and the use of dredge spuds. Source levels for bottom grabs
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respectively. The second most intense underwater sound was associated with the raising or lowering


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of the anchoring spuds, followed by th(  Å&% (Æ (! &2355: 2 
PA@1m for raising and lowering of spuds and 172.4 dB for spud walking. Finally, Reine and Clarke
(2014) found  ( !    22 : 23 : 26-1m rms during a study of three
trailing suction hopper dredges mining 3.1 million yd3 of sand from an offshore borrow area and during
offloading of the excavated sediment at the pump-out stations in support of the Wallops Island,
Virginia Beach Stabilization Project. While NMFS is currently developing guidelines for determining
sound pressure level thresholds for fish and marine mammals, based on existing studies, the NMFS
current thresholds for determining impacts to marine mammals is between 180 and 190 dB re 1 uPa
for potential injury to cetaceans and pinnipeds respectively, and 160 dB re 1 uPa for behavioral
disturbance/harassment from an impulsive noise source, and 120 dB re 1 uPa from a continuous
source. Reine et al. (2012) found that the 120 dB re 1uPa proposed threshold was exceeded by ambient
noises in their study area. Based on reviews by Popper et al. (2006) and Southall et al. (2007) it is
unlikely that underwater sound from conventional dredging operations can cause physical injury to
fish species. Some temporary loss of hearing could occur if fishes remain in the immediate vicinity of
the dredge for lengthy durations, although the risk of this outcome is low (CEDA 2011). Fish would
likely respond to dredging by using avoidance techniques. Avoidance is defined as an effect that causes
fish to not occupy an area that is periodically or infrequently occupied. Dredging is likely to cause
avoidance due to noise (and increased suspended sediments and other temporary water quality
changes).

NMFS interim criterion for physical injury to fish is 206 dB peak, regardless of fish size. However,
dredging operations would likely cause the temporary displacement of fish species as a behavioral
response to the noise. This would not likely have an effect on populations of fish as they would be able
to use areas outside of the navigation channel to traverse to and from spawning and feeding grounds.

The sediment within San Juan Harbor is predominantly sand/silt/mud mixture, with the exception of
soft rock in portions of the entrance channel. Therefore, based on the above studies, it is reasonable
to assume that underwater sounds produced during the San Juan Harbor dredging project would not
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operations. Noise levels in excess of 120 dB, or the Level B Criterion for behavioral harassment, could
be exceeded depending on the type of dredging equipment used. However to date, NMFS has not
made a determination that sound generation associated with dredging operations, or any other vessel
operations, will be considered type B harassment and will require an IHA for operations. It is not clear
how noise associated with one class of vessels (dredges) can be separated from all others in an active
harbor. Other classes of vessels (large cargo vessels, oil tankers, bulk vessels, and cruise ships) generate
similar noise profiles and have not been singled out for potential impacts to marine mammals under
the MMPA.

Impact of Dredging Noise on the Human Environment
Maintenance dredging and periodic new work dredging has occurred in San Juan Harbor for over 100
years. For continued O&M dredging, the dredging equipment is usually present in the Harbor on a
five year frequency and that frequency is not expected to change with the proposed project. There
would be a temporary increase in the ambient noise level during the dredging phase of the project.
The dredging would be within 150m of sensitive receptors along the Army Terminal Channel and San
Antonio Channel. However, since dredging does not occur in one position for any extended period of
time, there will be no disproportionate adverse impact on any communities. Noise generated by this
project would not be substantially different from other ambient noise levels of a typical harbor.


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Impact of Underwater Noise from Vessel Traffic
Most vessels produce low frequency sound (below 1 kHz) from onboard machinery, hydrodynamic
flow around the hull, and from propeller cavitations. This frequency relates to vessel size, speed, load,
condition, age, and engine type. Low frequency sound can travel hundreds of miles and can increase
ambient noise in large areas of the ocean. Additionally, Okeanos (2008) showed that shipping noise
does not exceed 100 dB. The economic assessment from this project has determined that the number
of vessels transiting in and out of San Juan Harbor would decrease as a result of the proposed project
and that fewer larger vessels would call on the Harbor in the future with-project condition. With a
deeper channel, the larger vessels can fully load their cargo. Without the project, a greater number of
vessels would be required to deliver the same amount of petroleum products, which would have a
greater impact on marine noise. As a result of this, no adverse impact is anticipated from underwater
noise resulting from vessel activity as a result of deepening the Harbor.

Indirect Impact of Noise from Port Operations as a Result of Deepening the Harbor
Noise from ports can come from port services and facilities, cranes, cargo handling equipment,
warehousing, vessel repair or maintenance, engine noise from vessels at berth. The proposed project
would not cause an increase in the quantity of petroleum products or containers anticipated to arrive
in the San Juan Harbor. Therefore, there would be no increase in the amount of truck traffic from the
various port terminals. The only change would be in the timing of vessel unloading and petroleum
product or container movements. In light of these factors, the proposed Harbor deepening is not
expected to result in adverse noise impacts as a result of port operations.

5.4.17 Coastal Barrier Resources
The proposed project would not affect the three CBRS Units located near San Juan Harbor, PR-87 Punta
Vacia Talega and PR-87P Punta Vacia Talega OPA approximately 13-19 km east and PR-86P Punta
Salinas OPA approximately 6 km west (Figure 2-7).

5.4.18 Cultural and Historic Resources
Analysis of potential impacts to historic and cultural resources considered both direct and indirect
effects (see Section 2.4.18). Direct effects may result from physically altering, damaging, or destroying
all or part of a historic or cultural property, or changing the character of physical features within the
property's setting that contribute to its historic significance. An effects analysis focuses on the
characteristics of a historic property that qualify it for inclusion in the National Register, and assesses
the potential to alter historically significant characteristics and diminish the integrity of a historic
property. There may also be cultural resources of value which are not eligible for inclusion in the
National Register. The APE for direct affects was defined as being within and adjacent to the Federal
navigation channel where widening and deepening measures are proposed. Indirect effects are
reasonably foreseeable effects caused by an undertaking that may occur later in time, be farther
removed in distance or be cumulative. In the case of harbor deepening, indirect effects would include
those that may occur as a result of a change in the wave action or currents in the vicinity of the resource
due to dredging and construction, as well as a result of wakes from the number and size of vessels
entering the Harbor. The APE for indirect affects is defined as shorelines of San Juan Harbor and
adjacent properties within the viewshed of San Juan Harbor.

A background investigation and cultural resources remote sensing survey of the San Juan Harbor
channel APE was conducted for the proposed project in consultation with the Puerto Rico SHPO and
the Instituto de Cultura Puertorriqueña. While background research revealed numerous shipwrecks
within the project vicinity, no previously identified cultural resources were located within the APE.


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SEARCH, Inc. (SEARCH) conducted a remote sensing survey of the San Juan Harbor between June 1-6,
2017. The survey included a magnetometer, side-scan sonar, and sub-bottom profiler investigation to
locate previously unidentified cultural resources. Results of the remote-sensing survey did not identify
any potentially significant anomalies in 10 of the 11 areas surveyed. The 10 areas cleared for
potentially significant submerged cultural resources include Anegado Channel, San Antonio Channel,
Anchorage Area E, Graving Dock Channel and Turning Basin, Puerto Nuevo Channel and Turning Basin,
Army Terminal Channel and Turning Basin, and Anchorage Area F. While a number of magnetic
anomalies were documented within these areas, previous navigational/channel improvements
(primarily dredging) have likely impacted or removed potentially significant submerged cultural
resources from within these areas. No further cultural resources investigations are recommended
within these eight areas.

The only potentially significant cultural resources identified within the APE were located within the
Anchorage Area F USCG Expansion. Four clustered anomalies (comprised of 18 individual magnetic
anomalies) and one individual anomaly (CA-21M) were identified that may represent potentially
significant submerged cultural resources. These anomalies are recommended for avoidance or
additional investigations in the form of diver identification to determine significance and eligibility for
listing in the NRHP. However, proposed deepening and widening measures within the Anchorage Area
F Expansion Area are not included in the Recommended Plan and the Anchorage Area F Expansion Area
will not be dredged or otherwise maintained as a part of the San Juan Harbor Improvement Study.
Anchorage Area F expansion by the USCG is considered a FWOP condition for this study and is no way
incorporated into the benefits of the Recommended Plan

Historic resources along the shoreline of the San Juan Harbor are currently protected from wave
energy in the harbor by revetments. However, during the NEPA scoping process, various entities
wanted to understand how the project may influence the wave climate in the Harbor and potential
erosion to surrounding shorelines. Therefore, these historic resources are included in the APE. Erosion
of San Juan Harbor shorelines is controlled predominantly by wind waves and tidal currents. The
relative infrequency of cargo vessel wakes compared with wind waves makes them a minor factor
contributing to shoreline changes and erosion. Deepening the Federal navigation channel would
reduce the shoreline impact of vessel wakes by reducing the number of vessels and increasing the
range of tides during which vessels can transit the harbor. Therefore, the deeper alternatives have a
progressively smaller vessel wake impact on surrounding shorelines. Because of this, it has been
determined that all of the deepening alternatives would generally result in lower impacts to shorelines
and existing protective revetments. Therefore, no adverse impacts to historic properties, including
Castillo de San Felipe del Morro, are anticipated.

Economic analysis also indicates that fewer total vessels would call on San Juan Harbor under the with-
project conditions compared to the future without-project condition/No Action Alternative. Since
fewer vessels would be calling on the port with the proposed project, there would be no effect on the
viewshed of historic properties, including Old San Juan Historic District. None of the project
alternatives would result in a change in the existing use of San Juan Harbor, which is an historic seaport
and would continue to remain so. Commercial and recreational vessel traffic patterns, shoreline land
uses, and natural resources that define the aesthetic (including noise and visual) characteristics of the
harbor would remain subject to the traffic and use trends that would govern the with and without-
project future conditions. Accordingly, the historic resources in or nearby the APE would not be
adversely affected by any of the project alternatives.



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Based on the results of the submerged cultural resources survey of San Juan Harbor and historic
property viewshed and wake analysis, the USACE has determined that the Recommended Plan for the
San Juan Harbor Improvement Study poses no effect to historic properties listed or eligible for listing
in the NRHP. Consultation with the Puerto Rico SHPO and the National Park Service (NPS) was initiated
in letters dated November 7, 2016. Consultation with the Instituto de Cultura Puertorriqueña was
initiated via phone and email on May 3, 2017. The Puerto Rico SHPO concurred with the determination
of no historic properties affected by letter dated December 5, 2017.

5.4.19 Aesthetics and Recreation
The proposed project would not change the aesthetic resources of San Juan Harbor, nor the numerous
recreational opportunities. Although the definition of aesthetics is fluid (see Section 2.4.22), for the
purposes of the present evaluation, the principal aesthetic “targets” include the visual perception of
San Juan Harbor’s land- and seascapes, historic features, and certain architecture. The degree to which
any adverse feature affects aesthetics is frequently based on scale, position, and proximity relative to
the viewer. Commercial and recreational vessel traffic patterns, shoreline land uses, and natural
resources that define the aesthetic characteristics of the area would not be adversely affected. The
economic analysis for this project determined that fewer vessels would call on the port with the
proposed project. This would reduce the number of vessels visible within the harbor, as well as the
many parks, cultural resource sites, and natural resource areas in and around the Harbor. Additionally,
if the beneficial use project of placing dredged material in Condado Lagoon becomes a viable option,
the resource(s) would experience a temporary impact to recreational activities due to placement of
material to fill artificial depressions (to encourage sea grass restoration) and a temporary reduction in
the aesthetic appeal of Condado Lagoon during construction.

As a public safety measure, boating would be prohibited near the operating construction equipment
(and sediment placement locations). Recreational access to these areas would return to pre-
construction conditions following completion of the project. Although short-term impacts could occur,
no long-term adverse effects are anticipated. Commercial shipping would continue in the Federal
navigation channel. Information would be provided to the USCG so they could issue a “Notice to
Mariners” prior to initiation of construction and for each major change in the construction activities.
This would alert public boaters of areas to avoid and the possibility of limited and restricted access. No
significant adverse impacts to public safety are expected from the proposed project.

5.4.20 Socioeconomics
The USACE collected and analyzed information to consider the potential impacts of the proposed
action on minority and low-income populations, the elderly, and children. The information and
analyses presented below demonstrates that the proposed action complies with Executive Orders
12898 and 13045 and would not cause disproportionately high and adverse impacts to minority
populations, low-income populations, and sensitive populations such as the elderly, or children.

Many of the port terminals accessible from the Federal navigation channel are along the San Juan
Peninsula. Possible factors that could impact EJ communities include those resulting directly from the
construction of the project and the secondary effects that could occur as a result of the navigation
channel improvements. These factors include, but are not limited to the following:




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    x   Construction-related impacts
            o Construction equipment through neighborhoods
            o Noise from construction
            o Air emissions from construction
            o Affects to subsistence fishermen
            o Increasing exposure to contaminants
            o Decreasing water quality
            o Effects from sediment transport and placement
    x   Possible impacts resulting from navigation improvements
            o Changing terminal infrastructure
            o Increased truck traffic resulting from an increase in cargo
            o Increased emissions resulting from an increase in cargo and subsequent effects
            o Increasing exposure to contaminants
            o Decreasing water quality
            o Effects from sediment transport and placement
            o Effects to subsistence fishing
See the Economics Appendix for additional details on the EJ analysis.


Construction-Related Impacts
The Recommended Plan consists almost entirely of the deepening and widening of existing navigation
channels and berthing and maneuvering areas used by petroleum product vessels. As such, the
construction and operational activities are almost entirely limited to the existing water-based
navigation system. The construction and operational work areas are located far from residential
communities, schools, and hospitals; therefore, impacts from noise, air, and other inconveniences
would not significantly impact identified communities. Compared to most large land-based projects,
there is little potential for direct adverse impacts to minority populations, low-income populations,
the elderly, or children. As indicated in previous sections of this document, during construction there
would be temporary and minor impacts resulting from increase turbidity (decreased water quality)
from dredges in and around the construction zone. These impacts would be most strongly noticed at
the site of the construction and would dissipate away from the dredge depending on the tidal
direction. Since the dredge will not be operating in one area for more than a few days, these impacts
will be temporary and minor and will not disproportionately impact low-income, minority, juvenile, or
elderly populations. Additionally, the potential exists for subsistence fishing within the harbor;
however these practices will not be significantly impacted by the proposed project due to the impacts
being temporary and minor in nature. No significant impacts to fish populations are expected to result
from the construction of the project. Lastly, since the placement of sediments will occur at the ODMDS,
there will be no affects to any EJ communities from the placement of dredged material from this
project. In summary, there will be no disproportionately high and adverse impact on low-income,
minority, juvenile, or elderly populations resulting from the construction of the project.




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Impacts Resulting from Navigation Improvements
As reported in the Economics Appendix, the proposed harbor deepening would not increase the
amount of commodities moving through the port in a given year. Since the population is not
anticipated to grow, based on recent trends, the amount of commodities moving through the port is
not expected to increase in the without-project condition independent of a harbor deepening project.
Federal participation in the proposed action is justified by efficiencies that would result from the use
of a smaller number of vessels loading deeper and more efficiently to bring to the same quantity of
goods to San Juan. Those efficiencies are expected to provide up $4.3M per year in transportation cost
savings. No change in the amount of cargo moved through the port would result from the harbor
widening or deepening, with the exception of LNG (which increases) and diesel fuel (which decreases)
to the PREPA in an industrial area outside the EJ communities. Instead the project would simply
increase the efficiency related to the transportation of the existing and projected cargo volumes. As a
result, the project would not affect the number of containers that move through the areas and EJ
communities that surround the port. With the proposed harbor widening and deepening project, the
total number of vessels needed to transport the forecasted cargo volumes would decrease, compared
to the without-project conditions, as individual vessels would be able to load more cargo with a deeper
navigation channel. Regardless, vessel related noise and vessel traffic within the navigation channels
have little noticeable landside impacts away from industrial facilities.

Effects from changing landside cargo handling practices, and specifically effects to regional and local
air quality was a concern generated during the public review of the Draft IFR/EA. Since large vessel
access to the port terminals will not be restricted, some of the non-monetary benefits of the proposed
action include reduced and less concentrated air emissions, noise, and vessel traffic. Additionally, since
the amount of commodities per year is not predicted to increase as a result of deepening, no landside
increases in emissions would occur as a result of the deepening. Under the with-project condition, the
USACE predicts a reduction in the number of vessels used to transport petroleum products each year.
As a result, total air emissions within the harbor and at each terminal would decrease in a given year
as a result of harbor widening and deepening. Additionally, since there would be an overall decrease
in emissions (including air toxics), no NAAQS violations would result from the proposed project.
Therefore, a risk-based assessment of the health effects associated with the proposed action is not
warranted. Any adverse effects resulting from the presently permitted air emissions would be reduced
if the harbor is deepened because of the reduction in the number of vessels as well as a shift to more
modern and more efficient vessels. Additionally, when compared to the without-project conditions,
the proposed project would have positive impacts resulting from reduced and less concentrated air
emissions. Construction of the proposed project would not induce additional growth, including
additional traffic, noise, or lighting. Considering all effects to air quality together, the proposed action
would benefit the general area and minority populations, low-income populations, the elderly, and
children by lowering emissions, increasing flexibility and operational efficiency and allowing newer,
larger, and more modern vessels to replace older, smaller and less efficient vessels.

Schools/childcare facilities and hospitals are dispersed throughout the area. The data indicates that
while some communities within this area meet environmental justice criteria, there is a diversity of
communities situated within the area immediately surrounding or adjacent to the channels to be
deepened. In summary, there would be no disproportionately high and adverse impact on low-income,
minority, juvenile, or elderly populations resulting from any secondary changes from the navigation
improvements of the proposed project.




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Summary of Project Effects on Environmental Justice Populations and Children
As discussed above, construction of the proposed project and changes resulting from the navigation
improvements would not have a disproportionately high and adverse impact on low-income, minority,
juvenile, or elderly populations. The proposed project would not (a) exclude persons from participation
in, (b) deny persons the benefits of, or (c) subject persons to discrimination because of their race, color,
or national origin, nor would the proposed action adversely impact "subsistence consumption of fish
and wildlife." See the Economics Appendix for additional details on the EJ analysis.

Public Engagement during Construction
An important component of any project is informing the public at all stages of the project (i.e.,
planning, design, construction, and maintenance). USACE engaged in public outreach efforts through
the media and public information meetings during the feasibility phase (planning phase). USACE will
provide a contact information link on the public website for anyone with concerns about, or related
to, the project. Depending on the level of local interest, these plans may be modified in the future.

Irreversible and Irretrievable Commitment of Resources
Section 102(2)(C)(ii) of NEPA (42 U.S.C. §4332(2)(C)(ii)) requires that an environmental assessment
include information on any adverse environmental effects that cannot be avoided, should the
proposed action be implemented. An irreversible commitment of resources is one in which the ability
to use a resource is lost forever. An irretrievable commitment of resources means that opportunities
for other uses are foregone for the period of the proposed action. Typically, it refers to the use of
renewable resources, including human effort, and to other utilization opportunities foregone in favor
of the proposed action. In the case of San Juan Harbor, examples of such resources include the fossil
fuels that would be required to run the equipment to construct the project and the loss of biological
resources (entrained fish, invertebrates, other aquatic life, including but not limited to threatened and
endangered species) that could be incurred during construction. The loss of biological resources during
construction would be mainly confined to the immediate construction area (i.e., the navigation
channel and adjacent wideners). This impact is not generally irreversible or irretrievable because
recovery of the benthic community will occur after construction. The removal of sediment from the
channel and placement in the ODMDS will irreversibly commit those sediment resources. An
irretrievable commitment of resources stems from the use of fossil fuels, equipment, man-power, etc.
that will be incurred during construction.

5.4.21 Summary of Cumulative Impacts
NEPA, as implemented by Council on Environmental Quality (CEQ) regulations (40 CFR §§ 1500 -1508),
requires Federal agencies, including the USACE, to consider cumulative impacts in rendering a decision
on a Federal action under its jurisdiction. According to 40 CFR § 1508.7, a cumulative impact is the
impact on the environment that results from the incremental impact of the proposed project when
added to other past, present, and reasonably foreseeable future actions regardless of the agency
(Federal or non-Federal) or person that undertakes such other actions; cumulative impacts can result
from individually minor but collectively significant actions taking place over a period of time. An
inherent part of the cumulative impacts analysis is the uncertainty surrounding actions that have not
yet been fully developed. The regulations provide for the inclusion of uncertainties in the Final IFR/EA
analysis, and state, “When an agency is evaluating reasonably foreseeable significant adverse effects
on the human environment in an Environmental Impact Statement and there is incomplete or
unavailable information, the agency shall always make clear that such information is lacking” (40 CFR
Part 1502.22). However, the CEQ has also recognized that "the complexities of cumulative effects
problems ensures that even rigorous analyses will contain substantial uncertainties about predicted


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environmental consequences" (Considering Cumulative Effects Under the National Environmental
Policy Act, CEQ 1997).

Potential cumulative impacts on many resources were considered as part of this study and the majority
of these resources were determined to have little risk of being cumulatively impacted. These included
land use, terrestrial natural resources, threatened or endangered species, other fish and wildlife,
managed fishes, the estuarine water column, certain water quality parameters (turbidity and
hazardous and toxic constituents), sediments (hazardous and toxic constituents), coastal barrier
resources, harbor shorelines (of properties adjacent to the project), dredged material, air quality,
noise, aesthetics, cultural and historic resources, native American resources, environmental justice,
and recreation.

U.S. Coast Guard Related Actions
Relocation of Aids to Navigation (ATONs). The USCG San Juan Sector plans to move buoys G5, G7, and
G9 (Figure 3-3) to areas of existing deep water east of the Federal channel limits, which allows widening
of the Entrance Channel reaches from Cuts 4 – 6 without deepening as a non-structural measure.
Another non-structural measure involves the USCG relocation of buoy R2 and G3 to allow use of
existing wideners (Figure 3-4). No negative cumulative impacts are anticipated from this related action
since benthic surveys and precautions are required per permit conditions prior to ATON relocation.

Anchorage F expansion: Although not part of the Recommended Plan, in order to obtain permits to
construct their proposed anchorage area expansion the USCG will conduct an additional
environmental analysis. Regarding the proposed expansion’s potential impacts to hardbottom and SAV
habitats. The USACE expects that the proportion of benthic habitat that would be affected by the USCG
anchorage expansion dredging is very small relative to the hardbottoms and SAV available in the
region, including natural fringing coral reefs along the north coast and SAV beds throughout San Juan
Bay. Therefore, the potential contribution of the expansion of Anchorage F to cumulative effects on
hardbottoms and SAV is anticipated to be minimal.

The USACE has determined that the net contribution to cumulative adverse impacts due to the
proposed project and the overall cumulative adverse impact will be appropriately minimized based on
(1) efforts to avoid and minimize the environmental impact of the proposed action, and (2) Federal
and State permitting requirements that will be required for any ongoing present and/or potential
future actions.




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6.0     ENVIRONMENTAL COMPLIANCE AND COMMITMENTS*
Compliance with the following environmental laws (and implementing regulations) and Executive
Orders is required for all alternative channel deepening plans under consideration (Note: this is not
necessarily an exhaustive list of all applicable environmental requirements).

6.1     Table of Compliance
 Relationship of the Proposed Action to Applicable Federal Laws and Policies
 Public Laws
 Title of Public Law                                    U.S. Code                   Compliance Status
 Abandoned Shipwreck Act of 1987                        43 U.S.C. §§2101-2106       Full Compliance
 Anadromous Fish Conservation Act of 1965, as           16 U.S.C. §757a et. seq.    Full Compliance
 amended
 Bald Eagle Act of 1972                                 16 U.S.C. §§668-668d        Full Compliance
 Clean Air Act of 1972, as amended                      42 U.S.C. Chapter 85        Full Compliance
 Clean Water Act of 1971, as amended                    33 U.S.C. §1251 et. seq.    Full Compliance
 Coastal Barrier Resources Act of 1982                  16 U.S.C. §3501-3510        Full Compliance
 Coastal Zone Management Act of 1972, as amended        16 U.S.C. §1451 et seq.     Full Compliance
 Deepwater Port Act of 1974, as amended                 33 U.S.C. §1501 et. seq.    Full Compliance
 Endangered Species Act of 1973                         16 U.S.C. §1531 et. seq.    Full Compliance
 Estuary Program Act of 1968                            16 U.S.C. §1221 et. seq.    Full Compliance
 Federal Insecticide, Fungicide, and Rodenticide Act    7 U.S.C. §136 et. seq.      Full Compliance
 Fish and Wildlife Coordination Act of 1958, as         16 U.S.C. §§661-665;        Full Compliance
 amended                                                665a; 666; 666a-666c
 Flood Control Act of 1944, as amended, Section 4       P.L. 78–534                 Full Compliance
 Magnuson-Stevens Fishery Conservation and              16 U.S.C. §1801 et. seq.    Full Compliance
 Management Act
 Marine Mammal Protection Act of 1972, as               16 U.S.C. §1361 et. seq.    Full Compliance
 amended
 Marine Protection, Research and Sanctuaries Act of     33 U.S.C. §1401 et. seq.    Full Compliance
 1972
 Migratory Bird Conservation Act of 1928, as            16 U.S.C. §715              Full Compliance
 Amended
 Migratory Bird Treaty Act of 1918, as amended          16 U.S.C. §§703-712         Full Compliance
 National Environmental Policy Act of 1969, as          42 U.S.C. §4321 et. seq.    Full Compliance
 amended
 National Historic Preservation Act of 1966, as         54 U.S.C. §300101 et.       Full Compliance
 amended                                                seq.
 Noise Control Act of 1972, as amended                  42 U.S.C. §4901 et. seq.    Full Compliance
 River and Harbor Act of 1888, Sect 11 (as codified)    33 U.S.C. §608              Full Compliance
 River and Harbor Act of 1899, Sections 9, 10, 13       33 U.S.C. §§401, 403, and   Full Compliance
                                                        407
 River and Harbor and Flood Control Act of 1962,        PL 87-874                   Full Compliance
 Section 207




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 River and Harbor and Flood Control Act of 1970,        PL 91-611; see generally     Full Compliance
 Sections 122, 209, and 216                             33 U.S.C. §701 et. seq.
 Safe Drinking Water Act                                42 U.S.C. §§300f-300j        Full Compliance
 Merchant Marine Act                                    46 U.S.C. §861 et. seq.      Full Compliance
 Submerged Lands Act of 1953                            43 U.S.C. §1301 et. seq.     Full Compliance
 Executive Orders
 Title of Executive Order                               Executive Order Number       Compliance Status
 Protection and Enhancement of Environmental            11514/11991                  Full Compliance
 Quality
 Protection and Enhancement of the Cultural             11593                        Full Compliance
 Environment
 Floodplain Management                                  11988                        Full Compliance
 Protection of Wetlands                                 11990                        Full Compliance
 Federal Compliance with Pollution Control Standards    12088                        Full Compliance
 Offshore Oil Spill Pollution                           12123                        Full Compliance
 Procurement Requirements and Policies for Federal      12843                        Full Compliance
 Agencies for Ozone-Depleting Substances
 Federal Compliance with Right-To-Know Laws and         12856                        Full Compliance
 Pollution Prevention
 Federal Actions to Address Environmental Justice       12898                        Full Compliance
 and Minority and Low-Income Populations
 Federal Acquisition and Community Right-To-Know        12969                        Full Compliance
 Protection of Children from Environmental Health       13045                        Full Compliance
 Risks and Safety Risks
 Invasive Species                                       13112                        Full Compliance
 Responsibilities of Federal Agencies to Protect        13186                        Full Compliance
 Migratory Birds
 Executive Order Facilitation of Cooperative            13352                        Full Compliance
 Conservation

6.2 National Environmental Policy Act of 1969 (NEPA), as amended,
42 U.S.C. §4321 et. seq.
NEPA requires that all Federal agencies use a systematic, interdisciplinary approach to protect the
human environment. This approach promotes the integrated use of natural and social sciences in
planning and decision-making that could have an impact on the environment. NEPA requires the
preparation of an environmental assessment (EA) for any major Federal action that does not
significantly affect the quality of the human environment. NEPA regulations issued by CEQ provide for
a scoping process to identify and the scope and significance of environmental issues associated with a
project. The process identifies and eliminates from further detailed study issues that are not
significant. As previously stated, the USACE used this process to comply with NEPA and focused this
IFR/EA on the issues most significant to the environment and the decision making process.

The Draft IFR/EA was released for a 45 day public review period from August 2017 to September 2017.
All comments/edits have been addressed in the development of this Final IFR/EA, and responses to
the comments are included in Correspondence Appendix. This Final IFR/EA, including all appendices



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and supporting studies, fulfills all requirements of NEPA for the San Juan Harbor Navigation
Improvements Feasibility Study and is in full compliance with the NEPA.

6.3     Clean Water Act
The January 14, 2015 (Appendix K) WQC covers the discharge of dredged material into the Condado
Lagoon artificial depressions. A new WQC will be sought from the EQB for the new dredging areas after
completion of this IFR/EA. Per the process of obtaining a WQC in Puerto Rico, the FONSI with
accompanying NEPA documents will be submitted to the OGPe after signature/approval for another
round of public and agency coordination. Once the OGPe approves the project by letter, that letter
and the CZMA consistency concurrence is submitted to the EQB who will then issue the WQC. All
Commonwealth water quality standards would then be met.

6.3.1 Wetlands
CWA Section 404 and implementing USACE regulations at 33 C.F.R. §320.4(b) requires the USACE to
avoid, minimize, and mitigate impacts to wetlands. No effects to adjacent mangrove wetlands are
anticipated as a result of the Recommended Plan.

6.3.2 Section 404 (b)(1) Guidelines
All of the harbor deepening alternatives considered involved discharges of dredged and fill material
into waters of the U.S. All sites designated to receive dredged or fill material, excluding those sites
governed solely by separate authorization criteria (the ODMDS site covered under Section 103 of the
MPRSA), have been evaluated using the CWA Section 404 (b)(1) Guidelines and found to be in
compliance with the requirements of these guidelines. The Section 404 (b)(1) Evaluation can be found
in Appendix I.

6.4 Federal Coastal Zone Management Act (CZMA), 16 U.S.C. §1451 et.
seq.
This Act requires each Federal agency activity performed within or outside the coastal zone (including
development projects) that affects land or water use, or natural resources of the coastal zone to be
carried out in a manner which is consistent to the maximum extent practicable, i.e. fully consistent,
with the enforceable policies of approved state management programs unless full consistency is
prohibited by existing law applicable to the Federal agency.

To implement the CZMA and to establish procedures for compliance with its Federal consistency
provisions, NOAA promulgated regulations which are contained in 15 C.F.R. Part 930. As per 15 CFR
§930.37, a Federal agency may use its NEPA documents as a vehicle for its consistency determination.
The Puerto Rico Planning Board concurred with USACE’s Federal consistency determination via letter
dated January 4, 2018 (See Appendix H).

6.5     Clean Air Act (CAA), 42U.S.C. §7401 et. seq.
All harbor deepening alternatives would be in compliance with the CAA. An Air Emission analysis is
provided as part of this IFR/EA. The analysis determined that air emissions from port operations would
be less if the harbor is deepened when compared to the No Action Alternative. The study area is in an
attainment area for all air quality criteria and the proposed project will not cause the study area to go
out of attainment.



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6.6     U.S. Fish and Wildlife Coordination Act, 16 U.S.C. §§661-666(c)
Coordination with the USFWS began in late 2015 and a scope of work for the Coordination Act Report
(CAR) was signed by USACE and USFWS on December 7, 2015. The USFWS provided a Draft CAR in May
2017 which was included in Appendix G of the Draft IFR/EA. The Final CAR was received June 21, 2018.
The USFWS continues to support Condado lagoon restoration using construction dredged material.
The project is in full compliance with this Act. The recommendations from the Final CAR are included
and discussed below.

1. Engineering details regarding construction techniques, disposed material quality and quantities, and
possible impacts from induced wake-erosion and potential of channel slumping should be provided to
the Service and other natural resource agencies in a timely manner to ensure conservation measures
can be fully developed and incorporated into the project design.

District Response: Comment noted the Corps will continue to coordinate project details including
plans and specifications and adaptive management in PED.

2. The Service recommends that completion of the previously authorized mitigation associated with
past dredging activities should be pursued immediately in conjunction with any future
construction/maintenance activities. The mitigation debt regarding previous COE dredging action in
San Juan Bay needs to be calculated into the current Project cost/benefit analysis.

District Response: The Corps will incorporate the Condado mitigation into future contracts for this
project as practicable. However, since the mitigation was previously authorized and permitted, it is not
appropriate to add these costs into the IFR/EA for new harbor improvement measures.

3. The Service recommends that mitigation be implemented at the Condado Lagoon Depressions and
that the mitigation is implemented concurrent with project construction.

District Response: The Corps is exploring options to implement the mitigation through beneficial use
of construction dredged material to completely restore Condado lagoon which is discussed in detail in
IFR/EA Sections 4.3.3, 5.3.4.1, 6.22, and 9.0,p. Should a local sponsor for the beneficial use be identified
and funding secured, it will be incorporated into the construction contract.

4. The Corps should coordinate with the Service and other natural resource agencies to develop
mitigation monitoring and success criteria, reporting requirements, and an adaptive management plan
for such mitigation.

District Response: As discussed in Section 5.4.6 of the IFR/EA, using dredged material to create 1.2
acres of SAV was included in the 14 January 2015 WQC. In addition, a mitigation plan for this action
was coordinated with the Service and other agencies and is included as Appendix D in the February
2015 SAV Mitigation EA and 2 March 2015 FONSI. Should mitigation be included as a component of
any future construction contract, the Corps will follow the mitigation plan approved in 2015. In
addition, should the full restoration of Condado lagoon be approved, the Corps will coordinate an
expanded mitigation plan with the Service and other natural resource agencies.




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5. We encourage the Corps to consider the opportunity to implement an ESA Section 7(a)(1) project to
determine manatee usage in the project area to ensure future and ongoing construction and
maintenance do not unintentionally result in unforeseen impacts to manatees.

District Response: Comment noted the Corps will continue to coordinate manatee conservation
measures with the Service including all potential 7(a)(1) options throughout the project lifespan.

6.7     Endangered Species Act, 16 U.S.C. §1531 et. seq.
Biological Assessments evaluating the potential impacts of the proposed action on endangered and
threatened species and their critical habitat were submitted to NMFS on July 14, 2017 and USFWS on
August 1, 2017. The USFWS has jurisdiction over the Antillean manatee and nesting sea turtles and
NMFS jurisdiction over Nassau grouper, scalloped hammerhead sharks, swimming sea turtles, corals,
whales, and other protected marine and aquatic species which may occur in the project vicinity,
pursuant to Section 7 of the ESA. The USFWS concurred with the not likely to adversely affect
determinations via informal consultation letter dated June 21, 2018. A final Biological Opinion was
received from NMFS on May 29, 2018 for formal consultation for hopper dredging impacts to sea
turtles and informal consultation for listed corals and whales. USACE will abide by the conditions of
these documents and ESA consultation is complete.

6.8 Magnuson-Stevens Fishery Conservation and Management Act
(MSA), 16 U.S.C. §1801 et. seq.
This Act requires Federal action agencies to consult with the NMFS HCD if a proposed action may
adversely affect EFH. The USACE evaluated potential project impacts on NMFS-managed fish species
and their EFH. Impacts would occur to the water column and unconsolidated substrate.
Implementation of the monitoring plan for this project should bring all channel deepening alternatives
under consideration into compliance with the provisions of the MSA. An EFH Assessment is
incorporated into this integrated document in Sections 2 and 5 and was coordinated with NMFS HCD
concurrent with the public review of the Draft IFR/EA. NMFS HCD responded via letter dated January
5, 2018 with no formal EFH conservation recommendations which concluded the consultation.

6.9     Anadromous Fish Conservation Act, 16 U.S.C. §757, et. seq.
No anadromous fish species would be affected by the proposed action. Therefore, this Act is not
applicable.

6.10 Marine Mammal Protection Act (MMPA), 16 U.S.C. §1631 et. seq.
The MMPA prohibits the take of marine mammals including the Antillean manatee, bottlenose
dolphin, and humpback, sperm, sei, finback, and blue whales. Protective measures for marine
mammals will be implemented. The project is being coordinated with USFWS and NMFS. The project,
as conditioned, is in compliance with this Act and no take or incidental harassment would occur.




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6.11 Section 106 of the National Historic Preservation Act (NHPA), 54
U.S.C. §306108
The Proposed Action is in compliance with Section 106 of the NHPA. As part of the requirements and
consultation process contained within the NHPA implementing regulations of 36 CFR Part 800, this
project is also in compliance with the Archaeological and Historic Preservation Act (16 U.S.C. §§469-
469c,) Archeological Resources Protection Act (16 U.S.C. §§470aa-470mm), and Executive Order
11593. Consultation with the Puerto Rico SHPO and the National Park Service was initiated in letters
dated November 7, 2016. Consultation with the Instituto de Cultura Puertorriqueña was initiated via
phone and email on May 3, 2017. The USACE determined that the Proposed Action will have no effect
on historic properties listed or eligible for listing on the NRHP. The Puerto Rico SHPO concurred with
the determination of no historic properties affected by letter dated December 5, 2017.

6.12 Resource Conservation and Recovery Act (RCRA), 42 U.S.C. §6901
et. seq.
RCRA controls the management and disposal of hazardous waste. Dredged material from the USACE
Civil Works projects is excluded from the definition of hazardous waste under 40 CFR 261.4(g), 33 CFR
336.1 and 33 CFR 336.2.

6.13 Comprehensive Environmental Response, Compensation and
Liability Act (CERCLA or Superfund), 42 U.S.C. §9601 et. seq.
CERCLA governs the liability, compensation, cleanup, and emergency response for hazardous
substances released into the environment and the cleanup of inactive hazardous substance disposal
sites. As discussed in Section 5.4.16, none of the sediments that would be excavated or dredged during
the project would be considered a hazardous substance under CERCLA or addressed under that law.

6.14 Marine Protection, Research and Sanctuaries Act, 33 U.S.C. §1401
et. seq.
In order to determine sediment characteristics and contaminant concerns from dredging San Juan
Harbor sediments to obtain a Section 103 of the Marine Protection, Research, and Sanctuaries Act
concurrence, samples will be collected for chemical and biological evaluations approximately two
years prior to construction. It is anticipated that the dredged material will be suitable for ocean
placement and the USACE will receive EPA’s Section 103 concurrence prior to construction.

6.15 Executive Order 11988, Floodplain Management
This EO states that Federal agencies shall provide leadership and shall take action to reduce the risk of
flood loss, to minimize the impact of floods on human safety, health and welfare, and to restore and
preserve the natural and beneficial values served by floodplains in carrying out agency responsibilities.
The project would have no adverse impacts to flood plain management.




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6.16 Executive Order 11990, Protection of Wetlands
This EO directs all Federal agencies to minimize the destruction, loss, or degradation of wetlands; and
preserve and enhance the natural beneficial values of wetlands in the conduct of the agency's
responsibilities. Indirect wetland impacts resulting from the proposed deepening have been evaluated
and would be monitored (turbidity) during construction.

6.17 Executive Order 13112, Invasive Species
Under this EO, the introduction of invasive species has been evaluated in Sections 2.4.16 and 5.4.16.
The project is not anticipated to increase the introduction of invasive species to the project area, and
if implemented, may decrease the potential for introduction of invasive species into the project area.

6.18 Executive Order 12898, Federal Actions to Address
Environmental Justice in Minority Populations and Low Income
Populations
In accordance with this EO, the USACE has determined that no group of people would bear a
disproportionately higher share of adverse environmental consequences resulting from the proposed
work. See the Economics Appendix for additional details on the EJ Analysis.

6.19 Executive Order 13045, Protection                                   of     Children         from
Environmental Health Risks and Safety Risks
This EO ensures that all Federal actions address the unique vulnerabilities of children. In accordance
with this EO, the USACE has determined that no children would bear a disproportionately high share
of adverse environmental consequences resulting from the proposed work.

6.20 Migratory Bird Treaty Act, 16 U.S.C. 703 et seq.; Executive Order
13186, Responsibilities of Federal Agencies to Protect Migratory Birds
This Act makes it illegal for anyone to take, possess, import, export, transport, sell, purchase, barter,
or offer for sale, purchase, or barter, any migratory bird, or the parts, nests, or eggs of such a bird
except under the terms of a valid permit issued pursuant to Federal regulations. The USACE does not
anticipate that migratory birds would be adversely (directly or indirectly) affected by the proposed
action. For a detailed description of this assessment please see the USFWS Draft CAR (USFWS, 2017;
Appendix G).

6.21 Executive Order 13783, Promoting Energy Independence and
Economic Growth
This EO promotes clean and safe development of our Nation’s vast energy resources, while at the same
time avoiding regulatory burdens that unnecessarily encumber energy production, constrain economic
growth, and prevent job creation. Therefore, this EO is not applicable to this Civil Works project.




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6.22 Environmental Commitments
The USACE commits to completing or implementing the following analyses prior to construction and
ensuring the following environmental protection measures are implemented during construction:

 Timing of       Title of
                                Description of Commitment
 Commitment      Commitment
                 Beneficial     Continues evaluation of the feasibility for various beneficial use
                 Use of         projects during PED and coordinated with the resource agencies.
 Pre-            Dredged        Options include all those identified in this Final IFR/EA, as well as
 Construction    Material       new concepts that may arise
 Engineering                    Quantitative and qualitative surveys for listed hard coral species at
 and Design      Coral and      the entrance to San Juan Harbor and for SAV along the army
                 SAV Surveys    terminal channel flares will be conducted in PED to confirm the
                                separation distances estimated in this IFR/EA are accurate.
                                USACE will abide by the Terms and Conditions of the Biological
                                Opinion(s) issued for the new work construction and the most up-
                                to-date Regional Biological Opinion.
                                USFWS Antillean Manatee conditions include:
                                1. The contractor shall instruct all personnel associated with
                                construction of the presence of manatees and the need to avoid
                                collisions with manatees.
                                2. All construction personnel will be advised that there are civil and
                                criminal penalties for harming, harassing, or killing manatees,
                                which are protected under the Endangered
                                Species Act of 1973 and the Marine Mammal Protection Act of
                                1972. The contractor shall be held responsible for any manatee
                                harmed, harassed, or killed as a result of construction of the
                                project.
                                3. The project work area shall be surveyed for the presence of
                 Endangered     manatees at least one hour before any dredging starts and prior to
 Construction
                 Species        the installation of any silt fence. If manatees are found before any
                                in-water project activity starts, the contractor shall wait for the
                                manatee to leave the area by itself and be at least 100 feet from
                                the project in-water area. Manatees must not be herded or
                                harassed into leaving the area.
                                4. Siltation barriers will be made of material in which manatee
                                cannot become entangled, are properly secured, and are regularly
                                monitored to avoid manatee entrapment. Barriers must not block
                                manatee entry to or exit from essential habitat.
                                5. All vessels associated with the project construction will operate
                                at “no-wake/idle” speed at all times while in water within manatee
                                areas and vessels will follow routes of deep water whenever
                                possible.
                                6. If manatees are seen within 100 yards (300 feet) of the in-water
                                work area, all appropriate precautions shall be implemented to
                                ensure protection of the manatees. These precautions shall include


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                           operating all equipment in such a manner that moving equipment
                           does not come any closer than 50 to 100 feet of any manatee. If a
                           manatee
                           is within 50 feet of in-water work, all in-water activities must shut
                           down, until manatee moves on its own at least 100 feet away from
                           the in-water work area. Manatees must not be herded or harassed
                           into leaving the area.
                           7. Any collision with and/or injury to a manatee shall be reported
                           immediately to the Department of Natural and Environmental
                           Resources Law Enforcement (787-724-5700) and the USFWS
                           Caribbean Ecological Services Field Office (787-851-7297).
                           8. The contractor shall keep a log detailing sightings, collisions, or
                           injury to manatees, which have occurred during the contract
                           period. Following project completion, a report summarizing the
                           above incidents and sightings will be submitted to the U.S. Fish and
                           Wildlife Service, Caribbean Ecological Services Field Office, P.O. Box
                           491, Boquerón, Puerto Rico 00622.
                           9. The contractor shall install and maintain temporary manatee
                           signs placed in a prominent location for maximum visibility.
                           NMFS BO Conditions include:
                           1. Notification of take shall be provided to NMFS at the following
                           email address within 24 hours, referencing the present Opinion by
                           NMFS identifier number (SER-2017-18763), title, and date:
                           takereport.nmfsser@noaa.gov and will cc Kelly.Logan@noaa.gov.
                           2. To prevent impingement of sea turtles in the water column,
                           every effort shall be made to keep the dredge pumps disengaged
                           when the dragheads are not firmly on the bottom.
                           3. USACE will require the use of rigid sea turtle deflectors on all
                           hopper dragheads. The hopper dredge's sea turtle deflector
                           draghead is to be inspected prior to startup of hopper dredging
                           operations to ensure they are functioning properly. In addition,
                           USACE shall ensure that all contracted personnel involved in
                           operating hopper dredges receive thorough training on measures
                           of dredge operation that will minimize sea turtle takes.
                           4. USACE shall arrange for NMFS-approved protected species
                           observers to be aboard the hopper dredge to monitor the hopper
                           bin, screening, and dragheads for sea turtles and their remains. For
                           the proposed action, 100% shipboard observer monitoring of
                           inflow screens is required year-round. If conditions disallow 100%
                           inflow screening, inflow screening can be reduced gradually, but
                           effective, 100% overflow screening is then required, and an
                           explanation must be included in the project report, and NMFS
                           notified beforehand.
                           The hopper's inflow screens should initially have 4-in by 4-in
                           screening, for effective screening and capture of entrained
                           protected species body parts. However, if USACE, in consultation


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                               with observers and the draghead operator, determines that the
                               draghead is clogging and reducing production substantially, the
                               mesh size may be increased after prior consultation with and
                               approval by NMFS, to 8-in by 8-in; if this still clogs, then 16-in by
                               16-in openings. NMFS believes that this flexible, graduated-screen
                               option is prudent since the need to constantly clear the inflow
                               screens will increase the time it takes to complete the project;
                               therefore, it will increase the exposure of sea turtles to the risk of
                               impingement or entrainment. Inflow screen clogging should be
                               greatly reduced with these flexible options; however, further
                               clogging (e.g., as when encountering heavy clay or debris) may
                               compel removal of the inflow screening altogether, in which case
                               effective 100% overflow screening is mandatory.
                               USACE shall notify NMFS beforehand if inflow screening is going to
                               be reduced or eliminated, and provide details of how effective
                               overflow screening will be achieved. NMFS, in consultation with
                               the dredging company and USACE, shall determine what
                               constitutes effective overflow screening.

                               The USACE will work in conjunction with the NMFS to develop a
                               turbidity monitoring plan which will include turbidity monitoring
                               stations adjacent to ESA-listed corals (if any are found during the
                               pre-construction resource surveys) and at the edges of the DCH for
                               elkhorn and staghorn corals. Turbidity in these locations must not
                               exceed 7 NTUs above background as measured at the control
                               locations positioned 200 meters upstream of the dredge. The
                               monitoring plan will include adaptive management measures to be
                               implemented to mitigate turbidity in the event that turbidity
                               exceeds 7 NTUs above background at these locations. Adaptive
                               management may include measures to correct disposal vessel
                               leakage, reducing overflow, etc.
                Water          USACE will abide by the conditions within the Section 401 WQC to
                Quality        be issued by EQB in PED.
                Fish and       USACE will abide by the conservation recommendations outlined in
                Wildlife       the USFWS CAR, as practicable.
                Habitat
Pre-, during,                  USACE will perform pre-, during, and post-construction monitoring
and Post-       Monitoring     as detailed in the Main Report.
construction
                           USACE will commit to coordinating adaptive management and
                Adaptive
                           corrective actions related to project impacts and monitoring results
                Management
                           with resource agencies.




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7.0     PUBLIC / AGENCY PARTICIPATION AND COMMENTING*




Study coordination efforts involve keeping the public, state, and Federal agencies informed of study
progress and obtaining feedback. This study involved close coordination between the USACE, the
PRPA, and the PREPA. The USACE is conducting the study, consolidating information from other
agencies, formulating plans, and coordinating study findings. The USACE has encouraged participation
of environmental resource agencies during the formulation of data gathering plans for sediment
analysis and environmental resource evaluations. The harbor and docking pilots, the USCG, maritime
interests, the sponsor, and the public have provided recommendations and will review potential
measures to resolve navigation concerns in small groups and a public meeting. In addition to reviews
by the public and other local, state, and Federal agencies, USACE requires quality control and agency
technical reviews during the study process.




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7.1     Authority
Public involvement during this study has been conducted in compliance with the following Federal
laws and regulations:

    x    National Environmental Policy Act (NEPA) of 1969;
    x    U.S. Clean Water Act, Section 404(a);
    x    Council on Environmental Quality Regulations for Implementing the Procedural Provisions of
         NEPA, 40 CFR §1501.7 (Scoping) and 40 CFR §1506.6 (Public Involvement);
    x 30 CFR Part 230 and ER 200-2-2;
    x ER 1105-2-100
Federal agencies are required under NEPA to undertake an assessment of the environmental effects
of their proposed actions prior to making decisions. Two major purposes of the environmental review
process are better informed decisions and citizen involvement in weighing the effects of those
decisions. There are three Federal agencies that have particular responsibilities for NEPA. Primary
responsibility is vested in the CEQ, established by Congress as outlined in NEPA. The USEPA-Office of
Federal Activities reviews environmental impact statements (EISs) and some EAs issued by Federal
agencies. Another government entity that may become involved in NEPA is the U.S. Institute for
Environmental Conflict Resolution, which was established by the Environmental Policy and Conflict
Resolution Act of 1998 to assist in resolving conflict over environmental issues that involve Federal
agencies.

In 1978, CEQ issued binding regulations directing agencies on the fundamental requirements necessary
to fulfill their NEPA obligations. The CEQ regulations set forth minimum requirements for agencies.
The CEQ regulations also called for agencies to create their own implementing procedures that
supplement the minimum requirements based on each agency’s specific mandates, obligations, and
missions. In accordance with these regulations, the USACE put in place ER 2002-2 (30 CFR Part 230)
specific to NEPA compliance, as well as ER 1105-2-100 to provide, among other things, specific internal
guidance on a number of environmental compliance issues including NEPA.

7.2     Scoping and Public Meetings
As stated by CEQ regulations and guidance, there shall be an early and open process for determining
the scope of issues to be addressed and for identifying the significant issues related to a proposed
action. This process is called scoping. The CEQ identifies the public that should be involved in the
scoping process as affected Federal, state, and local agencies, the proponent of the action, and other
interested persons (including those who might not be in accord with the action on environmental
grounds).

In compliance with ER-200-2-2 and 40 CFR §1501.7, a Notice of Intent was published in the Federal
Register (Vol. 80, No. 194, October 7, 2015) to advertise the intent of the USACE to prepare an EIS.
NEPA scoping was an important part in the development of study objectives, identification of
constraints and in determining the significant concerns of the public and agencies. In accordance with
the NEPA, an information letter and planning charrette invitation was sent to resource agencies and
special interest groups on October 1, 2015. Additionally, NEPA scoping meeting information was
mailed to interested parties on October 1, 2015. A planning charrette with the resource agencies was
held on November 4, 2015. The NEPA Scoping meeting was held on November 5, 2015, at Puerto Rico
Convention Center, 100 Convention Blvd, San Juan, Puerto Rico. The purpose of the meeting was to
solicit for views and comments regarding environmental and cultural resources, study objectives, and


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other important features/concerns in the study area. The following list identifies the main issues
generated and comments and concerns from stakeholders, which are discussed thoroughly within this
IFR/EA:

Economics: The general public and agencies want to understand how the project would use updated
economic data, including growth trends to evaluate alternatives.

Sea Level Change: Many citizens, stakeholder, and agencies were concerned about the impact of sea
level rise cumulatively evaluated with the impacts of the project.

Sediment Quality and Placement: Must thoroughly review impacts related to sediment toxics and
dredged material placement.

Fish and Wildlife Habitat: Many comments were related to ensuring that the project won’t significantly
impact threatened and endangered species as well as other fish and wildlife resources, including coral
reef habitat.

Shoreline Erosion: The general public and agencies are concerned with existing erosion problems
facing many areas in San Juan Harbor and how the proposed deepening may affect this issue. Some of
these stakeholders have also requested that USACE place dredged material along certain shorelines to
reduce the effects of erosion. This area includes Cataño shoreline.

Air Quality: The general public and agencies want to understand how the project would influence air
quality in the region, including priority pollutants, toxics and greenhouse gases. Also of concern was
the potential concentration of pollutants in certain areas and impacts to environmental justice
communities.

Cultural Resources: The general public and agencies were concerned about impacts to cultural and
historic resources, both in-water and land-side.

Written comments from Federal, state, and local governmental agencies, various private and non-
profit organizations, and individuals are included in the Correspondence Appendix. Both of the
meetings followed a similar format consisting of a brief presentation/remarks, followed by an informal
poster session which provided stakeholders with opportunity to further discuss the study with the
experts. The meetings were organized around three basic themes: Environmental, Engineering, and
Economics. In addition, there were informative displays related to project schedule, process, and plan
formulation processes. The meetings were advertised through the Federal Register, mailings, e-
mailing, and on the study website. The administrative record generated from the NEPA scoping efforts
discussed above indicates that the San Juan Harbor improvements is not likely to have a significant
impact on the quality of the human environment; therefore, the project was evaluated in an EA as
opposed to an EIS that was originally planned.

The Draft IFR/EA was released for public review in August 2017 for a 45-day public review period. A
public meeting accompanying the release of the Draft IFR/EA was held in San Juan on August 22, 2017.
The meeting was held in order to present the findings of the study and the Tentatively Selected Plan
to interested members of the public. Appendix J contains a mailing list of participants.

Study presentations, reports, minutes to meetings, and other documents can be found at the following
study website: http://www.saj.usace.army.mil/About/Divisions-Offices/Planning/Environmental-
Branch/Environmental-Documents/.


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7.3     Agency Coordination
Federal, state, and local agencies invited to attend meetings and to provide comments throughout the
scoping and public involvement process included the USACE, USCG, USEPA, USFWS, NPS, and NMFS.
State agencies included the Puerto Rico DNER, EQB, SHPO and Instituto de Cultura Puertorriqueña.

7.4     Environmental Operating Principles
The USACE Environmental Operating Principles (EOPs) have been taken into consideration throughout
the study process, and will continue to be part of construction and operation of the proposed San Juan
Harbor Improvements Project. Below are the USACE EOPs:

x   Foster sustainability as a way of life throughout the organization.
x   Proactively consider environmental consequences of all USACE activities and act accordingly.

x   Create mutually supporting economic and environmentally sustainable solutions.
x   Continue to meet our corporate responsibility and accountability under the law for activities
    undertaken by the USACE, which may impact human and natural environments.
x   Consider the environment in employing a risk management and systems approach throughout the
    life cycles of projects and programs.

x   Leverage scientific, economic and social knowledge to understand the environmental context and
    effects of USACE actions in a collaborative manner.
x   Employ an open, transparent process that respects views of individuals and groups interested in
    USACE activities.
In coordination with the agencies and other stakeholders, the USACE proactively considered the
environmental consequences of the proposed deepening project. Avoidance and minimization
measures were evaluated, and monitoring and adaptive management will be provided to insure
protection of natural resources (i.e., hardbottoms and submerged aquatic vegetation). In accordance
with the mandate of this designation and the EOPs, the USACE has proposed a project that supports
economic and environmentally sustainable solutions.

7.5     USACE Campaign Plan
USACE Vision: Engineering solutions for the Nation’s toughest challenges.

USACE Mission: Deliver vital engineering solutions, in collaboration with partners, to secure our
Nation, energize our economy, and reduce risk from disaster.

Commander’s Intent: The USACE Campaign Plan (UCP) is our Agency’s strategic change decision
document. It is fully nested with the Army Campaign Plan and National Goals and Objectives. As such,
it drives and aligns strategic change; anticipates and shapes our future operating and fiscal
environments; unites all of USACE with a common vision, purpose, and direction; and responsively
adapts to mission and “battle space” changes by:




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1) Anticipating and responding to a resource-constrained, volatile, uncertain, complex, and ambiguous
external environment;

2) Driving improvements in our processes for both DELIVERING THE PROGRAM (products, projects, and
services for our stakeholders and partners) and STRENGTHENING THE FOUNDATION (those routine
tasks needing to be done to an exceptionally high-standard, routinely); and

3) Driving us to ACHIEVE OUR VISION. Fundamentally, we DO what we measure and we ARE what we
do. Over time, our behaviors become habits, and these habits become our culture. Since we cannot
change everything at once, and to develop the best habits, we prioritize those highest pay-off
behaviors for our success. As such, FY18 Priority Actions reflect our “best bet” to drive focused strategic
change across the command, now and in the future.

Our four (4) Campaign Plan Goals define the strategic change we will achieve, stated in fourteen (14)
words: “Support National Security”, “Deliver Integrated Water Resource Solutions”, “Reduce Disaster
Risks”, and “Prepare for Tomorrow”.

The IFR/EA for this project is consistent with these themes. The vertical USACE project team jointly
applied the latest policy and planning guidance and worked closely with Federal, state and local
stakeholders and professionals familiar with the problems, opportunities and resources of San Juan
Harbor to fully and fairly evaluate the feasibility of improving the port in an expeditious fashion to
achieve the common goals of providing safe, effective, and efficient navigation while protecting the
nation’s environment. Extensive reviews requiring the timely cooperation of internal and external
team members were performed to ensure quality and consistency.




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                                   Section 8: List of Preparers*


8.0     LIST OF PREPARERS AND REVIEWERS*
The USACE for the study included not only USACE members but environmental resource agencies,
USCG, San Juan Bay Pilots, maritime interests, PREPA, and PRPA. The team members listed below
provided substantial text to the IFR/EA. Primary authors are marked with an asterisk.
 Name (First Last)            Affiliation

 Steve Conger*                Civil Engineer, Jacksonville District, USACE

 Phil Sylvester               Hydraulic Engineer, Jacksonville District, USACE

 Tony Ledford                 Civil Engineer, Jacksonville District, USACE

 Courtney Jackson*            Economist, Jacksonville District, USACE

 Christopher Bukolt           Real Estate, Jacksonville District, USACE

 Paul DeMarco*                Biologist, Jacksonville District, USACE

 Carla Roig-Silva             Geologist, Jacksonville District, USACE

 Jessamyn Fluitt              Civil Engineer – Geotechnical, Jacksonville District

 Meredith Moreno              Archeologist, Jacksonville District, USACE

 Patrice Morey                Planning Division, Jacksonville District, USACE

 Javier Cortes                Environmental Engineer, Jacksonville District, USACE

 Dick Powell*                 Civil Engineer, Jacksonville District, USACE

 Ashleigh Fountain*           Biologist, Jacksonville District, USACE

 Terri Jordan-Sellers         Biologist, Jacksonville District, USACE




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9.0        RECOMMENDATIONS
I concur with the findings presented in this report. The Recommended Plan developed is technically
sound, economically justified, and socially and environmentally acceptable.

There are portions of the work proposed that are not within the existing authority. I recommend that the
Recommended Plan selected herein, with such further modifications thereto at the discretion of the Chief
of Engineers, as advisable, be authorized by Congress for implementation. Evaluation of existing surveys
and benthic surveys conducted by NMFS HCD and the USACE, the deepening and widening measures
along the Army Terminal Channel would not result in direct impacts to SAV. The closest previously mapped
hardbottom habitat (colonized pavement) is 1,500 feet from the closest dredge area (Cut-6) and Acroporid
coral DCH is approximately 2,500 feet North of Cut-6. Therefore, impacts to listed corals from dredging
and dredged material transport related turbidity are not anticipated and no compensatory mitigation is
required. Aids to navigation would be provided at a 100% Federal cost. Absent sufficient USCG funding,
or adequate justification for the navigation aids, non-Federal interests may be required to provide them.7

For the purpose of calculating the Section 902 limit, the estimated project first cost is $54,042,000,
October 1, 2017 price level, with an estimated Federal share of approximately $40,500,000 and an
estimated non-Federal share of approximately $13,500,000, which does not include the local service
facilities investment of approximately $350,000,000 for the LNG conversion. The AAEQ costs for the
Recommended Plan are $15,172,000 with the LNG conversion and $2,281,000 without the LNG
conversion. The AAEQ benefits of the Recommended Plan range from $4,322,000 without the LNG
conversion to $75,269,000 with the LNG conversion and has a BCR that ranges from 1.9 (without the LNG
conversion) to 5.0 (with the LNG conversion).

The Recommended Plan conforms to the essential elements of the U.S. Water Resources Council's
Economic and Environmental Principles and Guidelines for Water and Related Land Resources
Implementation Studies and complies with other Administration and legislative policies and guidelines on
project development. If the project were to receive funds for Federal implementation, it would be
implemented subject to the cost sharing, financing, and other applicable requirements of Federal law and
policy for navigation projects including WRDA 1986, as amended; and would be implemented with such
modifications, as the Chief of Engineers deems advisable within his discretionary authority. Aids to
navigation are to be funded by the USCG.

Federal implementation is contingent upon the non-Federal sponsor agreeing to comply with applicable
Federal laws and policies. Prior to implementation, the non-Federal sponsor shall agree to:

  a. Provide, during the periods of design and construction, funds necessary to make its total contribution
for commercial navigation equal to 25% of the cost of design and construction of the general navigation
features (GNFs) attributable to dredging to a depth in excess of -20 feet MLLW but not in excess of -50
feet MLLW, plus;

  b. Provide all lands, easements, and rights-of-way including those necessary for the borrowing of
material and the placement of dredged or excavated material, and perform or assure performance of all
relocations, including utility relocations, as determined by the Federal Government to be necessary for
the construction or operation and maintenance of the GNFs;



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    Planning Guidance Notebook, ER 1105-2-100, E-8 a.(2)


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  c. Pay with interest, over a period not to exceed 30 years following completion of the period of
construction of the GNFs, an additional amount equal to 10% of the total cost of construction of the
National Economic Development (NED) Plan GNFs less the amount of credit afforded by the Federal
Government for the value of all lands, easements, rights-of-way, and relocations (LERRs), including utility
relocations, provided by the non-Federal sponsor for the GNFs. If the amount of credit afforded by the
Federal Government for the value of LERRs, including utility relocations, provided by the non-Federal
sponsor equals or exceeds 10% of the total cost of construction of the GNFs, the non-Federal sponsor shall
not be required to make any contribution under this paragraph, nor shall it be entitled to any refund for
the value of LERRs, including utility relocations, in excess of 10% of the total cost of construction of the
GNFs;

  d. Provide, operate, and maintain, at no cost to the Government, the local service facilities in a manner
compatible with the project’s authorized purposes and in accordance with applicable Federal and state
laws and regulations and any specific directions prescribed by the Federal Government;

  e. Accomplish all removals determined necessary by the Federal Government other than those removals
specifically assigned to the Federal Government;

  f. Prevent obstructions or encroachments on the project (including prescribing and enforcing regulations
to prevent such obstructions or encroachments) such as any new developments on project lands,
easements, and rights-of-way or the addition of facilities which might reduce the outputs produced by
the project, hinder operation and maintenance of the project, or interfere with the project’s proper
function;

  g. Give the Federal Government a right to enter, at reasonable times and in a reasonable manner, upon
property that the non-Federal sponsor owns or controls for access to the project for the purpose of
completing, inspecting, operating, or maintaining the GNFs;

  h. Hold and save the United States free from all damages arising from the construction or operation and
maintenance of the project, any betterments, and the local service facilities, except for damages due to
the fault or negligence of the United States or its contractors;

  i. Keep, and maintain books, records, documents, and other evidence pertaining to costs and expenses
incurred pursuant to the project, for a minimum of three years after completion of the accounting for
which such books, records, documents, and other evidence are required, to the extent and in such detail
as will properly reflect total cost of the project, and in accordance with the standards for financial
management systems set forth in the Uniform Administrative Requirements for Grants and Cooperative
Agreements to State and local governments at 32 CFR §33.20;

  j. Perform, or ensure performance of, any investigations for hazardous substances that are determined
necessary to identify the existence and extent of any hazardous substances regulated under the
Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA), 42 U.S.C. §§9601–
9675, that may exist in, on, or under LERR and placement areas that the Federal Government determines
to be necessary for the construction or operation and maintenance of the GNFs. However, for lands,
easements, or rights-of-way that the Federal Government determines to be subject to the navigation
servitude, only the Federal Government shall perform such investigations unless the Federal Government
provides the non-Federal sponsor with prior specific written direction, in which case the non-Federal
sponsor shall perform such investigations in accordance with such written direction;




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  k. Assume complete financial responsibility, as between the Federal Government and the non-Federal
sponsor, for all necessary cleanup and response costs of any hazardous substances regulated under
CERCLA that are located in, on, or under LERR and placement areas that the Federal Government
determines to be necessary for the construction or operation and maintenance of the project;

  l. To the maximum extent practicable, perform its obligations in a manner that will not cause liability to
arise under CERCLA;

  m. Comply with Section 221 of Public Law 91-611, Flood Control Act of 1970, as amended, (42 U.S.C.
§1962d-5b) and Section 101(e) of the WRDA 1986, Public Law 99-662, as amended, (33 U.S.C. §2211(e))
which provide that the Secretary of the Army shall not commence the construction of any water resources
project or separable element thereof, until the non-Federal sponsor has entered into a written agreement
to furnish its required cooperation for the project or separable element;

 n. Comply with the applicable provisions of the Uniform Relocation Assistance and Real Property
Acquisition Policies Act of 1970, Public Law 91-646, as amended, (42 U.S.C. §§4601-4655) and the Uniform
Regulations contained in 49 CFR Part 24, in acquiring lands, easements, and rights-of-way necessary for
construction, operation, and maintenance of the project including those necessary for relocations, the
beneficial use of material, or the placement of dredged or excavated material; and inform all affected
persons of applicable benefits, policies, and procedures in connection with said act;

  o. Comply with all applicable Federal and state laws and regulations, including, but not limited to:
Section 601 of the Civil Rights Act of 1964, Public Law 88-352 (42 U.S.C. 2000d), and Department of
Defense Directive 5500.11 issued pursuant thereto; Army Regulation 600-7, entitled “Nondiscrimination
on the Basis of Handicap in Programs and Activities Assisted or Conducted by the Department of the
Army”; and all applicable Federal labor standards requirements including, but not limited to, 40 U.S.C.
§§3141-3148 and 40 U.S.C. §§3701-3708 (revising, codifying and enacting without substantive change the
provisions of the Davis-Bacon Act (formerly 40 U.S.C. §276a et. seq.), the Contract Work Hours and Safety
Standards Act (formerly 40 U.S.C. §327 et. seq.), and the Copeland Anti-Kickback Act (formerly 40 U.S.C.
276c));

  p. Provide the non-Federal share of that portion of the costs of mitigation and data recovery activities
associated with historic preservation, that are in excess of 1% of the total amount authorized to be
appropriated for the project;

 q. Not use funds from other Federal programs, including any non-Federal contribution required as a
matching share therefore, to meet any of the non-Federal sponsor’s obligations for the project unless the
Federal agency providing the Federal portion of such funds verifies in writing that such funds are
authorized to be used to carry out the project.

Additionally, the Regional Sediment Management (RSM) option discussed in this report for the
beneficial use of dredged material in Condado Lagoon may be addressed in the future if there is
adequate Federal funding and authority to do so, and if a non-Federal sponsor is identified to implement
this option and timely execute a cost-sharing agreement during the period of design and construction
to cost-share in the beneficial use of dredged material.




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The recommendations contained herein reflect the information available at this time and current
Departmental policies governin g formu lation of individua l projects. They do not reflect program and
budgeting priorities inherent in the formulation of a nationa l Civil Works construction program nor
the perspective of higher review levels within the Executive Bra nch . Consequent lV, the recommendations
may be modified before they are transmitted to the Congress as proposals for authorization and
implement ation fund ing. However, prior to transmittal to the Congress, the Puerto Rico Ports Authority
(the non-Federa l sponsor for the Com mercial Navigation Improvements), interested Fede ra l agenCies,
and other parties will be advised of any significant modificat ions, and wi ll be afforded an opportunity to
comment further.




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                                                                   Jaso n A. Kirk
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                   FEDERAL/NON-FEDERAL COST APPORTIONMENT - WITH LNG CONVERSION
                                    October 01, 2017 Price Levels (FY 2018)
                               + Deepen SAC, SAAC, SAC Extension & CSBE to 36'*
                                                                    Total Cost Federal Share Non-Fed Share
GENERAL NAVIGATION FEATURES (GNF)                                >20' to 50'             75%           25%
Mobilization & Demobilization (Clamshell)                            $3,350,000   $2,512,000       $837,000
Standby Time (Mechanical Clamshell)                                    $234,000     $175,500        $58,500
Mobilization & Demobilization (Hydraulic Hopper)                     $2,744,000   $2,058,000       $686,000
Standby Time (Hydraulic Hopper)                                        $349,000     $261,750        $87,250

                ~Economic Modeling Phase 1~
Widen ATC 100' @ Existing 40' (Cut 8)                                        $7,389,000          $5,541,750        $1,847,250
                ~Economic Modeling Phase 2~
Deepen Cut 6 @ 46'                                                            $742,000             $556,500         $185,500
Deepen Anegado (Cut 7) @ 44'                                                 $6,762,000          $5,071,500        $1,690,500
Deepen and Widen ATC 100' @ 44' (Costs only for
deepening/widening improvements > 40')                                       $8,475,000          $6,356,250        $2,118,750
Deepen ATTB @ 44' (Cut 8)                                                    $7,352,000          $5,514,000        $1,838,000
ATTB East & West Flares @ 44'                                                $1,354,000          $1,015,500         $338,500
                ~Economic Modeling Phase 5~
Deepen SAAC @ 36' (Cut 18)                                                    $494,000             $370,500          $123,500
Deepen SAC @ 36' (Cut 18)                                                    $2,849,000          $2,136,750          $712,250
Deepen SAC Extension @ 36' (Cut 20)                                           $596,000             $447,000          $149,000
Deepen CSBE @ 36' (Cut 22)                                                   $2,346,000          $1,759,500          $586,500

Sea Turtle Non-Capture Trawl Sweeping                                           $39,000          $29,250               $9,750
Real Estate Administrative Costs                                                $66,000          $49,500              $16,500
Preconstruction, Engineering, & Design                                       $4,619,000       $3,464,250           $1,154,750
Construction Management (S&A)                                                $4,282,000       $3,211,500           $1,070,500
TOTAL GNF                                                                   $54,041,000      $40,530,750          $13,510,250

SUBTOTAL PROJECT FIRST COSTS                                                $54,041,000      $40,530,750          $13,510,250

10% OF NED GNF NON-FEDERAL**                                                          $0         -$5,404,100       $5,404,100

NON-FEDERAL CONSTRUCTION COSTS (LOCAL SERVICE FACILITIES)
Berthing Area Dredging (COD / Total Terminals) @ 44'                      $611,000                       $0          $611,000
Berthing Area Dredging (PUMA Terminal) @ 44'                               $446,000                      $0          $446,000
Berthing Area Dredging (PREPA Terminal) @ 44'                             $747,000                       $0          $747,000
PREPA LNG Facility Modifications                                       $348,024,000                      $0      $348,024,000
TOTAL NON-FEDERAL LOCAL SERVICE FACILITIES                             $349,829,000                      $0      $349,828,000
                                                                                 $0
USCG AIDS TO NAVIGATION (100% USCG FEDERAL COST)                          $105,000                 $105,000                   $0
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TOTAL PROJECT COSTS                                                    $403,975,000         $40,635,750           $363,338,250
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 SAN JUAN HARBOR, PUERTO RICO
NAVIGATION IMPROVEMENTS STUDY




    Final Integrated Feasibility Report &
         Environmental Assessment


                       APPENDIX C
                        Economics
                           June 2018




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                                    EXECUTIVE SUMMARY
San Juan Harbor is located on the northeastern coast of Puerto Rico and is the island’s busiest port,
accounting for over half of the total cargo tonnage passing through Puerto Rican ports in 2015. San Juan
is also an important cruise port. In 2015 San Juan Harbor ranked 8th among North American and
Caribbean cruise ports in terms of total number of passengers. Among Caribbean ports it ranked 4th in
total passengers.

Currently there are navigational constraints, which cause loading inefficiencies, in-port delays, and
increased maneuvering times. The existing and future fleets of petroleum tankers and the future fleet of
LNG tankers transiting the Army Terminal Channel and the current fleet of cruise vessels utilizing the
cruise docks north of the San Antonio Approach Channel are the main sources of project benefits.
Measures considered in the analysis would allow larger petroleum tankers and LNG vessels to call San
Juan Harbor, allow these larger vessels to use San Juan Harbor more efficiently through increased vessel
loading, allow existing medium range (MR) tanker vessels to use San Juan Harbor more efficiently
through increased vessel loading, reduce cruise vessel maneuvering times within the port, and allow use
of waterway transportation of LPG direct to San Juan rather than trucking of the product from the
island’s southern coast.

This economic analysis examined widening and deepening. The HarborSym model was used to
determine total transportation costs attributable to the study port. Transportation cost savings were
determined based on the difference in total transportation costs between the with- and without-project
conditions. Power generation cost reduction benefits were calculated using power generation cost
information provided by the Puerto Rico Electric Power Authority (PREPA). Due to uncertainty
associated with PREPA’s future conversion from the use of diesel fuel to LNG for power generation, the
economic analysis and plan formulation were completed using two distinct sets of future with-project
(FWP) condition assumptions resulting in a range of possible project benefits. The two scenarios
considered are the following:

    1.) Assume San Juan area power plants will convert from the use of diesel fuel for power generation
        in the future without-project condition to the use of LNG for power generation if a Federal
        navigation project is constructed. Include power generation cost reduction benefits as a project
        benefit.
    2.) Assume San Juan area power plants will maintain use of diesel fuel in the future both with and
        without a Federal navigation project. Do not include power generation cost reduction benefits
        as a project benefit.

Both analyses outlined above resulted in the same National Economic Development (NED) plan, which
includes the following measures:
     Widen Army Terminal Channel from 350’ to 450’
     Deepen Cut 6 to 46’
     Deepen Anegado Channel to 44’
     Deepen Army Terminal Channel to 44’
     Deepen Army Terminal Turning Basin to 44’
     Construct eastern and western flares at the southern end of the Army Terminal Turning Basin
     Deepen Cruise Ship Basin East to 36’


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       Deepen San Antonio Approach Channel, San Antonio Channel, and San Antonio Channel
        Extension to 36’
       Expand the Federal limits of San Antonio Channel Extension to the east by 1,050 feet to
        incorporate into the Federal project that area which was previously constructed to a 36 foot
        depth by the Port

The combination of measures listed above reasonably maximizes net benefits and makes up the
recommended plan. Considering each of the aforementioned scenarios, the recommended plan
provides average annual net benefits ranging from $2,041,000 to $60,097,000 and has a benefit-cost
ratio ranging from 1.9:1 to 5.0:1 at the FY18 Federal Water Resources Discount Rate of 2.75 percent and
FY18 price levels.




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 1 Introduction
The U.S. Army Corps of Engineers (USACE) Jacksonville District has conducted an economic analysis to
determine the feasibility of improvements to the Federal navigation project at San Juan Harbor. San
Juan Harbor is located on the north coast of the island of Puerto Rico, about one-third of the distance
west along the coast from the northeast corner, and provides the only natural harbor offering all-
weather protection to shipping along the entire north coast. San Juan Harbor is Puerto Rico’s principal
cargo port, accounting for approximately 78 percent of all non-petroleum and non-coal products
handled on the island 1 and is in the island’s population center with nearly two-thirds of the island’s
inhabitants residing in the San Juan-Carolina-Caguas Metropolitan Statistical Area (MSA) 2. Because
Puerto Rico is an island, waterborne commerce is crucial to meeting inhabitants’ and visitors’ needs,
with everything from food and household supplies for daily use to petroleum products used to power
vehicles and to generate electricity moving through San Juan Harbor. In addition to the port’s
importance in supplying goods to the island, San Juan is a popular stop on Caribbean cruise itineraries
and brought over 1.4 million cruise passengers to the city in 20153. In 2015 San Juan Harbor ranked 8th
among North American and Caribbean cruise ports in terms of total number of passengers. Among
Caribbean ports it ranked 4th in total passengers 4.

1.1 Background, Problems, and Objectives
Federal interest in navigation in San Juan Harbor began in 1917 with the inner harbor area and
establishment of the San Antonio Channel with a depth of 30 feet. 5 Most recently, in 1999-2001,
another Federal construction event deepened the Bar and Entrance Channels to between 56 and 42
feet, the Anegado Channel to 40 feet, the Army Terminal Channel to 40 feet, the Puerto Nuevo Channel
to 39 feet, and the Graving Dock Channel to 36 feet, establishing the existing Federal project.

The current study analyzes measures designed to improve the existing channel to better meet the needs
of port users today. The economic analysis considers alternatives that will do the following:

x   allow larger vessels to call San Juan Harbor,
x   allow larger vessels to use San Juan Harbor more efficiently through increased vessel loading,
x   allow existing vessels to use San Juan Harbor more efficiently through increased vessel loading,
x   reduce vessel transit times within the port, and
x   allow use of waterway transportation of LPG direct to San Juan rather than trucking of the product
    from the island’s southern coast

1.2 Economic Appendix Overview
The Economics Appendix tells the story of the economic analysis for the San Juan Harbor Navigation
Improvements Study from start to selection of a recommended plan. The appendix describes the


1 Source: Waterborne Commerce Statistics Center, State to State and Region to Region Commodity Tonnages Public Domain

Database (2015) and Waterborne Commerce of the United States Calendar Year 2015 Part 2–Waterways and Harbors Gulf
Coast, Mississippi River System and Antilles.
2 See Section 2 Socioeconomics for details.
3 Passenger data from Puerto Rico Tourism Company, Cruise Passenger Movement in Old San Juan (Calendar Year).
4 Source: AAPA Port Industry Statistics - Tables used: NAFTA Region Port Cruise Traffic 2014-2016, NAFTA Region Port Cruise

Traffic 2013-2015, and Caribbean Port Cruise Traffic 2013-2015 tables
5 See Main Report for additional information about previous studies, authorizations, and construction events.



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socioeconomic conditions in the study area, discusses the existing conditions and constraints at the port,
lays out the commodity forecast, summarizes the future without-project condition, and presents study
alternatives and alternative screenings conducted over the course of the study. Finally, economic
analysis methodology and the future with-project condition will be discussed and net benefits of
alternative plans will be presented to arrive at the recommended plan.

 2 Socioeconomics
This section summarizes the socioeconomics of the San Juan-Carolina-Caguas Metropolitan Statistical
Area (MSA), which includes San Juan, Puerto Rico. The parameters used to describe the demographic
and socioeconomic environment include recent trends in population, employment, and income
distribution for the Commonwealth of Puerto Rico and the forty municipalities that make up the
immediate economic study area of San Juan Harbor. Environmental justice (EJ) issues are examined
within a one-mile radius of the immediate study area, where surrounding communities may be directly
impacted by the widening and deepening of San Juan Harbor. Figure 1 is a map of the municipalities
that make up the San Juan-Carolina-Caguas MSA.




Figure 1. San Juan-Carolina-Caguas, PR Metropolitan Statistical Area (MSA)
Source: Graphic created by U.S. Army Corps of Engineers, Charleston District using data from OMB BULLETIN NO. 15-01 dated
15 July 2015.


2.1 Population
The following subsections outline historical and projected trends in population in Puerto Rico as a whole
and in the island’s most populous municipalities, the majority of which are part of the San Juan-Carolina-
Caguas MSA.

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                                       Table 2: Regional Income and Poverty
                              Median Household Income                                            Individuals Below
       Geography                                                     Per Capita Income
                                  (in 2014 dollars)                                                Poverty Level

 Bayamón                                              $24,597                         $12,975                    35.4%
 Caguas                                               $24,083                         $13,149                    37.5%
 Canóvanas                                            $20,494                         $10,304                    44.1%
 Carolina                                             $28,660                         $14,937                    30.1%
 Cataño                                               $18,625                         $10,592                    49.6%
 Dorado                                               $27,924                         $14,753                    36.1%
 Guaynabo                                             $34,450                         $21,992                    27.7%
 Gurabo                                               $27,909                         $14,523                    34.7%
 Manatí                                               $18,796                         $10,390                    45.3%
 Naranjito                                            $17,478                          $9,481                    49.7%
 San Juan                                             $22,266                         $16,931                    40.9%
 Toa Alta                                             $29,183                         $13,197                    32.9%
 Toa Baja                                             $23,642                         $11,736                    37.8%
 Trujillo Alto                                        $30,687                         $15,182                    30.8%
 Vega Baja                                            $16,625                          $9,145                    50.4%
 Puerto Rico                                          $19,686                         $11,331                    45.2%
 USA                                                  $53,482                         $28,555                    15.6%
Source: U.S. Census Bureau, 2010-2014 American Community Survey 5-Year Estimates, Selected Economic Characteristics


2.3 Environmental Justice (EJ)
Executive Order 12898, “Federal Actions to Address Environmental Justice in Minority Populations and
Low-Income Populations,” directs Federal agencies to address environmental and human health
conditions in minority and low-income communities. The evaluation of environmental justice is
dependent on determining if high adverse impacts from a proposed project would disproportionately
affect minority or low-income populations in the affected communities. 7 Figure 6 presents the
Environmental Justice communities by census blocks.




7 See IFR/EA for discussion of potential adverse impacts from the recommended plan.



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Figure 6. Environmental Justice Communities of San Juan Harbor

Based on the size of the proposed project, the region of interest for environmental justice analysis was
determined to be the area within a one-mile radius of the project. The demographic characteristics of
persons living within the buffer were identified and summarized using the digital Census block group
layers for the San Juan Municipality. A geospatial analysis tool was used to create a one-mile buffer
from the centerline of the San Juan Municipality. A summary of the population demographics (racial
and socioeconomic data) for persons living within the one-mile buffer is presented in Table 3.




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                   Table 3: Demographic and Socioeconomic Data of 15 Census Block Groups

                                                                 San Juan
Census Block
                     0005062 0004002 0006003 0006001 0005061 0006002 0004001 0007001
Groups
Total Population          963         756          245          714         500    595       332         694
White                     805         489          144          519         409    501       200         528
% White                   84%         65%          59%          73%         82%    84%       60%         76%
Minority                  158         267          101          195          91     94       132         166
% Minority                16%         35%          41%          27%         18%    16%       40%         24%

% of individuals
                           7%           5%          0%          14%           5%   2%         0%        2.0%
under age 5
% of individuals
                           9%           3%         11%           6%           7%   9%        12%         36%
over age 64

% of households
living under              31%         37%          86%          77%         31%    7%        71%         71%
poverty level
Source: U.S. Census Bureau, 2010-2014 American Community Survey 5-Year Estimates

The U.S. Census Bureau’s 2010-2014 American Community Survey estimates indicate that a total of
4,799 individuals live within one-mile radius of the project site. A total of 25 percent of this population
(1,204 individuals) is minorities. Approximately 32 percent of San Juan Municipality’s population is
identified as belonging to minority a group. The population density of minorities living in the one-mile
buffer area is lower than the rest of San Juan. The highest concentration of minority population is
located in Census Block Group 0006003 (41 percent) and the lowest is in Census Block Groups 0005062
and 0006002 (16 percent).

Approximately 46.5 percent of households in the one-mile radius live below the poverty level compared
to 42.3 percent in San Juan and 45.5 percent in the Commonwealth of Puerto Rico. Census Block Group
0006001 has the highest number of people living below poverty level (77 percent) compared to 7
percent for 0006002, which is the lowest. In all, households living under the poverty level for the one-
mile radius are about the same compared to households in the immediate surroundings or
municipalities.

As shown in Figure 6 above, the racial minority population within the one-mile radius (25 percent) is
lower than that of San Juan Municipality (32 percent) and about the same compared to the
Commonwealth-wide average (24.2 percent) for the same groups. Thus, the San Juan Harbor
Improvements Project would not be expected to cause disproportionately high and adverse effects on
any minority or low income populations in accordance with Executive Order 12898.




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      3.4.4 Container Ship Operations and Navigational Constraints
Container ship terminals are located primarily along the Puerto Nuevo Channel (Area B in Figure 7). As of
2018, the Crowley terminal is set to become a second area receiving regular calls by Panamax size
container vessels.23 This will be a twice weekly call by Crowley’s two new LNG-powered dual-fuel Con-Ro
(container-ro-ro) vessels which will replace the current tugs and barges servicing Crowley’s Jacksonville-
San Juan route and calling the Crowley terminal (Area D in Figure 7). Crowley is currently (as of 2017)
completing all dredging needed to accommodate these new Panamax container ships.

Puerto Nuevo Channel, where the majority of the container ship calls in San Juan take place, has a
current federally authorized depth of 39 feet. Historical call data indicates a lack of depth-constrained
container ship calls to docks along the Puerto Nuevo Channel in recent history. San Juan Bay Pilots’ Log
data for container ship calls to Docks A through O (all located along the Puerto Nuevo Channel) from
2010 through October of 2015 shows the spread of sailing arrival drafts of 30 feet or greater presented
in Table 14.

          Table 14: Historical Counts of Container Ship Calls to Puerto Nuevo Docks by Arrival Draft
      Year            30 feet        31 feet       32 feet        33 feet       34 feet        35 feet       36 feet       37 feet
      2010             162              8           226              0             0              2             3             0
      2011             118              4           217              0             0              3             2             0
      2012              70              7           202              0             0              0             0             0
      2013              79              3           136              0             0              0             0             0
      2014              70              0           139              4             3              1             0             0
      2015               1             18            37              5             0              1             0             0
Source: San Juan Bay Pilots’ Log data
Note: Only includes inbound transit drafts.

Assuming that 2 feet of under keel clearance is needed, the Pilot’s Log data does not demonstrate
constraint on arrival by container ships calling docks situated along the Puerto Nuevo Channel between
2010 and October 2015.

San Juan Bay Pilots’ Log data for vessels characterized as “Container Ship (fully cellular)” that called any
dock in San Juan Harbor from October 26, 2015 through September 30, 2016 indicates the following
spread of arrival and departure sailing drafts of 30 feet or greater. As shown in the table below, no
container ship sailing drafts greater than 35 feet were recorded in the specified time period, indicating
that container ships calling San Juan and the Puerto Nuevo Channel were not constrained by channel
depth (Table 15).

       Table 15: 2015/2016 Counts of Container Ship Transits of San Juan Harbor by Sailing Drafts
                                             Transit Count at Each Specified Depth
            Year
                            30 feet 31 feet 32 feet 33 feet 34 feet 35 feet >35 feet
  Oct 2015 thru Sept 2016      40         21         21          27       35          7           0
Source: San Juan Bay Pilots’ Log data for calls taking place between October 26, 2015 and September 30, 2016.
Note: A transit represents one leg, either inbound or outbound, of a call. Two transits make up one call.




23 Vessels will have DWT of 26,500 metric tons; dimensions of 720 ft. LOA X 105.97 ft. beam X 32.8 ft. draft; and capacity of

2400 TEUs and 400 vehicles.

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    x    ULSD lowest and highest daily price as provided by Argus for New York,
    x    ULSD lowest and highest daily price as provided by Argus for Gulf Coast.

For Natural Gas price calculation, the following information is relevant:

    x    0.3% sulfur content (Low Pour) No. 6, lowest and highest daily price as provided by Platt for New
         York/Boston cargo,
    x    0.7% sulfur content No. 6, lowest and highest daily price as provided by Platt for New
         York/Boston cargo” (page 2-2).
Note that based on coordination by SAJ Economics with PREPA, the fuel forecast used in the information
provided by PREPA for the current USACE study was updated in early 2016. Therefore the price
information used in the draft IRP and outlined above likely varies slightly from what is reflected in the
power generation cost reduction benefits calculated in the current report.
See Risk and Uncertainty Section 11 of this appendix for information of commodity price fluctuations.

 10 Recommended Plan Summary
Combining the measures selected in each phase above results in the National Economic Development
(NED) Plan, which is the plan that reasonably maximizes net benefits. The NED plan becomes the
recommended plan. This recommended plan includes widening of the Army Terminal Channel by 100
feet to a width of 450 feet; deepening of Cut 6 to 46 feet; deepening of the Anegado Channel through
the Army Terminal Channel Turning Basin to 44 feet; providing eastern and western flares at the
southern end of the Army Terminal Turning Basin 58; and deepening of the San Antonio Approach
Channel, San Antonio Channel, San Antonio Channel Extension, and Cruise Ship Turning Basin East to 36
feet. Once all measures were selected, comprehensive future without-project and future with-project
HarborSym runs were completed. Where the phased modeling just focused on the calls for areas of the
harbor impacted by a specific phase and on the change brought in transportation costs attributable to
that phase alone, these runs included all port traffic. As demonstrated previously in Table 29, Table 30,
and Table 31, the aforementioned plan reasonably maximizes net benefits both with and without the
LNG conversion and associated power generation cost reduction benefits being included. Table 37
summarizes the transportation costs and number of calls in the future without- and future with-project
(FWP Sc1 – with LNG conversion) conditions for the recommended plan. The recommended plan
reduces the net number of annual calls to San Juan by 20 and reduces the annual transportation costs
associated with cruise vessels by approximately $1.2 million and with petroleum tankers by
approximately $4.2 million.




58 Measure added per ship simulation recommendation. Cost included in analysis. See Engineering Appendix for additional

information.

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2     DESCRIPTION OF THE PROPOSED ACTION AND ACTION AREA

2.1         Proposed Action

The USACE proposes to conduct dredging to expand the SJH. The proposed action can be seen
in Figure 1, below, and includes the following activities:

      1.    Dredging to remove approximately 2.1 million cubic yards (yd3) of material.
      2.    Deepen Cut-6 from 42 feet (ft) to 46 ft.
      3.    Deepen Anegado Channel from 40 to 44 ft.
      4.    Deepen Army Terminal Channel from 40 to 44 ft and widen by 100 ft.
      5.    Deepen Army Terminal Turning Basin from 40 to 44 ft.
      6.    Deepen San Antonio Channel and Cruise Ship Basin East from 30 to 36 ft.
      7.    Placement of dredged material in the SJH Ocean Dredged Material Disposal Site
            (ODMDS) or the Condado Lagoon for seagrass restoration.

The construction will be performed using a variety of dredging methods which may include
cutterhead, clamshell, hopper dredge, and/or backhoe. Methods of transporting dredged material
to disposal sites may include self-propelled transport via hopper dredges or towing/pushing of
loaded barges to disposal sites via tugboats. Dredged material will be transported and disposed
of within the SJH ODMDS or transported and placed in previously dredged holes within the
Condado Lagoon as beneficial use to restore seagrass habitat. Dredge material would be
transported to the Condado Lagoon through the San Antonio Channel and then pumped into the
Lagoon via pipeline. Bed leveling may also be used to redistribute sediments after dredging is
completed.

The USACE reports that it has determined, based on geotechnical investigations, the material to
be dredged is primarily silts and clay, historically and currently transported from upland areas by
rivers and streams and deposited into SJH. More specifically, the material is soft clay and stiff
plastic clay. The USACE’s biological assessment notes that sand and gravel mixes with some
limestone and sandstone were also encountered.

The USACE initially proposed to use relocation trawling; however, relocation trawling is
authorized only when it can be done safely as a means to reduce sea turtle mortalities. Given the
low number of sea turtles expected in and around the action area, NMFS and the USACE now
agree that relocation trawling is not warranted for this project. Therefore, relocation trawling is
not authorized by this Opinion.

In order to reduce the chances of turbidity and sedimentation impacts to ESA-listed corals and
designated critical habitat from dredging and potential leaks from disposal vessels, the USACE
will work in conjunction with the NMFS to develop a turbidity monitoring plan for inclusion in
the project The monitoring plan will include turbidity monitoring stations adjacent to ESA-listed
corals (if any are found during the pre-construction resource surveys) and at the edges of the
designated critical habitat for elkhorn and staghorn corals near the disposal vessel transit route.
The exact number and locations of the monitoring stations will be determined and detailed in the
collaborative monitoring plan. Turbidity in these locations must not exceed 7 Nephelometric

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Turbidity Units (NTUs) above background as measured at the control locations positioned 200
meters (m) upstream of the dredge. The monitoring plan will include adaptive management
measures to be implemented to mitigate turbidity in the event that turbidity exceeds 7 NTUs
above background at these locations. Adaptive management may include measures to correct
disposal vessel leakage, reducing overflow, etc.

The USACE will require their contractor(s) to follow the Terms and Conditions in the 1997
(Appendix A) and 1995 South Atlantic Regional Biological Opinions (SARBO) (or any
subsequent SARBO, when issued), with the exception of the conditions related to the southeast
United States’ North Atlantic Right Whale calving area, because the proposed project is not
located in or near the calving area. The USACE will also incorporate the protective measures of
NMFS’ Sea Turtle and Smalltooth Sawfish Construction Conditions 1 into the project plans and
specifications. The USACE will also adhere to the conditions in the February 1, 2011,
Environmental Protection Agency’s (EPA’s) Site Management and Monitoring Plan (SMMP) for
use of the ODMDS (Appendix B), including measures to limit sedimentation and NMFS’ Vessel
Strike Avoidance Measures 2. Dredging is expected to occur year round and last approximately
14 months.




1
  NMFS. 2006b. Sea Turtle and Smalltooth Sawfish Construction Conditions revised March 23, 2006. National
Oceanic and Atmospheric Administration, National Marine Fisheries Service, Southeast Regional Office, Protected
Resources Division, Saint Petersburg, Florida.
http://sero.nmfs.noaa.gov/protected_resources/section_7/guidance_docs/documents/sea_turtle_and_smalltooth_sawf
ish_construction_conditions_3-23-06.pdf, accessed June 2, 2017.
2
  NMFS Southeast Region Vessel Strike Avoidance Measures and Reporting for Mariners; revised February 2008.
http://sero.nmfs.noaa.gov/protected_resources/section_7/guidance_docs/documents/copy_of_vessel_strike_avoidanc
e_february_2008.pdf

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APPENDIX B




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                    Site Management and Monitoring Plan for the San Juan Harbor
                             Puerto Rico Dredged Material Disposal Site




                                           January 6, 2011




        u.s. Anny Corps of Engineers                   u .s. Environmental Protection Agency
        Jacksonville District                          Region 2
        P.O. Box 4970                                  290 Broadway
        Jacksonville, Florida 32232                    New York, New York 10007-1 &66




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            To All Interested Parties:

            Section 506 orthe Water Resources and Development Act (WRDA) of 1992, which amended the Marine
            Protection, Researc h, and Sanctuaries Act of 1972 (M PRSA), ~uires the U.S. Environmental Prote~tion
            Agency (EPA) and the U.S. Anny Corps of Engineers (USACE) to prepare a Sile Management and
            Monitoring Pla,n (S MMP ) for all Ocean Disposal Sites .

            Section 102 of MPRSA describes requirement s flY duignlted dred~ malerial disposal sites. includin g
            the requ irement ofa schedule for review and re vision of the SMM P ("which shall root be reviewed and
                                                                or
            revised Ie" frequently than 10 years after adoption the plan and every 10 years thereafter" ). The
            SMMP for the San Juan Harbor, Puerto Rico Ocean Dredged Material Disposal Si le (5J5) was finalized
            on Janut\l)' S, 2000. On May 12,2010. EPA Region 2 Md USACE Jadoonville District issued a public
            notice for a 3O-day pubJk review of the draft R;\'iscd S~M P. Commenl$ wert rtCCived from seyeral
            CommonYl'CaIth of Puerto Rico and FedCnlI agencies.

            Based 01\ the commcnu m;ciyed on the draft SMMP. EPA Region 2 has prqwed a Response 10
            Comments, and his f"CYi~ed the SMW' accordingly. The SJS SM}.1:P is hereby approved by the Region 2
            Administl1ltor. and will be in effect Wltil the neld l"UIuircd SMMP revision.

            I(you have any questions concc:ming the SJS SMMP or requ ire a copy. please contact Mr. Marl: Reiss
            (EPA Regioo 2) at (2 12) 637-37991 Email: Reiss.Mark@epLgov.or Mr. Iyan Ar;osta (USACE-
            Jaek500 yille District) at 904-232- 16931 Email: IYllll.Acosta@usace.army.mil




            Judith A. El)(:k. Regional Administrator
            U.S. EnYironmental Protection Agency
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            290 Broadway
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            Enelosures




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                                       List of Acronyms




   COTP - Captain oflhe Port

   DA - Department of the Army

   DMI- Dredged Material Inspector, in this case approved by USACE-SAJ

   EPA- U.S. Environmental Protection Agency

   EPA-R2 - U.S. Environmental Protection Agency - Region 2

   IA - Interagency Agreement

   GPS - Global Posi tioning System

   MP - Monitoring Plan

   MPRSA - Marine Protection, Research, & Sanctuaries Act of 1972

   NMFS - National Marioe Fisheries Service

   NOAA - National Oceanic and Atmosphe ric Administration

   NODC - National Ocean Data Center

   PCBs - Polychlorinated biphenyls

   ODMDS - Oeean Dredged Material Disposal Site

   SJH - San Juan Harbor

   SJS - San Juan, PUerto Rico Ocean Dredged Material Disposal Site

   SMMP - Site Management and Monitoring P lan

   SPI - Sedi ment Profile Imaging

   TOC - Total organic carbon

   USACE - U.S. Army Corps of Engineers


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    USACE-SAJ - U.S. Anny Corps ofEngineet'$ - South Atlantie Jacksonville

    USCG - United Siaies Coast Guard

    USFWS - United States Fish & Wildlife Service

    W/QAPP - WorklQuality Assurance ProjC(;1 Plan

    WRnA - Water Resources and Development Aet




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  I . Backgr ound
  Section 506 of the Water Resources and Development Act (WRDA) of 1992, whi ch amended the
  Marine Protection, Rcsc;m;h, and Sanctuaries Act of 1972 (MPRSA), requires the U.S.
  En viroruncntall'rol~tion Agency (EPA) and the U.S. Anny Corps of Engi neers (USA C E) to
  prepare a Site Management and Monitoring Plan (SMMP) for each ocean dredged material
  disposal site (ODMDS). For sites designated prior to January I. 1995, such HS the San Juan
  Harbor, Pucrto Rico Dredged Material Disposal Site (SJS), WRDA provides that S MMPs shall
  be developed by January I, 1997. Further permitting or authorization of projects for di~posal at
  ocean sites rKlt having SMMPs after that date were prohibited until an SMMP "'~ prepared. The
  final SMMI' for the SJS was adopted on January 5, 2000. MPRSA 102 (eX3Xf) requ ires that the
  SM MP be reviewed and revised no tess frequently than 10 years after adoption of the plan, and
  every 10 years thereuftc:r.

   This document revises the WRD A-requ ircd SMMP for the final-designutcd (40 CFR 228.15 (d)
  (I I» San Juan Harbor, Puerto Rico Dredged Material Site (SJS); prepared by EPA Region 2
  (EPA.R2) and USACE Jacksonville District (USACE·SAJ). 'This SMMI' idl.'Iltifies a number of
  actions, provisions, and practices to manage operational aspects of dredging and disposal
  activities and to perfonn site monitoring at the SJS.

  I I History of/he San Juan Harbor, Puerto Rico Dredged MiJtqla/ Dispo,ml Silt
  Prior to 1974, all dndged material (except for Bar Channel material) takcn from San Juan I-Iarbor
  and its viciniI)' was placed in upland disposa l areas. In 1974, these areas were e1thausted and no
  new uplalld site could be obtained for dredged material disposal. Since 1975, all dredged
  material from San Juan Harbor has been disposed offshore.              .
  The SJS .....as designated as an Interim Ocean Dredged Material Disposal Site in 19n under
  MPRSA. In March 1988, the SJS was designated as a Final Ocean Dredged Material Disposa l
  Site to receive materials from the San Juan Harbor acea.


  J,2 SiS Boundaries
  The SJS is!U1 appro1timately I square nautical mile area located approximately 2.2 nau1ical miles
  north-northwest of the entrancc to San Juan Harbor positioned in a rectangle bounded by the
  followinB coordinates:


   Degrees, Minute" Seconds                          Degrees, Minutu (t1 eci m~l)
   18° 30' 10" N 66°09' 31" W                        18° 30. 17' N 66° 09.52' w
   18° 30' 10" N 66° 08' 29" W                       IS" 30.17' N 66" 08.48' W
   18° 31' 10" N 66° 08' 29" W                       18° 31.17' N 66° 08.48' W
   ISO 31' 10" N 66°09' 31" W                        18~ 31.17' N 66" 09.52' w




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             Levittown

  Figure I. Loea/ion o/San Juan Harbor, Puerto Rico Dredged Material Di,fposal Sill!.


  1,3 enforcement Activities 01 rhe SJS
  Since the SIS was designated, no significant violations and/or enforcement actions have been
  taken (i.e. actions resulting in fines andlor criminal proceedings), However, both EPA-R2 and
  the USACE-SAJ have taken corrective actions to bring specific disposal projects inlo compliance
  with permit conditions.
  EPA-R2 and the USACE-SAJ have used the experiences of these instances to modify the
  ex isting guideli nes for disposal of dredged material at the SIS and to ensure that future dredged
  material disposal takes place in accordance/compliance with applicable pennit or contract
  conditions.



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 I" Transp9l1O/inn and Disposal Me/hods Used (;I' the SJS
 Dred,,(.."(! mlltt'rial disposed at we SlS may be removed from project areas using happer,
 clamshell, or other types of dredges. Dredged material has be'efl placed at 1'lKn o Rico ODMDS
 (San JI.I::m and Ponce) primarily utilizing split-hull barges. Specific instruct ions/requirements are
 contained in the Depanmcnl ohhe Anny (DA) permits issued by the USACE-SAJ, listed as
 contract specifications in Federal dredging contracts, and provided to contractors in placement
 guidelines associated with each dredging proj ect (see Section 10 of this SMMP).

 2. Rtgullltor)'lStatutory Responsibilities UDder M.PRSA
 USACE and EPA have been assigned various dulie s pertaining to ocean disposal site
 manllgement under MPRSA. EPA and USACE share responsibiJi ry for MJ>KSA permitting and
 ocean di sposal site designation and management, as briefly summarll.ed below.

 1. / Seeliol! 102 ofthe MPNSA
 Under Secti on 102, EPA designates recommended lim..,:; and l ocaliOIL~ for material disposed at
 ocean sites (including dredged material) and develops the env irorun~ntal criteria used in
 reviewing permi t applications.

 1.2 Section 101 of the MfRSA
 Under Section 103, USACE is assigned regulatory responsibi lity for trans portation and disposal
 of drcd" ..-d material, subject to EPA review and corx:um:nce that the material meets applicab le
 ocean disposal criteri a.

 J . Dred&ed Mlilterilil Testing Requiremen t3
 As pan of the permitting process., applicants are requ ired to tcsVcharucterize 1111 dredged material
 proposed for disposal at SJS 10 determ ine if it meets the ocean disposal criteria (i.e., is suitable
 for ocean disposal). Dredged material testing procedurcslrequirements (including quali ty
 assurance requirements) are contained in the following documents:

    -Ocean Dumping Regutations (40 CFR Pan 227. "Criteria for the Evaluation of I'ermit
    Applications for Ocean Dumping of Materials")

     -EPAfUSACE 1991 . "Evaluation of Dredged Material Proposed for Ocean Disposal, Testing
     Manual ~ as amended (otherwi se known as the 'Green Bock').

     -EPA Region 2IUSACE-NYD 1992 (or most recent rev ision). ' 'Guidance lor l'erforming Tests
     on Dredged Material proposed for Ocean Disposal" (othef\.\·ise known liS the Regional Testing
     Manual).

  EPA-Rl and US ACE· SAJ will prepare a regional implementation manulII that provides guidance
  specific to ocean disposal of dredged material !It the SIS and other ocean sites in the Cari bbean
  region. U:"tilthis guida nce manual is prepared and approved. howe ver, the EI'A-R2IUS ACE·
  NYD (1992) ;" ant:al (or its ::105t recent) revi sio;; ~',: 11 be used I.;:. eVU hl:lte the s'~ itob~ li ty :Jf
  dred ged materi al proposed for di sposal at the $J5.

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 The suitability of dredged material for ocean disposal must be determined by the USACE- SAJ
 and concurred with by EPA· R2 in writing prior to each authorization. The determination of
 suitability will be valid for three years from the time of testing, unless it is determined that
 condi tions at the dredg in g site may have changed significantly since that time (e.g., chemical
 spills). EPA· R2 may extend the authorizati on for an additional period withoUl further testi ng if:
 I) conditions at th e dredging site are deemed to not haVe Changed significantly since the time of
 testing (reduced levels of testing effort may, in fact, be requ ired to confirm this); and 2) no
 unacceptable impacts have occurred or are expected at the dredgi ng and disposa l sites.

 4. Past and Anticipated SJS Usc and Quantity of Material I>isposed
 MPRSA 102 (c)(3XD and E) requires that the SMMP include consideration of the q uantity of
 material to be disposed of at the site, and the presence, nature, and bioavailability of
 contaminants in the materi al, as weI! as the anticipated use of the site over the long·tenn.

 The following table reports volumes deposited by the USACE·SAJ for dredging and disposal at
 the Sl S in FYOO·FYIO.


  Completion Date       Type of Action                      Volume (c.y.)       Com(Mlsifion
  FY94                  SJH WideningIDeepcning              1,053,000           silty sand, fine s
  FY98                  SJH WideninglDeepening              3.9 13,663          silty sand, fines
  FY99                  SJH WideningfDeepening              3,802,346           silty sand, fines
  FY99· 01              Rio Puerto Nuevo Flood              1,500,000           sands, clays, fines
                        Control Project Construction
  FYO !                 S1 H Berthing Areas                 160,000             silt
                        Maintenance
  FV06                  S1H Mai ntenance                    446,565             silty sand, fines


 The foll owing table reports volumes that are anticipated by the USACE·SA1 for dredging and
 disposal at the SJS in FY 10· FY20.


  Completion Date       Type of Action                      Volume (c.y.)       Composition
  FYI O                 Rio Pue rto Nuevo Flood             2,600.000           silty sand, fines
                        Control Project Construction
  FYI I                 SJH Mai ntenance                    420,000              silty sand, fi nes
  FYl l                 SJH Berthing Maintenance            30.000               silt
  FY15                  SJ H Maintenance                    350,000              silty sand, fines
  FY19                  SJH Maintenance                     350,000              silty sand, fines


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 The only source of material that is expected to be placed at the site during the projected period is
 dredged material resulting from maintenance of navigable depths in San Juan Harbor and
 dredged material resulting from construction and maintenance of the Rio Puerto Nuevo Flood
 Control Project. Materials will consist of variable percentages of silt, clay, and sand . Thcrc are
 no proposed limitations on the quantity of material that may be placed at the site.


 S. Inler-Agency Coordination
 5.1 Transkr o[lnfOrmation
 EPA-R2 and the USACE-SAJ jointly manage the San Juan Harbor dredged material disposal
 program and the SJS. EPA-R2 and the USACE-SAl will continue to coordinate the exchange of
 informati on, management and monitoring resources, and the documentation of site management
 decisions at SJS. EPA-R2 and USACE-SAJ will continue to provide each other with all
 pertinent data and information as it becomes availab]e. Specifically. upon discovery/notification,
 any information concerning disposal/dredging violations will be shared between EPA-R2 and the
 USACE-SAJ.

 This SMMP constitutes an official agreement between EPA-R2 and USACE-SAJ to continue to
 cooperatively manage and monitor the SJS and to coordinate the collection and transfer of
 information pertinent to the management and monitoring of the SJS as set forth herein.

 5.2 Funding ofSMMP Tasks and AClivilies
 The costs of site management and monitoring will be shared between EI' A-R2 and the USACE-
 SAl to the extent allowed by funding le vels in any given fiscal year (i.e., cost-sharing will be
 subjccllo appropriations).

 Consistent with Section \o2(c)(3) of the MPRSA, the SMMP developed by EPA-R2 in
 conjunction with the USACE-SAJ shall incl ude a pmgram for monitoring the site that includes
 the responsible agency(ies) for each monitoring activity. The SMMP and, as applicable, permit
 conditions will also specify when site u:>crs will be required to undertake monitoring activities
 associeted with thei r projects in accordance with 40 CFR § 228.9. Each Agency will bear its
 own costs for activities itlllldertakes in furtherance of the responsibili ties established in the
 SMMP except as provided for in duly executed Interagency Agreements (lAs) pursuant to the
 Economy Act or the cooperati ve authority of Seclion 203 of the MPRSA.

 The USACE-SAJ will support the monitoring and management of Caribbean Ocean Dredged
 Material Disposal Sites. lAs between EPA-R2 and the USACE-SAJ are encouraged in order to
 pool resources to implement SMMP activities. When appropriate, the USACE-SA J may provide
 funds to EPA-R2 via an IA for studies of prevailing current conditions, transport pathways,
 mapping of coral reef resources and assessments of baseline sediment conditions at or near
 Caribl:can Dc" -n Dr:%lge Materi al Dis;msal Sites, aboard th e OSV BOLD (E PA's ocean
 monile.ring veesel) or lhrough contractual mechanisms. EP A-R2 has the highly specialized
 expertise and ··'~socr ~ccs to conduct ad',"ilnCe<! technical work at th e Caribbean ')eean Dredged
 Materhl Dispc,al Sites and to compl~m ent USACE.sAJ capabilities by provi ding support in


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 sp:cific areas of exp:nise in oceanography, marine ecology, and marine instrumentation that are
 required for work at the Caribbean O\;o:an Dredged Material Disposal Sites,

 These lAs allow the Govemment to conduct work in the most reasonable and cost effective
 manner and to realize significant cost savings by using the OSV BOLD (EPA' s ocean monitoring
 vessel) to suppon the lengthy surveys required for mappi ng resources and conducting sam pling,
 EPA·R2 can also provide such specialized support as side scan SONAR and underwater
 videography via remote operating vehicle at no additional cost. EPA-R2 staiTis uniquely capable
 to oversee the technical merits or limilations of any work products arising from any contractor
 pro viding individual site monitoring and management infonnation services through contractual
 mechanisms,

 5.3 Proiecl specific coordination
 Prior to issue of ncw permits for private dredging projects, Antilles Regulatory Section and EPA-
 R,2 will ui:sl' u~~ ~po::~ i HI ~ulluilions of the permit. As monitoring requin:-ment~ tuld placement
 conditions change, the special conditions may also be changed to hel p ensure ()Cnnit holders
 conduct dredged material disposal operations at the SJS as safely and efficient ly as possible.
 Li kewise, prior to Federal dredging projects, contract specifications are reviewed and updated as
 necessary to rellect changes in monitoring requirements and placement conditions.

 6. Objeeth'es of the SMMP
 The ob:ectives of this SMMP are to collect sufficient infonnation to:

 a. prov ide that no unaccept.able environmental impacts occur from the disposal of dredged
 material at the S1S;

 b. recognize and correct any potential unacceptable conditions before they cause any
 unacceptable impacts to the marine environment or pte~ent II navigational hazard to co mmercial
 waterborne vesse l traffic;

 c. detcrrnindcnforce com pliance with MPRSA ()Cnnit conditions;

 d. provide a baseline assessment of conditions at the 81S;

 e. outline a program for monitoring the 8JS;

 f. describe special management conditions/practices to be implemenLCd at the SJS;

 g. estimate the quant ity of material to be disposed at the SJS, considering the presence, nature,
 and bicavailabilily of the contaminants in the dredgecl material;

 b. specify the intended use and possible closure date, if necessary, of the SJS;

 i. provide a schedule for review and revision of the SJS SMMP.

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7. Site Description/Assessment of Baseline Conditions at SJS
MPRSA 102 (eX3XA) requires that the SMMP include a baseline assessment of conditi ons althe
site. Baseline conditions measured by IE Corporation in 1980 were summarized in the
Environmental Impac t Statement prepared to support designat ion of the SJS (EPA, 1982).
Additional baseline biological, geological and geochemical data was collected from the SJS in
1984 by JRB Associates (under contract to EPA).ln NovemberfDecember 1996 EPA-R2
collected sidescan sonar, sediment chemistry, and benthic community structure data in and
aroWld the SJS to augment the baseline assessment of conditions at the SJS. The data from the
1996 survey will be incofIXlrated into the baseline assessment as it becomes available. Further
efforts wi ll be made to enhance our knowledge of baseline conditions during monitoring
operations at the SJS.

7. J Physical. Meteorological and Oceanographic Features o{the SlS:
a. Water depths at the SJS average 292 m (965 tt). Bottom depths at the southern boundary are
approximately 213 m (700 tt) and slope moderately to approximately 400 m (1,300 tt) at the
northern boundary (EPA, 1982).

b. Easterly trade winds predominate at the SJS throughout the entire year. pri marily from the
ENE direction. Wind speeds in the area are moderate. The mean annual wind speed is 14.2
kmIhr, but shows considerable daily and monthly variation. Maximum wind speeds occur in July
(mean monthly velocity,., 16.1 kmJhr) and minimum wind speeds generally occur in October
(11.3 kmIhr). Infrequent tropical storms llIld hunicllIles are sometimes severe, occur any time
from August to October, and generally produce considerable rainfa ll (EPA, 1982).

c. Currents at the SJS are greatly influenced by the direction and strength of the trade winds. The
trades blow primari ly from the northeast, whieh in C()njunction with the east-west alignment of
the coastline results in a westerly, alongshore current. Surface currents show general westward
drift (mean speed 0.6 knots) with a significant tidal componenL Subsurface currents are not we ll
defined, but appear to be weak. This fact is also evidenced by the rel atively undisturbed
depositional environment within the SJS and surro unding area.

d. Water column structure at the SIS is more or less uniform throughout the year. Salinity and
temperature data reveal the existence of a well-mixed layer of surface water. The depth orthis
surface layer varies with season from less than)O m (April- Decemlxr) to deeper than 100 m
(varies from 100 to 330 ft). The average annual temperature and salinity of this swface water
range between 26-28 °c and 35.5 _ 36.2 ppt. Below this surface layer, a permanent density
gradient (pycnocli ne) extends to approximately 240 m.

e. Meas·JITT.u:nl, of baseline dissolved oxygen, total suspended solids, and turbidity levels in the
water colu:m at the SJS were ge nerally within ranges typically associated with unpolluted
tropical cond itions. Surface to bottom dissolved oxygen conce:maliol1s range from 5.4 to 7.3
mg/l, dec['casing -,vith depth bdow the pycnocline. Total suspe nded solids concentra~ions

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measured allhe SJS ranged from below detection limits to approximately 1.8 mg/1. Turbidity at
the SJS ranged from 0.15 - 0.59 NTU. Suspended solids and turbidity tend to be high in surface
waters due to phytoplankton produc tion, increase to a localized maximum near the pyc nocline
and decrease significantly at depth.

72 Sediment Composition/Chemistry and Benthos althe SJS
a. $edimentary Composition: Bottom sediments at the SJS are predominantly fine -grained (i.e.
silts an d clays) with localized sand and gravel areas. Samples ofbouom sediments taken from
the site the SJS average 48% silt and 45% clay. Side-scan sonar imaging conducted in 1996
revealed debris and active vent ing of bioge nic gases over limi ted portions of the site.

h. Sediment Chemislry: As described above, sediments at the SJS are predominately fine-grained.
Thc total organic carbon content (TOC) of SJS sediments ranges from 0.5% to 2.3%. Sediment
samples collected in 1984 from within and outside thc boundaries of the SJS were analyzed for
concentrations of trace metals, hydrocarbons and chlorinated organic contaminants (i.e. PCBs
and selected pesti~ides). Analysis of sediment samples for hydrocarbons and chlorinated
organics, from a station at the center of the SJS, indicated the presence of variable levels of well-
weathered petroleum and biogenic Hydrocarbons. Low levels of PCBs were also detected.
Pesticides were not detected in the samples. All sediment samples were analyzed for trace metal
levels; the results are reported in Table I . Concentrations of certain metals (chromium, copper,
iron, nickel, and zi nc) were found to be somewhat elevated at 2 stations within thc SJS.
However, trace metal concentrations at the remaining survey stations were not particularly high
and with in expected ranges for areas receiving some degree of anthropogenic input. Metals
levels did not differ significantly between stations taken inside and outside of SIS boundaries.

Table 1. Co nce ntrations or selected contaminants in sediment sampled at SJS (JRH, 1984).

 PoramelH (# orUalioJls, observatioJlS)              Villi           Concelllr3tioo, dry wt.

 Total PCBs                                          nglg (ppb)      <87-1580 (Aroclor 1260)
                                                     ~gls (ppm)      ND - 84.7
 Arseni c (18 stns; 38 obs.)
                                                     ~glg (ppm)      0.04 - 1.32
 Cadmium (18 stns; 38 obs. )
                                                     ~glg (ppm)      5.6 - 95.8
 CliromiuDI (18 sins; 38 obs.)
                                                     ~ glg{ppm)      2.3 - 122
 Co pper (18 stns; 38 obs.)
                                                     ~glg(ppm)       0.008· 1.34
 Mercury ( 18 sins; 38 obs.)
                                                     ).lglg(ppm)     2. 1 - 48.1
 Nickel ( 18 stns: 38 ob o.)

 Lead ( 18 ~tns; 38 obs.)                            ).lg/g (pp m)   0.4-129.6

 Zinc '; 18 sms; 38 ous.)                            ]lg/g, (ppm)    3.0-33 1


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c. Benthic BiOla: Benthic samples taken from the vicinity of the SJS yi eld low but highly variable
numbers of taxa and individuals. The benthic community is characteristic of fine-grained
bouoms, i.e. the community was dominated by deposit-feeding organisms. Numerically
dominant taxa in the study area include polychaetes (197 taxa), nustaceans (97 taxa) and
molluscs (60 taxa, primarily gastropods (snails) and pelecypods (bivalves», echinoderms (19
taxa), and 2S minor taxa (primarily sipunculids, but also including phoTOnids, pogonophorans
and cephalochordates). Significant differences in community romposition between aleas within
and outside the SB have not been detected and the diversity and abundance of organisms are
positively correlated with increasing heterogeneity of the bottom sediment.

7.J Usage ofSJS by Fish. Marine Mammals and Endangered Species

a. Marine mammals and sensirive species: The SJS does not encompass any known breeding,
feeding, or nursery areas of marine mammals, sea tunics or birds. Waters off San Juan arc
regularly visited dW'ing the wi nter months (January-mid-March) by migrating Humpback whales
(Megaplera novaeang/iae). Humpbacks do not feed while in tropical watcrs, but are onen seen
spy hopping and engaging in other social display behaviors. Newborn calves may accompany
fe male whales, since both Silver Bank (oITN. coast of Hispaniola) and Mona Island (W. of
Puerto Rico) arc known calving grounds for this species. Whales can pass within less than I
mile of shore, but are also observed further offshore. Dolphins are common residents and may be
present in \\'aters of the SJS at any time. West Indian manatees have been sighted in shallower
roastal waters of Puerto Rico.

Four species of sea tunIes are also known to inhabit Puerto Rican waters. Juvenile green and
hawksbill turtles may be found off the northern shore of Puerto Rico, associated with rafts of
Sargassum. WalCrs of the SJS are too deep to provide foraging habitat for adults of green,
hawksbiU or loggerhead tunIcs. Leatherback marine turtles approach the north shore of Puerto
Rico during their nesting season (March-June) and may be present in offshore waters during this
time, but basically spend the rest of their adult Lives in the temperate zone. The endangered
brown pelican is resident to Puerto Rico, but is primarily present inshore.

b. Fish: Open waters of SJS may be feeding grounds for pelagic fish (e.g. tuna, jacks. mackerel)
and deeper site Wl!ters may be fceding areas for various snappers and other species, but the SJS is
not a critical area in this regard. Decp waters of thc site may be inhabited by various species
having wide depth rang~ (e.g. clasmobranchs, conger eels, batfishes) as well as slope species
(e.g. grenadiers).

A modest. but significant, commercial pot fishery operalCs out of San Juan. This fishery,
howcwr, is restricted to shallower, inshore shelf waters. Mackerel, sardine. snook and snappers
consti::.! t:! the bu!k of1:mdings in this fishery. A hand line fishery targeting snappers also
( :Jer!!' ; out of S:m Juan; this fishery operates primarily in shallower wmer but extends to depths
of appw ximolely :500 ft. In addition, there are numerous priyale recreational and deep S2a charter

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fishing operations centered at San Juan. Effort is generally directed at billfish, tuna, and other
pelagics in this fishery.

c. Endangered and Ihreafened corals: There are two species of corals in Puerto
Rican waters listed by NOAA-NMFS under the Endangered Species Act (ESA) as
threatened (Acropora polmara and A. cervicornis). Acropora spp.are important
reef building corals, typically occurring in high energy, shallow water areas.
NOA,\ identified critical habitat for Acropora spp. as areas having consolidated
hardbottom substrates devoid of macro algae and sediment cover in depths
between the Mean High Water line and 30 meters. The SJS is located in waters
substantially deeper and far removed from areas meeting this depth critcrion.
Critical habitat areas may however be located along the transport routes typically
used by barges to trave l to and from the SJS.

NOAA also identifies a species of deep water coral (Oculina spp.) as a species of concern in
Puerto Rico. The presence of th is species however has not been confirmed on the northern coast
of Puerto Rico in the vici nity of the SJS. In addition, NOAA-NMFS is proposing to list
additional spedes of co ral as threatened under the ESA. Many of these species occur as part of
coastal or shelf edge reef habitats (i.e., depths <6 1 m). The SJS is located in waters substantially
deeper and far removed from areas meeting this depth criterion. (see Shelf Edge RcefResources
(sec tion 7.4)


7.4. Shel{£dge ReefReSQurCi!S
Reef reSOUITes on the Pueno Rican shelf and along the shelf edge have been iden tified by the
National Oceanic and Aunospheric Administration (NOAA) as essential fish habitat. NOAA has
indicated that these areas are generalJy restricted to areas shallower than 200 feet (61 m). Side
scan SONAR and remotely operated video mapping showed that coral growth is Limi ted along
the coastline east of San Juan Harbor wi th in this depth range. Sidescan SONAR and video
mapping of areas that are potentially affected by transpon and disposal of dredged material at
SJS will be im plemented as early monitori ng efforts in implementation of this revised SMMP,
belore detemlining any further monitoring or management requirements at the site for prote>:ting
shelf edge reef resources,


8. SJS Monitoring Program
MPRSA 102 (c)(3)(B) requires that the SMMP for a given dredged material ocean disposal site
include a program for moni toring the site.

EP A-RWSACE-SAJ have devel oped a tiered monitoring approach to investigate the physical,
biological, and chemical impacts of ocean disposal of dredged material at sites in the: Caribbean.
EP A- R2IUSACE-SAJ's Ocean Disposal Site Monitoring Program (MP) addresses both
re.~ulatory and techn ical issues associated with the disposal of dredged matcrial at the SJS. The



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    tiered approach described herein is comprised of levels of increasing investi gati ve intensity
    designed to generate the technical information necessary to properly manage the disposal site in
    an environmentally sound and cost-effective manner.

    Monitoring effort under the SJS MP is dependent upon volume and frequency of disposal. In
    general, if no disposal occurs, then no monitoring wi ll be required. Inversely, in a period during
    which there is disposal activity, monitoring would be conducted proportionate to vc1ume of .
    disposal, as nccessary. Specifi c monitoring activities may also "be required for indi\'idual
    projects.

    8.1 Goals ofthe SJS MP
    The SJS MP win focus on the overall impacts of dredged material on the entire SJS and
    surrounding area. In addition to addressing the Null Hypot heses (Ho) (see Section 8.2), the
    overall goals oflhe SJS SMMP are to:

    a. verify that drcdged material disposed at the SJS does not cause any unacceptable im pacts.

    b. assess and monitor (trends) conditions at the SJS as defined in 40 CFR Section 228 .10. and
    compare them to baseline data.

    8.2 Questions/Null Hypotheses (HJ to be addressed bv Ihe SJS MP:
    The SJS MP wiJl focus specifically on verifyi ng the following four null hypotheses CHo) for
    indi vidual projects and/or disposal locations:

    H., I : Dredged material disposal operations are consistent with the requirements of the o..ean
    dumping pennits.

    Actions:
    -Use the USACE-approved disposal inspector (ship rider) reports and infonnation submined by
    perminees to detennine compliance.
    -Require GPS-based automated disposal surveillance systems on all disposal scows at the SJS.
    -Conduct independent surveillance of disposal operations

    H,,2: Dredged material disposal operations are not causing unacceptable impacts (physical,
    chemical, and biological) at the SJ S and surrounding area.

    Actions:
    -Conduct sediment profile imagery surveys (Tier 2) at the SJS and surrounding area.
    -Conduct benthic community structure, sediment chemistry and body burden analyses withi n the
    SJS w hen de em ed necessary based on results of Tier 2 physical and biological efforts
-    -   -




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HoJ: Dredged material disposal has no significant impact on endangered species.

Actions:
-Review USACE-approved disposal inspector (ship rider) reports to ensure that no dredged
mater ial disposal occurs in the presence of any marine mammals/endangered turtles.
- Monitor marine mammals/sea mrtle sigh ti ngs, landings (byeatch), and strandings in tlle San
Juan vicinity.

H 0 4: Dredged material disposal does not significantly alter the bentltic commWlity structure of
the area of the SJS.

Actions:
- Use sediment profile imaging (SP I) photography to assess sediment and benthos distribution.
-Conduct Tier 3 benthic community struc ture monitoring in and around the site




9. Monitoring Activitiesffechniqucs
9.1 WorklQualitvAsslirance Project Plan
The SJS MP consists of a three-tiered approach to monitor the physical, chemical and ·~ iological
effects of dredged material disposed at the SJS, the components of these tiers arc outlined below
in Sections 9.2 to 9.4. [nfonnation from these monitoring activities will be extremely important
for detennining the potential for unacceptable impacts to occur due to disposal of dredged
material at the SJS. For this reason, the data obtained in these surveys must be of high quality.
All monitoring work conducted in accordance \vith this SMMP must .confonn to a work/quali ty
assurance project plan (WfQAPP) Ihat has been reviewed and approved by USACE-SAJ and
EPA-R2.

Monitoring and sampling will occur using a design that allows quantitative analysis of results;
the sampling area may include all or part of the S1S, the surroundings and a reference area
geographically removed from the effect of dredged material disposal at the SJS. WfQAPPs must
reflect the design selected by the Agencies for the monitoring tasks.

9.2 Physical Moniloring
Physical monitoring is designed to determi ne the physical nature and distribution of dredged
material duri ng and after disposal lit the SJS and environs. Measurements of the physical nature
of the material proposed for disposal at the SJS will allow first order tracking of physi~al impacts
at the site and support modeling of initial mix ing and seafloor deposition following disposal.
Sediment profile imaging (SPI) will be used to confirm the fate of the material following
disposaL SPI technology consists of a frame-mounted apparalUs that enables a camera to lake II
picture of the sediment-water interface. Useful infonnation can be obtained from the pictures to
produce fine scale description of the spread of material on the bottom and its effect on the
~ lwironment. Under cenain circumstances. the collection and analysis of sediment samples may



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be required to fully assess the final disposition of dredged material discharged at the SJS.

a. Tier J: Dredged Material Tes/ing/Modeling oj Disposal Events/Disposallnspectiolf
Grai n size distribution, percent moisture, Atterberg li mits, and total organic oontent of proposed
m aterials will be measured for all dredged material s proposed for disposa l at the si te. This data
is acq uired in suppon of the evaluation of dredged materia l proposed for ocean disposal, as
required by the 1991 Green Book and the regional implementation manual governing disposal at
the SJS.

Disposals will be mode led usi ng available computer models (e.g., ST FATE) to estimate the
footprint and plume anticipated from a proposed project prior to commencement of disposal at
the site. Res ults will be used to detennine disposal locations at the SJS.

GPS-based automated disposal surveillance techno logy will be used to ascertain that loading and
disposal of dredged mate rial is occurring at authorized locatio ns, that m aterial is not bei ng lost en
route to the site, and that material has been discharged wi thin the site boundaries. This
technology simultaneously records the draft and position of the vessel to which it is attached.
USA CE-approved disIX'sai inspectors (ship riders) will acco mpany all scows and hopper dredges
disposing at the S1S.

Frequcncy: Testing and modeling conducted prior to each initial MPRSA ooncurrence. GPS·
based automated di sposal surveillance to be conducted with each scow load of material
transported for disposal at SJS.

b. Tier 2: Sediment profile imagery (SPI)
Sediment profil e im agery (S P[) cameras wi ll be deployed at an array of stations extendi ng
radially o utward from the center of the S1S to define the footprint of d redged material wi thin and
around the site. Sampling locati ons will be detennined jointly by EPA-R2 and USACE-SA1
prior to lite surveys. Because. SPI has not yet bt:en conducted at the site, the optimal length and
spacing of radiallransects will be detenn ined from the first s urvey. From these images, grain
size, sediment color and roughness can be detennined and used to identifY and map dredged
material on the botto m. (Images obtained using SPI will also be used in T ier 2 biological
evaluat ion of the site.)

Frequency: S PI records w ill be collected approxi mately every 5 years when the site has been
acti ve. USACE-SAJ and EPA-R2 will genera lly oonduct these investigatio ns, ho wever the
agencies may requi re surveys to be conducted by pcnnittees (or by the USACE-SAJ), fol1owing
disposal of large volum e proj ects.

· ** Note: T he results of SPI will be used to adjust the Tier I model and/or disposal operations, :is
necessary· " "




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c. Tier 3: Sedimenl sampling and analysis
In cases where additiona l information is required to refine the final disposition of discharged
dredged materia ls, it may be required to actually collect sediment samples from within th e SJS
and its vicinity for analysis. Box core sediment samples will be collected fro m areas of interest
inside andlor outside the site. Grain size distribution, percent moisture and total organic content
of sediment samples will be analyzed. Tier 3 physical monitoring may be cond ucted alone or in
conjunction with Tier 213 chemical (bulk sediment chemisl1ylbody burden analyses) or Tier 3
biological effons (benthic eommWlity analyses). Samples of the sediment will be coll ected using
approprime methods to allow for Tier 2 chemical analysis (bulk sedimen t chemistry). Organisms
screcned from the sediment win be pre served and archived in II manner that allows T ier 3
biological (benthic comm uni ty analysis) andlor chemical analyses (body burden analysis).

Frequency: The need for and the areal ex tent of Tier 3 physical monitoring efforts will be
determined by T ier 2 physical and biological evaluations (i.e., SPI). In addition, T ier 2
monitoring may require confinnation/validation using box core samples.

~··Note: Sediment samples can also be used 10 assist in the interpretation of sri image'Y
through examination of features present in the sample"' ·


d. Special Studies (PhYSical)
In the event that high resolution of site bathymetry is required, a survey using mid-water
multibeam sounding equipment would be conducted at the site. This type ofteetmology is
required for obtaining bathymetry at the SJS because of the great dep th of the water. However,
owing to the high cost of this type of surveying and the expectation that accretion of deposited
sediments will not result in seafloor features (this expectation is based on the results of
monitoring of a deepwater dredged material ocean disposal site off San Francisco. CAl it is
envisioned that bathymetric surveys of the SJS will not be conducted on a regular basis.


In the event that areas that warrant additional concern are identified in the vicinity of the site,
arrays of sediment traps may be deployed along the margins of the si te and in the direction of
dredgoo material transport. Sediment tmps can dctennine if significant quantities of dredged
material are being transported off the site in the direction of the resource of concern. (The tmps
would have to be deployed for approximately six months of active disposal and wou ld be
compared to sedime ntati on rates at a reference site, i. e. an area Ihal is within the ar~ of itlnuenee
of hydrographic regimes affecting the SJS but that is unaffected by dredged material disposal). It
is no t envisioncd that sediment traps will need to be deployed on a regular basis.

Additiona l studies and technologies may be used as required to address specific data needs but
are not intended for application on a routine basis. Examples include sub-bottom profiling and
side-scan sonar tectmologies.

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9.3 Biological Monitoring
The review of96-h exposures of sensitive marine organi5ms to the suspended and liquid phases,
and I O-d exposures 10 the solid phase of dredged material, prior to approval for disposal at S1S,
provides assurances that no acute toxicity is expected to result from disposal of dredged materials
at the SJS, Detennination of long term trends in the benth ic community, however will require
SPI photography or collection and analysis of benthic samples. SPI photography provides usefu l
information on the abundances, taxa, and successional stage of communities present at a given
location without the expense of sampling. Under certain circumstances, actual sampling and
analysis of benthic communities in and around the S}S may be required.

Tier J: Review a/Testing Results/Monitoring/or Sensitive and Fisheries Species Impacts
a. Toxicity of all project material proposed for ocean disposal will be assessed using sensitive
marine organisms and the procedures outlined in the 1991 Green Book and the regional
implementation manual governing disposal at the S}S. The results of toxicity tests wi ll be used
in conjunction with the STrATE mixing model to ensure that disposal of the project material
does not result in violations of the initial mix ing requirements followi ng disposal at the SJ S. By
prohibiting materials that show acute toxicity in lO· d tests from disposal at the S1S, the first level
of assurance that adverse impacts to the benthos or to other marine organisms are not OCCUlTing
due to the disposal of dredged material is gained. The results of bulk sediment and
bioaceumulation tests will be used by USACE-SAJ and EPA-R1 to identify and tnick impacted
zones and direct biological sampling efforts al the higher monitoring tiers. Impacts to sensitive
species (e.g. marine mammals, sea turtles, brown pelicans) will be avoided or minimized through
the use of on board observers; disposal wi ll not be allowed to occur in the presence of identified
sensitive species. Fisheries issues are re-evaluated for the SJS during each pennitiamhoril'..!Ition
process. (Impacts to fisheries due 10 disposal operations are.llQl anticipated, however in the event
that issues regarding fi sheries are raised to the US ACE-SAJ and/or EPA-R2, the agencies will
consult with resource authorities at NMFS, USFWS and the Commonwealth o f Puerto Rico 10
re view the issues in the context of dredged material disposal at the S1S.)

 Frequency: Testing and Essential Fish Habitat consultations will be conducted prior to each
 initial project 10J concum.:n<;:e. On board disposal inspectors will accompany each load of
 material transported for disposal at SJS .

 h. Tier 2: Sediment profile imagery (SP/)
 SP[ cameras will be used to identify and describe colonization and su~ession status of
 communities inside and outside site (SPI also serves as Tier 2 physical moni toring). If, based on
 comparisons with a reference site, areas outside the site appear to be biologically impacted by
 disposal activities then the areal extent ofimpact will be considered in the decision to pursue
 higher tier testing involving box core sampling (Tier 2 Chemical. Tier 3 Physicall Chemicall
 Biologica]) and may result in conditions placed on permits or contract specifkations.

 FrcguG;.;·': SrI reeo: -':3 will be collec t:::d app1'0ximatcly ev:;y 5 years ',','hen the site has Jeen
 active or if modeling predicts excecdanc;: of site boundary, USACE-SAJ and EPA-R2 will

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generally conduct these investigations, hov.'ever the agencies may require surveys to be
cond ucted by permittees (or by the USACE-SA1), followin.: disposal of large volume projects.

c. Tier J : Benrhie sampling Qnd QNalysls
Tier 3 biological monitoring cnlilils counting and ident ifying benthic organisms collected with
box cores to dcfine the st:nus and health of the benthic community (e.g. sptties identification.
diversity, bioJrullls, trophic status, successional stage). Identificatio n of organisms wi ll be to
lowest prac ticable taxo nomic uni t. Sampling of benthos will occur in a stratified, random design
10 allow quantitali\·e analysis of res ults; the sampling area may include all o r part ofthc SJS the
surround ings and a reference area geographically removed from the effeci of dredged material
di sposal at S1S.

Frequenev; Impacts ....-i thin the site lIl"e expected due to the disturbances caused by disposal
events. Impacts outside the site, or an absence of progress in the succession or in colonizfltion of
the si te for extended periods of time after cessation of di sposal, may be cause for concern and
thcr.::fore prompt more deli nitive study in higher tiers ofi nvcsti gation (i.e, Tier 3 biological,
Tiers 2/3 chemical). Thcse indications would be detccted using 51'1 in Tier 2.

-UNote; Tier 3 biological moni toring results ....iII also be used to assist in the future
interpre tation of featuccs present in SPI imagery···

d. Special SJiJdies (Biological)
In the evcntthat conccrns regardi nglocaJ populations offish or other spe<:ies (e.g. crustacean
macrofauna or sensitive species) are identified, standardized quantitative surveys and/or body
burden sun'cys may be required. These surveys would use nppropriate gear for capturing the
target species (e.g. benthic sleds or trawls) an d flgai n usc a reference area for comparisons.




9.4 Chemical Monirorin~
Chemical analyses of sediments and tissues of organisms exposed to the ma.terial proposed fo r
ocean disposal enables USACE·SAJ and EPA·R2 to assess the prese~. nature and
bioovailability of contaminants in dredged materi al prior to authorizing dispoSoilI at the SJS.
Periodic collection and ana lysis of sediment and resident organism tissue samples from the SJS
and its environs will provide USACE·SAJ and EPA·R2 with infonnation necessary to confinn
that no unacceptable effects are occurring and to identify long tcnn trends in and around the SJ5.

a. Tier J: Rel,iew 0/ocean disposal res/ing results
Bulk sediment chemistry (and a measure of its bioavailabi lity through biological tests) of
proposed dredged materi al will be determi ned using the procedures outli ned in the 1991 Green
Book and the regional implementation manual governing disposal at the SIS pri or to
commencement uf any disposal of the material at the site.




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GPS-based technology will be used to ascertain that loading and disposal of dredged material is
occurring at the authorized locations and that material is not being lost en route to the si te.
Visual inspectors will also be deployed.

Frequency; Conducted with every project.

b. Tier 2: Bulk sediment chemical analysis
Bulk sediment chemistry will be conductr:d on surface samples collected from the SJS and its
envi rons. This data will be used to help determine the areal extent and distribution of dredged
material and specific contaminants. Depending on site management data needs, the list of
contaminants for a given effort may include all contaminants of concern or a few contaminants
selected for their usefulness as tracers of dredged material or for their ecological significance.
All sediment samples collected for bulk chemistry analysis will also be analyzed for grain size
and total organic carbon content (Tier 3 Physical Monitoring). Modeling of the theoretical
bioaccumulation potential of non-polar organic contaminants will be used to estimate
bioavailability and to determine whether there is a potential for bioaccumulation ofthesc
contaminants to unacceptable levels and need for body burden analyses.

Frequency; The need for Tier 2 chemical monitoring will be determined from lhe results of SPI
conducted under Tier 2 biological and physical monitoring. Possible triggers includc
observations that dredged matcrial appears to have spread significantly outside the site or ifSPI
imagery suggests that colonization/succession is not occuning at rates comparable to reference
sites. It is anticipated that these analyses will be conducted on the order of every 10 years.

e. Tier 3: Analysis of body burdens of contaminants in ben/hie organisms
Conduct ti ssue chemical analysis of organisms from box core samples collected during Tier J
PhysicallBiological Monitoring. The species selected for body burden analyses will reflect their
abundances in collected samples. The substrate in which collected organisms were residing will
also be sampled and analyzed [Tier 2 chemical analyses (bulk sediment chemistry) and Tier 3
physical analyses (grain sizefTOCJpercent moisture)J and tissue lipid levels v.ill be analyzed, to
the maximum extent practicable. Ideally, Tier 3 chemical monitoring will also be conducted
synoptically with an evaluation of the health of the benthic community (Tier 3. biological
monitoring).

Frequency; Tier 3 chemical evaluation will be conducted if TBP modeling using Tier 2 (bulk
sediment) chemistry results suggests that there is the potential for unacceptable bioaccumulalion
of contaminants from the dredged material or if sediment levels exceed reference concentrations
by an order of magnitude.

***Note: The results of Tier 3 analysis will be used (in conjunction with Tier 2 chemical (bulk
sediment c.hemistry) and Tier 3 physical resulls (fOC)) to refine the inputs used in fut ure TBP
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9.5 Frequencv of Monitoring/Need (Or Higher Tier Investigatiom
Monitoring at Tier I will be conducted prior to disposal of each authorize:d project. An
ant icipated schedule for monitoring is listed in Table 2, however if results indicate: the need for
further investigations, any required monitoring (Tiers 2 and 3) would be initiated . Specific
circumstances that "trigger" advancing to higher tiers of monitoring will be decided by EPA-R2
and the USACE-SAJ, in consultation v:ith the Commonwealth of Puerto Rico and other
stakeholders, Existing monitoring data, anticipated or proposed disposals (including the type and
quamily of anticipate d material), and other relevant factors will be considered to determine
appropriatc monitoring and management preferences. The actual frequencies and schedulc.s for
all jointly funded mon itoring will be by mutual agreement ofUSACE-SAJ and EP A-R2.

9.6 Moniloring Dola Management: Processing. Evaluation and ImerprelaliQn
a_ Data collected from SJS surveys are 10 be processed and analyzed by (or as specified by) the
USACE· SAJ and EP A·R2 (or theirrespective contractors). These data are used to make
management decisions regarding dredged material disposal operations and pennit decisions and
must therefore be of reliable quality and in a consistent fonnat.

b, EPA-R2 requires data to be in the National Ocean Data Center (NODC) fonnat, where
appropriate. Survey data will be summarized in a report generated by the action agency. The
report will indicate how the survey related to th_e SMMP and to previous SJ S surveys. Repons
should be provided within 90 days after completion. Exception to the time: limit will be possible
if outside contracts stipulate a longer period oftimc. The report will provide data interpretations,
conclusions, and mommcndations relative to needs and goals of the SMM P,

Data collected will be made available to Federal and Commonwealth agencies and other
stakeholders, as appropriate. Reports summarizing data will also be made available.

Table 2: SJS Monitoring Activities and Frequencies


 Tier I monitoring activities will be conducted with each authorized project, as noted in text


 Tier 2 "Monitoring Activity         Anticipated          Triggered by ..   Responsible Entity
                                     Frequencl

 Physical- SPI photography           5 Yrs                Usage             USACE-SAJfE PA-
                                                                            R2, or pcnnittee
 Biological. SPI photography         5 Yrs                Usage             USACE·SAJIEP A-R2

 Chemical- SJS Sediments             10 Yrs               Tier2 Physical    USACE-SAJ/EPA-R2
                                                          and Biological




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 Tier 3 · Monilo rin !: Activity          Anticipated             Triggered by."        Responsible Entity
                                          Frequency'

 Physical-Sediment Analyses               10 Yrs                  Volume, Usa~e         USACE-SAJIEPA-R2

 Chemical- Benthic T issue                as needed               Tier 2 Chemical       USACE-SAJfEPA-Rl
                                                                  and Bioloaical

 Biological- Community                    lIS needed              Tier 2 Chemical       USACE-SAJIEPA-R2
 Analysis                                                         and Biological


 S pr-eial Studirs will be perfonned when deemed necessary 10 conlinn that unacceptable
 efTeets are not occurring o r to address any identified deficiencies in comprehension o f
 baseline.
• LISted years are presmtcd as lIlrietl r{)rtlt~ aml~lpaled fmlurncy crecnductt~g thIS montlcnng ltCT. Tar&e1S are
net intended to be bind in; and IIIl! dependent on .ile we hislory.



10. SJS DisponJ Ptrmit ConditionsJ'En(orcemtnl
MPRSA 102 (c)(3)(C) requires that the SMMP include special management conditions or
practices to be implemented at the site that are necessary for the procec tion of the env ironment.

Within approxima:ely len days prior to the start of dredging of SJS·suitable malerial, a pre.
construction meeting is held with dredging contractor representatives, pennilttes, and, mem bers
of the USACE-SAJ Regulatory Branch personnel for projects, or with USACE dredging
contractor and Construction/Operations Division personnel for "-edcral construction andlor
main tenance dred ging projects. I'ermit requirements and placement cond iti ons are di5(;ussed ·to
ensure that everyone is familiar with SMMP require ments prior to the stan of SJS·matcrial
dredging.

IU I Regulalorv Framework Permit eend'lions
Department o r the Army (OA) penniLS will be issued for SJS disposal activities involving non-
Corps projects, and typically are valid for a period or lhroe )·eaJ'$. Copies of the issued permits o r
the letters modifying the se pcnni ts are maintai ned and made available upon request by the:
USACE-SAJ, \\--hieh issues the documents. Placement of dredged material cannot occur at the
SJS wilhout a pennit (or MPRSA S'cction 103 (e) equivalent, e .g. Federal projects w thorized by
Congress),


0) General Con-ii/ions : General permit restrictions reflecting standard maritime ind ustry and
   U.S. Coast Gu ard requirements so thai a waterbomclsea-going acti vity can be carried out
   \\'it~lin the m;:'\unum or basic guidelines set, pri mari ly for safety reasons, by the regulatin g
   1I:J,;,orily. In Inost, ifn OI al l, cases the U.S. Coast Guard is d' .It aUlhority.


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b) Special/Specific Condilions: Special and/or specific permit restrictions will be listed in the
   tex t of the permit and will include, but not necessarily be limited to:

           I. Seasonal restrictions or special conditions regarding dredging and disposal
           (assigned 011 a case by case basis). At present, no disposal restrictions related to
           seasonal variations in ocean current or biotic activity have been determined to be
           necessary for SJS disposal. Should any such restrictions appear necessary as
           monitoring results are compiled, they will be incorporated into future ocean disposal
           authorizations, Addi ti onally, if new infonnation indicates that endangered, or
           threatened. species are being adversely impacted. restrictions will be im plemented.

           2. Requirements for the submission of Iransport alion and placemenl logs. USAC E-
           SAl approved Dredged Material Inspectors (DMls) are required to docwneUl each
           place ment trip on the Transportation and Placement Log Form (Appendix A) and
           notify the USACE·SAJ. The perm ittee shall hire a DM! independent of the dredge
           co ntractor.

           3. Reporting requirements/or un-anticipated events and di.icrepancin.

           4. Guidance pertaining 10 aspects of the dispo.5aJ activity; including boundary
           coordinales, release/discharge procedures, and requirements 10 discharge within
           specific areaJ. The guidance within the permit is also supplemented by the
           Guideli nes provided in Appendix B of this document

10.2 Federal Aullwrizalian
In cases where permits are not issued, as is the case with Federal Navigation Projects, the above
permit conditions will be incorpo rated into dredging contract specifications (see MPRSA Section
103 (e)). When USACE vesse ls, or the ir contractors, conduct the dredging, they will comply
with the same requirements, monitoring, and safeguards that are incl uded in pennits issued to
third party contractors. Pennit-l ike instruct ions specifying all requirements are to be contained
withi n the work speci ficationsiorders for the project. These conditions are equivalent to pennit
conditions and will be enforceable on the contractor under applicable law.

10,3 ViolalioniEnforcemenl Cases
a. Disposal at th e SJS is to occur only with prior USAC E-SAl approval and EP A-R2
concurrence. Projects not in compliance wi th the DA permit v.-ill be subject to enforcement
action.

b. A USACE.-SAJ approved Dredged Materia! Inspector (OMI ) must aceompany all tri ps for
placcment of dredged material at the Sl S and be present during all dredged material discharge
events in order to certify compliance with the USACE-SAl permit conditions, The DMI must
report i:ldcpendcntly to the applicant (not to the dredging contractor). The DMI is required to


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complete, sign, submit and maintain within the official record a Transportation and Placement
Log Form (Appendix A) for each event.

c. The DMI must also complete, sign and submit an Inspector Checklist of requiremenls
assoc iated with each placemcnt trip (Appendix C). The three sections of the Inspector Checklist
are completed by the DM! during three phases of transportation and discharge. Many checklist
items relate to the dredging site. Ensuring that all required equipment and procedures are
followed prior to departure from the dredging site helps ensure ~fe and accurate discharge of
dredged material allhe SJS. Any item on the checklist that receives a "NO" answer, meaning
that a required procedure has not been followed, or required equipment is not present or operable,
requires an immediate telephone call to USACE-SAJ for follow-up action.

d. If any action takes place which does not conform to authorized activities described in any
pennit (Contract Specification and/or Work Order for Federal Projects), reauthorization,
response letter, or other communicated requirements/restrictions, the USACE-SAJ should be
notified immediately by the DMI. In cases where activities beyond the scope of those authorized
occur, appropriate action will be determined by consultation between EPA-R2 and the USACE-
SA!.

lOA Site 1nsptcliorJSun'eillance
a. To ensure compliance with the DA pcnnit conditions and Federal authorization, routine
observations of dredging activities in the San Juan Harbor area are perfonned by the USACE-
SAJ.

b. USACE-SAJ and EPA-R2 (and/or their designated representatives), reserve all rights under
applicable law to free and unlimited access to and/or inspection of:

           -the dredging project site (i ncluding the dredge plant, towing vessel and scow) at any
           time during the project;

           ~any equipment used for towing, surveying, monitoring or navigation;


           -any and a1l records pcnaining to specific (Federal or non-Federal) dredging and
           disposal projects including logs, reports, memoranda, notes, etc.

c. For all disposal activities, the dredging contraetor will be req uired 10 prepare and operate und er
an approved electronic verification plan for all disposal operations. As part of this ,flan, the
contractor will provide an automated system that is operated by an independent (3 party)
contractor to continuously track the horizontal location and draft condition (vertical) orthe
d i~ po~ al Ye5~el from the point of dredging to the dispo sal area, and return to the point of
d redgi ng.




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II . Disposal H('porting' Requir('m('nts lind I>atll Manag('m(,Dt

ILl . USCG Reporting Requirements:
The dredging/w\ving contractor must notify the Captain of the Port (COTP) of San Juan/USCG
for a rcference number before each ves!lC1 departs the dredging site for the SIS. Every trip made
under the permit authori zation is required to be recorded and endorsed by the master of the tow
or the person act ing in such a capacity.

/1.:< Record Keepi'1g1[)('cumemfllionlDala Reporting:
a. Navigatio n logs will be maintained for each vessel (tugboalfbarge) used for ocean disposal of
dredged material. lbese logs should include accuracy, calib ration methods, and any problems
and actions taken associated with navigation. EP A-R2 and the USACE-SAJ require that each
tugboatlbargc used for the ocean disposal of dredged material use D-GPS for navigation
purposes.

b. An electronic Transportation and Discharge Log form must be completed by the DMI to
pro vide a record of each voyage involving an actual disposal event at thc SJS. An example of the
log form is included in Appendix A. The log foms must be emailed to USACE-SAJ and EPA-
Rl within 2 hours of any discharge at the SIS. An electronic oopy of each log form is to be
saved with a filename that includes trip number and retained wi thin a dedicated project folder to
allow for auditing of information. These not ificati on systems ensure that the USACE-SAJ and
EPA-Rl are completely infonned o f dai ly dredging and di sposal activities undertaken within the
Port of San luan.

c. The DMI must also compkte. sign and submit an inspector Cbceklist of requirements
associaled wilh each placement trip (Appendix C). An electronic copy of the checklist for each
trip must be retained with the corresponding TDL form in the dedicated project folder 10 allow
for auditi ng of information. The three sections of the Inspector Ch('cldist are oompleted by the
DM I during three phases oftransportalion and discharge. Many chccklist items relate to the
dredging site. Ensuring that all requi red equi pment and procedures are followed prier to
dcparture from the dredging site helps ensure safe and accurate discharge of dredged material at
the SJS.

d. GPS-based automated disposal surveillance (i.e., vessel draft and position) data must be
ma intained for each vessel used to transport and dispose of dredged material at the SJS.
Surveillance d ata is 10 be submitted to the Agencies on a weekly basis in clectronic format.
Reports should include views ofloaded nod unloaded paths laken by vessels used for
transportation and disposal of dredged material at SJS and the discharge location at SJS. This
information must be superimposed on a figure that includes the dredging area, adjacent
shorelines, and SJS boundaries). In addition, a graphical depiction of draft versus time must be
provided with the above information.

Discil3.rge locations must be made available for EPA and USACE inspection via a website within


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12 hours of discharge. The website must allow sevl;:ral view sizes to observe the location of
discharge. Vessel draft readings must be clearly discernible; superimposed on a figure that
includes the dredging area, adjacent shorelines, and SJS boundaries.

II. 3 Federal S.lS Data Monagement and Reporting
A spreadsheet tile containing contractor-reponed scow volumes information is maintained by the
USACE-SAJ . All disposal records and submitted monthly disposal vo lumes for each project are
proofread, verified and any discrepancies are corrected before entry of data into this spreadshcet.
On a yearly basis, USACE-SAJ will compile all dredging, disposal and testing data and submit
them to USACE Headquaners.

All dredged material disposal data submitted to USACE-SAJ will be compiled, analyzed and
evaluated in a final end-of-the-year report that will be provided to EP A -R2 during the first
quarter of each calendar year andlor upon request. An annual repon will not be necessary if therc
has been no disposal acti vity during the previous calendar year.


The data fil e maintained by USACE·SAJ contains information pertaining to the fo llowing:

           ·PennitfFederal Project number

           · Pennittce or Federal Projcct name

           ·WaterwaylReachiChannel

           ·Was the project maintenance or improvemcnt?

           . Disposal area/buoy at which the material was released/discharged


           - Coordinates at which the material ....'as released/discharged

           · Disposal activity commencement and completion dates

           · Volume of material disposed

           -The year·to·date volumes of private (non-federal) and federal navigation projccts
           disposed at the SJS, noted separately and collectively


i2. SJ;:; SMl\-1P Review and R evisiO:1
MPRS: .. 102 (c)(3)(F) requires that the SMMP include a schedule for review and revision of the
SMMP;l;;ch s~;] 1101 be reviewed ~L:! revised :ess frequently ths:a 10 years p:';.(!r adOpti:.l of
the plan, and every 10 years th ereafter.

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A need for modification of the use of the SJS because of unacceptable impacts is not anticipated
due to tht: management and monitoring outlined in thi~ SMMP. However, should the results of
monitoring surveys indicate that continuing usc of the SJS will lead to unacceptable impacts; the
SJS SMMP will incorporate further restrictions/revisions to alleviate the impacts. The 5MMP
will be revi ewed annually, in conjunction with monitoring data, by the interagency SMMP team
to identify necessary revisions for management of the S15.

EPA·R2 and the USACE-SAJ will convene a Scientific Review Panel, consisting predominantly
of professionals from the fields of engineering, oceanography, and representatives of
go\'ernmental resource agencies, as necessary, to review the SJS SMMP and relevant monitoring
data. Membership will include qualified representatives from academia, federal agencies, state
agencies, public interest groups, port representatives, and consultants. Attendance at meetings
will be by in vi tation only.


13. Rcfcren~C$

EPA. 1982. Environmental Impact Statement (EIS) for the San Juan Harbor, Puerto Rico Dredged
Material Disposal Site Designation. Prepared by EPA, HQ. December 1982.

EP A·USACE. 2000. Site Management and Monitoring Plan for the San Juan Harbor, l>Uerto
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Material Disposal Site. Report prepared under contract to U.S. Environmental Protection
Agency, HQ. Contract No. 68-0[06388, Work Assignment #63. September 1984.


Battelle Ocean Sciences. 1997. Survey Report for Oceanographic Survey of the Five Pu~rto Rico
Dredged Material Ocean Disposal Sites. Report prepared under Contract to U.S. Environmental
Protection Agency, HQ and Region 2. Contract No.68-C2-O 134, Work Assigrunent #4-353. May
1997.




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APPENDIX A- USACE TRANSPORTATION AND DISCHARGE LOG

Date., _ _ _ _ _ Dredging Contractor: _ _ _ _ _ _ _ __

Project Lnformation
Name   No. Reach:.C;;;;;bIe)=====~
Pennitand   (If applicable):       __
Trip Number: _ _ _ __

Tug MOW and Dredge Information



T".~am~,~,==================~~~~=====================
Scow
Tug Capt.
                                Dredge
                                  Scowman
Inspc.:o;:torName: _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

LoadingIPre-Transit Information
Time of Loading Completion (hh:mm:ss)::-;(R,cl:====-_
Volume (cubic yards):                   Percent Rock:
Deseript.: (e.g., color, water content, type):;, = ====-- -
Scow Draft: Fore (ft):                  Aft (ft):
Scow Condition:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Discharge Site Conditions
Wind:
Sca     Direc~~"~·o~"=====w,
    State: _                 SP""o;;====~_
                          Wavc Hcight:
VisibiJiW_ _ _ _ _ __

Transit/Placemenf Information
Time ofDepartu re:;c:CC;;C:;CC-;CCLCc-,=
Marine Mammals/Sea Tunles Sighted (Yes / No)

START - Time (DOORS OPEN):_--o~=~_
Speed (kts)          Bearing            Draft (ft.• immed. bc.,fo~~".'o:pc:"~i:"g~)'==:_--
Latitude (dec. deg.)                   Longitude (dec. deg.L

END -- Time (DOORS CLOSED):' _ _oc-=~---c
Specd (kts)          Bearing     Draft (immcd. aftcr,,~':lo:,:i"~g~)===:_--
Latitude (dec. deg.)          Longitude (dec. deg.) _

NOTES:_ Jg;.-i(>d'c Draft/Time/Position ob ...:n· :'fions to be rcc:orded ht're: coneiusion tlS /0
whether /h~ re is eridellce ofro/mtia/leakage recorded here. statement as to which. irany ilWIS
an IlIsp?ct· , Chcddis! "~quir, ' d renorting/ follow un ' oth er obsen'arions as necessary



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APPENDIX H - DlSCHARGE GUIDELINES FOR AN SJS DIS POSAL PROJECT

I. Vessel speeds must not exceed 3 knots during discharge, weather and sea conditions
permitting.

2. To help ensure proper discharge within' the SJS, and reduce the need for loaded
scows to return to the dredging site, the following discharge protocol must be followed:

     a) Prior to leaving the dredging site. scows must be inspected to ensure correct operation of
     mechanical features. Scows must also be inspected for the presence of any conditions that
     may cause navigation problems. The scow radiO-COnlrol system (if used on the project) and
     scow monitoring systems must be inspected for correct operation If any problems ....ith the
     scow, radio-control system, or scow monitoring systems arc encountered, corrections must
     be made before offshore transport of the scow may proceed. However, when the primary
     scow monitoring systems (PSMS) are malfunctioning, dredged material may be transported
     from the dredging site if scow monitoring contractor personnel are onboard, or are
     communicating with the USACE-SAJ approved DMI to fix/service the equipment.
     Alternatively, the backup scow monitoring system (BSMS) may be used wbile problems
     with the PSMS are being corrected. However, the BSMS is considered to be emergency
     backup equipment and may only be used on two consec utive trips offshore. The BSMS is
     not to be used as a long-term backup to the PSMS.

     b) Scows must be monitored for possible leaks. After leaving the dredging site,
     the DMI should check the PSMS scow draft count \'alue~ on a periodic basis and
     record the draft/time/position observations in the notes section of the
     transponalion and discharge log fonn <in the notes section) along wit h a
     conclusion as to whether there is any evidence of possible leakage. If the counts
     begin to significantly change during transport, either leakage of dredge material
     from the scow may be occurring (counts decreasing), or the scow's hull may be
     taking on wat er (counts increasing). However, depend ing on the specific location
     of a leak, the opposite lreod may occur, according to LIle direction of a list caused
     by a leak. Scows suspected of leaking must be inspected before using the scow
     again. If any leaks are found, they must be repaired prior \0 using the scow again.

     c) Scows must be brought to the SJS using the OOPS (D ifferential Global
     Posi ti oning System) navigation systems of the tugboat and scow. Scow position
     will be monitored by the PSMS onboard the tugboat. Discharge in SJS
     boundaries will be documented by the DMJ using the PSMS while the scow
     posi tion and draft information arc monitored automatically by the PSMS.

     d) If the PSMS docs not show reliab le OOPS coordi nates in the vicinity of the
     51S, Ihe tugboat DOPS and BSMS must be used to estimate the scow position
     c:urir,g dischargc. Lcngth of towlin es must be estimated and th e bearing to the


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   scow from the towing vessel course must also be noted at the time of discharge.
   Tow lengths must be less than 200 feet unless ocean/weather conditions require
   longer li nes for safe navigation. The DMI must record the following information
   if this option is used:
                  I) coordinates of the tug at the start and end of discharge
                  2) estimated length and bearing of tow line (distance from tug stem
                  to scow bow)
                  3) estimate of lateral displacement of scow from target longit ude

   e) Discharge must only occur at the SIS when reliable GPS coordinates are
   displayed by navigation systcms onboard the towing vessels or scows being used
   at the SJS.

   f) If the PSMS fails after leaving the dredging site. the scow must not be used
   again unti l a fully operational PSMS is instal led. If scow monitoring contractor
   personnel are onboard, or communicating by telephone with the DMI, 10 correcl
   probl ems, or the BSMS is functional, offshore lransport may occur. However,
   the BSMS is considered 10 be cmcrgency backup 10 the PSMS, is not to be
   routinely used for ofTshore discharge, and may only be used on two consecutive
   offshore discharge trips.

   g) If the PSMS is not functioning properly, discharge must occur within the SJS
   only If the scow and towing ves!IC1 are both within the SJS at the time scow doors
   are opened.

   h) [f a situation arises that requires emergency dumping of dredged material
   outside of the SJS. all reasonable efforts to dump outSide of navigation channels
   and into areas deeper than 200 feet must be made.

   i) If radio oommunication with the scow is lost, preventing operation of radio-
   controlled scows, a person must board the scow to either fix the problcm or
   operate the scow. Persons must omy ride aboard scows certi fied for passcngcrs by
   thc U.S. Coast Guard. Extreme care must be taken whcn boarding a scow at sea.
   Anyonc on a scow must have at leasl lwo working radios. Voicc Conlact, through
   radio or direct communication, must be maintained wi th the scowman whi le
   rid ing aboard the scow. Scow opening must only occur whcn a direct, voice
   command has been given to the scowman, or radio communication with radio-
   controlled scows is maintained. If the radio control system can not be fixed, the
   scow must be towed to the designated discharge location and manually
   :';scharged fol:~JWlng steps (d) through (t). If the scow' s engine can not be
   operated by the radio-control system, and the scow is boarded to attempt to fix the
   e- -~ine, the seo·'; must be located a1 the designated disch:irgc positi on if the
   scow's engine :s started. Past use of rad io-controlled scows revea led that


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      manually starting a scow' s engine after a failed radio-controlled engine start could
      cause the "scow open" command to be completed, causing th~ scow to dump at
      the location of engine startup. Any problems with a radio co ntrol system mus t be
      fixed prior to subseq uent use ofth~ scow.

3. Voice contact, through rad io or direct communi cation, must be maintaine d wilh the
scowman (if used) for the d urati on of trips. Scow opening mus t only occur when a
di rect, voice command has been given 10 the seowman, or, in the case o f radio·
con trolled scows, direct radio communication wi th the sco w is maintaincd. A backup
radio mu st be onboard all manncd scows. Hand signals must ntl·tr be used to direct
the $cowman regarding scow opcni ng/C\o~ing. Radio checks with the scowman must
be performed prior 10 departing the dredge site and cnroute in the vicinity of the h.arbor
mouth. r.-Ianned SCOIWS must not be transported to the discharge location witho ut at
least t\VO work ing modes of radio comm un icati on. Radios mus t have adequate powcr
sources and extra sets of batteries mus t be kept with any battery operated radios. OM ls
v.'ill note in their log;; the status of rad io c hecks made prior to site departure and cnroule
to the discharge location, in the comments scction of the log form.

4. Scows contain ing dredged material mu st not be towed from the dredging site for
ocean discharge unless a ll of the following items are prescnt and fully operatiolllli
aboard the towing vessel:

                Le gible copy of the pcrmit or contract specifications. as relat ed to scow load ing,
                transpo rt, and dredged material d ischarge;
                A legible copy of the Discha rge Gui delines and SJS bound ary coordi nates
                recei\'ed at the pre-construction meeting, or any additional instructi ons or
                guidelines as related to scow loading, transport, and dredged material discharge
                PS MS and BSMS·, including bin level sensor on scow
                DapS navigation system aboard lUg
                Radio-con trol system for scow operation (if scowman is not used)
                Radio and back up radio system aboard scow (if scowman is used]
                Fathometer aboard tug
                a full y operational fax machinc must be onboard the towing vessel for
                use by thc SAJ Inspcctor within 2 ho urs of each d ischarge cycnt It. the
                SJS
                an 8" - 12" wide p rotractor with degrecs printed or embossed on me
                curved surface
                4" - 8" long dividers for scaling distances off of maps and eharts
                scow loading tables for each scow used to transport d redged material
                 access to the towing vessel DGPS, fathometer, and radar
                fully operable persona l ce llphones in possession of eac h DMI at all
                times with active phone numbers unique to each phone ava ilable :or
                placing and receiving calls at all times


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               suitable location for completing papen.o."Ork associated with OMI dut ies
               Full compliance with any other contract or regulatory requirements
               rl'!~jed I n dredged material discharge


        • Ifme PSMS is not functioning properly at the time a !!Cow is ready to be
        tramported from dredging si te, the BSMS may be used while the I'SMS
        problems arc: being corrected.

5. Scows containing dredged malerial must not be towed from the dredging sile for
ocean diS(:hMge unless oeeanlv.-eathcr conditions art forecast to allow safe and accurate
diS<lharge of dredged malerial with in the $J$.

6. Dredged material mlUt never be discharged anywhere outside of the SJS ooundary except in
ClUes o f em~gency. Any discharges at outside the boundaries will be investigated for potential
enforeement actions.

7. Scow monitoring equipment, discharge guidelines, and other aspects of dredged material
discharge at the SJS may be changed. Notice of any changes will be provided to the dredging
contractor for impleme ntati on as soon as practicable.

8. Transportation and discharge log (TO L) forins \\.;11 be completed electronically or by hlllld
within 30 minutes of discharge at the 8 J8. An electronic copy of the TOL fonn is 10 be emailed
to EPA-Rl and USACE-SAJ with in two hours o f scow' s rdum from SJS. Printed copies ofIDL
fonus must be signed by the OM! al'1e r com pletion of each trip and placed in a file/folder for
submission to USACE-SAJ after project completion or when the OMI pennanentlyor
temporarily discontinues working on the project.

9. Disposal Inspectors who have been approved by USACE-SAJ (DMls), but have not
previously worked on II New York District or USACE-8AJ (Le., EPA-R2) dredging project, must
be ilccom~nied by:KOW monitoring contractor pcTS()nnc!, or by II OMI who has been workins 0 1')
the project, during thc fi rst two trips the DMI works on the project. OMIs who have previolL~ly
workro on at least one New York District or USACE-SAJ (i.e., EPA . R2) dredging project., but
who have wt worked on this projcct., must be accompanied by scow monitoring contrnclor
pcr"JOru"lCI duri ng their first trip serving as a OMI OD this project.

10. Possible changes in the discharge guidelines may be provided after dredging begins.

11. To help ensure that dredged material is transported and placed at the SlS in aecordaoce with
the guidelines described above, the attached checklist has been prepared. [terns in the chc.:dlist
IIH lsl be re"'e\\"ed by the OM [ at the dredg;ng site, while un dcrway, and at the S,tS. J;ach itc:n
thaI is pertinent to the trip mUl t be answered with a "YES" or "NO" answer, along with Olher
infomtalion sr~cific to a checkli st item. Any item on th e checkli st Ihal receives a '·NO·' <lr..wcr
m ust be reponed imme~iatel y to the US ACE-SAJ at NAME_OF CONTA CT. and a drcdgiag


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contractor representative rIOt onboard the towing \'essel. If the "NO" answer is related to the
scow monitoring systems, the scow monitoring contractor "lUst also be notified immediately at
NAME O F CONTACT. Each discharge trip must usc a checklist, to be completed by thc OMI
working aboard the towing vessel. Checklists must be signed and dated by the OMI and placed
in a file. All ori ginal, signoo checklists associated with this project must be submitted to the
USACE-SAJ on a weekly basis fo r the duration of the project. Checkli sts must be hand
dclivered or mailed 10:
USACE ADDRESS HERE

12. Original copies ofTDL forms for each trip to the 5 JS. signed and dated by the OMI on duty
during cach tri p, must be submitted 10 NAM E OF CONTACT at the above address at the
com pletion orlhe project.

I). Switching or tugs once an oceari disc harge trip has begun must not occur. Towing of any
scow loaded with dredged material must be monitored by the scow moniToring
cquipmentlsoftware and doc umented by a DMI riding aboard the lowing vessel.

14 . While underway, dredging contracto r must adhere to all measures required in Appendix D of
this SMM P (i.e., NMI!S, Southeast Region Vessel Strike Avoi dance Measures and Reporting for
Marine rs)

15. Upon arrival al the O DMDS, the D MI (dredging inspector) must maintain a watc h alall
times for marine mammals and sea turtles. Discharge of dredged materi al may not occur when
there is a tunic or mammal prescnt Ilt the site; discharge must not occur until the sighted animal
has left th e disposal area. Animals may not be harassed in an y matmer to make them leave the
area.

16. Fail ure to adherc to the speci fi cations discussed in these discharge guidelines may result in
revocati on of the dred gi ng perm it and/or a monetary finc.

l 7. If there are any questions pcnaining to the guidance gin::n in this document, or additional
clarification of procedurcs is needed, please co ntact Mr. Mark Reiss o r thc EPA at (212) 637-
3799.




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Appendix C - [nspector Checklist

DREDGfNGPROJECTmEACH : ____-c~~---------------
TUGNAME:."R~~====D>~'===~sc~O~w~======----------
TRIP NUMB~R:              DATE
INSPECTOR NAME:
fNSl'ECTOR SIGNA ruMREiEC,===================--_

Answer YES or NO to the following questions. Circle other choices andlor fill in blanks as
appropriate. Any item on the checklist that receives a ''NO'' IUlswer must be reported
immediately to USACE-SA! at; POINT OF CONTACT and a dredging contractor representative
not onboard the towing vessel. If the ''NO'' answer is related to the scow monitoring systems, the
scow monitoring contractor must also be notified immediately at POINT OF CONI ACT. Items
receiving "NO" answcrs must be indiellh,,"(! on the TDL fonn using the letter-number code next to
each item description and described on the TDL form comments section. A supplemental report
must be prepared and cmailed to USACE-SA] at POINT Of CONTACT to explain any
discrepancies/deviations from the Inspeclor checklist.


PART A. DREDGING SITE

Al _   A legible copy of the contract specifications, as rclated to scow loading, transport. and
        dredged material discharge, is in possession of the DM!.

A2_    A legible copy of the Discharge Guidelines and ODMDS boundary coordinates received
        at the pre-construction meeti ng, or any additional instructions or guidelines 115 related 10
        scow loadi ng, transport, and dredged material discharge, is in possession of the OM!.

AJ_    The scow being used to transport the dredged material is mechanically sound, does not
         leak, and has no visible damage that may cause leaking.

A4_ A regularly used scow was used, no backup scow yo,as used.

A5_ A scow loading table for the scow being towed is aboard the towing vessel and available
     for the DMlto use,

A6_ The material being dredged has been observed by the DMI for genera l characteristics
     (grain size, color, consistency). Majority of material is dry/thick/watery, color:_ __ •
     mudlsandlgravel/rock.

A7_    For scows loaded with any rock (rock is defined as any stones grealer than 2.5 inches in
        di ameter), t~l~ estimated ro ck percent has been recorded on the TDL form.



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AS_    An estimate of the volume of material in the scow has been calcu lalC~d by the DMl using
        the scow loading table and recorded on the TDL form.

A'_     Scow con tains less volume of dredged material than the maximum vol wne allowed for
         discharge durin g a single trip.


If a scow contains a volume o f dredged material greater than the maximum volume allowed for
diSCharge during a single trip, the volume must be decreased below the maximum volume before
Ihe dredged materi al can be transported a ....-ay from the d redge sile.

A 10_ The scow monitori ng systems (PSMS and BSMS) are fu ll y operational aoo are
       functioning. Any scow monitoring system mal functions mus t be reported immed ia tely
       \0 the scow monitoring contractor PO INr OF CONTACT. Transportalicm vessels aTC
          not allowed to leave the drc:dging site with any dredged malerial if a PSMS is not fully
          operational. However, if scow moni toring system contmctor personnel are onboard the
          transporting vesse1to se rvice the equipment, or in com munication with the DMI via
          cellphone or radio, the vesse l may depart from the dredging sile while mal fun ctions are
          being repairedlcoJT«tcd. Alternati ve ly, if the BSMS is functional , the scow may be
          transported from the dredgi ng site. If the PSMS is not fu nctional, the OSMS may on ly
          be used on two consec utive offshore d ischarge trips.

A 11 _ The scow d raft pressure value, as displayed by the PSMS system . has been recorded on
          the TDL fonn .

A 12_ A fathomeler is fully opcr8.tional, functioning, and instal led on the transpon:ing vessel.

A 13_ A radio o nboard the transporting vessel is operab le and can receive NOAA marine
        weather forecasl$ and ocean conditions.

A 14_ Cumnt and forecasted marine weather and ocean cond itions at the d esignated discharge
      location have been mo nitored on the radio and \.\-ill all ow safe and accurate disdw.rge o f
      dredged material. Winds al a reponing station closest to the disc harge location an::
      presen tly blowing          from the - ' with _ _ n seas. Winds forecast for the
      d isc harge locatio n a re     from the - ' with _ _ seas.

A 15_ OOPS navigation system is fully operational, functioning. and installed aboard the
          transponing vessel.

A 16_ A radar system is full y o perati onal, func tioning, and insta ll ed aboard the transportin g
       vessel.

A 17_ Radio-contro! system for scow operation (if $cowmll.n is not used) is fu!!), operatio nal and


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         functioning.

A 18~ Radio and backup radio system, for communication between scows and towing vesse ls,
       are aboard scow (if scowman is used), are fully operational and functioning.

A 19_ A fu lly operable cell phone that can send and receive calls is in the possession of the DMJ
       onboard the towing vessel.

A20~ A protractor is availablc for usc by the DMI aboard the towing vessel.

A21~ A compass, for map/chan distance scaling, is available for use by the DM! aboard the
         towing vessel.

A22~ An up-to-date nautical chart that includes the discharge area is available for usc by the
         DM!.

A23~ DMI is provided full access to fathometer, radar, vessel DGPS, and any other
         equipment/information necessary to conduct DMJ duties.

A24 _ Radio and backup radio checks with the scowman's radios have been performed with no
       problems detected, if II scowman is used.

A25_ Full compliance with any other contract or regulatory requirements related to dreJged
      materialdischargc has been met.

A26~ Time of departure from dredging site has been recorded on the TDL form .


A27 _ All other information relative to the dredging site has been entered into the TDL form.


PART B. ENROUTE TO THE DISCHARGE LOCA nON

B I~ In the vicinity of the Harbor mouth, radio and backup radios aboard the scow have been
         checked to ensure they are both functioning, if a scowman is used.

B2~ Scow draft is being monitored with PSMS.


BJ~ lrthe DMI is also a NMFS-appro,·ed marine mammal/endangered species observer,
          observation and appropriate reponing is conducted.

B4_· _ Scow draft pres sue varies less than 20 points, or 1.5 feet of draft, from the value.at the
         dredge site.

B5~ A gradual increase or decrease in scow draft pressure values (or actual scow draft) is not


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         observed.

"6_    If visible, scow docs not appear to be listing.

B7_    Water behind scow has been observed, if possible, to ensure that no turbid water plumes
         are pre:ICllt.

B8_ Towing vessel DGPS and scow DGPS positions agree using a fixed reference position
      (channel markc r, buo)', etc.)

B9_    Marine weather and sea cond itions present and folttast to be present at thl: discharge
        location are periodically monitored. An updated marine fOll:cast does oot p!"ed iet
        condilions that rcquircretum ing to the dredging site to await safer conditions.




PART C. IN THE VICINITY           or THE DESIGNATED DISCHARGE LOCATION

For discharge at the SJS:

C1 _   Scow radio control equipment operates witham any problems.

C2_ Discharge occurred in ODMDS boundaries and was coordinated with towing \"Csscl crew.

Cl_    &ow draft infonnation immediately prior to scow door opening has been rcoord cd on the
         TDL fonn .

C4_    TDL fonn was completed using the soow monitorin g system , or by hand if the scow
        monitoring s)'stem malfunctions, within 30 minutes of scow door opening.

CS_    Scow monitori ng t'Quipmcnt, transportation vessclnnvigalion ~Uipmenl, and all other
         equipment re lated 10 discharge of dredged material ..... orked " oj iho ul any problems.

C6_ All activities associated with discharge of dredged materials appeared to be conducted in
      a safe manner.

C7_ Nothing OCCUlTed that may have resulted in incorrect discharge of dredged malcnul.


CS_ TDL form and any supplemental reports e-mailcd to POINT OF CONTACT within 2 hours
         of scow door, or hopper bin, opening.




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C9_   A copy of the T DL fonn has been electronically signed by the OM] and saved to a
       fi le/fol der to become part of the permanent record oflhe trip. A disc containing all the
       folder and all TDL forms, cheeklists and supplemental reports and informati on lIlust be
       sUl\mitted to USACE-SAJ when offshore transport of dredged material associated with
       the project ends, or when the OMI finishes work ing on the projcct.




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APPENDIX D . Vessel Strike Avoidanee Measures and Reporting for Mariners
NOAA Fisheries Service, Southeast Region (Revised SeplemlH!r 2008)

Ratkground
Tht Nationa l Marine Fisheries Service (NMFS) has determined that collisions with vessels can injure
or kill protected species (e.g., endangered and threatened species, and marine mammals). The
following standard meas ures should be implemented to reduce the risk associated with vessel strikes
or disturbance of these protected species to discou ntable leve!s, NMFS should be contacted to ident ify
any addit ional conservation and recovery issues of concern, and to ass ist in the development of
measures that may bc necessary.

Protected Species Identification Training
Vesse! crews should usc an Atlantic and Gu lf of Mexico reference gu ide that he lps identify protected
species that might be encoun tered in U.S. waters of the Atlant ic Ocean, incl ud ing the Caribbean Sea,
and Gulf of Mexico. Additiona l training shou ld be provided regarding infonnation and resources
availab le regardi ng federal laws and regulations for prole.;led species, sh ip strike information, critical
habitat, migratory routes and seasonal ab undance, and recent sightings ofprote<:ted species.

Vessel Strike Avoidante
In order to avo id causing injury or death to marine mammals and sea turtles the following measures
should be taken when consistent with safe navigation:

    1. Vessel operators and crews shou ld maintain a vigilant watch for marine mammals and sea
        turtles to avoid striking sighted protected species.

    2. When whales a re sighted, maintain a distance of 100 yards or greater between the whale and
        the vessel.

    3. When sea turtles or small cetaceans are sighted, atte mpt to maintain a distance of 50 yards or
        greater bet""'ccn the animal and the vessel whenever possi ble,

    4. When small cctactans are sighted wh ile a vessel is underway (e.g., bow-riding), attempt to
        rema in para llel to the anim al's course. Avoid exccssi\'e speed or abrupt changes in direction
        until the cetacean has left the area.               .

    5. Reduce \'cssel speed to 10 knots or less when mother/calf pai rs, groups, or large assemblages of
         cetaceans are observed near an underway vessel, when safety perm its. A single cetacean at the
         surface may indicllIe the presence of submerged animals in the vicinity; therefore, prudent
       , precautionary measures should alwa}'s be exercised. The \'essel should attempt to route
         around the animals, maintaining a minimum distance of I 00 yards \\'henever possible.




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    6. Whales may surface in unpredictable localions or approach slowly moving vessels. When an
        animal is sighted in the vessel's pa~ or in close proximity to a moving vessel and when safcty
        pennils. reduce speed and shift th e engine to neutral. Do not engage th e engines uilliit he
        animals are c lear oft he area.

Additional Requirem ents fo r the No rth Atlantic RighI Whale

    I. If a sighted whale is be li eved \0 be a Nonh Atlantic ri ght wh ale. federal regu lation req uires a
         minimum distance of 500 yards be ma intai ned from th e animal (50 CFR 224. 103 (c)).

    2. Vessels en te ring Nonh Atlantic neht whale criti cal hH hit~ t 8"' req ui red to repon into the
        Mandatory Ship Reporting System.

    3. Mariners shou ld check wilh various commun ication media ror general information regarding
        avoiding shi p strikes and specifie information regarding Nonh Allantic right whale sighting
        locations. These in clude NOA A weather radio, U.S. Coast Gu ard NA VTEX broadcasts, an d
        Notices to Mariners. Commercial mari ners callin g on United States pon s shou ld view the
        most recent vers ion ofthe NOAAfUSC G produced train ing CD entit led "A Pru dent Mariner's
        Guide to Right Whale Protection" (contact the NM FS Southeast Region, Protected Resources
        Division for morc information re gard in g the CD).

    4. Inj ured, dead, or entangled right wha les sho uld be immediately reponed to the U.S. Coast
        Guard via VHF Chann cll6.

Injured o r Dead J'rotccted Speci es Reporting
Vessel crews shou ld repon s ightings oCany inj ured or dead protected species immediately, regardless
of whether the inj ury or death is caused by you r vessel.

Repon marine mamma ls to the Southeast U.S. Stranding Hotline: 877-433-8299
Report sea tunles to the NMFS Southeast Regional Office: 727-824-5312

If the injury or death of a mari ne mam mal was caused by a collision w ith your vessel, respons ible
panies shou ld remain availab le to assist the respective salvage an d strand ing network as needed.
NM FS' Southeast Regio nal Office should be immediately notified of th e stri ke by email
(takereport. nm fsser@noaa .gov)usingtheattachedvesselstri ke reponing form.

).' or additional information, please contact the Protected Resources Divisio n at:
NOAA Fisheries Service
Southeast Regional Office
       •
263 13 Avenue South
~t. P ~~~:s b\::'g, 1'L 3370 1
Tel: (n7) 824-53 12
Visit CiS on the W,, ') at http://se ro.nr·,fs.noaa.gov



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